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                                                                      EXECUTION VERSION




                                       LOAN AGREEMENT

                                   $23,088,000 MORTGAGE LOAN

                                                 BY

                                     ARBOR REALTY SR, INC.
                                            LENDER

                                                 TO

               COPPER RIDGE APTS LLC AND MAGNOLIA TRACE APTS LLC
                                   BORROWER




                                    Dated: As of January 11, 2022




                                           PROPERTY:

                                          Copper Ridge
                                      2080 Lobdell Boulevard
                                      Baton Rouge, Louisiana

                                          Magnolia Trace
                                    11585 N Harrells Ferry Road
                                      Baton Rouge, Louisiana




                                                                                           EXHIBIT
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                                      LOAN AGREEMENT


  THIS LOAN AGREEMENT (this “Agreement”) is made as of this 11th day of January, 2022,
by COPPER RIDGE APTS LLC, a Delaware limited liability company, having an address at 46
Main Street, Suite 339, Monsey, New York 10952 (“Copper Ridge Borrower”) and
MAGNOLIA TRACE APTS LLC, a Delaware limited liability company, having an address at
46 Main Street, Suite 339, Monsey, New York 10952 (“Magnolia Trace Borrower”; and together
with Copper Ridge Borrower, collectively, jointly and severally and individually, as the context
requires, “Borrower”) and ARBOR REALTY SR, INC., a Maryland corporation, having a
principal place of business at 333 Earle Ovington Boulevard, Suite 900, Uniondale, New York
11553 (together with its successors and assigns, collectively, “Lender”).
                                              Recitals

  WHEREAS, Borrower has requested that Lender make a loan to Borrower in the original
principal amount of $23,088,000. Lender is willing to make such loan to Borrower on the terms
and conditions set forth in this Agreement.
  NOW, THEREFORE, in consideration of such loan and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, and intending to be
legally bound hereby, Borrower and Lender agree as follows:
                                          ARTICLE 1
                                        DEFINED TERMS

                    Defined Terms. For this Agreement, the following terms shall have the
      meanings hereinafter set forth.

  “Acceptable Counterparty” means a Person that is the counterparty to a Rate Cap Agreement
and has at all times that the applicable Rate Cap Agreement is in effect a long-term unsecured debt
credit rating of not less than “A-” from S&P and not less than A3 from Moody’s Investor Services,
Inc.
  “Account Agreement” means that certain Deposit Account Control Agreement to be executed
among Borrower, Lender and Bank, pursuant to and in accordance with Section 12.01 hereof.
  “Account Collateral” means (i) the Collection Account, (ii) the Central Account, (iii) all cash,
checks, drafts, securities entitlements, certificates, instruments and other property, including,
without limitation, all deposits and/or wire transfers from time to time deposited or held in, credited
to or made to the Collection Account and the Central Account; (iv) all interest, dividends, cash,
instruments, securities entitlements and other property from time to time received, receivable or
otherwise payable in respect of, or in exchange for, any or all of the foregoing items; and (v) to
the extent not covered by clauses (i) through (iv) above, all proceeds (as defined under the UCC)
of any or all of the foregoing.
  “Actual Borrower Payment” has the meaning specified in Section 11.05.
   “Additional Acceptable Guarantor” means a Person that (a) together with any other Person
then constituting a Guarantor (excluding any Guarantor that is then the subject of a bankruptcy or
insolvency proceeding), meets the Net Worth and Liquidity requirements set forth in the
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Guaranties, (b) together with any other Person then constituting a Guarantor, owns at least the
same percentage of the direct or indirect ownership interests in each Borrower as Guarantor (in the
aggregate) had as of the Effective Date pursuant to the applicable Authority Documents as in effect
on the Execution Date, (c) together with any other Person then constituting a Guarantor, Controls
each Borrower, (d) is not a Prohibited Person, (e) is not subject to a bankruptcy or insolvency
proceeding and (f) is otherwise reasonably acceptable to Lender in all respects.
   “Additional Acceptable Guarantor Requirements” means that (a) an Additional Acceptable
Guarantor has executed joinders to the Guaranties or additional guarantees in form and substance
identical to the Guaranties (with such immaterial modifications as may be required for context that
are reasonably acceptable to Lender) for the benefit of Lender, (b) Borrower and Guarantor have
reaffirmed all of their obligations pursuant to the Loan Documents to Lender in writing, in form
and substance reasonably acceptable to Lender and (c) Borrower, Guarantor and Additional
Acceptable Guarantor have delivered such other instruments and agreements and such certificates
and opinions of counsel, in form reasonably satisfactory to Lender, as Lender may request.
  “Additional Collateral Account” means a Reserve account established and held by Lender into
which excess funds are required to be deposited pursuant to Article 11 and held by Lender as
additional collateral for the Loan.
  “Additional Information” has the meaning specified in Section 3.01(a).
 “Affiliate” of any specified Person means any other Person directly or indirectly Controlling or
Controlled by or under direct or indirect common Control with such specified Person.
  “Agreement” means this Agreement, as hereafter amended, or modified from time to time.

  “Allocated Loan Amount” shall mean the portion of the principal amount of the Loan allocated
to any applicable individual Property as set forth on Schedule B hereof, as such amounts may be
adjusted from time to time as hereinafter set forth. Notwithstanding the foregoing or anything
herein to the contrary, in the event of a Casualty or Condemnation whereby Casualty Insurance
Proceeds and/or Condemnation Proceeds (or any portion thereof) are to be applied to the principal
amount of the Debt pursuant to the terms of Article 6 hereof (such proceeds, the “Applied Net
Proceeds”), then such Applied Net Proceeds shall be applied (1) first, to reduce the Allocated
Loan Amount of the individual Property affected by such Casualty or Condemnation and (2)
second, pro rata to reduce the Allocated Loan Amounts of each of the other individual Properties.
Notwithstanding the foregoing, with respect to a Condemnation or Casualty affecting one hundred
percent (100%) of an individual Property, the Allocated Loan Amount for such individual Property
shall, at Lender’s sole but reasonable discretion, be reduced to zero (such Allocated Loan Amount
prior to reduction being referred to as the “Withdrawn Allocated Amount”) and each other
Allocated Loan Amount shall, if the Withdrawn Allocated Amount exceeds the Applied Net
Proceeds realized with respect to such individual Property (such excess being referred to as the
“Proceeds Deficiency”), be increased by an amount equal to the product of (1) the Proceeds
Deficiency and (2) a fraction, the numerator of which is the applicable Allocated Loan Amount
(prior to the adjustment in question) and the denominator of which is the aggregate of all of the
Allocated Loan Amounts (prior to the adjustment in question) other than the Withdrawn Allocated
Amount.

  “Alternative Index Rate” means the Benchmark Replacement.

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   “Alternative Rate” means a per annum rate equal to the sum of (1) the Alternative Index Rate
 and (2) the Alternative Rate Spread, provided that such Alternative Rate shall not be less than three
 and six hundred twenty five thousandths of one percent (3.625%) per annum.
  “Alternative Rate Spread” means the sum of (1) the Spread and (2) the Benchmark
 Replacement Adjustment.
   “Anti-Terrorism Law” means any Law relating to terrorism or money-laundering, including
 Executive Order No. 13224 and the USA Patriot Act.
      “Applicable Contribution” has the meaning specified in Section 13.29(g).
   “Applicable Interest Rate” means (A) prior to the occurrence of a Benchmark Replacement
 Date, as determined by Lender in its sole discretion, (i) the greater of (1) three and six hundred
 twenty five thousandths of one percent (3.625%) per annum, and (2) the LIBOR Rate plus the
 Spread per annum or (ii) the Default Rate, whichever is applicable at the time of determination,
 and (B) from and after a Benchmark Replacement Date, as determined by Lender in its sole
 discretion, (i) the Alternative Rate or (ii) the Default Rate, whichever is applicable at the time of
 determination.
   “Appraisal” means the appraisal of the Property and all supplemental reports or updates thereto
 previously delivered to Lender in connection with the closing of the Loan, and any new or updated
 appraisal obtained by Lender.
    “Approved Bank” means a bank, trust company, or other depository institution insured by the
 Federal Deposit Insurance Corporation which has a minimum long-term unsecured debt rating of
 at least “A” by S&P (and, in the event of a Securitization of the Loan, “P-1 by Moody’s and “F1”
 by Fitch) and a minimum short-term unsecured debt rating of at least “A-1” by S&P (and, in the
 event of a Securitization of the Loan, “A” by Fitch and “A2” by Moody’s. For the purposes of this
 Agreement, Bank shall be deemed to be an Approved Bank.
      “Architect” has the meaning specified in Section 6.03(a).
   “ARRC Recommendations” means the “ARRC Recommendations Regarding More Robust
 Fallback Language for New Issuances of Libor Securitizations” published by the Alternative
 Reference Rates Committee (ARRC) of the Federal Reserve Bank of New York, dated May 31,
 2019, as such recommendations may be amended or updated from time to time. 1
      “Asbestos O&M Plan” has the meaning specified in Section 8.02(i).
   “Assignment and Subordination of Property Management Agreement” means that certain
 Assignment and Subordination of Property Management Agreement dated as of the Execution
 Date, executed by Borrower and Property Manager for the benefit of Lender, as hereafter amended,
 consolidated, supplemented or modified from time to time.
   “Assignment of Leases” means that certain Assignment of Leases and Rents dated as of the
 Execution Date, executed by Borrower in connection with the Loan, as hereafter amended,
 consolidated, supplemented or modified from time to time.




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     https://www.newyorkfed.org/medialibrary/Microsites/arrc/files/2019/Securitization_Fallback_Language.pdf


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   “Assignment of Rate Cap Agreement” means the Assignment of Interest Rate Cap as
 Collateral, dated as of the Execution Date, executed by Borrower in connection with the Loan, as
 hereafter amended, consolidated, supplemented or modified from time to time.
   “Authority Documents” means, with respect to any Person, all documents and agreements
 providing for, or related to, the formation, organization and governance of such Person, including
 such Person’s partnership certificate, partnership agreement, certificate of incorporation, by-laws,
 stockholder’s agreement, certificate of formation, operating, membership or limited liability
 company agreement, or other similar organization or governing documents, as applicable.
   “Bank” means Signature Bank, a New York state-chartered financial institution.
   “Bankruptcy Code” means Title 11 of the United States Code entitled “Bankruptcy”, as
 amended from time to time, and any successor statute or statutes and all rules and regulations from
 time to time promulgated thereunder, and any comparable foreign laws relating to bankruptcy,
 insolvency or creditors’ rights.
   “Bankruptcy Law” has the meaning specified in Section 10.01(f).
   “Benchmark” means, initially, LIBOR; provided that if a Benchmark Transition Event and its
 related Benchmark Replacement Date have occurred with respect to LIBOR or the then-current
 Benchmark, then “Benchmark” shall mean the applicable Benchmark Replacement.
   “Benchmark Replacement” means a floating rate index identified by Lender as the
 “Unadjusted Benchmark Replacement” in accordance with the ARRC Recommendations.
   “Benchmark Replacement Adjustment” means the spread identified by Lender as the
 “Benchmark Replacement Adjustment” in accordance with the ARRC Recommendations.
   “Benchmark Replacement Date” means (1) in the case of clause (1) or (2) of the definition of
 “Benchmark Transition Event” set forth in this Section 1.01, the later of (a) the date of the public
 statement or publication of information referenced therein and (b) the date on which the
 administrator of the relevant Benchmark permanently or indefinitely ceases to provide such
 Benchmark, or (2) in the case of clause (3) of the definition of “Benchmark Transition Event” set
 forth in this Section 1.01, the date of the public statement or publication of information, or (3) in
 the case of an Early Opt-in Election, the date specified in the notice of such Early Opt-in Election
 but in no event less than ten (10) Business Day after the notice of such Early Opt-in Election has
 been provided to the Borrower; provided, however, that in the case of clauses (1) and (2) above,
 on or after the sixtieth (60th) day preceding the date on which such Benchmark Replacement Date
 would otherwise occur (if applicable), Lender may give written notice to Borrower in which
 Lender designates an earlier date (but not earlier than the thirtieth (30th) day following such notice)
 and represents that such earlier date will facilitate an orderly transition of the transaction to the
 Benchmark Replacement, in which case such earlier date shall be the Benchmark Replacement
 Date.
   “Benchmark Transition Event” means the occurrence of one or more of the following events
 with respect to LIBOR (or the then-current Benchmark):

                (1) a public statement or publication of information by or on behalf of the
 administrator of LIBOR (or the then-current Benchmark) announcing that the administrator has
 ceased or will cease to provide LIBOR (or the then-current Benchmark) permanently or


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 indefinitely, provided that, at the time of such statement or publication, there is no successor
 administrator that will continue to provide LIBOR (or the then-current Benchmark);

                 (2) a public statement or publication of information by the regulatory supervisor for
 the administrator of LIBOR (or the then-current Benchmark), the central bank for the currency of
 LIBOR (or the then-current Benchmark), an insolvency official with jurisdiction over the
 administrator for LIBOR (or the then-current Benchmark), a resolution authority with jurisdiction
 over the administrator for LIBOR (or the then-current Benchmark) or a court or an entity with
 similar insolvency or resolution authority over the administrator for LIBOR (or the then-current
 Benchmark), which states that the administrator of LIBOR (or the then-current Benchmark) has
 ceased or will cease to provide LIBOR (or the then-current Benchmark) permanently or
 indefinitely, provided that, at the time of such statement or publication, there is no successor
 administrator that will continue to provide LIBOR (or the then-current Benchmark); or

                (3) a public statement or publication of information by the regulatory supervisor for
 the administrator of LIBOR (or the then-current Benchmark) announcing that the Benchmark is
 no longer representative.

   “Benefit Amount” has the meaning specified in Section 13.29(e).
   “Borrower” has the meaning specified in the introductory paragraph of this Agreement.
   “Budget” has the meaning specified in Section 4.43.
   “Business Day” means any day other than (a) a Saturday or Sunday, or (b) a day on which
 banking and savings and loan institutions in the State of New York are authorized or obligated by
 Law or executive order to be closed.
   “Business Income” has the meaning specified in Section 5.02(b)(3).
   “Capital Expenditures” means, for any period, the amount actually expended for items
 capitalized under GAAP.
   “Capital Leases” means any Lease which has been or should be capitalized on the books of the
 lessee in accordance with GAAP.
   “Casualty” means any casualty, damage, destruction or loss occurring to all or any part of the
 Property.
   “Casualty Insurance Proceeds” means all insurance proceeds which Borrower is entitled to
 receive as a result of a Casualty pursuant to the insurance policies maintained by Borrower.
   “Central Account” has the meaning specified in Section 12.04.
   “CERCLA” has the meaning specified in the definition of “Environmental Laws” in this
 Section 1.01.
   “Code” means the United States Internal Revenue Code of 1986, as amended and in effect from
 time to time.
   “Collection Account” has the meaning specified in Section 12.01(a).
   “Collection Period” means the period from the first (1st) Business Day of each calendar month
 to the last Business Day of each month.

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   “Competing Offer” has the meaning specified in Section 3.01(a).
   “Completion Guaranty” means that certain Guaranty of Completion dated as of the Execution
 Date made by Guarantor for the benefit of Lender in connection with the Loan, as hereafter
 amended, consolidated, supplemented or modified from time to time.
    “Condemnation” means any temporary or permanent taking or requisition of any or all right,
 title and interest in all or any part of the Property or any change of grade which affects the Property
 or any roadway providing access to the Property, in each case, as a result of the exercise of any
 right of condemnation or eminent domain.
   “Condemnation Proceeds” means all funds or proceeds received as a result of, in connection
 with, in anticipation of, or as a settlement of a Condemnation.
   “Contribution” has the meaning specified in Section 13.29(b).
   “Control” means, with respect to any Person, the possession, directly or indirectly, of the power
 to direct or cause the direction of the management and policies of such Person, through the
 ownership of voting securities, by contract or otherwise, and the terms “Controlled”, “Controlling”
 and “Common Control” shall have correlative meanings.
    “Controlling Party” collectively means (i) Magnolia Trace Apts MM LLC, a Delaware limited
 liability company and (ii) Copper Ridge Apts MM LLC, a Delaware limited liability company.
  “Copper Ridge Property” means that certain real property located at 2080 Bodell Boulevard,
 Baton Rouge, Louisiana, more particularly described in Exhibit A-1 hereto.
    “Covered Party” has the meaning specified in Section 4.02(e).
   “Credit Parties” or “Credit Party” means Borrower, and Guarantor, or either or both of the
 foregoing, all as the context may require.
   “Debt” means the aggregate amount of the unpaid principal amount evidenced by the Note, all
 accrued and unpaid interest, and all other sums evidenced by the Note or secured by the Mortgage
 and/or any other Loan Documents, including any Prepayment Fee and/or Exit Fee, as well as any
 additional advances under the Mortgage that may be made to or on behalf of Borrower by Lender
 following the Execution Date.
   “Debt Service” means, as of the date of determination, the total of all the principal and interest
 payments (with interest calculated at the greatest of (a) the then Applicable Interest Rate, (b) the
 then prevailing market constant for Fannie Mae, and (c) the then prevailing market constant for
 conduit ten-year fixed rate loans) and required reserve payments required to be made on the Note
 and the other Loan Documents during the applicable period.
   “Debt Service Coverage Ratio” means, with respect to any period as set forth in this
 Agreement, the ratio calculated by Lender, in its sole and absolute discretion, of (i) the Net
 Operating Income for such period to (ii) the Debt Service with respect to such period.
 Notwithstanding the foregoing, if Borrower shall fail to provide any of the information necessary
 for Lender to calculate the Debt Service Coverage Ratio, Lender shall have the right to make such
 calculation based upon such figures or assumptions as Lender determines in its sole but reasonable
 discretion.




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   “Default” means any event that would constitute an Event of Default if all requirements in
 connection therewith for the giving of notice, the lapse of time, and the occurrence of any further
 condition, event or act, had been satisfied.
  “Default Rate” means the lesser of (a) twenty-four percent (24%) per annum and (b) the
 Maximum Legal Rate.
   “Deferred Maintenance” has the meaning specified in Section 11.02(a).
   “Deferred Maintenance Reserve” has the meaning specified in Section 11.02(a).
   “Development Laws” means all applicable subdivision, zoning, environmental protection,
 wetlands protection, or land use Laws or ordinances, and any and all applicable rules and
 regulations of any Governmental Authority promulgated thereunder or related thereto.
   “DM Budget” has the meaning specified in Section 11.02(a).
   “DM Out of Balance” has the meaning specified in Section 11.02(b).
   “DM Out of Balance Amount” has the meaning specified in Section 11.02(b).
   “Dollars” and the sign “$” means lawful money of the United States of America.
   “Early Opt-in Election” shall mean an election by the Lender to trigger a fallback from LIBOR
 to the Alternative Index Rate.

   “Early Prepayment Date” has the meaning specified in Section 2.08.
   “Engineer” has the meaning specified in Section 6.03(a).
    “Environmental Law(s)” means any effective, applicable or relevant federal, state or local
 statute, ordinance, rule or regulation, any judicial or administrative order (whether or not on
 consent) or judgment applicable to Borrower including, without limitation any judgment or
 settlement based on common law theories, and any provisions or condition of any Permit, license
 or other authorization binding on Borrower relating to (a) the protection of the environment, the
 safety and health of persons (including employees) or the public welfare from actual or potential
 exposure (or effects of exposure) to any actual or potential release, discharge, disposal or emission
 (whether past or present) of any Hazardous Materials or (b) the manufacture, processing,
 distribution, use, treatment, storage, disposal, transport or handling of any Hazardous Materials,
 including, but not limited to, the Comprehensive Environmental Response, Compensation and
 Liability Act of 1980 (“CERCLA”), as amended by the Superfund Amendments and
 Reauthorization Act of 1986, 42 U.S.C. §9601 et seq., the Solid Waste Disposal Act, as amended
 by the Resource Conservation and Recovery Act of 1976, as amended by the Solid and Hazardous
 Waste Amendments of 1984, 42 U.S.C. §6901 et seq., the Federal Water Pollution Control Act, as
 amended by the Clean Water Act of 1977, 33 U.S.C. §1251 et seq., the Toxic Substances Control
 Act of 1976, 15 U.S.C. §2601 et seq., the Emergency Planning and Community Right-to-Know
 Act of 1986, 42 U.S.C. §1101 et seq., the Clean Air Act of 1966, as amended, 42 U. S. C. §7401
 et seq., the National Environmental Policy Act of 1975, 42 U.S.C. §4321, the Rivers and Harbours
 Act of 1899, 33 U.S.C. §401 et seq., the Endangered Species Act of 1973, as amended, 16 U.S.C.
 §1531 et seq., the Occupational Safety and Health Act of 1970, as amended, 29 U.S.C. §651 et
 seq., and the Safe Drinking Water Act of 1974, as amended, 42 U.S.C. §300(f) et seq. and all rules,
 regulations and guidance documents promulgated or published thereunder.


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   “Environmental Report” means the environmental audit report for the Property and any
 supplements or updates thereto, previously delivered to Lender in connection with the Debt.
   “EPA Mold Guidelines” has the meaning specified in Section 8.02(f).
   “Equipment” has the meaning specified in the Mortgage.
   “ERISA” means the Employee Retirement Income Security Act of 1974, as amended from time
 to time, and the rules and regulations promulgated thereunder.
   “Event of Default” means any of the events specified in Section 10.01 or otherwise specifically
 defined as such in this Agreement, provided that any requirement for the giving of notice, the lapse
 of time, or both, or any other condition, has been satisfied.
   “Execution Date” means the date of this Agreement.
   “Exit Fee” has the meaning specified in Section 2.09.
   “Extension DSCR” has the meaning specified in Section 2.06.
   “Extension Fee” has the meaning specified in Section 2.06.
   “Extension Notice” has the meaning specified in Section 2.06.
   “Extraordinary Expense” has the meaning specified in Section 4.43.
   “First Payment Date” means March 1, 2022.
   “Fitch” means Fitch, Inc.
   “Fixtures” has the meaning specified in the Mortgage.
   “Force Majeure” has the meaning specified in Section 6.03(h).
   “Full Replacement Cost” means (1) with respect to the Improvements, the cost of replacing
 the Improvements without regard to deduction for depreciation, exclusive of the cost of
 excavations, foundations and footings below the lowest basement floor, and (2) with respect to
 Personal Property, the cost of replacing such Personal Property.
   “Funding Borrower” has the meaning specified in Section 13.29(d).
   “Future Lease” has the meaning specified in Section 7.06.
   “GAAP” means generally accepted accounting principles in the United States of America, as of
 the date of the applicable financial report, consistently applied.
   “Governmental Approvals” means any authorization, consent, or approval of, or any
 certificate of occupancy, license, Permit, or certification issued by, or any exemption of,
 registration or filing with, or report or notice to, any Governmental Authority.
   “Governmental Authority” means any nation or government, any state or other political
 subdivision thereof, and any entity exercising executive, legislative, judicial, regulatory or
 administrative functions of or pertaining to government.
   “Gross Income from Operations” means, for any period, all income, computed in accordance
 with GAAP, derived from the ownership and operation of the Property from whatever source
 during such period, including, but not limited to, Rents, utility charges, escalations, forfeited
 security deposits, interest (if any) on credit accounts and on funds held in the Reserves, business


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 interruption or other loss of income or rental insurance proceeds, service fees or charges, license
 fees, parking fees, and other pass-through or reimbursements paid by Tenants under the Leases of
 any nature but excluding (i) Rents from month-to-month Tenants, from Tenants during a free rent
 period, from non-residential Tenants that are included in any bankruptcy or similar proceeding, or
 that are payments of past-due amounts from Tenants, (ii) sales, use and occupancy or other taxes
 on receipts required to be accounted for by Borrower to any Governmental Authority, (iii) refunds
 and uncollectible accounts, (iv) proceeds from the sale of furniture, fixtures and equipment, (v)
 Casualty Insurance Proceeds and Condemnation Proceeds (other than business interruption or
 other loss of income insurance), (vi) any disbursements to Borrower from any of the Reserves, and
 (vii) any other non-recurring items identified by Lender in its sole but reasonable discretion.
   “GSE Competing Offer” has the meaning specified in Section 3.01(b).
   “GSE Information” has the meaning specified in Section 3.01(b).
   “GSE Loan” has the meaning specified in Section 3.01(a).
   “GSE Offer” has the meaning specified in Section 3.01(b).
   “Guaranties” means, collectively, the Recourse Guaranty, the Completion Guaranty, the
 Guaranty of Interest Reserve and the Indemnity Agreement; and “Guaranty” means any one (1)
 of the foregoing.
   “Guarantor” means Moshe Silber, an individual.
   “Guaranty of Interest Reserve” means that certain Interest Reserve Replenishment Guaranty
 dated as of the Execution Date made by Guarantor for the benefit of Lender in connection with the
 Loan, as hereafter amended, consolidated, supplemented or modified from time to time.
   “Hazardous Material” means any substance, material or waste which is regulated by any
 Governmental Authority or the United States of America or other national government, including,
 without limitation, any material, substance or waste which is defined as a “hazardous waste,”
 “hazardous material,” “extremely hazardous waste,” “restricted hazardous waste,” “contaminant,”
 “toxic waste” or “toxic substance” under any provision of Environmental Law, which includes,
 but is not limited to, asbestos, polychlorinated biphenyls, petroleum, petroleum products, urea
 formaldehyde flammable explosives, radioactive materials, paint containing more than one-half of
 one percent (0.5%) lead by dry weight, infectious substances or raw materials which include
 hazardous constituents, and Mold.
    “Impositions” means all taxes (including, without limitation, Real Property Taxes, real property
 transfer, deed transfer and other similar taxes, ad valorem, sales (including those imposed on lease
 rentals), use, single business, gross receipts, value added, intangible transaction privilege, privilege
 or license or similar taxes), assessments (including, without limitation, all assessments for public
 improvements or benefits, whether or not commenced or completed prior to the Execution Date
 and whether or not commenced or completed within the term of the Loan), ground rents, water,
 sewer or other rents and charges, excises, levies, fees (including, without limitation, license,
 Permit, inspection, authorization and similar fees), and all other governmental charges, in each
 case whether general or special, ordinary or extraordinary, or foreseen or unforeseen, of every
 character in respect of the Property and/or any Rent (including all interest and penalties thereon),
 which at any time prior to, during or in respect of the terms hereof may be assessed or imposed on
 or in respect of or be a Lien upon (a) Borrower (including, without limitation, all franchise, single
 business or other taxes imposed on Borrower for the privilege of doing business in the jurisdiction

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 in which the Property is located) or Lender, (b) the Property or any part thereof or any Rent
 therefrom or any estate, right, title or interest therein, or (c) any occupancy, operation, use or
 possession of, or sales from, or activity conducted on, or in connection with the Property, or any
 part thereof, or the leasing or use of the Property, or any part thereof, or the acquisition or financing
 of the acquisition of the Property, or any part thereof, by Borrower.
   “Improvements” has the meaning specified in the Mortgage.
   “Indebtedness” means any and all liabilities and obligations owing by any Person to any
 Person, including principal, interest, charges, fees, reimbursements and expenses, however
 evidenced, whether as principal, surety, endorser, guarantor or otherwise, direct or indirect,
 absolute or contingent, joint or several, due or not due, primary or secondary, liquidated or
 unliquidated, secured or unsecured, original, renewed or extended, (i) in respect of any borrowed
 money (whether by loans, the issuance and sale of debt securities or the sale of any property to
 another Person subject to an understanding, agreement, contract or otherwise to repurchase such
 property) or for the deferred purchase price of any property or services, except accounts payable
 arising in the ordinary course of business and not more than ninety (90) days past due, (ii) as lessee
 under any leases which shall have been or should be, in accordance with GAAP, recorded as
 Capital Leases, (iii) under direct or indirect guarantees and obligations (contingent or otherwise)
 to purchase or otherwise acquire, or otherwise assure any creditor against loss in respect of the
 obligations of others, (iv) in respect of letters of credit or similar instruments issued or accepted
 by banks and other financial institutions for the account of such indebted Person, (v) in respect of
 unfunded vested benefits under plans covered by ERISA or any similar liabilities to, for the benefit
 of, or on behalf of, any employees of such indebted Person, (vi) all obligations secured by any
 Lien on property owned by such Person, whether or not the obligations have been assumed, or
 (vii) all obligations under any agreement providing for a swap, ceiling rates, ceiling and floor rates,
 contingent participation or other hedging mechanisms with respect to interest payable on any of
 the items described above in this definition.
   “Indemnified Party” means (i) Lender, (ii) each Person who has been, is or will be involved in
 the origination of the Loan, (iii) each Person who is or will be involved in the servicing of the
 Loan, (iv) each Person in whose name the security interest created by the Mortgage is or will be
 recorded, (v) each Person who holds or acquires or will hold or acquire a full or partial interest in
 the Loan, including investors or prospective investors in the Loan, (vi) each custodian, trustee and
 other fiduciary who has held, holds or will hold a full or partial interest in the Loan for the benefit
 of third parties, (vii) each director, officer shareholder, member, partner, employee, agent, servant,
 representative, contractor, subcontractor, Affiliate, subsidiary, participant, successor, and assign
 of any and all of the foregoing Persons, including any other Person who holds or acquires or will
 hold a participation or other full or partial interest in such Loan, whether during the term of the
 Loan or as a part of or following a foreclosure of the Loan, and (viii) each successor and assign of
 each of the parties specified above in this definition, including any successors or assigns by merger,
 consolidation or acquisition of all or substantially all of the assets or business of any such party.
   “Indemnity Agreement” means that certain Hazardous Materials Indemnity Agreement dated
 as of the Execution Date and executed by Borrower and Guarantor for the benefit of Lender in
 connection with the Loan, as hereafter amended, consolidated, supplemented or modified from
 time to time.



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   “Independent Manager” means an individual who is not and has not been at any time in the
 preceding five (5) years, (i) a stockholder, director, officer, member, employee or partner of the
 Controlling Party, Borrower or any Affiliate of the Controlling Party and/or Borrower; (ii) a
 customer, supplier or other Person who derives more than ten percent (10%) of his/her/its
 purchases or revenues from his/her/its activities with Borrower, Controlling Party, any Affiliate of
 Borrower and/or Controlling Party or an employee of such customer, supplier or other Person
 (other than a nationally recognized service provider that provides professional independent
 managers and also provides other corporate services in the ordinary course of its business); (iii) a
 Person Controlling or under Common Control with any such stockholder, director, officer,
 member, employee, partner, customer, supplier or other Person (other than a nationally recognized
 service provider that provides professional independent managers and also provides other
 corporate services in the ordinary course of its business) or (iv) a member of the immediate family
 of any such stockholder, director, officer, member, employee, partner, customer, supplier or other
 Person.
   “Individual Borrower” has the meaning specified in Section 13.29(a).
   “Initial Budget” has the meaning specified in Section 4.43.
   “Insolvent” means, as of any date of determination, the inability of a Person to pay its debts as
 they become due and/or if the fair market value of such Person’s assets do not exceed its liabilities,
 including without limitation, subordinated, unliquidated, disputed or contingent liabilities.
   “Insurance Premiums” has the meaning specified in Section 5.03(f).
   “Insurance Requirements” means all terms of any insurance policy required by this
 Agreement, all requirements of the issuer of any such policy, and all regulations and then current
 standards applicable to or affecting the Property or any use or condition thereof, which may, at
 any time, be recommended by the Board of Fire Underwriters, if any, having jurisdiction over the
 Property, or such other Person exercising similar functions.
   “Interest Period” means each period commencing on the first (1st) day of each calendar month
 and ending on the last day of each such calendar month, provided, however, that (i) the first (1st)
 Interest Period shall commence on the Execution Date and end on the last day of the calendar
 month in which the Execution Date occurs, and (ii) the final Interest Period shall end on the
 Maturity Date and in no event shall any Interest Period end after the Maturity Date.
   “Interest Reserve” has the meaning specified in Section 11.05.
   “Investor” has the meaning specified in Section 13.02(a).
   “Late Fee” has the meaning specified in Section 2.07.
   “Law” or “Laws” means, as the context may require, any treaty, federal, state or local statute,
 law, rule, regulation, ordinance, order, code, policy or rule of common law, now or hereafter in
 effect, and any judicial or administrative interpretation of any of the foregoing by a Governmental
 Authority or otherwise, together with any judicial or administrative order, consent decree,
 judgment or agreement with a Governmental Authority.
   “LBP O&M Plan” has the meaning specified in Section 8.02(i).
   “Leases” has the meaning specified in the Mortgage.
   “Leasing Commissions” has the meaning specified in Section 7.05.

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   “Legal Requirement” means as to any Person, the Authority Documents of such Person, and
 any Law, in each case applicable to or binding upon such Person or any of its property or to which
 such Person or any of its property is subject.
   “Lender” has the meaning specified in the introductory paragraph of this Agreement.
   “Lender’s Casualty Consultant” has the meaning specified in Section 6.02(c).
   “Lender’s Office” means 3370 Walden Avenue, Suite 114, Depew, New York 14043.
   “LIBOR Rate” means for any Interest Period, the per annum London Interbank Offered Rate
 determined on the basis of the offered rates for one (1) month Eurodollar deposits as set forth in
 the most recent publication of The Wall Street Journal or any successor publication thereto as of
 the Rate Adjustment Date for such Interest Period. If The Wall Street Journal (1) publishes more
 than one such London Interbank Offered Rate, the average of such rates shall apply, or (2) ceases
 to publish the London Interbank Offered Rate, then the London Interbank Offered Rate shall be
 determined from such substitute financial reporting service as Lender in its reasonable discretion
 shall determine.
   “LIBOR Rate Reserve Percentage” for any calendar month means the reserve percentage
 applicable during such Interest Period (or if more than one such percentage shall be so applicable,
 the daily average of such percentages for those days in such Interest Period during which any such
 percentage shall be so applicable) under regulations issued from time to time by the Board of
 Governors of the Federal Reserve System (or any successor) for determining the maximum reserve
 requirement (including, without limitation, any emergency, supplemental or other marginal
 reserve requirement) for Lender with respect to liabilities or assets consisting of or including
 Eurocurrency Liabilities (as defined in Regulation D of the Board of Governors of the Federal
 Reserve System, as in effect from time to time) having a term of one (1) month.
    “Lien” means any mortgage, deed of trust, pledge, security interest, hypothecation, assignment,
 deposit arrangement, encumbrance, lien (statutory or other), or preference, priority, or other
 security agreement or preferential arrangement, charge, or encumbrance of any kind or nature
 whatsoever, including any conditional sale or other title retention agreement, any financing lease
 having substantially the same economic effect as any of the foregoing, and the filing of any
 financing statement under the UCC or comparable Law of any jurisdiction to evidence any of the
 foregoing.
   “Loan” has the meaning specified in Section 2.01.
   “Loan Documents” means this Agreement, the Note, the Mortgage, the Assignment of Leases,
 the Guaranties, the Assignment of Rate Cap Agreement, the Assignment and Subordination of
 Property Management Agreement, and all other documents executed in connection with,
 evidencing and/or securing the Loan, as each of the foregoing may from time to time be amended,
 modified, consolidated, extended, renewed or replaced.
   “Loan to Value Ratio” means, as of a particular date, the ratio in which the numerator is equal
 to the outstanding principal balance of the Loan and the denominator is equal to the appraised
 value of the Property (excluding the value of any Personal Property and any going concern value),
 as determined by Lender in its sole discretion consistent with industry standards for similar loans.
   “Loss Amounts” has the meaning specified in Section 13.26(c).
   “Losses” has the meaning specified in Section 13.26(c).

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  “Magnolia Property” means that certain real property located at 11585 N Harrells Ferry Road,
 Baton Rouge, Louisiana, more particularly described in Exhibit A-2 hereto.
    “Major Contracts” means (1) each Property Agreement which either provides for total
 payments in excess of $100,000 per annum or which has a term in excess of two (2) years unless
 it can be cancelled at any time on thirty (30) days or less notice, (2) all Operating Leases and
 Capital Leases and (3) all Leases of all or any portion of the Property.
   “Material Action” means to (i) consolidate or merge Borrower or Controlling Party with or
 into any Person or divide into multiple entities or series pursuant to Section 18-217 of the Delaware
 Limited Liability Company Act or otherwise, (ii) Transfer any material portion of the assets of
 Borrower or Controlling Party, (iii) institute proceedings to have Borrower or Controlling Party
 be adjudicated a bankrupt Person or an insolvent Person, or consent to the institution of bankruptcy
 or insolvency proceedings against Borrower or Controlling Party or file a petition seeking, or
 consent to, reorganization or relief with respect to Borrower or Controlling Party under any
 applicable federal or state Law relating to bankruptcy, (iv) consent to, or request, the appointment
 of a receiver, liquidator, assignee, trustee, sequestrator (or other similar official) of Borrower or
 Controlling Party or any part of its property, (v) make any assignment for the benefit of creditors
 of Borrower or Controlling Party, (vi) admit in writing Borrower’s or Controlling Party’s inability
 to pay its debts generally as they become due, (vii) to the fullest extent permitted by Law, dissolve
 or liquidate Borrower or Controlling Party, or (viii) take action in furtherance of any of the
 foregoing actions.
   “Material Adverse Change” means (i) a material adverse change in the status of the business,
 assets, liabilities, results of operations, conditions (financial or otherwise), property or prospects
 of Borrower, or Guarantor, and/or (ii) any event or occurrence of whatever nature which has or
 could have a material adverse effect on the ability of Borrower or Guarantor to perform its
 obligations under the Loan Documents to which it is a party.
   “Maturity Date” means (i) January 10, 2025, subject to extension pursuant to the terms,
 provisions and conditions of Section 2.06 or (ii) such earlier date on which the Loan shall become
 due pursuant to the terms of this Agreement; provided however, that if such date is not a Business
 Day, then the Maturity Date shall be deemed to be the next succeeding Business Day.
   “Maximum Legal Rate” means the maximum non-usurious interest rate, if any, that at any time
 or from time to time may be contracted for, taken, reserved, charged or received on the Loan and
 as provided for in this Agreement or in the other Loan Documents, under the Laws of the State of
 New York or the states whose Laws are held by any court of competent jurisdiction to govern the
 interest rate provisions of the Loan.
   “Mold” means fungi that reproduces through the release of spores or the splitting of cells or
 other means, including but not limited to mold, mildew, fungi, fungal spores, fragments and
 metabolites such as mycotoxins and microbial volatile organic compounds.
   “Mold O&M Plan” has the meaning specified in Section 8.02(f).
   “Monthly Payment” has the meaning specified in Section 11.05.
   “Moody’s” means Moody’s Investors Service, Inc.
  “Mortgage” means that certain Mortgage, Assignment of Leases and Rents, Security
 Agreement and Fixture Filing dated as of the Execution Date made by Borrower, as mortgagor or

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 grantor, to and for the benefit of Lender, as mortgagee or beneficiary, to secure repayment of the
 Loan, as hereafter amended, consolidated, supplemented or modified from time to time.
   “Net Operating Income” means, for any period, the amount obtained by subtracting Operating
 Expenses for such period from Gross Income from Operations for such period. Lender’s
 calculation of Net Operating Income shall be final absent manifest error.
   “Net Sales Proceeds” means, in connection with a release of a Release Property pursuant to and
 in strict accordance with Section 2.13 hereof, the gross sales proceeds generated by the sale of the
 Release Property, less arm’s length brokerage fees and closing charges, including transfer taxes,
 deed stamps and recording fees, payable to third parties not affiliated with Borrower in an
 aggregate amount not to exceed six percent (6%) of such gross sales proceeds.

   “Non-Consolidation Opinion” means an opinion of counsel to Borrower (reasonably
 satisfactory to Lender and each Rating Agency (if any) in form and substance, from counsel
 reasonably satisfactory to Lender and each Rating Agency (if any) and containing assumptions,
 limitations and qualifications customary for opinions of such type) to the effect that a court of
 competent jurisdiction in a proceeding under the Bankruptcy Code would not be expected to
 consolidate the assets and liabilities of Borrower with those of any partner/member or affiliate
 thereof which became a debtor under the Bankruptcy Code.
   “Note” means that certain Promissory Note dated as of the Execution Date in the original
 principal amount of $23,088,000 made by Borrower to the order of Lender, evidencing the Loan,
 as hereafter amended, consolidated, supplemented or modified from time to time.
   “Obligations” means any and all present and future liabilities and obligations of Borrower to
 Lender, including those under or in connection with each Loan Document, together with all
 reasonable fees and expenses incurred in collecting any or all of such liabilities and obligations or
 enforcing any rights under each Loan Document, including all reasonable fees and expenses of
 counsel to Lender and of any experts and agents which may be paid or actually incurred by Lender
 in collecting any such items or enforcing any such rights.
   “Operating Expenses” means, for any period, the total of all expenditures, computed by Lender
 in accordance with GAAP, modified accrual or other generally accepted accounting principles, of
 whatever kind relating to the operation, maintenance and management of the Property, which
 expenditures are incurred on a regular monthly or other periodic basis, including without
 limitation, utilities, ordinary repairs and maintenance (as underwritten for such period by Lender
 in its sole but reasonable discretion), Tenant Improvements and leasing commissions (actually
 incurred by Borrower for such period), replacement reserves (as underwritten for such period by
 Lender in its sole but reasonable discretion), insurance, license fees, Impositions, third party
 ground lease rent payments, advertising expenses, management fees, payroll and related taxes,
 computer processing charges, general and administrative costs, security costs, operational
 equipment or other lease payments as reasonably approved by Lender, and other similar costs, but
 excluding depreciation, debt service, Capital Expenditures, and contributions to any of the
 Reserves.
   “Operating Leases” means any bona-fide arms-length lease between Borrower and a third party
 for the operation of the Property; specifically, excluding, however, any residential Leases.



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   “Payment Date” means the first (1st) day of each calendar month and the Maturity Date;
 provided, however, if such day is not a Business Day, then the Payment Date shall be deemed to
 be the next succeeding Business Day.
   “Permit” or “Permits” means, as the context may require, all Governmental Approvals issued
 by or required to be obtained from any Governmental Authority in connection with the transactions
 contemplated in Loan Documents or the ownership, operation, construction or maintenance of the
 Property.
   “Permitted Debt” means (a) the Note and the other obligations, indebtedness and liabilities
 specifically provided for in the Loan Documents and secured by the Mortgage and the other Loan
 Documents, (b) trade payables incurred by Borrower in the ordinary course of business, provided
 that such trade payables (i) do not exceed $250,000 in the aggregate at any one time, (ii) are not
 evidenced by a promissory note, (iii) are not secured and (iv) are payable within ninety (90) days
 and (c) Permitted Equipment Financing not to exceed $250,000 in the aggregate at any one time.
   “Permitted Encumbrances” means (a) those property specific exceptions to title recorded in
 the real estate records of the county in which the Property is located and contained in Schedule B
 of the title insurance policy which has been approved by Lender; (b) Liens to secured Permitted
 Equipment Financing; (c) Liens in connection with the Loan Documents; and (d) Impositions not
 yet due and payable.
   “Permitted Equipment Financing” means personal property purchase money financing, leases
 and similar instruments that are (a) associated with personal property which is used in the ordinary
 course of operating and maintaining the Property and is readily replaceable without damage to, or
 interference with the operation of, the Property or the security intended to be provided by the
 Mortgage or with the current ability of the Property to generate net cash flow sufficient to service
 the Loan or Borrower’s ability to pay and perform the Obligations under the Loan Documents
 when they become due, (b) entered into on commercially reasonable terms and conditions with an
 unaffiliated third party, and (c) secured only by the financed personal property.
   “Permitted Materials” means reasonable amounts of cleaning and maintenance materials of
 the types and quantities customarily used and stored at properties similar to the Property, provided
 that same are used, stored, maintained and disposed of in accordance with all Environmental Laws.
   “Permitted Pledge” has the meaning specified in Section 4.08(d).
   “Permitted Transfer” has the meaning specified in Section 4.08(c).
   “Person” means an individual, partnership, limited partnership, corporation, limited liability
 company, business trust, joint stock company, trust, unincorporated association, joint venture,
 Governmental Authority or other entity of whatever nature.
   “Personal Property” means all personal property located on, attached to or used in or about the
 Improvements, or in connection with any activity conducted at the Real Property.
   “Plan” has the meaning specified in Section 4.02(p).
   “Prepayment Fee” has the meaning specified in Section 2.08.
   “Prohibited Person” means (i) a Person that is listed in the Annex to, or is otherwise subject to
 the provisions of, Executive Order No. 13224, (ii) a Person owned or Controlled by, or acting for
 or on behalf of, any Person that is listed in the Annex to, or is otherwise subject to the provisions


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 of, Executive Order No. 13224, (iii) a Person with whom Lender is prohibited from dealing or
 otherwise engaging in any transaction by any Anti-Terrorism Law, (iv) a Person who commits,
 threatens or conspires to commit or supports “terrorism” as defined in Executive Order No. 13224,
 (v) a Person that is named as a “specially designated national and blocked person” on the most
 current list published by the U.S. Treasury Department Office of Foreign Assets Control at its
 official website, http://www.treas.gov/ofac/t11sdn.pdf or at any replacement website or at any
 other official publication of such list, and (vi) a Person who is affiliated with a Person described
 in clauses (i) through (v) above.
   “Property” means the Real Property, Improvements, Fixtures, Equipment, and Personal
 Property, as more particularly described in the Granting Clauses of the Mortgage and owned by
 each Individual Borrower (for the avoidance of doubt, references in this Agreement to the
 “Property” shall be interpreted to be “the Property owned by each Individual Borrower separately
 and not jointly” but the foregoing shall not in any way limit the joint and several liability of the
 Borrowers).
   “Property Agreements” means all agreements, grants of easements and/or rights-of-way,
 reciprocal easement agreements, Permits, declarations of covenants, conditions and restrictions,
 disposition and development agreements, planned unit development agreements, management or
 parking agreements, party wall agreements or other instruments affecting the Property, including
 any brokerage agreements, management agreements, service contracts, and Leases.
   “Property Management Agreement” means, collectively, the property management
 agreements between each Borrower and Property Manager with respect to the applicable Property,
 as approved by Lender pursuant to Section 4.05(s).
   “Property Manager” means EVU Residential LLC, a Delaware limited liability company, and
 any other managing agent for the Property approved by Lender pursuant to Section 4.05(s).
   “Rate Adjustment Date” means, for each Interest Period, the first (1st) Business Day of such
 calendar month; provided, however, that the first (1st) Rate Adjustment Date shall be the Business
 Day immediately prior to the Execution Date.
   “Rate Cap Agreement” means an interest rate cap agreement which (1) has a notional amount
 equal to the scheduled outstanding principal balance of the Loan, (2) provides that to the extent
 the cap index identified in the rate cap term sheet approved by Lender (the “Approved Index”)
 (or, after a Benchmark Replacement Date has occurred, the Alternative Rate) exceeds the Strike
 Rate that the Acceptable Counterparty to such agreement will make payments equal to the amount
 of interest that would accrue on the Loan at an annual rate equal to the difference between the
 Approved Index (or, after a Benchmark Replacement Date has occurred, the Alternative Rate) and
 the Strike Rate, (3) has a term equal to the then effective term of the Loan based upon the then
 effective Maturity Date, (4) is issued by an Acceptable Counterparty, (5) is accompanied by an
 Assignment of Rate Cap Agreement executed by Borrower and consented to by the Acceptable
 Counterparty to such agreement, and (6) is in form and substance reasonably satisfactory to
 Lender.
   “Rating Agency” means, prior to the final Securitization of the Loan, either of S&P, Moody's,
 Fitch, DBRS, Inc. and Morningstar Credit Ratings, LLC or any other nationally-recognized
 statistical rating agency which has been designated by Lender and, after the final Securitization of
 the Loan, means any of the foregoing that have rated any of the Securities.


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   “Real Property” means individually or collectively, as the context may require, the Copper
 Ridge Property and Magnolia Property.
   “Real Property Taxes” means all taxes, payments in lieu of taxes, assessments, water and
 sewage charges, governmental impositions, and other charges, including vault charges and license
 fees for the use of vaults, chutes and similar areas adjoining the Real Property, required to be paid
 by Borrower.
   “Rebalance Date” has the meaning specified in Section 2.03.
   “Rebalance Debt Service Coverage Ratio” has the meaning specified in Section 2.03.
   “Rebalance Prepayment” has the meaning specified in Section 2.03.
   “Recourse Guaranty” means that certain Recourse and Rebalance Guaranty dated as of the
 Execution Date made by Guarantor for the benefit of Lender in connection with the Loan, as
 hereafter amended, consolidated, supplemented or modified from time to time.
   “Regulatory Agreement” means individually and collectively, (i) that certain Regulatory and
 Land Use Agreement dated January 1, 2008, by and between Preserving Louisiana’s Affordable
 Housing I, LLC, Copper Ridge Borrower’s predecessor-in-interest, Louisiana Local Government
 Environmental Facilities and Community Development Authority (the “Local Authority”), and
 Hancock Bank of Louisiana (the “Copper Ridge Regulatory Agreement”), and (ii) that certain
 Regulatory and Land Use Agreement dated January 1, 2008, by and between Preserving
 Louisiana’s Affordable Housing II, LLC, Magnolia Trace Borrower’s predecessor-in-interest, the
 Local Authority and Hancock Bank of Louisiana (the “Magnolia Trace Regulatory
 Agreement”).
   “Reimbursement Contribution” has the meaning specified in Section 13.29(d).
   “Related Party” has the meaning specified in Section 13.26(a).
   “Release” means any intentional or unintentional placing, spilling, leaking, pumping, pouring,
 emitting, emptying, discharging, injecting, escaping, leaching, dumping, disposing, discarding,
 releasing or abandoning of any Hazardous Material, other than in the normal course of business or
 activities of Borrower or its Tenants, and in compliance with all Environmental Laws.
   “Release Debt Service Coverage Ratio” has the meaning specified in Section 2.13(g).
   “Release LTV Requirement” has the meaning specified in Section 2.13(f).
   “Release Notice” has the meaning specified in Section 2.13(a).
   “Release Property” has the meaning specified in Section 2.13.
   “Release Rebalance Date” has the meaning specified in Section 2.13(g).
    “Remedial Work” means any investigation, inspection, site monitoring, containment, clean-up,
 removal, response, corrective action, mitigation, restoration or other remedial work of any kind or
 nature because of, or in connection with, the current or future presence, suspected presence,
 Release or threatened Release in or about the air, soil, ground water, surface water or soil vapor
 at, on, about, under or within all or any portion of the Property of any Hazardous Materials,
 including any action to comply with any Environmental Laws or directive of any Governmental
 Authority with regard to any Environmental Laws.
   “Renovation Contracts” has the meaning specified in Section 11.03(a).

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   “Renovation Out of Balance” has the meaning specified in Section 11.03(b).
   “Renovation Out of Balance Amount” has the meaning specified in Section 11.03(b).
   “Renovation Reserve” has the meaning specified in Section 11.03(a).
   “Renovations” has the meaning specified in Section 11.03(a).
   “Renovations Budget” has the meaning specified in Section 11.03(a).
   “Rent Regulations” has the meaning specified in Section 4.05(t).
   “Rent Roll” means, collectively, the rent roll for each Property dated December 27, 2021 as set
 forth on Exhibit E.
   “Rents” has the meaning specified in the Mortgage.
   “Replacement” means the restoring, repairing, replacing or rebuilding all or any part of the
 Property that was affected by a Condemnation.
   “Replacement Deposit” has the meaning specified in Section 11.04.
   “Replacement Loan” has the meaning specified in Section 3.01(a).
   “Replacement Loan Lender” means (i) any Affiliate of Lender, (ii) Arbor Commercial
 Mortgage, LLC or any of its Affiliates or (iii) any third party lender selected or arranged by Lender
 to make a Replacement Loan.
   “Replacement Reserve” has the meaning specified in Section 11.04.
   “Required Insurance” means all insurance required to be maintained under this Agreement.
   “Required Records” has the meaning specified in Section 4.22(c).
   “Reserves” has the meaning specified in Section 11.06(a).
   “Restoration” means the restoring, repairing, replacing or rebuilding all or any part of the
 Property that was affected by a Casualty.
   “Retention Amount” has the meaning specified in Section 6.03(g).
   “RICO” has the meaning specified in Section 13.26(c).
   “S&P” means Standard & Poor’s Ratings Services, a division of The McGraw-Hill Companies,
 Inc.
   “Securities” has the meaning specified in Section 13.02(a).
  “Securitization” means a public or private offering of Securities by Lender or any of its
 Affiliates or their respective successors and assigns.
   “Security Deposit Account” has the meaning specified in Section 12.02.
   “Shortfall” has the meaning specified in Section 11.05.
   “Single Purpose Entity” means a Person, other than an individual, which (i) is formed or
 organized solely for the purpose of (a) with respect to Borrower, acquiring, leasing, owning,
 developing, using and operating the Property and obtaining the Loan and transacting lawful
 business that is incidental, necessary or appropriate to accomplish the foregoing, and (b) with
 respect to the Copper Ridge Apts MM LLC, owning a Controlling interest in the Copper Ridge

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 Borrower in an amount no less than ten percent (10%) of the membership interests in the Copper
 Ridge Borrower, and with respect to the Magnolia Trace Apts MM LLC, owning a Controlling
 interest in the Magnolia Trace Borrower in an amount no less than ten percent (10%) of the
 membership interests in the Magnolia Trace Borrower, (ii) does not engage in any business other
 than as set forth in clause (i) above and conducts and operates its business presently conducted,
 (iii) has not and will not have any assets other than the Property and property necessary or
 incidental to operation, management and financing thereof or any indebtedness other than the
 Permitted Debt (or with respect to Controlling Party, has not and will not have any assets other
 than those related to its interest in each Borrower), (iv) maintains its own separate books and
 records and its own accounts, in each case which are separate and apart from the books and records
 and accounts of any other Person, (v) holds itself out as being a Person, separate and apart from
 any other Person (including any Related Party of such Person), (vi) does not and will not
 commingle its funds or assets with those of any other Person and holds all of its assets in its own
 name, (vii) conducts its own business in its own name and does not identify itself as a division or
 department of any other Person, (viii) maintains separate financial statements, provided that the
 Borrower’s or Controlling Party’s, as applicable, may be included in a consolidated financial
 statement of its Affiliate(s), provided further that, if applicable, (a) an appropriate notation was
 made on such consolidated financial statements to indicate the separateness of the Borrower and/or
 the Controlling Party, on the one hand, and such Affiliate(s) on the other hand, and to indicate that
 the Borrower’s and/or the Controlling Party’s assets and credit were not available to satisfy the
 debts and other obligations of such Affiliate(s) or any other Person, and (b) such assets were listed
 on the Borrower’s and/or the Controlling Party’s own separate balance sheet, (ix) pays its own
 liabilities and expenses out of its own funds, (x) observes all partnership, corporate or limited
 liability company formalities, as applicable, and complies with the terms of its Authority
 Documents, (xi) pays the salaries of its own employees, if any, and maintains a sufficient number
 of employees, if any, in light of its contemplated business operations, (xii) does not guarantee,
 assume or otherwise obligate itself with respect to the debts of any other Person or hold out its
 credit as being available to satisfy the obligations of any other Person, (xiii) does not acquire or
 assume the obligations or securities of any other Person, including its Affiliates or members, (xiv)
 allocates fairly and reasonably shared expenses, including, without limitation, any overhead for
 shared office space, if any, (xv) uses separate stationery, invoices and checks bearing its own name,
 (xvi) maintains an arms-length relationship with its Affiliates on terms that are intrinsically fair
 and commercially reasonable, (xvii) does not and will not pledge its assets for the benefit of any
 other Person or make any loans or advances to any other Person, (xviii) does and will continue to
 correct any known misunderstanding regarding its separate identity, (xix) maintains adequate
 capital for the normal obligations reasonably foreseeable in a business of its size and character in
 light of its contemplated business operations, (xx) has and will continue to have Authority
 Documents which contain the provisions set forth in this definition of “Single Purpose Entity” and
 Section 4.02(e) hereof and that have been approved by Lender, (xxi) has not and will not, and does
 not and will not have any Related Party that, engages in, seeks, or consents to the dissolution,
 winding up, liquidation, consolidation or merger of such Person, and has not and will not, and does
 not and will not have any Related Party that, engages in, seeks or consents to any asset sale or
 Transfer of the membership interests, of such Person, or amendments or termination of any of its
 Authority Documents, or the division of such Person into multiple entities or series pursuant to
 Section 18-217 of the Delaware Limited Liability Company Act or otherwise, (xxii) files its own
 tax returns (unless such Person is treated as a “disregarded entity” for tax purposes and is not


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 required to file tax returns or is required to file consolidated tax returns by law), (xxiii) is and
 intends to remain Solvent and has paid and intends to pay its debts and liabilities from its own
 assets, (xxiv) maintains its assets in such a manner that it will not be costly or difficult to segregate,
 ascertain or identify its assets from those of any other Person, (xxv) does not permit any Related
 Party (other than the Controlling Party) independent access to its bank accounts, other than the
 Property Manager pursuant to the terms of the Property Management Agreement, and (xxvi) does
 not have any of its obligations guaranteed by any of its Affiliates, other than pursuant to the
 Guaranties. If Borrower is a limited partnership or a limited liability company (other than a limited
 liability company formed in the State of Delaware, meeting the requirements of this definition and
 having at least one (1) springing member and at least one (1) Independent Manager), Controlling
 Party shall be either a corporation or a Delaware limited liability company whose sole asset is its
 interest in Borrower that (w) directly owns at least one-half-of-one percent (0.5%) of the equity of
 Borrower, (x) at all times has been, is and shall remain a Single Purpose Entity (as such definition
 is modified to take into account that Controlling Party owns the interest in Borrower and is not
 obtaining the Loan), (y) comply, and will cause Borrower to comply, with each of the
 representations, warranties, and covenants contained in Section 4.02(e) of this Agreement as if
 such representation, warranty or covenant was made directly by Controlling Party, and (z) have at
 least one (1) Independent Manager.
   “Solvent” means, as of the date of determination as to any Person, that (a) the sum of the assets
 of such Person, at a fair valuation, exceeds its liabilities, including contingent liabilities, (b) such
 Person has sufficient capital with which to conduct its business as presently conducted and as
 proposed to be conducted and (c) such Person has not incurred Indebtedness, and does not intend
 to incur Indebtedness, beyond its ability to pay such Indebtedness as it matures. With respect to
 any such contingent liabilities, such liabilities shall be computed in accordance with GAAP at the
 amount which, in light of all the facts and circumstances existing at the time, represents the amount
 which can reasonably be expected to become an actual or matured liability.
   “Spread” means three and one half of one percent (3.50%).
   “State” means the State in which the applicable portion of the Property is located.
   “Strike Rate” means one and nine-tenths of one percent (1.90%), as the same may be adjusted
 by Lender in its reasonable discretion (including, without limitation, after the Benchmark
 Replacement Date occurs).
   “Sublease” means any lease, tenancy, license or other agreement affecting the use, enjoyment
 or occupancy of any demised premises under a Lease by the Tenant thereunder to any Person.
   “Tax and Insurance Deposits” has the meaning specified in Section 11.01(a).
   “Tax and Insurance Reserve” has the meaning specified in Section 11.01(a).
   “Tenant” or “Tenants” means, as the context may require, each tenant, lessee, licensee or other
 party to a Lease.
   “Tenant Improvements” means all work performed by Borrower to prepare space in the
 Property for initial occupancy by a Tenant pursuant to a Future Lease and all work performed by
 such Tenant for which Borrower is obligated to reimburse such Tenant pursuant to the terms of
 such Future Lease.

   “Tenant Notice Letter” has the meaning specified in Section 12.03(c).

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   “Termination Date” means January 15, 2023 for each Regulatory Agreement.

    “Transfer” means the conveyance, assignment, sale, mortgaging, encumbrance, pledge,
 hypothecation, granting of a security interest in, granting of options with respect to, or other
 disposition of (directly or indirectly, voluntarily or involuntarily, by operation of Law or otherwise,
 and whether or not for consideration or of record) all or any portion of any legal or beneficial
 interest (i) in all or any portion of the Property; (ii) in a Borrower (or any trust of which a Borrower
 is a trustee); or (iii) in any Person having a direct or indirect legal or beneficial ownership in
 Borrower; and shall also include, without limitation to the foregoing, the following: (a) a change
 in Control of the direct or indirect management of Borrower, Controlling Party or Guarantor, (b)
 an installment sales agreement wherein Borrower agrees to sell the Property or any part thereof or
 all interest therein for a price to be paid in installments, (c) all agreements by Borrower leasing all
 or a substantial part of the Property to one or more Persons pursuant to a single or related
 transactions (excluding leases to third party Tenants entered in the normal course of Borrower’s
 business and in compliance with the terms of the Mortgage), or a sale, assignment or other transfer
 of, or the grant of a security interest in, Borrower’s right, title and interest in and to any Leases or
 all Rent, (d) any instrument subjecting the Property to a condominium regime or transferring
 ownership to a cooperative corporation, (e) the issuance of any new or additional legal or beneficial
 ownership interests in Borrower or any Person having a direct or indirect legal or beneficial
 ownership interest in Borrower, including, without limitation issuance of preferred equity or new
 stock in a corporation or the admission of new partners or members, (f) the dissolution or
 termination of Borrower or any Person having a direct or indirect legal or beneficial ownership
 interest in Borrower or the merger or consolidation of Borrower or such Person with any other
 Person, and (g) any division of a limited liability company into multiple entities or series pursuant
 to Section 18-217 of the Delaware Limited Liability Company Act or otherwise, with an allocation
 of collateral held by Lender to any such Person or series.
   Notwithstanding the foregoing, a transfer of the interests in Borrower or any Person having a
 direct or indirect legal or beneficial ownership interest in Borrower, by or on behalf of an
 individual owner thereof who is deceased or declared judicially incompetent, to such owner’s
 heirs, legatees, devisees, executors, administrators, trustees, estate or personal representatives shall
 not constitute a “Transfer”, provided that (v) such transferee is not a Prohibited Person, (w) no
 Event of Default exists at the time of such Transfer, (x) notice of such Transfer is delivered to
 Lender not less than thirty (30) days prior to such Transfer (or in the case of a Transfer by operation
 of law in the event of the death of such individual, not more than thirty (30) days after such
 Transfer) together with any instruments evidencing the Transfer; (y) there is no change in the
 management of the Property or in the Control of Borrower or Controlling Party as a result of such
 Transfer; and (z) if any transferee shall own twenty percent (20%) or more of the direct or indirect
 interests in Borrower as a result of such Transfer then Lender shall have the right to obtain criminal
 and credit searches in respect of such transferee (i.e., bankruptcy, litigation, judgment and lien
 searches), and such searches shall be reasonably acceptable to Lender.
   “Transfer Notice” has the meaning specified in Section 4.08(c).
   “UCC” or “Uniform Commercial Code” means the Uniform Commercial Code as in effect in
 the State (with respect to fixtures), the State of New York or the state in which any of the Reserves
 of the Collection Account is located, as the case may be.
   “UCC Collateral” has the meaning specified in Section 10.02(a)(xvi).

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   “USA Patriot Act” means the “Uniting and Strengthening America by Providing Appropriate
 Tools Required to Intercept and Obstruct Terrorism Act of 2001” (Public Law 107-56).
   “Use Requirements” means any and all building codes, Permits, certificates of occupancy or
 compliance, Laws, regulations, or ordinances (including, without limitation, health, pollution, fire
 protection, medical and day-care facilities, waste product and sewage disposal regulations),
 restrictions of record, easements, reciprocal easements, declarations or other agreements affecting
 the use of the Property or any part thereof.
   “Work” has the meaning specified in Section 11.04.
                         General Construction. Defined terms used in this Agreement may be used
         interchangeably in singular or plural form, and pronouns are to be construed to cover all
         genders. All references to this Agreement or any agreement or instrument referred to in this
         Agreement means such agreement or instrument as originally executed and as hereafter
         amended, supplemented, extended, consolidated or restated from time to time. The words
         “herein,” “hereof” and “hereunder” and other words of similar import refer to this
         Agreement as a whole and not to any particular subdivision; and the words “Article” and
         “Section” refer to the entire article or section, as applicable and not to any particular
         subsection or other subdivision. Reference to days for performance means calendar days
         unless Business Days are expressly indicated. In the event any financial test under Sections
         2.03 and/or 2.06 hereof are stated to be measured as of a calendar day that is not a Business
         Day, the testing date set forth therein shall be deemed to be the next succeeding Business
         Day. All references to a Law include any amendment or modification to such Law. All
         references to a Person include such Person’s permitted successors and assigns.

                                               ARTICLE 2
                                                LOAN

                        Loan. Subject to the terms and conditions of this Agreement, Lender agrees
         to make a loan pursuant to this Agreement to Borrower on the Execution Date in the
         principal amount of $23,088,000 (the “Loan”). Amounts prepaid or repaid on the Loan
         cannot be re-borrowed.

                            Computation and Payment of Interest.

                  (a) Borrower agrees to pay interest to Lender on the outstanding and unpaid
 principal amount of the Loan at a rate per annum equal to the Applicable Interest Rate. Interest for
 each Interest Period shall be paid on the Payment Date immediately following each Interest Period,
 except that interest for the period from the Execution Date to the last day of the calendar month in
 which the Execution Date occurs shall be payable on the Execution Date (provided that the LIBOR
 Rate for the period from the Execution Date to such last day of the calendar month shall be set as
 of the third (3rd) Business Day immediately prior to the Execution Date).

                 (b) Subject to the provisions of the following paragraph with respect to the
 application of the Default Rate, the Applicable Interest Rate for each Interest Period shall be the
 Applicable Interest Rate as of the Rate Adjustment Date at the beginning of such Interest Period.
 Lender shall determine the Applicable Interest Rate for each Interest Period on each Rate
 Adjustment Date, except that the Applicable Interest Rate for the period from the Execution Date

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 to the last day of the calendar month in which the Execution Date occurs shall be determined by
 Lender as of the Business Day immediately prior to the Execution Date. Not later than five (5)
 days prior to each Payment Date Lender shall give notice to Borrower of the then effective
 Applicable Interest Rate and the amount of the payment required to be made in the next Payment
 Date. During the applicable Interest Period, interest shall accrue on the outstanding principal
 amount of the Loan at the Applicable Interest Rate for such Interest Period.

                  (c) Any amount of principal or interest or any other amount due under the Note,
 this Agreement and/or any other Loan Document which is not paid when due will, at the option of
 Lender, bear interest from the date when due until paid in full, payable on demand, at a rate per
 annum equal to the Default Rate. During any period in which there is an outstanding Event of
 Default, at the option of Lender, subject to applicable grace, notice and cure periods, the Loan will
 bear interest at the Default Rate. Interest accruing under this Agreement shall be calculated on the
 basis of a year of three hundred sixty (360) days for the actual number of days elapsed. All
 calculations by Lender of the Applicable Interest Rate and the interest payments due under this
 Agreement shall be conclusive absent manifest error.

                 (d) If the Benchmark Transition Event occurs after the date hereof, then Lender
 shall give written notice thereof to Borrower as soon as practicable thereafter, which notice shall
 contain the identity of the Benchmark Transition Event, and if known at such time, the Benchmark
 Replacement, the Benchmark Replacement Adjustment and the Benchmark Replacement Date. If
 Lender elects to make an Early Opt-in Election, Lender shall give written notice thereof to
 Borrower, which notice shall contain the Benchmark Replacement, the Benchmark Replacement
 Adjustment and the Benchmark Replacement Date. If any such notice is given, the Applicable
 Interest Rate with respect to the Loan for any Interest Period commencing after the Benchmark
 Replacement Date shall be (i) the Alternative Rate or (ii) the Default Rate, whichever is applicable
 at the time of determination.

                (e) If, at any time, Lender determines, in its reasonable discretion, that it has
 miscalculated the Applicable Interest Rate (whether because of a miscalculation of the LIBOR
 Rate or otherwise), Lender shall notify Borrower of the necessary correction. If the corrected
 Applicable Interest Rate represents an increase in the applicable monthly payment, Borrower shall,
 within ten (10) days thereafter, pay to Lender the corrected amount. If the corrected Applicable
 Interest Rate represents an overpayment by Borrower to Lender and no Event of Default then
 exists, Lender shall refund the overpayment to Borrower or, at Lender’s option, credit such
 amounts against Borrower’s payment next due hereunder.

                 (f) All payments made by Borrower hereunder shall be made free and clear of, and
 without reduction for, or on account of, any income, stamp or other taxes, levies, imposts, duties,
 charges, fees, deductions or withholdings hereafter imposed, levied, collected, withheld or
 assessed by any Governmental Authority (other than taxes on the overall net income or overall
 gross receipts of Lender imposed as a result of a present or former connection between Lender and
 the jurisdiction of the Governmental Authority imposing same provided, that this exclusion shall
 not apply to a connection arising solely from Lender’s having executed, delivered, performed its
 obligations under, received a payment under, or enforced this Agreement or any other Loan
 Document). If any such amounts are required to be withheld from amounts payable to Lender, the
 amounts payable to Lender under the Loan Documents shall be increased to the extent necessary

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 to yield to Lender, after payment of such amounts, interest or any such other amounts payable at
 the rates or in the amounts specified herein. If any such amounts are payable by Borrower,
 Borrower shall pay all such amounts by their due date and promptly send Lender a certified copy
 of an original official receipt showing payment thereof. If Borrower fails to pay such amounts
 when due or to deliver the required receipt to Lender, Borrower shall indemnify Lender for any
 incremental taxes, interest or penalties that may become payable by Lender as a result of any such
 failure.

                 (g) Borrower shall pay to Lender, if, and so long as Lender shall be required under
 regulations of the Board of Governors of the Federal Reserve System to maintain reserves with
 respect to liabilities or assets consisting of or including Eurocurrency Liabilities (as defined in
 Regulation D of the Board of Governors of the Federal Reserve System, as in effect from time to
 time), additional interest on the unpaid principal amount of the Loan at an interest rate per annum
 equal at all times to the remainder obtained by subtracting (i) the LIBOR Rate for any calendar
 month from (ii) the rate obtained by dividing such LIBOR Rate by a percentage equal to one
 hundred percent (100%) minus the LIBOR Rate Reserve Percentage for such calendar month,
 payable in arrears on each Payment Date. Such additional interest shall be determined by Lender
 and notified to Borrower.

                 (h) If Lender determines that the adoption of any Law, regulation, rule or guideline
 (including, without limitation, any change regarding the imposition or increase in reserve
 requirements), whether or not having the force of Law, does or will have the effect of reducing
 Lender’s rate of return on the Loan, then, from time to time, within five (5) Business Days after
 written demand by Lender, Borrower shall pay Lender such additional amount as will compensate
 Lender for its reduction. In addition, if any Law, regulation, rule or guideline hereafter is enacted
 or modified, whether or not having the force of Law, and compliance therewith results in an
 increase in the cost to Lender (including, without limitation, a reduction in the income received by
 Lender) in making, funding or maintaining interest on the Loan at the rate herein provided, then,
 within five (5) Business Days after written demand by Lender, Borrower shall pay Lender the
 additional amounts necessary to compensate Lender for such increased costs.

                 (i) Notwithstanding anything to the contrary contained herein, if Borrower is
 prohibited by Law from paying any amount due to Lender under any of the prior three (3)
 paragraphs, Lender may elect to declare the unpaid principal balance of the Loan, together with
 all unpaid interest accrued thereon and any other amounts due hereunder, due and payable within
 ninety (90) days of Lender’s written notice to Borrower. Lender’s delay or failure in accelerating
 the Loan upon the discovery or occurrence of an event under such paragraph shall not be deemed
 a waiver or estoppel against the exercise of such right.

                        Payment of Principal. Borrower agrees to pay the entire unpaid principal
         balance of the Loan on the Maturity Date. All amounts due under each Loan Document
         shall be made without any setoff, defense and irrespective of, and without deduction for,
         counterclaims.

        Notwithstanding the foregoing or anything to the contrary set forth herein, (i) on July 1,
 2023, and (ii) at all times upon the occurrence of an Event of Default (each, a “Rebalance Date”),
 the Debt Service Coverage Ratio, as determined by Lender in its sole and absolute discretion, must

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 be equal to or greater than 1.10 to 1.00 (the “Rebalance Debt Service Coverage Ratio”), with
 respect to subsection (i) above, based on a trailing three (3) month basis for Gross Income from
 Operations (annualized) based upon data from March 1, 2023 through May 31, 2023, and based
 on a trailing twelve (12) month basis for normalized Operating Expenses based upon data from
 June 1, 2022 through May 31, 2023, and with respect to subsection (ii) above, based upon data for
 a period of time as determined by Lender in its sole but reasonable discretion, provided, however,
 notwithstanding the foregoing, if the term of the Loan is extended pursuant to and in accordance
 with Section 2.06 hereof, and an Event of Default occurs after the initial Maturity Date or the
 extended Maturity Date, the Debt Service Coverage Ratio, as determined by Lender in its sole and
 absolute discretion must be equal to or greater than the Extension DSCR based upon data for a
 period of time as determined by Lender in its sole but reasonable discretion. If the Rebalance Debt
 Service Coverage Ratio has not been achieved on the Rebalance Date, then, at Lender’s option in
 its sole and absolute discretion, Lender may deliver written notice to Borrower demanding
 payment of, and Borrower shall pay to Lender immediately, an amount to prepay and reduce the
 principal balance of the Loan such that the Debt Service Coverage Ratio equals the Rebalance
 Debt Service Coverage Ratio and the Extension DSCR, as applicable (the “Rebalance
 Prepayment”). The Rebalance Prepayment shall be made in accordance with the provisions of
 Section 2.08, with payment of the applicable Exit Fee. The nonpayment of the Rebalance
 Prepayment together with the applicable portion of the Exit Fee as herein prescribed shall be an
 immediate Event of Default.

         For the avoidance of doubt, Lender may exercise or elect not to exercise its rights under
 this Section 2.03 as set forth herein for any or no reason whatsoever, and Lender’s exercise, failure
 to exercise or delay in exercising its right to measure the Debt Service Coverage Ratio or demand
 the Rebalance Prepayment pursuant to this Section 2.03 shall not be deemed a waiver of nor
 preclude any further exercise thereof by Lender to measure the Debt Service Coverage Ratio or
 demand the Rebalance Prepayment under this Section 2.03 and Borrower hereby waives any
 defense Borrower might assert or have by reason of Lender’s exercise, failure to exercise or delay
 in exercising its rights hereunder.

                         Method of Payment. Borrower agrees to make each payment to Lender
         under this Agreement, the Note and each of the other Loan Documents on the date when
         due at Lender’s Office or such other location as may be designated by written notice from
         Lender to Borrower. All payments under this Agreement, the Note or any of the other Loan
         Documents shall be made in lawful money of the United States of America by wire transfer
         in federal or other immediately available funds to the account specified from time to time
         by Lender. Whenever any payment to be made under this Agreement, the Note or any of
         the other Loan Documents is stated to be due on a day other than a Business Day, such
         payment shall be made on the next succeeding Business Day; however, except with respect
         to any payments due on the Maturity Date, such extension of time shall not in such case be
         included in the computation of the payment of interest. Each payment received by Lender
         after 2:00 p.m. local time at the place then designated by Lender for payment shall be
         deemed received on the next Business Day for all purposes under this Agreement, the Note
         and any of the other Loan Documents, including the payment and accrual of interest. Any
         regularly scheduled payment of interest that is received by Lender before the date it is due
         shall be deemed to have been received on the due date solely for the purpose of calculating
         interest due.

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                         Application of Payments. All payments received by Lender shall be applied
         as follows: first, to the payment of all fees and expenses due from Borrower to Lender;
         second, to the payment of accrued and unpaid interest; third, to the payment of the Exit Fee;
         fourth, to the payment of the Prepayment Fee due hereunder, if any; and lastly, to the
         payment of principal on the Loan.

                         Extension of Term. Borrower has an option to extend the Maturity Date one
         (1) time for an additional twelve (12) months, provided all of the following terms and
         conditions precedent are strictly satisfied: (1) at least thirty (30) days prior to the then
         scheduled Maturity Date, Borrower delivers to Lender written notice ("Extension Notice")
         of Borrower’s election to extend the Maturity Date for an additional twelve (12) months,
         such Extension Notice to be delivered only by certified mail or by nationally recognized
         overnight courier service, to Lender’s Office, in each case with return receipt or delivery
         confirmation requested and retained to evidence strict compliance with the terms and
         conditions of this Section 2.06, (2) upon five (5) Business Days’ demand from Lender, and
         in any event prior to the date on which the extension commences, Borrower pays to Lender
         all of Lender’s reasonable expenses, if any, incurred in connection with the exercise by
         Borrower of its option to extend the Maturity Date, (3) no Default or Event of Default exists
         at any time during the period from the date Borrower delivers the Extension Notice to and
         including the date on which the extension commences, (4) Borrower pays to Lender an
         extension fee equal to $230,880 (“Extension Fee”), which payment must be in the form of
         a certified check or official bank check and must accompany the Extension Notice, (5) upon
         five (5) Business Days’ demand from Lender, and in any event prior to the date on which
         the extension commences, Borrower shall have deposited into the Interest Reserve an
         amount as determined by Lender in its sole but reasonable discretion, (6) only if required
         by Lender in its sole and absolute discretion, the Debt Service Coverage Ratio, as
         determined by Lender in its sole and absolute discretion, as of December 10, 2024 is not
         less than 1.10 to 1.00 (the “Extension DSCR”), based on a trailing three (3) month basis
         for Gross Income from Operations (annualized) based upon data from August 1, 2024
         through October 31, 2024, and based on a trailing twelve (12) month basis for normalized
         Operating Expenses based upon data from November 1, 2023 through October 31, 2024;
         provided, however, if the actual Debt Service Coverage Ratio for such period is less than
         the Extension DSCR, Borrower may satisfy this condition by making a prepayment of the
         Loan by the original Maturity Date in an amount sufficient to increase the actual Debt
         Service Coverage Ratio to meet or exceed the Extension DSCR, and (7) Borrower shall, if
         required by Lender in its sole and absolute discretion, purchase a Rate Cap Agreement based
         on the new Maturity Date in form and substance satisfactory to Lender and with a Strike
         Rate which is determined by Lender in its sole but reasonable discretion, which Rate Cap
         Agreement shall have been collaterally assigned to Lender pursuant to the terms of an
         Assignment of Rate Cap Agreement in form and substance satisfactory to Lender.

        For the avoidance of doubt, Lender may exercise or elect not to exercise its rights under
 Section 2.06(6) for any or no reason whatsoever, and Lender’s exercise, failure to exercise or delay
 in exercising its right to measure the Extension DSCR pursuant to this Section 2.06 shall not be
 deemed a waiver of nor preclude any further exercise thereof by Lender to measure the Extension
 DSCR under this Section 2.06 and Borrower hereby waives any defense Borrower might assert or
 have by reason of Lender’s exercise, failure to exercise or delay in exercising its rights hereunder.

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          If Borrower pays the Extension Fee but then fails to qualify for the extension because of a
 failure to strictly satisfy any of the conditions precedent for such extension, then Lender shall retain
 the Extension Fee and apply the Extension Fee to the outstanding principal balance of the Loan at
 the time Borrower repays the Loan in full, which prepayment shall be made in accordance with
 the terms of Section 2.08, with the payment of the applicable Exit Fee.

                         Late Fee. If any amount payable under any Loan Document is not received
         by Lender within five (5) days after such amount is due (other than payment of the entire
         outstanding balance of the Loan on the Maturity Date), Borrower shall pay to Lender, within
         five (5) days of when requested by Lender, a late charge equal to five percent (5%) of such
         amount (the “Late Fee”). The Late Fee is payable in addition to, and not in lieu of, any
         interest payable at the Applicable Interest Rate or the Default Rate, as applicable. Borrower
         agrees that the payment of the Late Fee is to cover the expenses incurred by Lender in
         processing the delinquent payment.

                          Prepayments. Borrower may prepay the Loan in whole or in part in
         accordance with the following provisions: (1) at least fifteen (15) days prior to the date
         proposed for prepayment Borrower delivers to Lender written notice of such prepayment
         and such notice specifies the date and the amount of such prepayment, (2) Borrower pays
         to Lender all amounts due and owing under each Loan Document to the date of repayment,
         including all accrued and unpaid interest, including interest accrued at the Default Rate (if
         any), all fees and expenses, including all Late Fees (if any), the Exit Fee (or portion thereof),
         the Prepayment Fee and actual legal fees, property inspection fees and other loan processing
         and servicing fees, (3) each partial prepayment shall be in a principal amount of not less
         than $100,000, and (4) if any prepayment is tendered on a day that is not on or prior to the
         seventh (7th) calendar day of the month such prepayment is tendered, Borrower pays to
         Lender an amount equal to the interest that would have accrued on the Loan after the date
         of prepayment through and including the date immediately preceding the next Payment Date
         had the prepayment not been made, and such sum shall constitute additional consideration
         for the prepayment and not a penalty. Lender shall submit a certificate to Borrower setting
         forth in reasonable detail the amount required to be paid, which certificate shall be
         conclusive absent manifest error. No principal amount repaid may be re-borrowed.

                  If a prepayment of principal, or any payment of the Loan upon acceleration of the
 Loan following the occurrence of an Event of Default, is made prior to January 11, 2023 (the
 “Early Prepayment Date”) Borrower shall also pay to Lender together with such prepayment, or
 such payment upon acceleration, as applicable, an amount (the “Prepayment Fee”) equal to the
 interest (at the Applicable Interest Rate or the Alternative Rate, as applicable) which would have
 otherwise been payable on such prepaid amount from the date of such prepayment through and
 including the Early Prepayment Date. Notwithstanding the foregoing, no Prepayment Fee shall be
 due for partial prepayments resulting from Lender applying Casualty Insurance Proceeds or
 Condemnation Proceeds to reduce the outstanding principal balance of the Loan or partial
 prepayments made pursuant to Section 2.03 and/or Section 2.06 hereof. Borrower acknowledges
 that Lender has relied upon the anticipated investment return under this Agreement and the Note
 in entering into transactions with, and in making commitments to, third parties and that the tender
 of any prepayment, shall, to the extent permitted by Law, include the Prepayment Fee. Borrower
 agrees that the Prepayment Fee represents the reasonable estimate of Lender and Borrower of a

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 fair average compensation for the loss that may be sustained by Lender as a result of a prepayment
 of the Loan and it shall be paid without prejudice to the right of Lender to collect any other amounts
 provided to be paid under the Loan Documents.

               Mandatory prepayments made in connection with the application, pursuant to this
 Agreement, of Casualty Insurance Proceeds or Condemnation Proceeds shall be paid in the
 amounts and at the times specified in this Agreement, without the payment of the Prepayment Fee,
 but with payment of the applicable Exit Fee.

                           Exit Fee. If all or any part of the unpaid principal balance of the Loan is
         repaid, at any time and for any reason, including (1) any regularly scheduled payment of the
         Loan, including payments made on the Maturity Date, (2) any payment of the Loan upon
         acceleration of the Loan following the occurrence of an Event of Default, (3) any optional
         prepayment of the Loan, or (4) any mandatory prepayment of the Loan, including any
         Rebalance Prepayment, then Borrower agrees to make a payment in an amount equal to one
         percent (1.0%) of the amount of such principal payment or prepayment (the "Exit Fee").
         Borrower acknowledges that the Exit Fee is earned by Lender at the time of making the
         Loan. Notwithstanding the foregoing, if Borrower obtains permanent financing or a
         Replacement Loan on the Property from a Replacement Loan Lender, Lender shall waive
         its right to receive the Exit Fee in connection with such permanent financing or Replacement
         Loan, as applicable.

                        Usury Limitation. This Agreement and the Note are subject to the express
         condition that at no time shall Borrower be obligated or required to pay interest on the
         principal balance of the Loan at a rate of interest in excess of the Maximum Legal Rate. If,
         by the terms of any Loan Document, Borrower is at any time required to pay interest on the
         principal balance of the Loan at a rate in excess of the Maximum Legal Rate, then the
         Applicable Interest Rate shall be deemed to be immediately reduced to the Maximum Legal
         Rate and all previous payments in excess of the Maximum Legal Rate shall be deemed to
         have been payments in reduction of principal and not on account of the interest due under
         this Agreement or the Note. All sums paid or agreed to be paid to Lender for the use,
         forbearance, or detention of the sums due under the Loan, shall, to the extent permitted by
         applicable Law, be amortized, prorated, allocated, and spread throughout the full stated term
         of the Loan until payment in full so that the rate or amount of interest on account of the
         Loan does not exceed the Maximum Legal Rate in effect from time to time and applicable
         to the Loan for so long as the Loan is outstanding.

                         Note. Subject to Section 13.02, the Loan shall be evidenced by, and repaid
         with interest in accordance with, a single promissory note of Borrower.

                         Use of Proceeds. The proceeds of the Loan shall be used by Borrower only
         (a) to acquire the Property (b) to pay all past-due Impositions and Insurance Premiums, if
         any, in respect of the Property, (c) to make initial deposits of the Reserves, as required in
         this Agreement, (d) to pay costs and expenses incurred in connection with the closing of the
         Loan, as approved by Lender, and (e) to the extent any proceeds remain after satisfying
         clauses (a) through (d) above, for such lawful purposes as Borrower shall designate,
         provided such purposes do not violate the terms of any of the Loan Documents. Borrower

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         shall not, directly or indirectly, use any part of the proceeds of the Loan for the purpose of
         purchasing or carrying any margin stock within the meaning of Regulation U of the Board
         of Governors of the Federal Reserve System or to extend credit to any Person for the purpose
         of purchasing or carrying any such margin stock.

                          Partial Release. Borrowers may obtain the release of the Copper Ridge
         Property, and the Magnolia Property (such property to be released referred to herein as the
         “Release Property”) from the Lien of the Mortgage (and related Loan Documents) and the
         release of such Borrower’s obligations under the Loan Documents with respect to the
         Release Property (other than those expressly stated to survive) upon Borrower’s satisfaction
         of all of the conditions precedent set forth below:

               (a) Borrower shall provide Lender with at least thirty (30) days but no more than
 ninety (90) days prior written notice of its request to obtain a release of the Release Property
 (“Release Notice”) setting forth the date of such release;

                (b) Borrower shall (i) make a prepayment of the outstanding principal amount of
 the Loan in an amount equal to the greater of (x) one hundred twenty percent (120%) of the
 applicable Allocated Loan Amount allocated to such Release Property or (y) the Net Sales
 Proceeds generated by the sale of the Release Property, which amount shall be applied by Lender
 to repay the Loan, and (ii) pay all amounts due and owing for such release under Section 2.08
 hereof (including any Prepayment Fee) and the applicable Exit Fee;

                (c) Borrower shall have paid, in connection with such proposed release, all of the
 reasonable legal fees and third party expenses incurred by Lender in connection with (i) reviewing
 and processing such request for release and Borrower’s compliance with the requirements set forth
 herein, whether or not such release actually closes, and (ii) providing all release documents in
 connection with such release;

                 (d) Borrower shall have paid, in connection with such release, all recording
 charges, filing fees, taxes or other expenses payable in connection therewith;

                 (e) No Default or Event of Default shall have occurred and be continuing at the
 time of (i) delivery to Lender of the Release Notice for the proposed release or (ii) the closing of
 the release;

                 (f) After giving effect to the release of the Release Property as provided herein, the
 Loan to Value Ratio, as reasonably determined by Lender based on the most recent Appraisal
 obtained by Lender as of a date determined by Lender in its sole discretion following Lender’s
 receipt of the Release Notice, shall not be greater than the lesser of (i) the Loan to Value Ratio
 immediately prior to the effectiveness of the release of the Release Property as reasonably
 determined by Lender based on the most recent Appraisal obtained by Lender, and (ii) the Loan to
 Value Ratio of seventy-five percent (75%) (the “Release LTV Requirement”); provided,
 however, if the Release LTV Requirement is not satisfied, then Borrower may satisfy this
 condition by making a prepayment of the Loan by the proposed date of the release in an amount
 sufficient to satisfy the Release LTV Requirement. Lender may, in its sole discretion and at



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 Borrower’s expense, order an Appraisal of the Property to assess the current value thereof and to
 test Borrower’s compliance with the Release LTV Requirement;

                 (g) After giving effect to the release of the Release Property as provided herein,
 the Debt Service Coverage Ratio as determined by Lender in its sole discretion pursuant to the
 terms of this Agreement, as of a date determined by Lender in its sole discretion following
 Lender’s receipt of the Release Notice (such testing date as determined by Lender, the “Release
 Rebalance Date”) shall not be less than the greater of (A) the Debt Service Coverage Ratio
 immediately prior to the effectiveness of the release of the Release Property as determined by
 Lender in its sole discretion, and (B) the Debt Service Coverage Ratio of 1.25 to 1.00 (the “Release
 Debt Service Coverage Ratio”), based upon data for a period of time as determined by Lender in
 its sole but reasonable discretion; provided, however, if the actual Debt Service Coverage Ratio
 for such period is less than the Release Debt Service Coverage Ratio, Borrower may satisfy this
 condition by making a prepayment of the Loan by the proposed date of the release in an amount
 sufficient to increase the actual Debt Service Coverage Ratio to meet or exceed the Release Debt
 Service Coverage Ratio;

              (h) At Borrower’s expense, Borrower shall furnish to Lender an ALTA 11-06
 endorsement or its equivalent to Lender’s title policy; and

               (i) Borrower shall have delivered to Lender all documents and information
 reasonably requested by Lender in order to verify the satisfaction of the foregoing conditions.

         Other than as provided in this Agreement, upon satisfaction of the conditions set forth
 above for any Release Property, Lender shall promptly release all collateral held by Lender with
 respect to such Release Property and record in the appropriate public records full releases of all
 collateral documents encumbering such collateral. If Lender accepts any payment or issues any
 release, it shall not affect any remaining Borrower’s obligation to repay all amounts which are
 owing under the Loan Documents or affect the lien of the Mortgage against any other Property not
 released pursuant to the terms hereof.

                                            ARTICLE 3
                                       REPLACEMENT LOANS

                            Replacement Loan.

           (a) Borrower acknowledges that as an inducement to make the Loan, Lender shall have
 the exclusive right (but not the obligation) of first refusal to provide to Borrower or an Affiliate
 thereof, directly or through a Replacement Loan Lender, any financing, re-financing, take-out
 financing or other replacement financing with respect to the Property (any such re-financing, take-
 out financing or other replacement financing, a “Replacement Loan”). If Borrower shall receive
 a written commitment, written offer or written term sheet for a Replacement Loan from a third
 party institutional lender (any such written commitment, written offer or written term sheet, a
 “Competing Offer”), Borrower shall promptly submit such Competing Offer to Lender; provided,
 however, in no event shall Borrower sign any Competing Offer which provides such third party
 institutional lender with an exclusive right to provide a Replacement Loan, and, if such third party
 institutional lender insists on including such an exclusive right in its written offer, then Borrower


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 shall deliver the Competing Offer to Lender unsigned without any related deposit funded to such
 third party institutional lender. Upon receipt of such Competing Offer, Lender shall have five (5)
 Business Days to request of Borrower, in writing, any additional information needed by Lender or
 Replacement Loan Lender to analyze the Competing Offer, including but not limited to an
 application to be completed by Borrower for such Replacement Loan on Lender’s, and, if
 applicable, Replacement Loan Lender’s, standard application form (collectively, “Additional
 Information”). Borrower shall deliver to Lender all such Additional Information as has been
 requested within five (5) Business Days after receipt of Lender’s request for the Additional
 Information. Lender shall have ten (10) days after receipt from Borrower of the Additional
 Information, or if no Additional Information is requested then from the date of Lender’s receipt of
 the Competing Offer from Borrower, to match the terms of the Competing Offer. If Lender agrees
 to match such terms either directly or through Replacement Loan Lender, Borrower shall enter
 into such Replacement Loan with Lender or Replacement Loan Lender, as applicable, upon such
 matched terms. If Lender does not agree in writing delivered to Borrower prior to the expiration
 of the aforementioned ten-day period to match the terms of the Competing Offer, or fails to respond
 within such ten-day period, Borrower may enter into the Replacement Loan with the other
 institutional lender on the same terms as the Competing Offer delivered to Lender; provided,
 however, that if such Replacement Loan with such third party institutional lender (i) does not close
 within ninety (90) days after the date on which Lender did not agree to match the terms of the
 Competing Offer or waived such right, and/or (ii) is modified so that the terms are not the same as
 those contained in the Competing Offer delivered to Lender, Borrower shall again have to comply
 with all of the aforementioned terms of this Section 3.01(a). If Lender or any Replacement Loan
 Lender matches in writing a Competing Offer, Borrower shall be obligated to accept such
 Replacement Loan from Lender or Replacement Loan Lender, as applicable. Borrower shall
 cooperate in good faith with Lender, and, if applicable, Replacement Loan Lender. For the
 purposes of this Section 3.01(a), the terms “match” or “matching” means agreeing to match (i) the
 principal amount of the Replacement Loan, (ii) the overall yield payable in connection to the
 Replacement Loan (including any placement fees, broker fees, arrangement fees, exit fees or any
 other fee associated with the financing), (iii) whether the Replacement Loan is interest only or
 amortized, (iv) the term of the Replacement Loan (including, without limitation, extension
 options), (v) any required guaranties and the type of recourse liability under the Replacement Loan
 (i.e., recourse vs. non-recourse) and the identity of any guarantors or indemnitors in connection
 therewith, (vi) the amount and conditions of any required reserves and (vii) the prepayment
 penalties or premiums under the Replacement Loan and any restrictions or lockout period, if any,
 with respect to prepayment under the Replacement Loan. The foregoing provisions of this Section
 3.01(a) shall not apply with respect to any financing, refinancing, take-out financing or other
 replacement financing through the Federal National Mortgage Association, the Federal Home
 Loan Mortgage Corporation, the Federal Housing Administration (or any successor to programs
 originally established with the aforementioned entities) or an Arbor CMBS refinancing program,
 as well as any government-sponsored enterprise similar to any of the aforementioned or any
 successor to programs originally established with any of the aforementioned (collectively, a “GSE
 Loan”), all of which shall instead be subject to the provisions of Section 3.01(b) below. The rights
 granted in this Section 3.01(a) shall survive any full or partial repayment of the Debt that results
 in a release of one or more of the Properties for a period of one (1) year from the date of each such
 release, other than any full repayment of the Debt using the proceeds of a Replacement Loan with



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 respect to which the procedures of this Section 3.01 were followed and which Lender declined to
 match.

          (b)     Before discussing a potential GSE Loan with any lender or receiving any
 commitment, offer or term sheet (written or otherwise) for a GSE Loan from a lender, Borrower
 or an affiliate thereof shall request in writing that Lender provide proposed terms for a GSE Loan
 through Lender or a Replacement Loan Lender. When so requesting, Borrower shall provide
 Lender with any information needed and/or reasonably requested by Lender or Replacement Loan
 Lender to analyze the potential GSE Loan, including but not limited to an application to be
 completed by Borrower for such GSE Loan on Lender’s, and, if applicable, Replacement Loan
 Lender’s, standard application form (collectively, the “GSE Information”). Lender shall have ten
 (10) days after receipt from Borrower of all of the GSE Information to make Borrower a written
 offer to provide the GSE Loan (“GSE Offer”). If Borrower either accepts such GSE Offer in
 writing, or fails to respond to the GSE Offer in writing, then Borrower shall enter into such GSE
 Loan with Lender or Replacement Loan Lender, as applicable, upon the terms in such GSE Offer.
 If Borrower rejects such GSE Offer in writing, then Borrower may enter into the GSE Loan with
 another third party institutional lender so long as none of the terms of such other lender’s loan
 (“GSE Competing Offer”) are more beneficial or favorable to such lender than the terms set forth
 for the benefit of Lender or Replacement Loan Lender in the GSE Offer; provided, however, that
 (i) if such GSE Loan with the other third party institutional lender does not close within ninety
 (90) days after the date on which Borrower rejected the GSE Offer, then Borrower will again have
 to comply with all of the aforementioned terms of this Section 3.01(b) and/or (ii) if the proposed
 terms of such GSE Loan with the other third party institutional lender are modified so that any of
 the terms of such GSE Competing Offer are more beneficial or favorable to such lender than the
 terms set forth for the benefit of Lender or Replacement Loan Lender in the GSE Offer , Borrower
 shall provide a copy of the GSE Competing Offer to Lender, in which case Lender or any
 Replacement Loan Lender shall have ten (10) days to elect to match such GSE Competing Offer,
 and if it does so, then Borrower shall be obligated to accept such GSE Loan from Lender or
 Replacement Loan Lender, as applicable. Borrower shall cooperate in good faith with Lender,
 and, if applicable, Replacement Loan Lender. For the purposes of this Section 3.01(b), the terms
 “match” or “matching” means agreeing to match (i) the principal amount of the GSE Loan, (ii) the
 overall yield payable in connection with the GSE Loan (including any placement fees, broker fees,
 arrangement fees or any other fee associated with the arranging of the financing), (iii) whether the
 GSE Loan is interest only or amortized, (iv) the term of the GSE Loan (including, without
 limitation, extension options), (v) the type of recourse liability under the GSE Loan (i.e., recourse
 vs. non-recourse) and the identity of any guarantors or indemnitors in connection therewith, and
 (vi) the prepayment penalties or premiums under the GSE Loan and any restrictions or lockout
 period, if any, with respect to prepayment under the GSE Loan.

         (c)    It shall be an immediate Event of Default if Borrower fails to comply with any of
 the terms of this Section 3.01. Further, failure to comply with any of the terms set forth in this
 Section 3.01 shall result in Borrower owing a fee equal to two percent (2%) of the maximum
 principal balance of the Loan as of the Execution Date, which fee will be payable upon:
 (1) payment made on the Maturity Date which results in a full payoff of the Loan, (2) any payment
 of the Loan which results in a full payoff of the Loan, upon acceleration of the Loan following the
 occurrence of an Event of Default, (3) any optional prepayment of the Loan which results in a full


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 payoff of the Loan, (4) any mandatory prepayment of the Loan which results in a full payoff of
 the Loan, or (5) demand by Lender, after payment of the Debt in full. Lender’s rights under this
 Section 3.01(c) shall survive payment in full of the Debt and shall be in addition to all other rights
 of Lender under this Agreement, the Mortgage, the Note and the other Loan Documents.

                               ARTICLE 4
          BORROWER’S REPRESENTATIONS, WARRANTIES AND COVENANTS

                        Payment of Debt. Borrower will pay the Debt at the time and in the manner
         provided in this Agreement, the Note and the other Loan Documents, all in lawful money
         of the United States of America.

                       Representations, Warranties and Covenants Regarding Borrower. Each
         Borrower, with respect to itself and its respective Property, represents, warrants and
         covenants to Lender:

                          (a) Organization and Authority. Each Borrower (i) is a limited liability
          company, duly formed, validly existing and in good standing under the Laws of the
          jurisdiction of its formation, (ii) has all requisite power and authority and all necessary
          licenses and Permits to own and operate its Property and to carry on its business as now
          conducted and as presently proposed to be conducted, and (iii) is duly qualified, authorized
          to do business and in good standing in the jurisdiction where its Property is located and in
          each other jurisdiction where the conduct of its business or the nature of its activities makes
          such qualification necessary.

                          Controlling Party (a) is a limited liability company, duly formed, validly
          existing, and in good standing under the Laws of the jurisdiction of its formation, (b) has
          the power and authority, to own its assets and to transact the business in which it now
          engages or proposes to engage in, and (c) is duly qualified as a foreign limited liability
          company, and is in good standing, under the Laws of each other jurisdiction in which such
          qualification is required.

                            (b) Power. Borrower has full power and authority to own its property and
          assets and to carry on its business and operations as now being conducted and as presently
          contemplated, to execute, deliver and perform, as applicable, the Loan Documents to which
          it is a party, to make the borrowings hereunder, to execute and deliver the Note and to grant
          to Lender a first, prior, perfected and continuing Lien on and security interest in its
          Property, subject only to the Permitted Encumbrances.

                         (c) Authorization of Borrowing. The execution, delivery and performance
          of the Loan Documents to which it is a party, the making of the borrowings thereunder, the
          execution and delivery of the Note, the grant of the Liens on the Property pursuant to the
          Loan Documents to which it is a party and the consummation of the Loan Documents are
          within the powers of Borrower and have been duly authorized by Borrower and will
          constitute the legal, valid and binding obligation of Borrower, enforceable against
          Borrower in accordance with its terms, except as enforcement may be stayed or limited by
          bankruptcy, insolvency or similar Laws affecting the enforcement of creditors’ rights


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          generally and by general principles of equity (whether considered in proceedings at law or
          in equity) and will not (i) violate any provision of its Authority Documents or, any Law,
          judgment, injunction, decree, determination, award, order, rule or regulation of any court,
          arbitration panel or other Governmental Authority, domestic or foreign, or other Person
          affecting or binding upon Borrower or its Property, or (ii) violate any provision of any
          indenture, agreement, mortgage, contract or other instrument to which a Borrower is a party
          or by which any of its property, assets or revenues are bound, or be in conflict with, result
          in an acceleration of any obligation or a breach of or constitute (with notice or lapse of time
          or both) a default or require any payment or prepayment under, any such indenture,
          agreement, mortgage, contract or other instrument, or (iii) result in the creation or
          imposition of any Lien, except those in favor of Lender as provided in the Loan Documents
          to which it is a party.

                         (d) Other Agreements. Borrower is not in violation of its Authority
          Documents or other restriction or any agreement or instrument by which it is bound or any
          claim, cause of action, judgment, decree, writ, injunction, order or award of any arbitrator,
          court or Governmental Authority, or any Legal Requirement, in each case, applicable to
          Borrower or the Property.

                          (e) Maintenance of Existence. Each of Borrower and the Controlling Party
          has been, at all times since its formation duly formed and validly existing. Borrower and
          the Controlling Party have been and shall at all times continue to be a Single Purpose
          Entity. Each of Borrower and the Controlling Party at all times since its formation has
          complied, and will continue to comply, with the provisions of its Authority Documents.
          Any borrowings made by Borrower in connection with the Loan do not and will not render
          Borrower Insolvent; Borrower is not contemplating either the new filing of a petition by it
          under any state or federal bankruptcy or insolvency Laws or the liquidation of all or a major
          portion of its property, and Borrower has no knowledge of any Person contemplating the
          filing of any such petition against it. Borrower and the Controlling Party shall not take any
          action that might cause Borrower to become Insolvent. Borrower has not made and will
          not make any loans or advances to any third party (including any Affiliate). At all times
          during the term of the Loan, each Borrower shall continue to be a limited liability company
          which at all times shall continue to be a Single Purpose Entity and shall have a member
          that is a limited liability company organized under the State of Delaware, which member
          at all times shall continue to be a Single Purpose Entity with at least one (1) duly appointed
          Independent Manager. Borrower and the Controlling Party shall not cause or permit a
          Material Action unless at the time of such action there shall be at least one (1) member of
          Controlling Party who is an Independent Manager, and such Independent Manager and the
          Controlling Party consent in writing to such Material Action. Borrower shall conduct its
          business and shall cause each Covered Party (as hereinafter defined) to conduct business
          so that the assumptions made with respect to each party (each, a “Covered Party”)
          addressed in the Non-Consolidation Opinion delivered by Hinman, Howard & Kattell, LLP
          in connection with the Loan shall be true and correct in all respects.

                         (f) No Defaults. No Default or Event of Default has occurred and is
          continuing or would occur as a result of the consummation of the transactions contemplated


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          by the Loan Documents. Borrower is not in default in the payment or performance of any
          of its contractual obligations in any material respect.

                         (g) Governmental Consents and Approvals. Borrower has obtained or
          made all necessary (i) consents, approvals and authorizations, and registrations and filings
          of or with all Governmental Authorities (except to the extent that the obtaining of such
          consents, approvals and authorizations, registrations and filings is contemplated by the
          Loan Documents) and (ii) consents, approvals, waivers and notifications of members,
          partners, stockholders, creditors, lessors and other nongovernmental Persons, in each case,
          which are required to be obtained or made by Borrower in connection with the execution
          and delivery of, and the performance by Borrower of its obligations under, the Loan
          Documents.

                          (h) Investment Company Act Status. Borrower is not an “investment
          company,” or a company “controlled” by an “investment company,” as such terms are
          defined in the Investment Company Act of 1940, as amended.

                          (i) Compliance with Law. Borrower is in compliance in all material
          respects with all Legal Requirements to which it or the Property is subject, including,
          without limitation, all Environmental Laws, the Occupational Safety and Health Act of
          1970, the Americans with Disabilities Act and ERISA. Borrower is not in default with
          respect to any order, writ, demand, injunction or decree of any Governmental Authority.
          Borrower possesses and is in compliance with all Governmental Approvals required to
          conduct its business as now conducted and as presently proposed to be conducted. Neither
          Borrower nor any other Person in occupancy of or involved in the operations or use of the
          Property has committed any act or omission affording any Governmental Authority the
          right of forfeiture as against any or all of the Property, any collateral for any or all of the
          Obligations, or any or all monies paid in performance of Borrower’s obligations under any
          of the Loan Documents.

                         (j) Information. No information, exhibit, or report furnished by Borrower
          or any other Person to Lender in connection with the making of the Loan contains any
          material misstatement of fact or omits to state a material fact or any fact necessary to make
          the statements contained therein not misleading. There has been no Material Adverse
          Change in any condition, fact, circumstance or event that would make any of the
          information, exhibits or reports furnished in connection with the making of the Loan
          inaccurate, incomplete or otherwise misleading in any material respect. Borrower has
          disclosed to Lender in writing any and all facts that have or could result in a Material
          Adverse Change.

                         (k) Financial Information. All financial data that has been delivered by
          Borrower to Lender (i) is complete and correct in all material respects, (ii) accurately
          represents the financial condition of the Persons covered thereby as of the date on which
          the same shall have been furnished, and (iii) has been prepared in accordance with GAAP,
          modified accrual, or other generally accepted accounting principles (or such other
          accounting basis as is reasonably acceptable to Lender) throughout the periods covered.
          Neither Borrower nor the Controlling Party has incurred any obligation or liability,

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          contingent or otherwise not reflected in such financial statements. There has been no
          Material Adverse Change since the date of such financial statements. Neither Borrower,
          Controlling Party nor any such Person covered in such financial statements has entered into
          any contracts or agreements not reflected in such financial statements, other than in the
          ordinary course of business.

                           (l) Tax Filings. Borrower and Controlling Party have, prior to the required
          filing dates, filed all federal, state and local tax returns required to be filed and has paid or
          made adequate provision for the payment of all federal, state and local taxes, charges and
          assessments payable by Borrower and Controlling Party, if any. Borrower and Controlling
          Party believe that their respective tax returns properly reflect the income and taxes of
          Borrower and Controlling Party, if any, for the periods covered thereby, subject only to
          reasonable adjustments required by the United States Internal Revenue Service or other
          applicable tax authority upon audit. The charges, accruals and reserves on the books of
          Borrower for taxes or other governmental charges are adequate. No additional tax liability
          has been asserted against Borrower or any assessment received by Borrower which remains
          open and unpaid.

                        (m) The Loan. There are no offsets, counterclaims or defenses with respect
          to Borrower’s obligations pursuant to the Loan Documents.

                         (n) Additional Indebtedness. Borrower shall not, without Lender’s prior
          written consent, create, incur or assume any Indebtedness, except for the Permitted Debt.

                          (o) Borrower’s Legal Status and Structure. Borrower’s exact legal name
          as indicated on the signature page hereto, organizational identification number and place
          of business or, if more than one, its chief executive office, as well as Borrower’s mailing
          address, if different, which were identified by Borrower to Lender and contained in this
          Agreement, are true, accurate and complete. Borrower will not change its name, its place
          of business or, if more than one place of business, its chief executive office, or its mailing
          address or organizational identification number if it has one without giving Lender at least
          thirty (30) days prior written notice of such change. If Borrower does not have an
          organizational identification number and later obtains one, Borrower shall promptly notify
          Lender of such organizational identification number. Borrower will not change its type of
          organization, jurisdiction of organization or other legal structure. Copper Ridge Borrower’s
          EIN is XX-XXXXXXX and Magnolia Trace Borrower’s EIN is XX-XXXXXXX.

                         (p) ERISA. Borrower hereby represents, warrants and agrees that:
          (i) Borrower is acting on its own behalf and is not an employee benefit plan as defined in
          Section 3(3) of ERISA, which is subject to Title I of ERISA, nor a plan as defined in
          Section 4975(e)(1) of the Code (each of the foregoing hereinafter referred to collectively
          as a “Plan”); (ii) Borrower’s assets do not constitute “plan assets” of one or more such
          Plans within the meaning of Department of Labor Regulation Section 2510.3-101; and (iii)
          Borrower will not be reconstituted as a Plan or as an entity whose assets constitute “plan
          assets.”




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                         (q) Business Purpose of Loan. In accordance with Section 2.12 of this
          Agreement, Borrower will use the proceeds of the Loan solely for the purpose of carrying
          on a business or commercial enterprise and not for personal, family or household purposes.

                          (r) Solvency; No Bankruptcy. Each of Borrower and the Controlling Party,
          (i) is and has at all times been Solvent and will remain Solvent immediately upon the
          consummation of the transactions contemplated by the Loan Documents and (ii) is not
          subject to any bankruptcy, reorganization or arrangement proceedings or a general
          assignment for the benefit of creditors and is not contemplating the filing of a petition under
          any state or federal bankruptcy or insolvency Laws or the liquidation of all or a major
          portion of such Person’s assets or property and Borrower has no knowledge of any Person
          contemplating the filing of any such petition against Borrower or Controlling Party. None
          of the transactions contemplated hereby will be or have been made with an intent to hinder,
          delay or defraud any present or future creditors of Borrower, and Borrower has received
          reasonably equivalent value in exchange for its obligations under the Loan Documents.
          Borrower’s assets do not, and immediately upon consummation of the transaction
          contemplated in the Loan Documents will not, constitute unreasonably small capital to
          carry out its business as presently conducted or as proposed to be conducted. Borrower
          does not intend to, nor believes that it will, incur debts and liabilities beyond its ability to
          pay such debts as they may mature.

                         (s) Partnerships and Joint Ventures. Borrower is not a partner in any
          partnership nor a party to a joint venture.

                          (t) Intellectual Property. Borrower possesses all licenses, franchises,
          patents, copyrights, trademarks, and trade names, or rights thereto, necessary or required
          to conduct its business as now conducted and as presently proposed to be conducted, and
          Borrower is not in violation of any valid rights of others with respect to any such items.

                         (u) Acts of God. Neither the business nor the properties of Borrower are
          affected by any fire, explosion, accident, strike, lockout or other labor dispute, drought,
          storm, hail, earthquake, embargo, act of God or of the public enemy, or other Casualty
          (whether or not covered by insurance) which has resulted in, or could result in, a Material
          Adverse Change.

                          (v) Other Agreements. Borrower is not a party to any indenture, loan, or
          credit agreement, or to any lease or other agreement or instrument, or subject to any
          Authority Document restriction which has resulted in, or could result in, a Material Adverse
          Change. Borrower is not in default in any respect in the performance, observance or
          fulfillment of any of the obligations, covenants or conditions contained in any agreement
          or instrument to which it is a party where such default has resulted in, or could result in, a
          Material Adverse Change.

                        (w) FIRPTA. Neither Borrower nor Guarantor is a “foreign person” within
          the meaning of Sections 1445 or 7701 of the Code.




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                           (x) Governmental Regulation. Borrower is not subject to any Law limiting
          its ability to incur its obligations under any of the Loan Documents to which it is a party,
          including the Public Utility Holding Company Act of 1935, the Investment Company Act
          of 1940, the Interstate Commerce Act, the Federal Power Act or the Bank Holding
          Company Act of 1956.

                          (y) Filing and Recording Taxes. All transfer taxes, deed stamps, intangible
          taxes or other amounts in the nature of transfer taxes required to be paid under applicable
          Law in connection with the transfer of the Property to Borrower have been paid or are
          being paid simultaneously herewith. All mortgage, mortgage recording, stamp, intangible
          or other similar tax required to be paid under applicable Law in connection with the
          execution, delivery, recordation, filing, registration, perfection or enforcement of any of
          the Loan Documents, including the Mortgage, have been paid or are being paid
          simultaneously herewith. All taxes and governmental assessments due and owing in
          respect of the Property have been paid, or an escrow of funds in an amount sufficient to
          cover such payments has been established pursuant to the Loan Documents, or are insured
          against by the applicable title insurance policy.

                          (z) Organizational Chart. The organizational chart attached as Schedule A
          hereto, relating to Borrower and certain Affiliates and other parties, is true, complete and
          correct on and as of the Execution Date, and shall not be changed or otherwise modified
          without the prior written consent of Lender.

                        (aa) Rate Cap Agreement. Borrower has delivered to Lender, a true,
          correct and complete copy of the Rate Cap Agreement, including all amendments and
          supplements thereto. The Rate Cap Agreement is in full force and effect, there are no
          outstanding defaults by any Person party thereto and no Person party thereto has given or
          received any notice of default thereunder that remains uncured or is in dispute.

                         (bb) Minimum Equity. Borrower has contributed at least $5,200,000 in
          cash equity to the Property and costs relating to this transaction (including, without
          limitation, the costs and expenses relating to obtaining the Loan) and Guarantor has
          contributed to Borrower no less than ten percent (10%) of the total equity required for the
          acquisition of the Property and costs relating to this transaction (including, without
          limitation, the costs and expenses relating to obtaining the Loan), net of any fees,
          commissions or other amounts earned by Guarantor and/or any Persons Controlled by
          Guarantor and/or any affiliate of the foregoing Persons, and Borrower has delivered
          evidence of such contribution to Lender.

                         Anti-Terrorism Law. Borrower covenants, represents and warrants as
         follows: (i) neither Borrower nor Guarantor is or, to the best of Borrower’s knowledge, will
         be in violation of any Anti-Terrorism Law; (ii) neither Borrower nor Guarantor is or, to the
         best of Borrower’s knowledge, will be a Prohibited Person; (iii) neither Borrower nor
         Guarantor (A) conducts any business or engages in any transaction or dealing with any
         Prohibited Person, including the making or receiving any contribution of funds, goods or
         services to or for the benefit of any Prohibited Person, (B) deals in, or otherwise engages in
         any transaction relating to, any property or interests in property blocked pursuant to

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         Executive Order No. 13224 or (C) engages in or conspires to engage in any transaction that
         evades or avoids, or has the purpose of evading or avoiding, or attempts to violate, any of
         the prohibitions set forth in any Anti-Terrorism Law; neither Borrower nor Guarantor will
         engage in any of the foregoing activities in the future; (iv) no Tenant at the Property is a
         Prohibited Person; (v) Borrower covenants and agrees to deliver to Lender any certification
         or other evidence requested from time to time by Lender in its sole reasonable discretion,
         confirming Borrower’s and Guarantor’s compliance with this Section 4.03; and (vi)
         Borrower has implemented procedures, and will consistently apply those procedures
         throughout the term of the Loan, to ensure the foregoing representations and warranties
         remain true and correct during the term of the Loan.

                          Recording of Mortgage, Etc. Borrower forthwith upon the execution and
         delivery of the Mortgage and thereafter, from time to time, will cause the Mortgage, and
         any security instrument creating a Lien or security interest or evidencing the Lien thereof
         upon the Property and each instrument of further assurance to be filed, registered or recorded
         in such manner and in such places as may be required by any present or future Law in order
         to publish notice of and fully protect the Lien or security interest of the Mortgage upon, and
         the interest of Lender in, the Property. Borrower will pay all filing, registration or recording
         fees, and all reasonable expenses incident to the preparation, execution and
         acknowledgment of the Mortgage, any mortgage supplemental thereto, any security
         instrument with respect to the Property and any instrument of further assurance, and all
         federal, state, county and municipal, taxes, duties, imposts, assessments and charges arising
         out of or in connection with the execution and delivery of the Mortgage, any mortgage
         supplemental thereto, any security instrument with respect to the Property or any instrument
         of further assurance, except where prohibited by Law to do so. Borrower shall hold
         harmless and indemnify Lender, and its successors and assigns, against any liability incurred
         as a result of the imposition of any tax on the making and recording of the Mortgage.

                      Representations, Warranties and Covenants as to the Property. Each
         Borrower represents, warrants and covenants with respect to its respective Property as
         follows:

                         (a) Lien Priority. The Mortgage is a valid and enforceable first priority
          Lien on the Property, free and clear of all encumbrances and Liens having priority over the
          Lien of the Mortgage, except for the Permitted Encumbrances. The Permitted
          Encumbrances do not (a) materially interfere with the use or operation of all or any portion
          of the Property or (b) materially and adversely affect the value of any or all of the Property.
          All Real Property Taxes and municipal charges, including water and sewer charges, in
          respect of the Property due and owing as of the Execution Date have been paid as of the
          date when due.

                        (b) Title. Copper Ridge Borrower has, subject only to the Permitted
          Encumbrances, good, insurable and marketable fee title to the Copper Ridge Property and
          to all easements and rights benefiting the Copper Ridge Property and has the right to
          mortgage, give, grant, bargain, sell, alien, encumber, convey, confine, pledge, assign and/or
          hypothecate the Copper Ridge Property. Magnolia Trace Borrower has, subject only to the
          Permitted Encumbrances, good, insurable and marketable fee title to the Magnolia Property

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          and to all easements and rights benefiting the Magnolia Property and has the right to
          mortgage, give, grant, bargain, sell, alien, encumber, convey, confine, pledge, assign and/or
          hypothecate the Magnolia Property. Each Borrower will preserve its interest in and title to
          the applicable Property and will forever warrant and defend the same to Lender against any
          and all claims made by, through or under Borrower and will forever warrant and defend
          the validity and priority of the Lien and security interest created by the Mortgage against
          the claims of all Persons whomsoever claiming by, through or under Borrower. The
          foregoing warranty of title shall survive the foreclosure of the Mortgage and shall inure to
          the benefit of and be enforceable by Lender in the event Lender acquires title to the
          Property pursuant to any foreclosure. The Property is free and clear of any mechanics’
          liens or Liens in the nature thereof, and no rights are outstanding that under Law could give
          rise to any such Liens. In addition, there are no outstanding options or rights of first refusal
          or first offer to purchase the Property or Borrower’s ownership thereof.

                          (c) Casualty; Flood Zone. The Property is in good repair and free and clear
          of any damage, destruction or casualty (whether or not covered by insurance) that would
          materially affect the value of the Property or the use for which the Property was intended.
          The Improvements and Fixtures are structurally sound, in good repair and free of patent or
          latent defects in materials and workmanship, and all major building systems located within
          the Improvements, including the heating, air conditioning, electrical and plumbing
          systems, are in good working order and condition. No portion of the Property is situated
          in a flood hazard area as defined by the Federal Insurance Administration or Borrower has
          obtained the flood insurance required by Section 5.02(b)(4) hereof. To the best knowledge
          of Borrower and except as shown on the survey of the Property provided to and approved
          by Lender in connection with the origination of the Loan, no portion of the Property is
          located on or adjacent to navigable waters and no portion of the Real Property consists of
          filled-in land.

                          (d) Completion, Encroachment. All Improvements necessary for the
          efficient use and operation of the Property that were included for purposes of determining
          the appraised value of the Property in the Appraisal have been completed and none of said
          Improvements lie outside the boundaries and building restriction lines of the Real Property.
          Except as set forth in the title insurance policy insuring the Lien of the Mortgage, no
          improvements on adjoining properties encroach upon the Real Property. There are no
          easements or other encumbrances upon the Property which encroach upon any of the
          Improvements so as to affect the value or marketability of the Property. Borrower does
          not have any knowledge that any facts or assumptions on which the Appraisal of the
          Property was based are false or incomplete in any material respect. Borrower does not
          have any information that reasonably supports that the fair market value determined in the
          Appraisal does not reflect the actual fair market value of the Property.

                         (e) Separate Lot. The Real Property (i) is taxed separately without regard
          to any other real estate, (ii) constitutes one (1) or more legally subdivided lots under all
          applicable Legal Requirements (or, if not subdivided, no subdivision or platting of the Real
          Property is required under applicable Legal Requirements), and (iii) for all purposes may
          be mortgaged, conveyed or otherwise dealt with as an independent parcel(s).


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                         (f) Use. The existence of all Improvements, the present use and operation
          thereof and the access of the Real Property and the Improvements to all of the utilities and
          other items referred to in Section 4.05(j) below are in compliance in all material respects
          with all applicable Legal Requirements, including, without limitation, Environmental
          Laws, Development Laws and Use Requirements. Borrower has not received any notice
          from any Governmental Authority alleging any uncured violation relating to the Property
          of any applicable Legal Requirements.

                           (g) Licenses and Permits. Borrower currently holds and will continue to
          hold all certificates of occupancy, licenses, registrations, Permits, consents, franchises and
          approvals of any Governmental Authority or any other Person that are material for the
          lawful occupancy and operation of the Property or which are material to the ownership or
          operation of the Property or the conduct of Borrower’s business. All such certificates of
          occupancy, licenses, registrations, Permits, consents, franchises and approvals are current
          and in full force and effect.

                         (h) Environmental Matters. Borrower has received and reviewed the
          Environmental Report and has no reason to believe that the Environmental Report contains
          any untrue statement of a material fact or omits to state a material fact necessary to make
          the statements contained therein or herein, in light of the circumstances under which such
          statements were made, not misleading in any material respect.

                          (i) Proceedings. There are no actions, suits or proceedings pending or, to
          the best of Borrower’s knowledge, threatened, in any court or before any Governmental
          Authority or arbitration board or tribunal against or affecting Borrower, Guarantor or the
          Property, including those (i) relating to (A) the zoning of the Property or any part thereof,
          (B) any certificates of occupancy, licenses, registrations, Permits, consents or approvals
          issued with respect to the Property or any part thereof, (C) the condemnation of the Property
          or any part thereof, or (D) the condemnation or relocation of any roadways abutting the
          Real Property required for access or the denial or limitation of access to the Real Property
          or any part thereof from any point of access to the Real Property, (ii) asserting that (x) any
          such zoning, certificates of occupancy, licenses, registrations, Permits, consents and/or
          approvals do not permit the operation of any material portion of the Property as presently
          being conducted, (y) any material improvements located on the Property or any part thereof
          cannot be located thereon or operated with their intended use or (z) the operation of the
          Property or any part thereof is in violation in any material respect of any Environmental
          Laws, Development Laws or other Legal Requirements or Leases or Property Agreements,
          or (iii) that might affect the validity or priority of any Loan Document. Borrower is not
          aware of any facts or circumstances that may give rise to any actions, suits or proceedings
          described in the preceding sentence. Borrower has not received any notice from any
          Governmental Authority alleging any uncured violation of any Law with respect to the
          Property.

                          (j) Utilities. The Real Property has all necessary legal access to water, gas
          and electrical supply, storm and other required public utilities (with respect to each of the
          aforementioned items, by means of either a direct connection to the source of such utilities
          or through connections available on publicly dedicated roadways directly abutting the Real

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          Property or through permanent insurable easements benefiting the Real Property), sanitary
          sewer facilities (which may be provided by public or private utilities), fire and police
          protection, parking and means of direct access between the Real Property and public
          highways over recognized curb cuts (or such access to public highways is through private
          roadways that may be used for ingress and egress pursuant to permanent insurable
          easements).

                          (k) Insurance. The Property is insured in accordance with the requirements
          set forth in Article 5 hereof.

                           (l) Labor Matters. No organized work stoppage or labor strike is pending
          or, to the best of Borrower’s knowledge, threatened by employees or other laborers at the
          Property and neither Borrower nor Property Manager (i) is involved in or, to the best of
          Borrower’s knowledge, threatened with any labor dispute, grievance or litigation relating
          to labor matters involving any employees and other laborers at the Property, including,
          without limitation, violation of any federal, state or local labor, safety or employment Laws
          (domestic or foreign) and/or charges of unfair labor practices or discrimination complaints;
          (ii) has engaged in any unfair labor practices within the meaning of the National Labor
          Relations Act or the Railway Labor Act; (iii) is a party to, or bound by, any collective
          bargaining agreement or union contract with respect to employees and other laborers at the
          Property and no such agreement or contract is currently being negotiated by Borrower,
          Property Manager or any of their Affiliates; or (iv) is subject to any successor owner
          liability due to employment practices of Borrower’s predecessor-in-interest.

                           (m) Property Agreements. Borrower has entered into or assumed each
          Property Agreement required for the ownership, operation and maintenance of the
          Property. Each Property Agreement is in full force and effect. No party to any Property
          Agreement has failed to perform any material obligation under any such Property
          Agreement. Borrower has delivered to Lender true, correct and complete copies of all
          Property Agreements. No default exists or with the passing of time or the giving of notice
          or both would exist under any Property Agreement. No Property Agreement provides any
          party with the right to obtain a Lien or encumbrance upon the Property superior to the Lien
          of the Mortgage or the other Loan Documents, and no condition exists whereby Borrower
          or any future owner of the Property may be required to purchase any other parcel of land
          that is subject to any Property Agreement or that gives any Person a right to purchase, or
          right of first refusal with respect to, the Property. To the best knowledge of Borrower, no
          offset or any right of offset exists respecting continued contributions to be made by any
          party to any Property Agreement except as expressly set forth therein. All work, if any, to
          be performed by Borrower under each of the Property Agreements has been substantially
          performed (except to the extent that the Loan Documents contemplate that such work may
          be performed after the Execution Date), all contributions to be made by Borrower to any
          party to such Property Agreements have been made, and all other conditions to such party’s
          obligations thereunder have been satisfied to the best of Borrower’s knowledge. To the
          best of Borrower’s knowledge, there are no outstanding defaults under any Property
          Agreement. No offset or any right of offset exists with respect to continued contributions
          to be made by any party to any Property Agreement. No material exclusions or restrictions
          on the use, operation, management of, or construction on the Property (including non-

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          compete agreements) exists in any Property Agreement. No party to any Property
          Agreement has given notice to Borrower of a breach or default under any such agreement.

                         (n) Access to and Use of Property. All streets, roads, highways, bridges
          and waterways necessary for access to, and full use, occupancy, operation and disposition
          of the Real Property and the Improvements are completed, are dedicated to and accepted
          by all appropriate Governmental Authorities and are open and available to the Property and
          the Improvements without further condition or cost to Borrower.

                          (o) Personal Property. Borrower has delivered to Lender a true, correct and
          complete schedule of all Personal Property, if any, owned by Borrower and located upon
          the Property or that is material to the use or operation of the Property and Borrower
          represents that it has good and marketable title to all such Personal Property, free and clear
          of any Liens, except for Liens created under the Loan Documents. The Personal Property
          has not been used and shall not be used or bought for personal, family, or household
          purposes, but shall be bought and used solely for the purpose of carrying on Borrower’s
          business. Borrower will not remove the Personal Property without the prior written consent
          of Lender, except the items of Personal Property which are consumed or worn out in
          ordinary usage shall be promptly replaced by Borrower with other Personal Property of
          value equal to or greater than the value of the replaced Personal Property.

                         (p) Commercial Property. There is no homestead or other exception
          available to Borrower which could materially interfere with the right to sell the Property.

                          (q) Use of Property. The Property is used exclusively as a multi-family
          residential property.

                         (r) Illegal Activity. No portion of the collateral held by Lender as security
          for any or all of the Obligations nor the Property has been or will be purchased with
          proceeds of any illegal activity.

                           (s) Managing Agent. The Property shall at all times be managed on
          Borrower’s behalf in a competent and professional manner appropriate as a first-class
          multifamily residential apartment project by a prominent professional managing agent.
          Prior to engaging any managing agent or executing any management agreement, such
          managing agent and management agreement shall be subject to approval by Lender, in its
          sole but reasonable discretion, it being understood that EVU Residential LLC is hereby
          approved by Lender as a Property Manager for the Property and each Property
          Management Agreement, dated as of October 5, 2021, by and between each Borrower and
          such Property Manager in existence as of the Execution Date, which Borrower represents
          that it has delivered to Lender a true, correct and complete copy of, is hereby approved by
          Lender, subject to the terms of the Assignment and Subordination of Property Management
          Agreement; provided, however, that the terms and conditions of any subsequent Property
          Management Agreements between Property Manager and Borrower or any amendment or
          modification of any Property Management Agreement between Property Manager and
          Borrower and any compensation of Property Manager with respect to its services
          performed at or in connection with the Property (other than an extension of the Property


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          Management Agreement for compensation which is no greater, and on terms and
          conditions no less favorable to Borrower, than those contained in the Property Management
          Agreement last approved by Lender) are subject to approval by Lender in its sole but
          reasonable discretion. As a condition to its retention as managing agent, each managing
          agent shall be required to execute and deliver to Lender an agreement that all fees due such
          managing agent are subordinate to all amounts due to Lender, substantially the same in
          form and substance as the Assignment and Subordination of Property Management
          Agreement.

                        (t) Rent Regulations. Borrower shall (1) operate and manage the Property, or
          cause the Property to be operated and managed, in compliance with the Regulatory
          Agreement, any present or future requirements of rent control, rent stabilization and similar
          Laws, rules and regulations, and compliance obligations of the City of Baton Rouge, State
          of Louisiana or United States of America (collectively, “Rent Regulations”), (2) promptly
          perform and observe all of the requirements of the Rent Regulations, including, but not
          limited to, collecting only lawful rents, (3) do all things necessary to preserve and maintain
          its rights under the Rent Regulations, including, but not limited to, timely filing and serving
          rent registration statements, (4) immediately notify Lender of any claims that it is not in
          compliance with the Rent Regulations, and (5) immediately deliver to Lender a copy of
          any notice relating to the Rent Regulations given or received by it, including, but not
          limited to, complaints of rent overcharge or reduction in services.

                          (u) Regulatory Agreement.

                                  (i)   Borrower represents and warrants to Lender that all of the following
          are correct:

                                    (1) Borrower has not received any notice from the Governmental
                             Authority that Borrower is in default under the Regulatory Agreement.

                                    (2) The copy of the Regulatory Agreement that Borrower has
                             provided to Lender includes all amendments, schedules and exhibits and is
                             complete and accurate in all respects.

                                        (3) The Regulatory Agreement terminates on the Termination Date.

                                    (4) The Regulatory Agreement by its terms, terminates upon
                             foreclosure under the Mortgage or upon a transfer of the Property by
                             instrument in lieu of foreclosure.

                    (ii) Borrower shall (x) promptly provide Lender with a copy of any notice
          Borrower receives alleging that Borrower is in breach of the Regulatory Agreement, (y)
          provide Lender with notice upon termination of the Regulatory Agreement, and (z) obtain
          Lender’s prior approval, not unreasonably withheld, conditioned or delayed, for any
          amendment to or modification of the Regulatory Agreement.




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                   (iii) On or before February 15, 2022, Borrower shall bring each Property into
          compliance with all requirements of the Regulatory Agreement. Failure to satisfy the
          foregoing covenant shall, at Lender’s option, be an immediate Event of Default.

                            Payment of Impositions, Utilities and Taxes, Etc.

                        (a) All Impositions and governmental assessments due and owing in
          respect of, and affecting, the Property have been paid. Each Borrower has paid all
          Impositions that constitute special governmental assessments in full, except for those
          assessments that are permitted by applicable Legal Requirements to be paid in installments,
          in which case all installments that are due and payable have been paid in full. There are
          no pending, or to Borrower’s best knowledge, proposed special or other assessments for
          public improvements or otherwise affecting such Borrower’s Property, nor are there any
          contemplated improvements to the Property that may result in such special or other
          assessments.

                          (b) Subject to Section 13.04 hereof, Borrower shall pay or cause to be paid
          all Impositions as and when due, and shall furnish to Lender, upon request, receipted bills
          of the appropriate taxing authority or other documentation reasonably satisfactory to
          Lender evidencing the payment thereof. If Borrower shall fail to pay any Imposition in
          accordance with this Section and is not contesting or causing a contesting of such
          Imposition in accordance with Section 13.04 hereof, Lender shall have the right (upon five
          (5) Business Days’ prior notice, which notice shall not be required if an Event of Default
          exists and is continuing), but shall not be obligated, to pay such Imposition and Borrower
          shall repay to Lender, on demand, any such amount paid by Lender, with interest thereon
          at the Default Rate from the date of the advance thereof to the date of repayment. Such
          amount shall constitute a portion of the Debt secured by the Mortgage.

                         (c) Borrower shall pay all taxes, charges, filing, registration and recording
          fees, excises and levies imposed upon Lender by reason of or in connection with its
          ownership of any Loan Document or any other instrument related thereto, or resulting from
          the execution, delivery and recording of, or the Lien created by, or the obligation evidenced
          by, any of them, other than income, franchise and other similar taxes imposed on Lender
          and shall pay all corporate stamp taxes, if any, and other taxes, required to be paid on the
          Loan Documents. If Borrower shall fail to make any such payment within ten (10) days
          after written notice thereof from Lender, Lender shall have the right, but shall not be
          obligated, to pay the amount due, and Borrower shall reimburse Lender therefor, within
          five (5) Business Days after demand, with interest thereon at the Default Rate from the date
          of the advance thereof to the date of repayment. Such amount shall constitute a portion of
          the Debt secured by the Mortgage.

                        Ownership of Property. The Copper Ridge Borrower shall at all times
         maintain good, indefeasible and marketable title in fee simple to the Copper Ridge Property
         and good and marketable title to the rest of the Property owned by it, subject only to
         Permitted Encumbrances and the Magnolia Trace Borrower shall at all times maintain good,
         indefeasible and marketable title in fee simple to the Magnolia Trace Property and good and
         marketable title to the rest of the Property owned by it, subject only to Permitted

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         Encumbrances. Borrower will not and will not permit, and will not enter into any agreement
         which provides for, any Transfer of any or all of the Property or its interest therein, except
         for Permitted Encumbrances or as set forth in the following Section 4.08. Borrower will
         take all actions required to defend and preserve all of its right, title and interest in its
         Property. Borrower will not create, incur, assume or suffer to exist any Lien, upon or with
         respect to any or all of the Property, except Permitted Encumbrances. Any Transfer in
         violation of this Section 4.07 is null and void and of no force and effect.

                            Transfer.

                        (a) Borrower shall not cause or permit any Transfer to occur (other than a
          Permitted Transfer and the Permitted Pledge).

                          (b) Lender may declare the Debt immediately due and payable upon the
          occurrence of any Transfer without Lender’s prior written consent without regard to
          whether any impairment of its security or any increased risk of default hereunder can be
          demonstrated. This provision shall apply to every Transfer of the Property or any part
          thereof or interest in the Property or in Borrower regardless of whether voluntary or not,
          or whether or not Lender has consented to any previous Transfer.

                           (c) Notwithstanding the provisions of Section 4.08(a) and Section 4.08(b),
          the Transfers of indirect ownership interests in Borrower among the current indirect
          members of the Borrower shall be permitted without Lender’s consent so long as all of the
          following conditions have been satisfied simultaneously or prior to the effectiveness of any
          such Transfer: (1) Lender shall have received written notice of such Transfer at least thirty
          (30) days prior to, but not more than ninety (90) days prior to, the effective date of such
          Transfer (the “Transfer Notice”), (2) after giving effect to such Transfer, Guarantor shall
          continue to own at least 20% of the direct and indirect ownership interests in Borrower,
          and shall Control Borrower, (3) no Event of Default shall exist as of the date of the Transfer
          Notice or as of the date of such Transfer, (4) Borrower shall have paid all of Lender’s
          reasonable costs and expenses in connection with such Transfer immediately after giving
          effect to such Transfer, (5) Guarantor shall continue to control the day-to-day management
          and operations of Borrower and the Property, (6) such transferee is not a Prohibited Person,
          and (7) if as a result of such Transfer, the proposed transferee would own (A) 20% or more
          of the direct or indirect interests in Borrower (inclusive of any previously held interests),
          in the case of any Person that is a United States citizen or a corporation, limited liability
          company or partnership domiciled in the United States or (B) 10% or more of the direct or
          indirect interests in Borrower (inclusive of any previously held interests), in the case of any
          Person that is not a United States citizen or not a corporation, limited liability company or
          partnership domiciled in the United States, then Lender shall have the right, at Borrower’s
          sole cost and expense, to (X) receive not less than thirty (30) days prior written notice of
          such proposed transfer and copies of the proposed transfer instruments, together with a
          true, correct and complete chart reflecting the ownership of all of the direct and indirect
          legal and beneficial interests in Borrower, including the percentage of ownership interests
          of the persons show thereon, in the same level of detail delivered at closing, (Y) obtain
          criminal and credit searches in respect of such proposed transferee, and (Z) have performed
          searches and/or receive other diligence on such proposed transferee and its Affiliates such

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          that Lender is in compliance with its then current “know your customer” requirements, in
          each case, yielding results which are acceptable to Lender in its reasonable discretion (any
          such transfer in full compliance with this Section 4.08(c), a “Permitted Transfer”).

                          (d) Notwithstanding anything to the contrary in this Agreement or any
          other Loan Document, Lender hereby acknowledges and agrees to the Transfer, in the form
          of a pledge of the pledged interests set forth on Schedule C attached hereto to Wilmington
          Trust, National Association (“WT”), as secured party for Clover Private Credit
          Opportunities Origination II LP (“Clover”) and/or one or more investment funds or other
          entities managed by UBS O’Connor LLC (together with Clover, collectively, the
          “Pledgee”), as security for the obligations of CBRM Realty Inc., JM Realty Advisory LLC,
          and Crown Capital Holdings LLC (collectively, the “Affiliated Borrowers”) under that
          certain Loan and Security Agreement, dated as of December 16, 2020, by and among the
          Affiliated Borrowers, Clover, and WT, as amended from time to time, provided that: (a)
          such pledge does not, and shall not, grant the Pledgee a Lien on any assets of any Borrower,
          including all or any portion of the Property or any other collateral given to the Lender under
          the Loan Documents as security for Borrower’s obligations under this Agreement or any
          other Loan Document (the “Collateral”), nor shall such pledge (or any other exercise of
          remedies under the pledge) result, under any circumstance, in the Guarantor failing to (i)
          Control any Borrower, or any other Person that directly or indirectly Controls any
          Borrower, (ii) to have at least a ten percent (10%) direct or indirect equity interest in each
          Borrower and (iii) control the day-to-day operation of the Property (directly or through a
          Property Manager); and (b) any and all claims of the Pledgee against any Borrower or any
          of the Collateral shall be indirect, and shall be at all times subject and subordinate to any
          and all claims which Lender may have against any Borrower, Guarantor or any of the
          Collateral, now or hereafter existing (any such pledge in full compliance with this Section
          4.08(d), a “Permitted Pledge”).

                            Removal of Liens.

                          (a) Each Borrower shall, at its expense, maintain the Mortgage as a first
          lien on its Property and shall keep its Property free and clear of all Liens of any kind and
          nature other than the Permitted Encumbrances. Borrower shall, within forty five (45) days
          following the filing thereof, promptly discharge of record, by bond or otherwise, any such
          Liens and, promptly upon request by Lender, shall deliver to Lender evidence reasonably
          satisfactory to Lender of the discharge thereof.

                         (b) Without limitation to the provisions of Section 4.09(a), Borrower shall
          (i) pay, from time to time when the same shall become due, all claims and demands of
          mechanics, materialmen, laborers and others that, if unpaid, might result in, or permit the
          creation of, a Lien on its Property or any part thereof, or on the revenues, rents, issues,
          income or profits arising therefrom, (ii) cause to be removed of record (by payment or
          posting of bond or settlement or otherwise) any mechanics’ or other Lien on the Property,
          or any part thereof, or on the revenues, rents, issues, income or profit arising therefrom,
          and (iii) in general, do or cause to be done, without expense to Lender, everything
          reasonably necessary to preserve in full the Lien of the Mortgage. If Borrower fails to
          comply with the requirements of this Section, then, Lender may, but shall not be obligated

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          to, pay any such Lien or take other action to preserve in full the Lien of the Mortgage, and
          Borrower shall, within five (5) Business Days after Lender’s demand therefor, reimburse
          Lender for all sums so expended, together with interest thereon at the Default Rate from
          the date advanced, all of which shall be deemed part of the Debt. Nothing contained herein
          shall be deemed a consent or request of Lender, express or implied, by inference or
          otherwise, to the performance of any alteration, repair or other work by any contractor,
          subcontractor or laborer or the furnishing of any materials by any materialmen in
          connection therewith.

                        Cost of Defending and Upholding the Mortgage Lien. If any action or
         proceeding is commenced to which Lender is made a party relating to the Loan Documents
         and/or the Property or Lender’s interest therein or in which it becomes necessary to defend
         or uphold the Lien of the Mortgage or any other Loan Document, Borrower shall, on
         demand, reimburse Lender for all reasonable expenses (including, without limitation,
         reasonable attorneys’ fees and disbursements) actually incurred by Lender in connection
         therewith, and such sum, together with interest thereon at the Default Rate from and after
         such demand until fully paid, shall constitute a part of the Debt.

                         Use of the Property. Borrower will use, or cause to be used, its Property for
         such use as is permitted pursuant to applicable Legal Requirements (including, without
         limitation, the certificate of occupancy applicable to the Property) and as is required by the
         Loan Documents. Borrower shall not suffer or permit the Property or any portion thereof
         to be used by the public, any Tenant, or any Person not subject to a Lease, in a manner as is
         reasonably likely to impair Borrower’s title to its Property, or in such manner as may give
         rise to a claim or claims of adverse usage or adverse possession by the public, or of implied
         dedication of the Property or any part thereof. Borrower shall not (a) desert or abandon its
         Property; (b) change the use of the Property or cause or permit the use or occupancy of any
         part of the Property to be discontinued if such discontinuance or use change would violate
         any zoning or other Law, ordinance or regulation; (c) consent to or seek any change of the
         zoning classification, or greater zoning restriction affecting the Property; or (d) take any
         steps whatsoever to convert the Property, or any portion thereof, to a condominium or
         cooperative form of ownership.

                         Maintenance and Repair. Each Borrower shall, at its expense, with respect
         to its Property (a) take good care of the Property including grounds generally, and utility
         systems and sidewalks, roads, alleys, and curbs therein, and shall keep the same in good,
         safe and insurable condition and in compliance with all applicable Legal Requirements, (b)
         promptly make all repairs to the Property, above grade and below grade, interior and
         exterior, structural and nonstructural, ordinary and extraordinary, unforeseen and foreseen,
         and maintain the Property in a manner appropriate for the facility and (c) not commit or
         suffer to be committed any waste of the Property or do or suffer to be done anything that
         will increase the risk of fire or other hazard to the Property or impair the value thereof.
         Borrower shall keep the sidewalks, vaults, gutters and curbs comprising, or adjacent to, the
         Property, clean and free from dirt, snow, ice, rubbish and obstructions. All repairs made by
         Borrower shall be made with first-class materials, in a good and workmanlike manner, shall
         be equal or better in quality and class to the original work and shall comply with all
         applicable Legal Requirements and Insurance Requirements. To the extent any of the above

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         obligations are obligations of Tenants under Leases or other Persons under Property
         Agreements, Borrower may fulfill its obligations hereunder by causing such Tenants or
         other Persons, as the case may be, to perform their obligations thereunder. As used herein,
         the terms “repair” and “repairs” shall be deemed to include all necessary replacements.
         Borrower will not permit any drilling or exploration or extraction, removal or production of
         any minerals from the surface or subsurface of the Real Property.

                          Alterations. Except as expressly permitted hereunder (including, without
         limitation, in connection with the Renovations contemplated under Section 11.03 hereof).
         Borrower shall not demolish, remove, construct, restore, or alter its Property or any portion
         thereof; nor consent to or permit any such demolition, removal, construction, restoration,
         addition or alteration that would diminish the value of its Property without Lender’s prior
         written consent in each instance, which consent shall not be unreasonably withheld,
         conditioned or delayed. Notwithstanding the provisions of this Agreement to the contrary,
         Borrower shall have the right, at any time and from time to time, to remove and dispose of
         Equipment which may have become obsolete or unfit for use or which is no longer useful
         in the management, operation or maintenance of the Property. Borrower shall promptly
         replace any such Equipment so disposed of or removed with other Equipment of equal value
         and utility, free of any security interest or superior title, Liens or claims, except that, if by
         reason of technological or other developments, replacements of the Equipment so removed
         or disposed of is not necessary or desirable for the proper management, operation or
         maintenance of the Property, Borrower shall not be required to replace the same. All such
         replacements or additional equipment shall be deemed to constitute “Equipment” and shall
         be covered by the security interest granted herein and in the Mortgage.

                          Changes Affecting the Property. Borrower shall not (1) cause or permit any
         partition of its Property, (2) initiate, join in or acquiesce in, or consent to, any change in the
         zoning classification, including any variance under any existing zoning ordinance
         applicable to its Property, restrictive covenant, zoning Law or other public or private
         restriction, limiting or defining the uses which may be made of all or any part of its Property,
         (3) permit the use of its Property to become a non-conforming use under applicable zoning
         Laws, (4) file any subdivision or parcel map affecting its Property, (5) amend, modify or
         consent to any easement or restrictive covenant pertaining to its Property, or (6) take any
         steps to convert its Property, or any portion thereof, to a condominium or cooperative form
         of ownership, without Lender’s consent.

                        Permits, Laws and Restrictive Covenants. Borrower will take all actions
         required to obtain and maintain all Permits required for the construction, ownership, use,
         operation, maintenance, repair and restoration of the Property. Borrower will comply with
         all applicable Laws, Permits and restrictive covenants applicable to the construction,
         ownership, use, operation, maintenance, repair and restoration of the Property.

                         Plans and Specifications. Borrower shall maintain a complete set of final
         plans, specifications, blueprints and drawings for the Improvements either at the Property
         or in a particular office at the headquarters of Borrower to which Lender will have access
         upon reasonable advance notice.


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                         Estoppel Statement. Each Borrower shall use its best efforts to deliver to
         Lender, promptly upon request, duly executed estoppel certificates from each non-
         residential Tenant, as required by Lender (provided that so long as no Event of Default
         exists, such request by Lender shall not be made more frequently than one (1) time in any
         twelve (12) month period), attesting to such facts regarding the related Lease as Lender may
         require, including, but not limited to, attestations that each Lease is in full force and effect
         with no defaults thereunder on the part of any party, that none of the Rents have been paid
         more than one month in advance, except as security, and that the Tenant claims no defense
         or offset against the full and timely performance of its obligations under the Lease.

                         Compliance with Legal Requirements. Borrower shall promptly comply
         with all present and future Legal Requirements, foreseen and unforeseen, ordinary and
         extraordinary, whether requiring structural or nonstructural repairs or alterations including,
         without limitation, all zoning, subdivision, building, safety and environmental protection,
         land use and Development Laws, all Legal Requirements that may be applicable to the curbs
         adjoining the Property or to the use or manner of use thereof, and all rent control, rent
         stabilization and all other similar Legal Requirements relating to rents charged and/or
         collected in connection with the Leases. Borrower represents and warrants that the Property
         is in compliance in all material respects with all Legal Requirements as of the Execution
         Date, no notes or notices of violations of any Legal Requirements have been entered or
         received by Borrower and that Borrower reasonably believes there is no basis for the
         entering of such note or notices.

                         Compliance with Insurance Requirements. Each Borrower, with respect to
         its Property, promptly shall comply with, and shall cause the Property to comply with, all
         Insurance Requirements. If Borrower shall use the Property or any portion thereof in any
         manner that could permit the insurer to cancel any insurance required to be provided
         hereunder, Borrower immediately shall obtain a substitute policy that shall satisfy the
         requirements of this Agreement and that shall be effective on or prior to the date on which
         any such other insurance policy shall be canceled. Borrower shall not by any action or
         omission invalidate any insurance policy required to be carried hereunder unless such policy
         is replaced as aforesaid, or materially increase the premiums on any such policy above the
         normal premium charged for such policy. Borrower shall cooperate with Lender in
         obtaining for Lender the benefits of any insurance proceeds lawfully or equitably payable
         to Lender in connection with the transaction contemplated hereby.

                        Compliance with Property Agreements; No Modifications. Each Borrower
         shall promptly perform and observe or cause to be performed and observed, all of the terms,
         covenants and conditions of all Property Agreements and all things necessary to preserve
         intact and unimpaired any and all appurtenances or other interests or rights affecting its
         Property. Borrower will enforce all of the rights of Borrower under each such Property
         Agreement. Borrower will not modify, waive in any material respect or release any Property
         Agreement, or suffer, consent to or permit the foregoing, without Lender’s prior written
         consent, which consent may be granted or denied in Lender’s sole discretion.

                        Right of Inspection. Borrower will permit Lender and any Persons
         authorized by Lender, upon reasonable advance notice to Borrower and at reasonable times,

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         to examine and inspect any financial and accounting records of Borrower and to make
         copies and take abstracts from such records and to discuss the affairs, finances and business
         of Borrower with their officers and managers and independent public accountants. During
         the occurrence of an Event of Default, Borrower shall pay any reasonable costs and expenses
         incurred by Lender to examine Borrower’s accounting records with respect to the Property,
         as Lender shall reasonably determine to be necessary or appropriate in the protection of
         Lender’s interest. Except as otherwise permitted hereunder, Lender shall have the right, at
         Borrower’s sole cost and expense, to obtain an update to the Appraisal delivered in
         connection with the closing of the Loan or a new Appraisal one (1) time in each twelve (12)
         month period during the term of the Loan, provided that Lender shall have the right to obtain
         additional Appraisals or Appraisal updates at its own cost and expense.

                            Financial Reports.

                         (a) Each Borrower will keep and maintain or will cause to be kept and
          maintained on a fiscal year basis, in accordance with GAAP, modified accrual or other
          generally accepted accounting principles (or such other accounting basis reasonably
          acceptable to Lender) consistently applied, proper and accurate books, records and
          accounts reflecting all of the financial affairs of Borrower and all items of income and
          expense in connection with the operation of the Property or in connection with any services,
          equipment or furnishings provided in connection with the operation thereof, whether such
          income or expense may be realized by Borrower or by any other Person whatsoever,
          excepting Tenants unrelated to and unaffiliated with such Borrower who have leased from
          Borrower portions of the Property for the purpose of occupying the same.

                         (b) As long as the Loan remains unpaid in whole or in part, each Borrower
          covenants to furnish to Lender:

                                (i)       not later than thirty (30) days following the close of each
          quarter, quarterly property operating statements of the Property showing, in reasonable
          detail, total revenues received, including line item breakouts for all other ancillary income,
          and total expenses, including a line item expense breakout with capital expenditures
          detailed, certified as true and correct by Borrower;

                               (ii)        not later than thirty (30) days following the close of each
          quarter, quarterly rent rolls, dated as of the last day of each quarter, identifying lease term,
          space occupied, rent to be paid, security deposit paid, concessions and payments
          delinquencies, certified as true and correct by Borrower;

                             (iii)       not later than April 30 of each year, an unaudited annual
          year-end financial statement of the Property for the prior year, showing in reasonable detail
          total revenues received, total expenses, total cost of all capital improvements, total debt
          service and total cash flow, which shall be prepared in accordance with GAAP, modified
          accrual or other generally accepted accounting principles by a firm of independent public
          accountants which is a member of the American Institute of Certified Public Accountants,
          or such other accounting firm reasonably acceptable to Lender; provided, however, that
          following the occurrence of an Event of Default, Borrower shall be required to provide


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          audited annual year-end financial statements of the Property for the prior year, showing in
          reasonable detail total revenues received, total expenses, total cost of all capital
          improvements, total debt service and total cash flow, which shall be prepared by a firm of
          independent public accountants which is a member of the American Institute of Certified
          Public Accountants, unqualified as to the scope of the audit, to the effect that such financial
          statements were prepared in accordance with GAAP, and that the examination of such
          accounting firm in connection with such financial statements has been made in accordance
          with generally accepted auditing standards;

                              (iv)        not later than April 30 of each year, an annual year-end rent
          roll of the Property for the prior year, certified as true and correct by Borrower;

                              (v)       not later than April 30 of each year, an annual balance sheet
          and profit and loss statement of Borrower for the prior year;

                            (vi)       at least thirty (30) days prior to the start of each calendar
          year, an annual operating budget consistent with the annual operating statement described
          above for the Property including cash flow projections for the upcoming year and all
          proposed capital replacements and improvements for Lender’s approval pursuant to
          Section 4.43 hereof;

                            (vii)         not later than the twentieth (20th) day of each month,
          certified monthly rent rolls for the prior calendar month;

                            (viii)       not later than the twentieth (20th) day of each month,
          certified monthly operating statements of the Property for the prior calendar month
          showing, in reasonable detail, total revenues received, including line item breakouts for all
          other ancillary income, and total expenses, including a line item expense breakout with
          capital expenditures detailed, certified as true and correct by Borrower;

                             (ix)       not later than the twentieth (20th) day of each month,
          certified monthly balance sheet and report of aged receivables for the Property for the prior
          calendar month;

                             (x)        not later than (1) ten (10) Business Days after the date
          required by Law, copies of all reports submitted by Borrower to any Governmental
          Authority pursuant to any Rent Regulations (including, without limitation, in connection
          with the Regulatory Agreement), and (2) ten (10) Business Days after requested by Lender,
          copies of all documents (including, without limitation, all books records, reports,
          correspondences, leases, plans, notices and other documents) relating to Rent Regulations
          (including, without limitation, in connection with the Regulatory Agreement) in
          Borrower’s possession or control;

                                  (xi)        such other information as may be reasonably requested by
          Lender;

                          (xii)        as soon as available and in any event within ten (10)
          Business Days after filing, copies of all tax returns filed by Borrower and Guarantor

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          certified by the Controlling Party of Borrower or by Guarantor, as applicable, as being
          complete and correct; and

                           (xiii)       not later than April 30 of each year and, in addition, upon the
          request of Lender, updated unaudited personal financial statements of Guarantor on a form
          acceptable to Lender, including or together with a listing of contingent obligations of the
          Guarantor, and certified by the Guarantor to be complete and correct.

                          (c)     If Borrower fails to provide to Lender or its designee any of the
          financial statements, certificates, reports or information (the “Required Records”)
          required by this Section 4.22 within thirty (30) days after the applicable time periods set
          forth in this Section 4.22, Borrower shall pay to Lender, at Lender’s option and in its
          discretion, an amount equal to $250 for each Required Record that is not delivered within
          fifteen (15) days after written notice by Lender to Borrower thereof (and at any time during
          such fifteen (15) day period, Borrower shall have the right to cure such breach). In
          addition, if Borrower fails to deliver any Required Records to Lender with fifteen (15) days
          of the applicable time periods set forth in this Section 4.22, Lender shall have the option,
          upon fifteen (15) days’ notice to Borrower, to gain access to Borrower’s books and records
          and prepare or have prepared, at Borrower’s expense, any Required Records not delivered
          by Borrower.

                        Information to Lender. Upon written request from Lender, Borrower shall
         furnish within thirty (30) days to Lender:

                         (a) Property Management Report. A property management report for the
          Property, showing the number of inquiries made and/or rental applications received from
          Tenants or prospective Tenants and deposits received from Tenants and any other
          information requested by Lender, in reasonable detail and certified by the chief financial
          officer of Borrower or Guarantor to be true and complete.

                          (b) Accounting for Security Deposits. An accounting of all security
          deposits held in connection with any Lease, including the name and identification number
          of the accounts in which such security deposits are held, the name and address of the
          financial institutions in which such security deposits are held and the name of the Person
          to contact at such financial institution, along with any authority or release necessary for
          Lender to obtain information regarding such accounts directly from such financial
          institutions.

                            General Reporting Requirements.    Borrower agrees that Borrower will
         furnish:

                         (a) Litigation. Promptly after their commencement, notice of all actions,
          suits, and proceedings before any Governmental Authority or arbitrator involving or
          affecting Borrower or the Property.

                        (b) Material Adverse Change. Promptly after the occurrence of any
          Material Adverse Change, written notice of such Material Adverse Change.


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                        (c) Default or Event of Default. Promptly after the occurrence of any
          Default or Event of Default written notice, and the nature of, such Default or Event of
          Default.

                         (d) General Information. Promptly after a request by Lender, such other
          information respecting the status of the business, assets, liabilities, results of operations,
          and/or condition (financial or otherwise) of Borrower, the Property or Guarantor as Lender
          may reasonably request from time to time.

                            Rate Cap Agreement.

                          (a) On or before the Execution Date, Borrower will obtain, execute, pay
          and deliver to Lender a true, correct and complete Rate Cap Agreement satisfying the terms
          and conditions determined by Lender in its sole discretion (including, without limitation,
          the applicable Strike Rate) except that the initial term shall be for twenty-four (24) months,
          together with the Assignment of Rate Cap Agreement and a consent of the Acceptable
          Counterparty thereunder with respect thereto. Borrower shall deliver to Lender on or before
          the date that is five (5) days after the Execution Date a legal opinion from counsel of the
          Acceptable Counterparty with respect to the Rate Cap Agreement that is reasonably
          acceptable to Lender. Borrower acknowledges and agrees that if requested by Lender
          during the term of the Loan, Borrower shall, prior to the termination of the Rate Cap
          Agreement provided in connection with the origination of the Loan, obtain, execute, pay
          for and deliver to Lender an extension or modification of the Rate Cap Agreement or a new
          Rate Cap Agreement which terminates no earlier than the then scheduled Maturity Date,
          which amended or new Rate Cap Agreement shall (i) be issued by an Acceptable
          Counterparty, (ii) satisfy the terms and conditions determined by Lender in its sole but
          reasonable discretion (including, without limitation, a Strike Rate determined by Lender),
          and (iii) become effective simultaneously with the expiration of the existing Rate Cap
          Agreement (or such later date as approved by Lender, in its sole but reasonable
          discretion). Additionally, in connection with the amended or new Rate Cap Agreement,
          Borrower shall cause to be delivered to Lender a new Assignment of Rate Cap Agreement
          no later than the date on which such Rate Cap Agreement is purchased, a consent of the
          Acceptable Counterparty thereunder with respect thereto within two (2) Business Days of
          the effective date of the Rate Cap Agreement and a legal opinion from counsel to the
          Acceptable Counterparty with respect to the Rate Cap Agreement that is reasonably
          satisfactory to Lender. Borrower shall comply with all of the terms and provisions of the
          Rate Cap Agreement. Borrower shall enforce all of its rights under the Rate Cap
          Agreement. Borrower will not waive, amend or otherwise modify any of the terms or
          provisions of the Rate Cap Agreement, except for the extension of the term of the Rate Cap
          Agreement. If the current counterparty under a Rate Cap Agreement no longer qualifies
          as an Acceptable Counterparty, within ten (10) Business Days of Borrower’s actual or
          constructive knowledge of the counterparty’s disqualification as an Acceptable
          Counterparty, Borrower shall obtain, execute, pay for and deliver to Lender a true, correct
          and complete replacement Rate Cap Agreement that satisfies the requirements of this
          Agreement and is from an Acceptable Counterparty, together with an assignment of rate
          cap agreement by Borrower to Lender and the consent of the Acceptable Counterparty
          thereunder with respect thereto, each in form and substance acceptable to Lender.

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          Furthermore, if any violation or default shall occur under any of the terms of the Rate Cap
          Agreement or the Assignment of Rate Cap Agreement, within ten (10) Business Days of
          the occurrence of such violation or default, Borrower shall obtain, execute, pay for and
          deliver to Lender a true, correct and complete replacement Rate Cap Agreement that
          satisfies the requirements of this Agreement, together with the assignment of rate cap
          agreement by Borrower to Lender and a consent of the Acceptable Counterparty thereunder
          with respect thereto, each in form and substance acceptable to Lender.

                           (b) Notwithstanding anything to the contrary contained in this Section 4.25
          or elsewhere in this Agreement, if, at any time, a Benchmark Transition Event or an Early
          Opt-in Election occurs, then, within thirty (30) days after the designation of the Alternative
          Rate (but no later than five (5) days prior to the applicable Benchmark Replacement Date),
          Borrower shall enter into, make all payments under, and satisfy all conditions precedent to
          the effectiveness of, a substitute Rate Cap Agreement (and in connection therewith, but not
          prior to Borrower taking all the actions described herein, Borrower shall have the right to
          terminate any then-existing Rate Cap Agreement) which provides Borrower the protection
          against rising interest rates that is no less beneficial to Borrower and Lender than the then-
          existing Rate Cap Agreement required hereunder, and otherwise acceptable to Lender in
          its sole discretion.

                          Right of Entry. Subject to the rights of individual tenants at the Property,
         Borrower shall permit Lender and its agents to enter and inspect the Property or any part
         thereof at all reasonable times, and, except in the event of an emergency, upon reasonable
         notice and in compliance with the terms of the Leases, and to inspect Borrower’s books and
         records and to make abstracts and reproductions thereof. Notwithstanding the foregoing, if
         there is an existing Event of Default the provisions of Section 10.03 shall govern Lender’s
         right of entry.

                         Deduction from Value. In the event of the passage after the Execution Date
         of any Legal Requirement deducting from the value of the Property for the purpose of
         taxation, any Lien thereon or changing in any way the Legal Requirements now in force for
         the taxation of the Mortgage (excluding any income tax that is calculated on the income of
         Lender) and/or the Debt for federal, state or local purposes, or the manner of the operation
         of any such taxes so as to adversely affect the interest of Lender, or impose any tax or other
         charge on any Loan Document, then Borrower will pay such tax, with interest and penalties
         thereon, if any, within the statutory period. In the event the payment of such tax or interest
         and penalties by Borrower would be unlawful, or taxable to Lender or unenforceable or
         provide the basis for a defense of usury, then in any such event, Lender shall have the option,
         by written notice of not less than thirty (30) days, to declare the Debt immediately due and
         payable.

                         No Joint Assessment. Borrower shall not consent to or initiate the joint
         assessment of the Property or the Improvements thereon (a) with any other real property
         constituting a separate tax lot and Borrower represents and covenants that the Property and
         the Improvements thereon are and shall remain a separate tax lot or lots, and (b) with any
         portion of the Property that may be deemed to constitute personal property, or any other


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         procedure whereby the Lien of any taxes that may be levied against such personal property
         shall be assessed or levied or charged to the Property as a single Lien.

                         No Credits on Account of the Debt. Borrower will not claim or demand or
         be entitled to any credit or credits on account of the Debt for any part of the Impositions
         assessed against the Property or any part thereof and no deduction shall otherwise be made
         or claimed from the taxable value of the Property, or any part thereof, by reason of the
         Mortgage or the Debt. In the event such claim, credit or deduction shall be required by
         Legal Requirements, Lender shall have the option, by written notice of not less than thirty
         (30) days, to declare the Debt immediately due and payable.

                        Documentary Stamps. If, at any time, the United States of America, any
         state or Commonwealth thereof or any subdivision of any such state shall require revenue
         or other stamps to be affixed to the Note or the Mortgage, or impose any other tax or charges
         on the same, Borrower will pay the same, with interest and penalties thereon, if any.

                         Publicity. Borrower shall not publicize or advertise any information
         regarding the Loan or Lender's financing of the Property without first submitting any
         proposed publication or advertisement to Lender, and then receiving the written approval of
         Lender (such approval to be granted or not granted in Lender's sole discretion) (the “Non
         Publication Covenants”); and further, Borrower shall cause its affiliates, the Guarantor and
         any broker which it engaged with respect to the Loan (and with respect to acquisition of the
         Property, if applicable) to adhere to the Non Publication Covenants.

                         Representations Generally. The representations and warranties contained in
         this Agreement, and the review and inquiry made on behalf of Borrower and Guarantor
         therefor have all been made by persons having the requisite expertise and knowledge to
         provide such representations and warranties. No statement of fact made by or on behalf of
         Borrower or Guarantor in this Agreement or in any certificate, document or schedule
         furnished to Lender pursuant hereto, contains any untrue statement of a material fact or
         omits to state any material fact necessary to make statements contained herein or therein not
         misleading.

                         ERISA. Borrower will not engage in any transaction which would cause any
         obligation, or action taken or to be taken, hereunder (or the exercise by Lender of any of its
         rights under any Loan Document) to be a non-exempt (under a statutory or administrative
         class exemption) prohibited transaction under ERISA. Borrower further covenants and
         agrees to deliver to Lender such certifications or other evidence from time to time
         throughout the term of this Agreement, as requested by Lender in its sole discretion, that
         the ERISA representations specified above are still true.

                         Sale of Assets. Borrower will not sell, lease, assign, transfer, or otherwise
         dispose of, any of its now owned or hereafter acquired assets, except for the sale or other
         disposition of assets no longer used or useful in the conduct of its business.

                       Distributions. Borrower will not declare or make any distribution to any of
         its members or partners at any time an Event of Default exists.


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                         Authority Documents. Borrower will not enter into any amendment,
         modification, waiver, termination or restatement of any Authority Document other than
         ministerial or non-economic changes.

                         Name, Address and Structure. Borrower will not change its name, its place
         of business or, if more than one place of business, its chief executive office, or its mailing
         address or organizational identification number if it has one without giving Lender at least
         thirty (30) days written notice of such change, or change its type of organization, jurisdiction
         of organization or other legal structure.

                        Litigation. Borrower will not commence any material litigation without the
         prior written consent of Lender, which consent shall not be unreasonably withheld,
         conditioned or delayed.

                        Property Management Agreement. Borrower will not amend or modify any
         of the provisions of the Property Management Agreement, in any material respect, without
         the prior written consent of Lender, which consent shall not be unreasonably withheld,
         conditioned or delayed.

                       Major Contracts. Borrower will not enter into, modify or amend any Major
         Contract without the prior written consent of Lender, which consent shall not be
         unreasonably withheld, conditioned or delayed.

                       Leases. Borrower will not enter into, modify or amend any Operating Lease
         or Capital Lease without the prior written consent of Lender, which consent shall not be
         unreasonably withheld, conditioned or delayed.

                       Issuance of Equity. Except as otherwise expressly permitted hereunder,
         Borrower will not issue any additional equity interest, including membership interests.

                          Budget. As soon as available and in any event at least thirty (30) days prior
         to the start of each calendar year, Borrower shall deliver to Lender a budget (“Budget”) for
         such calendar year showing, in such format and detail as Lender may reasonably require,
         showing on a cash and/or accrual basis as specified by Lender, all estimated revenues
         (including contingency items) and expenses for such calendar year. In addition, the Budget
         shall include such additional information as Borrower or Lender deems reasonably
         appropriate, including but not limited to the business plans for the operation and marketing
         of the Property, an assessment of existing market conditions, and a review of the Property’s
         performance in the prior calendar year. Lender shall have the right to ask questions
         regarding the items set forth in the Budget, and Borrower shall make itself and the other
         relevant parties available to respond to Lender’s questions. During the continuance of an
         Event of Default, Lender shall approve or disapprove each entire Budget or any proposed
         amendment to a current Budget within thirty (30) days after delivery of such Budget or
         amendment to Lender and, if such Budget or amendment is disapproved, Lender shall
         provide such information as is needed to permit Borrower to promptly make or cause to be
         made changes to the applicable Budget or amendment as Lender shall reasonably require
         and shall resubmit such Budget or amendment to Lender for its reasonable approval. If,


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         during the continuance of an Event of Default, Lender fails to approve a proposed Budget
         prior to the start of the year for which such Budget was prepared, the applicable Budget for
         the immediately preceding year (with actual increases for any non-discretionary items) shall
         control until approval is obtained. If, during the continuance of an Event of Default,
         Borrower must incur an extraordinary operating expense or capital expenditure not set forth
         in the Budget (each, an “Extraordinary Expense”), then Borrower shall promptly deliver
         to Lender a reasonably detailed explanation of such proposed Extraordinary Expense for
         Lender’s approval.

       Furthermore, the budget approved by Lender as of the Execution Date (the “Initial
 Budget”) is attached as Exhibit B hereto.

                         Survival of Representations. The representations and warranties set forth in
         this Article 4 and elsewhere in this Agreement and the other Loan Documents shall (a)
         survive until the Debt has been paid in full, and (b) be deemed to have been relied upon by
         Lender notwithstanding any investigation beforehand or hereafter made by Lender or on its
         behalf.

                       Borrower’s Knowledge. When used in this Agreement or in any other Loan
         Documents, terms such as “to Borrower’s knowledge”, “to the best knowledge of
         Borrower”, “to Borrower’s best knowledge” or like phrases shall mean the actual or
         constructive awareness or knowledge of any member, manager, officer or director of
         Borrower, assuming that such Person conducted such due diligence as a reasonable property
         purchaser and owner would deem appropriate in connection with the Property, Borrower or
         the Loan and the representations that are qualified so in this Agreement and/or any of the
         other Loan Documents.

                                               ARTICLE 5
                                              INSURANCE

                        Conditions of Property. Borrower represents and warrants that Borrower has
         not received any notice or other communication from any insurance company or bonding
         company of any defects or inadequacies in all or any portion of the Property which could
         (1) adversely affect the insurability of all or any portion of the Property, (2) cause the
         imposition of extraordinary premiums or charges or (3) cause the termination of any
         insurance policy or bond.

                            Required Insurance.

                         (a) During the term of this Agreement, Borrower at its sole cost and
          expense must provide ACORD 28 and ACORD 25 certificates of insurance and, upon the
          request of Lender certified copies of policies of insurance, satisfactory to Lender as to
          amounts, types of coverage and the companies underwriting these coverages. In no event
          will such policies be terminated or otherwise allowed to lapse. Borrower shall be
          responsible for its own deductibles. Borrower shall also pay for any insurance, or any
          increase of policy limits, not described in this Agreement that (i) Borrower, in its sole
          discretion believes is prudent for its own protection, or (ii) is required to comply with


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          applicable Law. Borrower’s insurance shall be primary and without contribution from any
          insurance procured by Lender.

                             (b) Policies of insurance shall comply with the following requirements:

                                    (1) “All-risk”/Special Form property insurance (i) in an amount
                 equal to one hundred percent (100%) of the Full Replacement Cost of the
                 Improvements, Fixtures, Equipment, furniture, furnishings and other personal
                 property, which for purposes of this Article means actual replacement value
                 (exclusive of costs of excavations, foundations, underground utilities and footings)
                 with a waiver of depreciation and with a “Replacement Cost” endorsement;
                 (ii) containing either no coinsurance or, if coinsurance, containing an agreed amount
                 endorsement with respect to the Improvements and Personal Property waiving all co-
                 insurance provisions; (iii) providing for no deductible in excess of $25,000 (except in
                 the case of wind/hail and named storm coverage, which must have a deductible of no
                 more than two percent (2%) of the insurable value, per occurrence); and (iv) including
                 contingent liability from “Operation of Building Laws,” Ordinance or Law coverage,
                 coverage for loss to the undamaged portion of the building (with sublimits acceptable
                 to Lender in its sole discretion) cost, “Demolition Costs” (with sublimits acceptable
                 to Lender in its sole discretion) and “Increased Cost of Construction” (with sublimits
                 acceptable to Lender in its sole discretion) endorsements in an amount acceptable to
                 Lender. The Full Replacement Cost shall be determined from time to time by an
                 appraiser or contractor designated and paid by Borrower and approved in writing by
                 Lender or by an engineer or appraiser in the regular employ of the insurer issuing
                 such policy. If not included within the “All-risk”/Special Form coverage above,
                 Borrower shall also carry (A) coverage against damage due to backing up of sewers
                 and drains, (B) earthquake insurance in amounts satisfactory to Lender if the Property
                 is considered to be in a high risk seismic zone, and (C) terrorism coverage- both
                 foreign and domestic in an amount equal to the full replacement cost of such
                 improvements. The maximum deductible under such insurance will not exceed
                 $25,000.

                                    (2) Commercial general liability insurance (including foreign and
                 domestic terrorism coverage) on an occurrence basis with no deductible or retention
                 in excess of $2,500 per claim unless otherwise approved by Lender in writing in
                 advance of placement, including terrorism coverage, against claims for personal
                 injury, bodily injury, death or property damage occurring upon, in or about the
                 Property, such insurance (i) to be on the so-called “occurrence” form with minimum
                 limits per occurrence of $1,000,000 and $2,000,000 in the aggregate, (ii) to continue
                 at not less than this limit until required to be changed by Lender in writing by reason
                 of changed economic conditions making such protection inadequate; and (iii) to cover
                 at least the following hazards: (a) premises and operations; (b) products and
                 completed operations on an “if any” basis; (c) independent contractors; (d) blanket
                 contractual liability for all written and oral contracts; and (e) contractual liability
                 covering the indemnities contained in this Agreement to the extent available.



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                                   (3) Business income insurance (including foreign and domestic
                 terrorism coverage) in an amount sufficient to prevent Borrower from becoming a co-
                 insurer within the terms of the applicable policies, and sufficient to recover a
                 minimum of twelve (12) months’ “Business Income” (as hereinafter defined), plus
                 three hundred sixty-five (365) days extended period of indemnity. “Business
                 Income” means the sum of (i) the total anticipated gross income from occupancy of
                 the Property, (ii) the amount of all charges (such as, but not limited to, operating
                 expenses, insurance premiums and taxes) which are the obligation of Tenants or
                 occupants to Borrower, (iii) the fair market rental value of any portion of the Property
                 which is occupied by Borrower, and (iv) any other amounts payable to Borrower or
                 to any Affiliate of Borrower pursuant to the Leases.

                                    (4) If any of the Improvements on the Property or any part thereof
                 is located in an area identified on a Flood Hazard Boundary Map or Flood Insurance
                 Rate Map issued by the Federal Emergency Management Agency as having special
                 flood hazards and Borrower shall maintain a flood insurance policy meeting the
                 requirements of the current guidelines of the Federal Insurance Administration with
                 a generally acceptable insurance carrier, in an amount not less than the lesser of (i) one
                 hundred percent (100%) of the replacement cost of the Property, (ii) the maximum
                 amount of insurance which is available under the National Flood Insurance Act of
                 1968, the Flood Disaster Protection Act of 1973) or the National Flood Insurance
                 Reform Act of 1994, as amended, or (iii) such other amount as required by Lender in
                 its sole discretion. The maximum deductible under such insurance will not exceed
                 $5,000. To the extent applicable, in the event Borrower secures a National Flood
                 Insurance policy equal to $500,000 and that amount is not sufficient to restore the
                 first two floors of the Property after a flood, Borrower is required to provide evidence
                 of excess flood coverage in an amount to be deemed acceptable by Lender.

                                   (5) During the period of any construction or renovation or alteration
                 of the Improvements, a so-called “Builder’s All Risk” insurance policy in non-
                 reporting, “completed value” form for any Improvements under construction,
                 renovation or alteration including, without limitation, for demolition and increased
                 cost of construction or renovation, in an amount approved by Lender, including an
                 “Occupancy” endorsement and worker’s compensation insurance covering all
                 persons engaged in the construction, renovation or alteration in an amount at least
                 equal to the minimum required by statutory limits of the State. Such insurance will
                 include an agreed amount endorsement waiving co-insurance provisions. Coverage
                 will be in form and substance and with deductibles approved by Lender and consistent
                 with the insurance required from Section 5.02(b)(1) above.

                                   (6) Workers’ compensation insurance, subject to the statutory limits
                 of the State, and employer’s liability insurance with a limit of at least $1,000,000 per
                 accident and per disease per employee, and $1,000,000 for disease in the aggregate
                 in respect of any work or operations on or about the Property, or in connection with
                 the Property or its operations (if applicable).



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                                   (7) Boiler & machinery/equipment breakdown insurance covering
                 the major components of the central heating, air conditioning and ventilating systems,
                 boilers, other pressure vessels, high pressure piping and machinery, elevators and
                 escalators, if any, and other similar equipment installed in the Improvements, in an
                 amount equal to one hundred percent (100%) of the full replacement cost of all
                 equipment installed in, on or at the Improvements, unless otherwise approved by
                 Lender in writing in advance of placement. These policies shall insure against
                 physical damage to and loss of occupancy and use of the Improvements arising out of
                 an accident or breakdown.

                                 (8) If applicable, automobile liability insurance for bodily injury
                 and property damage in the amount of $1,000,000 combined and covering all owned,
                 non-owned and hired vehicles.

                                  (9) Umbrella liability insurance (including foreign and domestic
                 terrorism coverage) covering bodily injury and property damage with limits of not
                 less than $5,000,000 per occurrence, per location, in excess of Sections 5.02(b)(2),
                 (6) and (8) above.

                                   (10) Such other insurance and such higher limits as may from time
                 to time be reasonably required by Lender against other insurable hazards, including,
                 but not limited to, vandalism, earthquake, sinkhole and mine subsidence.

                            Terms of Insurance Policies.

                          (a) Lender’s interest must be clearly stated by endorsement in the insurance
          policies described in Section 5.02 as follows:

                                 (1) The policies of insurance referenced above shall identify Lender
                 as Mortgagee, Lender’s Loss Payable, and additional insured, as applicable.

                           (b) All of the policies referred to in Section 5.02 shall (i) be for a term of
          not less than one (1) year, (ii) in the case of Property policies, and when available Liability
          policies, provide for at least thirty (30) days’ written notice to Lender in the event of policy
          cancellation (and at least ten (10) days’ written notice to Lender in the event of policy
          cancellation due to nonpayment of premium), (iii) contain an endorsement or agreement
          by the insurer that any loss shall be payable to Lender in accordance with the terms of such
          policy notwithstanding any act or negligence of Borrower which might otherwise result in
          forfeiture of such insurance; (iv) waive all rights of subrogation against Lender; (v) in the
          event that any Lease requires that any insurance policies affecting the Property contain a
          waiver of subrogation provision, either by their terms or by endorsement, provide such a
          waiver, (vi) in the case of property damage insurance policies such policies, automatically
          reinstate after a Casualty, (vii) provide that no mortgagee, loss payee or additional insured
          is responsible for any insurance premiums on or assessments pursuant to any such policy,
          (viii) permit Lender to pay the premiums and continue such policy upon failure of
          Borrower to pay such premium and (ix) provide a waiver of subrogation endorsement as



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          to Lender. Lender may, but shall not be obligated to, make premium payments to prevent
          such cancellation.

                         (c) Unless otherwise approved by Lender in writing in advance of
          placement, all the insurance companies must be authorized to do business in the State and
          be approved by Lender. The insurance companies must have a general policy rating of
          policy rating of A or better with S&P and “A:VIII” or better by A.M. Best Company, Inc.
          Notwithstanding the foregoing, for purposes of loan closing, Lender has approved the
          following carriers which are not rated by S&P: Starstone Specialty Insurance Company
          (rated “A-:XI” by A.M. Best Company, Inc.); Ategrity Specialty Insurance Co. (rated “A-
          :VIII” by A.M. Best Company, Inc.); Aspen Specialty Insurance Co. (rated “A:XV” by
          A.M. Best Company, Inc.); Hallmark Specialty Insurance Company (rated “A-:VIII” by
          A.M. Best Company, Inc.); and Northfield Insurance Company (rated “A++:XV” by A.M.
          Best Company, Inc.). Borrower shall deliver evidence satisfactory to Lender of payment
          of premiums due under the insurance policies.

                        (d) Copies of the policies, Schedules of Locations and Values, and any
          endorsements, shall be made available for inspection by Lender upon request. If any policy
          is canceled before the Debt is satisfied, and Borrower fails to immediately procure
          replacement insurance, Lender reserves the right but shall not have the obligation
          immediately to procure replacement insurance at Borrower’s cost.

                          (e) Borrower shall be required during the term of the Loan to continue to
          provide Lender with certified copies of renewal policies or replacements of the insurance
          policies referenced in Section 5.02(b). Lender may accept certificates of insurance
          evidencing insurance policies in addition to requiring the actual policies. Lender shall be
          provided with renewal certificates of insurance not less than fifteen (15) days prior to each
          expiration. The failure of Borrower to maintain the insurance required under this Article
          shall not constitute a waiver of Borrower’s obligation to fulfill these requirements.

                          (f) Borrower shall pay the premiums for all Required Insurance (the
          “Insurance Premiums”) as the same become due and payable and furnish to Lender
          evidence of the renewal of each Required Insurance policy (unless such Insurance
          Premiums have been paid by Lender) together with receipts for or other evidence of the
          payment of the Insurance Premiums reasonably satisfactory to Lender. If Borrower does
          not furnish such evidence and receipts at least fifteen (15) days prior to the expiration of
          any expiring Policy, then Lender may, but shall not be obligated to, procure such insurance
          and pay the Insurance Premiums therefor, and Borrower shall reimburse Lender for the
          cost of such Insurance Premiums promptly on demand, with interest accruing at the Default
          Rate. Borrower shall deliver to Lender a certified copy of each Required Insurance policy
          within thirty (30) days after its effective date. Within thirty (30) days after request by
          Lender, Borrower shall obtain such increases in the amounts of coverage required
          hereunder as may be reasonably requested by Lender, taking into consideration changes in
          the value of money over time, changes in liability Laws, and changes in prudent customs
          and practices.




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                         Compliance with Requirements of Insurance Policies. Each Borrower, with
         respect to its Property, shall (1) pay when due all Insurance Premiums for all Required
         Insurance, (2) comply with and conform to (a) all provisions of each such Required
         Insurance policy, and (b) all requirements of the insurers applicable to Borrower or to the
         Property or to the use, manner of use, occupancy, possession, operation, maintenance,
         alterations or repair of any of the Property, and (3) not use or permit the use of the Property
         in any manner which permits any insurer to cancel or void any Required Insurance policy.

                         Insurance Reporting Requirements. Borrower shall give Lender prompt
         notice of, and copies of documents delivered or received by Borrower in connection with,
         each of the following: (1) any claims made against Borrower for any personal injury, bodily
         injury or property damage incurred on or about the Property, (2) any Casualty, and (3) any
         cancellation or non-renewal of any Required Insurance policy.

         From time to time, Lender may request that Borrower deliver to Lender, within ten (10)
 Business Days of receipt of such request, a report from a reputable and experienced insurance
 broker or from the insurer, setting forth the particulars as to all insurance policies obtained by
 Borrower pursuant to this Agreement and then in effect and stating that all Insurance Premiums
 then due on all such policies have been paid in full to the applicable insurers (or the insurance
 brokers on behalf of the insurers), that such insurance policies are in full force and effect and that,
 in the opinion of such insurance broker or insurer, such insurance policies otherwise comply with
 the requirements of this Agreement.

                            Assignment To Lender.

                            (a) Borrower hereby assigns to Lender the proceeds of all insurance (other
          than liability insurance) obtained pursuant to this Agreement, all of which proceeds shall
          be payable to Lender as collateral and further security for the payment of the Debt and the
          performance of Borrower’s obligations hereunder and under the other Loan Documents,
          and Borrower hereby authorizes and directs the issuer of any such insurance to make
          payment of such proceeds directly to Lender. Except as otherwise expressly provided in
          Article 6, Lender shall have the option, in its discretion, and without regard to the adequacy
          of its security, to apply all or any part of the proceeds it may receive pursuant to this Article
          in such manner as Lender may elect to any one or more of the following: (i) the payment
          of the Debt (without the payment of the Prepayment Fee but with the payment of the
          applicable Exit Fee), whether or not then due, in any proportion or priority as Lender, in
          its discretion, may elect, (ii) the repair or restoration of the Property, (iii) the cure of any
          Default or Event of Default, or (iv) the reimbursement of the costs and expenses of Lender
          incurred pursuant to the terms hereof in connection with the recovery of the insurance
          proceeds. Nothing herein contained shall be deemed to excuse Borrower from repairing or
          maintaining the Property as provided in this Agreement or restoring all damage or
          destruction to the Property, regardless of the sufficiency of the insurance proceeds, and the
          application or release by Lender of any insurance proceeds shall not cure or waive any
          Default or Event of Default or notice of Default.

                          (b) In the event of the foreclosure of the Mortgage or any other transfer of
          title or assignment of all or any part of the Property in extinguishment, in whole or in part,

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          of the Debt, all right, title and interest of Borrower in and to all Required Insurance policies
          shall inure to the benefit of the successor in interest to Borrower or the purchaser of the
          Property. If, prior to the receipt by Lender of any insurance proceeds, the Property or any
          portion thereof shall have been sold on foreclosure of the Mortgage or by deed in lieu
          thereof or otherwise, or any claim under such insurance policy arising during the term of
          the Loan is not paid until after the extinguishment of the Mortgage, and Lender shall not
          have received the entire amount of the Debt outstanding at the time of such extinguishment,
          whether or not a deficiency judgment on the Mortgage shall have been sought or recovered
          or denied, then, the proceeds of any such insurance to the extent of the amount of the Debt
          not so received, shall be paid to and be the property of Lender, together with interest
          thereon at the Default Rate, and the reasonable attorneys’ fees, costs and disbursements
          incurred by Lender in connection with the collection of the insurance proceeds and
          Borrower hereby assigns, transfers and sets over to Lender all of Borrower’s right, title and
          interest in and to such insurance proceeds. Notwithstanding any provisions of this
          Agreement to the contrary, Lender shall not be deemed to be a trustee or other fiduciary
          with respect to its receipt of any such insurance proceeds and such insurance proceeds may
          be commingled with any other monies of Lender; provided, however, that Lender shall use
          such insurance proceeds for the purposes and in the manner permitted by this Agreement.
          The provisions of this Section shall survive the termination of the Mortgage by foreclosure,
          deed in lieu thereof or otherwise as consequence of the exercise of the rights and remedies
          of Lender after a Default.

                                       ARTICLE 6
                        CASUALTY, CONDEMNATION AND RESTORATION

                        Borrower’s Representations. Each Borrower represents and warrants as
         follows with respect to its Property:

                         (a) No Casualty or damage to any part of the Property has occurred which
          has not been fully restored or replaced.

                        (b) No part of the Property has been taken in Condemnation or other similar
          proceeding or transferred in lieu of Condemnation, nor has Borrower received notice of
          any proposed Condemnation or other similar proceeding affecting the Property.

                            Insurance Proceeds.

                         (a) In the event of any Casualty, Borrower shall give prompt written notice
          to Lender (which notice shall set forth Borrower’s good faith estimate of the cost of
          Restoration, or if Borrower cannot reasonably estimate the anticipated cost of Restoration,
          Borrower shall nonetheless give Lender prompt notice of the occurrence of such Casualty,
          and will diligently proceed to obtain estimates to enable Borrower to quantify the
          anticipated cost and time required for such Restoration, whereupon Borrower shall
          promptly notify Lender of such good faith estimate).

                        (b) Borrower shall not adjust, compromise or settle any claim for Casualty
          Insurance Proceeds without the prior written consent of Lender, which consent shall not be


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          unreasonably withheld or delayed; provided, however, that, except during the continuance
          of an Event of Default, Lender’s consent shall not be required with respect to the
          adjustment, compromising or settlement of any claim for Casualty Insurance Proceeds in
          an amount less than $100,000.

                           (c) Provided that (i) Restoration does not violate any Legal Requirements,
          (ii) an independent engineer selected by Lender (“Lender’s Casualty Consultant”) agrees
          with Borrower’s estimate of the cost of Restoration, (iii) less than ten percent (10%) of the
          reasonably estimated aggregate fair market value of the Property is damaged or destroyed,
          (iv) the Property can, in Lender’s judgment, with diligent Restoration, be returned to a
          condition at least equal to the condition thereof that existed prior to the Casualty within the
          earlier to occur of (1) six (6) months after the receipt of Casualty Insurance Proceeds, and
          (2) six (6) months prior to the Maturity Date, (v) no Default or Event of Default is then
          continuing hereunder or under any of the other Loan Documents, (vi) if such Casualty
          results in the loss of access to the Property or the Improvements then such access is replaced
          by new Improvements to the Property or an access easement, (vii) the Casualty Insurance
          Proceeds are deposited with Lender, (viii) the insurance carrier has not denied liability to
          Borrower, (ix) Borrower submits plans and specifications for such Restoration and such
          plans and specifications are approved by Lender, (x) Borrower submits a budget for such
          Restoration, together with reasonably satisfactory evidence to support such budget, and
          such budget is reasonably approved by Lender, (xi) Borrower obtains all Permits required
          for the Restoration and provides copies of all such Permits to Lender, (xii) Borrower
          provides evidence reasonably satisfactory to Lender that, as a result of either the Casualty
          or the Restoration, none of the commercial Tenants (if applicable) will terminate its Lease
          and (xiii) Borrower delivers to Lender a pro forma computation, reasonably satisfactory to
          Lender, demonstrating that during the period of time required to complete the Restoration
          and for the twelve (12) months thereafter, Borrower will be able to make all payments of
          principal and interest required under the Loan Documents, then Lender shall make the
          Casualty Insurance Proceeds available to Borrower in accordance with Section 6.03 below.
          Borrower shall promptly commence and diligently prosecute to completion the Restoration
          to a condition such that the Property shall be at least equal in value to that immediately
          prior to the Casualty to the extent practicable, in full compliance with all Legal
          Requirements and the provisions of all Leases, and in accordance with Section 6.03 below.
          All costs and expenses of Lender’s Casualty Consultant shall be paid by Borrower within
          ten (10) days after demand of Lender.

                          (d) In all other cases, Lender shall have the option, in its sole discretion to
          apply any Casualty Insurance Proceeds it may receive pursuant to this Agreement (less any
          cost actually incurred to Lender of recovering and paying out such proceeds incurred
          pursuant to the terms hereof and not otherwise reimbursed to Lender, including, without
          limitation, reasonable attorneys’ fees and expenses) to the payment of the Debt, without
          the payment of the Prepayment Fee but with the payment of the applicable Exit Fee, or to
          allow such proceeds to be used for the Restoration pursuant to the terms and subject to the
          conditions of the applicable sections of this Article.

                         (e) In the event that Lender allows Casualty Insurance Proceeds to be used
          for the Restoration, any excess proceeds remaining after completion of such Restoration

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          shall be (i) applied to the payment of the Debt without any prepayment fee or charge but
          with payment of the applicable Exit Fee and/or (ii) deposited in the Replacement Reserve
          and applied in accordance with the terms and provisions of Section 11.04 herein, which
          application or deposit shall be in any manner and amounts as Lender shall determine in its
          sole discretion.

                         (f) Except with respect to de minimis proceeds of up to $100,000 paid prior
          to an Event of Default hereunder, Borrower hereby irrevocably appoints Lender as its
          attorney-in-fact, coupled with an interest, to collect and receive any Casualty Insurance
          Proceeds paid with respect to any portion of the Property or the insurance policies required
          to be maintained hereunder, and to endorse any checks, drafts or other instruments
          representing any insurance proceeds whether payable by reason of loss thereunder or
          otherwise.

                        Restoration. If any Casualty Insurance Proceeds are to be applied to the
         Restoration, then such Casualty Insurance Proceeds shall be held by Lender and shall be
         paid out from time to time to Borrower as the Restoration progresses (less any cost actually
         incurred to Lender of Lender’s Casualty Consultant and of recovering and paying out such
         Casualty Insurance Proceeds, including, without limitation, reasonable attorneys’ fees and
         costs allocable to inspecting the Restoration and the plans and specifications therefor but
         without duplication of expenditures between Borrower or Lender) subject to all of the
         following conditions:

                          (a) An architect or engineer selected by Borrower and reasonably
          acceptable to Lender (an “Architect” or “Engineer”) or a Person otherwise reasonably
          acceptable to Lender, shall have delivered to Lender a certificate estimating the cost of
          completing the Restoration, and, if the amount set forth therein is or if Lender’s Casualty
          Consultant shall estimate the cost of completing the Restoration to be more than the sum
          of the amount of Casualty Insurance Proceeds then being held by Lender in connection
          with a Casualty and amounts agreed to be paid as part of a final settlement under the
          insurance policy upon or before completion of the Restoration, Borrower shall have
          delivered to Lender (i) cash collateral in an amount equal to such excess, (ii) an
          unconditional, irrevocable, clean sight draft letter of credit, in form, substance and issued
          by a bank reasonably acceptable to Lender, in the amount of such excess and draws on
          such letter of credit shall be made by Lender to make payments pursuant to this Article
          following exhaustion of the Casualty Insurance Proceeds therefor or (iii) a completion bond
          in form, substance and issued by a surety company reasonably acceptable to Lender.

                          (b) If the cost of the Restoration is reasonably estimated by an Architect or
          Engineer in a certification reasonably acceptable to Lender or by Lender’s Casualty
          Consultant to be equal to or exceed $100,000, such Restoration shall be performed under
          the supervision of an Architect or Engineer, it being understood that the plans and
          specifications with respect thereto shall provide for Restoration so that, upon completion
          thereof, the Property shall be at least equal in replacement value and general utility to the
          Property prior to the damage or destruction.




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                           (c) Each request for payment shall be made on not less than ten (10) days’
          prior notice to Lender and shall be accompanied by a certificate of an Architect or Engineer,
          or, if the Restoration is not required to be supervised by an Architect or Engineer, by a
          certificate of an officer of Borrower or the Controlling Party, stating (i) that payment is for
          Restoration completed in compliance with the plans and specifications, if required under
          Section 6.03(b) above, (ii) that the sum requested is required to reimburse Borrower for
          payments by Borrower to date, or is due to the contractor, subcontractors, materialmen,
          laborers, engineers, architects or other Persons rendering services or materials for the
          Restoration (giving a brief description of such services and materials), and that when added
          to all sums previously paid out by Lender does not exceed the value of the Restoration
          done to the date of such certificate, (iii) if the sum requested is to cover payment relating
          to repair and restoration of personal property required or relating to the Property, that title
          to the personal property items covered by the request for payment is vested in Borrower
          (unless Borrower is a lessee of such personal property), and (iv) that the Casualty Insurance
          Proceeds and other amounts deposited by Borrower held by Lender after such payment is
          more than the estimated remaining cost to complete such Restoration; provided, however,
          that if such certificate is given by an Architect or Engineer, such Architect or Engineer
          shall certify as to clause (i) above, and such officer shall certify as to the remaining clauses
          above, and provided, further, that Lender shall not be obligated to disburse such funds if
          Lender’s Casualty Consultant determines that the requirements in clause (i) or clause (iv)
          shall not have been satisfied or Lender determines, in Lender’s sole but reasonable
          discretion, that Borrower shall not be in compliance with Section 6.03(h) hereof.
          Additionally, each request for payment shall contain a statement signed by Borrower
          stating that the requested payment is for Restoration satisfactorily done to date.

                           (d) Each request for payment shall be accompanied by waivers of Lien, in
          customary form and substance, covering that part of the Restoration for which payment or
          reimbursement is being requested and, if required by Lender, a search prepared by a title
          company or licensed abstractor, or by other evidence satisfactory to Lender that there has
          not been filed with respect to the Property any mechanic’s or other Lien or instrument for
          retention of title relating to any part of the Restoration not discharged of record.
          Additionally, as to any personal property covered by the request for payment, Lender shall
          be furnished with evidence of having incurred a payment obligation therefor and such
          further evidence reasonably satisfactory to assure Lender that UCC filings therefor provide
          a valid first Lien on the personal property.

                          (e) Lender and Lender’s Casualty Consultant shall have the right to inspect
          the Restoration at all reasonable times upon reasonable prior notice and may condition any
          disbursement of Casualty Insurance Proceeds upon satisfactory compliance by Borrower
          with the provisions hereof. Neither the approval by Lender or Lender’s Casualty
          Consultant of any required plans and specifications for the Restoration nor the inspection
          by Lender or Lender’s Casualty Consultant of the Restoration shall make Lender or
          Lender’s Casualty Consultant responsible for the preparation of such plans and
          specifications, or the compliance of such plans and specifications of the Restoration, with
          any applicable Law, regulation, ordinance, covenant or agreement.



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                        (f) Casualty Insurance Proceeds shall not be disbursed more frequently
          than once every thirty (30) days.

                           (g) Until such time as the Restoration has been substantially completed,
          Lender shall not be obligated to disburse up to ten percent (10%) of the cost of the
          Restoration (the “Retention Amount”) to Borrower. Upon substantial completion of the
          Restoration, Borrower shall send notice thereof to Lender and, subject to the conditions of
          Section 6.03(e), Lender shall disburse one-half (1/2) of the Retention Amount to Borrower;
          provided, however, that the remaining one-half (1/2) of the Retention Amount shall be
          disbursed to Borrower when Lender shall have received copies of any and all final
          certificates of occupancy or other certificates, licenses and Permits required for the
          ownership, occupancy and operation of the Property in accordance with all Legal
          Requirements. Borrower hereby covenants to diligently seek to obtain any such
          certificates, licenses and Permits.

                          (h) Upon failure on the part of Borrower promptly to commence the
          Restoration or to proceed diligently and continuously to completion of the Restoration,
          which failure shall continue after notice for thirty (30) days, Lender shall apply any such
          Casualty Insurance Proceeds it then or thereafter holds to the payment of the Debt in
          accordance with the provisions of the Note; provided, however, that Lender shall be
          entitled to apply at any time all or any portion of the Casualty Insurance Proceeds it then
          holds to the extent necessary to cure any Event of Default under this Agreement, the
          Mortgage, the Note or any other Loan Document. Notwithstanding the foregoing, if such
          failure on the part of Borrower is the result of a strike, lockout, labor dispute, inability to
          obtain labor or materials (or reasonable substitutes therefor), acts of God, severe weather
          conditions, governmental restriction, regulation or control, enemy or hostile governmental
          action, civil commotion, insurrection, sabotage or other similar conditions beyond the
          Control of Borrower (except if such failure is attributable to lack of funds or the inability
          to obtain financing) (each, a “Force Majeure”), then Borrower shall be afforded additional
          time to commence or proceed diligently with the Restoration provided that (i) Borrower
          delivers to Lender notice within five (5) Business Days after its discovery of
          commencement of such Force Majeure setting forth in detail the Force Majeure event,
          estimate of the length of such event (if reasonably determinable) and the actions being
          taken by Borrower in response thereto and (ii) Borrower will not be subject to criminal or
          civil penalties resulting from such delay in performance (other than de minimis civil
          penalties which (A) are monetary in nature only, (B) are ascertainable and (C) which if
          deposited with Lender would wholly protect Lender from such civil penalty and Borrower
          shall so deposit such penalties as a condition to any claimed delay due to Force Majeure).

                           Event of Default During Restoration. Notwithstanding anything to the
         contrary contained in this Agreement including, without limitation, the provisions of this
         Article, if, at the time of any Casualty, or at any time during any Restoration, or at any time
         that Lender is holding or is entitled to receive any Casualty Insurance Proceeds pursuant to
         this Agreement, an Event of Default exists and is continuing, Lender shall then have no
         obligation to make such proceeds available for Restoration and Lender shall have the right
         and option, to be exercised in its sole and absolute discretion and election, with respect to
         the Casualty Insurance Proceeds, either to retain and apply such proceeds in reimbursement

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         for the actual costs, fees and expenses incurred by Lender in accordance with the terms
         hereof in connection with the adjustment of the loss and any balance toward payment of the
         Debt in such priority and proportions as Lender, in its sole discretion, shall deem proper, or
         towards the Restoration, upon such terms and conditions as Lender shall determine, or to
         cure such Event of Default, or to any one or more of the foregoing as Lender, in its sole and
         absolute discretion, may determine. If Lender shall receive and retain such Casualty
         Insurance Proceeds, the Lien of the Mortgage shall be reduced only by the amount thereof
         received, after reimbursement to Lender of expenses of collection, and actually applied by
         Lender in reduction of the principal sum payable under the Note in accordance with the
         Note.

                            Application of Proceeds to Debt Reduction.

                           (a) No damage to the Property, or any part thereof, by fire or other casualty
          whatsoever, whether such damage be partial or total, shall relieve Borrower from its
          liability to pay in full the Debt and to perform its obligations under this Agreement and the
          other Loan Documents except to the extent any rent (business interruption) insurance is
          paid to Lender and applied to the Debt.

                        (b) If any Casualty Insurance Proceeds are applied to reduce the Debt,
          Lender shall apply the same in accordance with the provisions of the Note and this
          Agreement.

                         Condemnation.       Borrower shall notify Lender promptly of the
         commencement or threat of any Condemnation of the Property or any portion thereof.
         Lender is hereby irrevocably appointed as Borrower’s attorney-in-fact, coupled with an
         interest, with exclusive power to collect, receive and retain the proceeds of any such
         Condemnation and to make any compromise or settlement in connection with such
         proceedings (subject to Borrower’s reasonable approval, except after the occurrence of an
         Event of Default, in which event Borrower’s approval shall not be required), subject to the
         provisions of this Agreement; provided, however, that Borrower may participate in any such
         proceedings and shall be authorized and entitled to compromise or settle any such
         proceeding with respect to Condemnation Proceeds in an amount less than $100,000.
         Borrower shall execute and deliver to Lender any and all instruments reasonably required
         in connection with any such proceeding promptly after request therefor by Lender. Except
         as set forth above, Borrower shall not adjust, compromise, settle or enter into any agreement
         with respect to such proceedings without the prior consent of Lender. All Condemnation
         Proceeds of any Condemnation, or purchase-in-lieu thereof, of the Property or any portion
         thereof are hereby assigned to and shall be paid to Lender. Except as otherwise provided
         for herein, Lender shall apply such Condemnation Proceeds (less any cost to Lender of
         recovering and paying out such Condemnation Proceeds, including, without limitation,
         reasonable attorneys’ fees and costs allocable to inspecting any Replacement and the plans
         and specifications therefor) toward the reduction of the Debt. If the Condemnation Proceeds
         are used to reduce the Debt, they shall be applied in accordance with the provisions of the
         Note and this Agreement, with no prepayment penalty but with payment of the applicable
         Exit Fee. Borrower shall promptly execute and deliver all instruments reasonably requested


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         by Lender for the purpose of confirming the assignment of the Condemnation Proceeds to
         Lender.

                            Application.

                          (a) Provided that (i) less than five percent (5%) of the Property has been
          affected by the Condemnation, (ii) the portion of the Property not taken would under then
          current economic conditions, applicable zoning Laws, building regulations and other
          applicable Legal Requirements, permit the Replacement so as to constitute a complete,
          rentable facility of the same sort as existed prior to the Condemnation, having adequate
          ingress and egress to the Property, (iii) such Replacement can, in Lender’s judgment, be
          completed within the earlier to occur of (1) six (6) months after the receipt of the
          Condemnation Proceeds, and (2) six (6) months prior to the Maturity Date, (iv) Lender has
          determined, that its security has not been impaired, and (v) no Default or Event of Default
          is then continuing hereunder or under any of the other Loan Documents, Lender shall
          receive the Condemnation Proceeds and shall pay the same: first, to any cost to Lender of
          recovering and paying out such Condemnation Proceeds, including, without limitation,
          reasonable attorneys’ fees and costs allocable to inspecting any Replacement and the plans
          and specifications therefor; second, to Borrower to the extent of any portion of the
          Condemnation Proceeds as may be necessary to pay the reasonable cost of Replacement,
          including costs of the collection, compromise or settlement (including, without limitation,
          reasonable attorney fees); and third, to Lender in reduction of the Debt without the payment
          of the Prepayment Fee but with the payment of the applicable Exit Fee.

                         (b) In all other cases, the Condemnation Proceeds shall be payable, after
          payment of all necessary and proper expenses incurred in the collection of such award to
          Lender, in reduction of the Debt, without the payment of the Prepayment Fee but with the
          payment of the applicable Exit Fee. If subsequent to payment of the Debt in full, Lender
          shall receive payment of any subsequent Condemnation Proceeds, then such
          Condemnation Proceeds shall be paid to Borrower. Borrower agrees to promptly execute
          any and all documents that may be reasonably required in order to facilitate collection by
          Lender of such awards.

                         Award. In the event Lender makes Condemnation Proceeds available for the
         Replacement, such Condemnation Proceeds shall be disbursed in the manner and subject to
         the conditions set forth in Section 6.03 hereof as though such Condemnation Proceeds were
         Casualty Insurance Proceeds. No application of the Condemnation Proceeds or payment in
         lieu thereof to the reduction of the Debt shall have the effect of releasing the Lien of the
         Mortgage until the remainder of the Debt has been paid in full. In the case of any
         Condemnation, Lender shall be entitled, as a first priority out of the Condemnation
         Proceeds, to reimbursement for all costs of collection, compromise or settlement,
         (including, without limitation, reasonable attorneys’ fees and costs allocable to inspecting
         any Replacement and the plans and specifications therefor) incurred in connection with any
         the Condemnation Proceeds. All the Condemnation Proceeds deposited with Lender
         pursuant to this Article, until expended or applied as provided herein, shall constitute
         additional security for the payment of the Debt and the payment and performance of
         Borrower’s obligations under the Loan Documents. For purposes hereof, any reference to

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         the Condemnation Proceeds shall be deemed to include interest, if any, which has accrued
         thereon. Notwithstanding any taking by eminent domain, alteration of the grade of any
         street or other injury to or decrease in value of the Property, Borrower hereby expressly
         agrees that Lender shall not be limited to the interest paid on the Condemnation Proceeds
         and further agrees to pay Lender the difference, if any, between (i) the interest received by
         Lender on such Condemnation Proceeds and (ii) the Applicable Interest Rate provided in
         the Note from the date of the Condemnation of the Property or any portion thereof to the
         Maturity Date of the Loan. The obligations and agreements of Borrower contained in this
         Section shall survive the payment to Lender of any awards or compensation for an
         appropriation, Condemnation or other taking and shall terminate only upon payment in full
         by Borrower to Lender of the sums referred to herein.

                                 ARTICLE 7
            LEASES AND OTHER AGREEMENTS AFFECTING THE PROPERTY

                       Borrower’s Representations and Warranties. Each Borrower represents and
         warrants to Lender with respect to its Property as follows as of the date hereof:

                             (a) Borrower is the sole owner of the entire lessor’s interest in the Leases.

                          (b) There are no commercial or retail leases, subleases or occupancy
          agreements affecting the Property and there are no residential leases, or, to the best of
          Borrower’s knowledge, subleases or occupancy agreements affecting the Property except
          as set forth on the Rent Roll.

                       (c) There are no defaults by Borrower under the Leases and, to the best
          knowledge of Borrower, there are no defaults by any Tenants under the Leases.

                             (d) Each of the Leases are in full force and effect.

                          (e) No Tenant under any Lease has, as of the Execution Date, paid Rent
          more than thirty (30) days in advance. The Rents under the Leases have not been waived,
          released, or otherwise discharged or compromised.

                          (f) All work to be performed by Borrower under the Leases required to be
          performed to date has been substantially performed, all contributions to be made by
          Borrower to the Tenants thereunder have been made except for any held-back amounts,
          and all other conditions precedent to each such Tenant’s obligations thereunder have been
          satisfied.

                         (g) Borrower is in compliance with all Legal Requirements relating to
          security deposits (if any) under the Leases.

                          (h) To the best of Borrower’s knowledge, no Tenant under any existing
          Lease has asserted in writing or otherwise any defense, set-off, offset or counterclaim with
          respect to its tenancy or its obligations under its Lease, and no such defense, set-off or
          counterclaim exists.


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                       (i) No Lease provides any party with the right to obtain a lien or
          encumbrance upon the Property superior to the lien of the Mortgage.

                         (j) None of the Leases or Rents have been assigned, pledged, hypothecated
          or otherwise encumbered or transferred by Borrower except to the extent provided in the
          Loan Documents.

                       (k) Each of the Leases is on the standard form of lease delivered to and
          approved by Lender as of the Execution Date.

                         (l) There exist no offsets, setoffs, defenses or counterclaims to the payment
          of any portion of the Rents.

                          (m) Borrower has not received notice from any Tenant challenging the
          validity or enforceability of any Lease.

                          (n) (1) All payments due under the Leases are current and are consistent
          with the Rent Roll for the Property delivered to and approved by Lender, and (2) each
          Tenant listed on the Rent Roll is the party (i) actually paying the rent to Borrower as set
          forth in the corresponding Lease and (ii) physically occupying the corresponding unit, or
          that subleases such unit to another Person who physically occupies such unit.

                          (o) There are no material breaches or defaults, or events that with notice or
          the passage of time, or both, would constitute a material breach or default of any Leases by
          Borrower or any Tenant, no Tenant is a debtor in any bankruptcy, reorganization,
          insolvency proceeding or other debtor-creditor proceeding, and no Tenant has
          demonstrated a history of payment problems which suggest financial difficulty.

                         (p) There are no agreements (written or otherwise) with the Tenants other
          than expressly set forth in each Lease.

                         (q) No Lease contains an option to purchase, right of first refusal or first
          offer to purchase, or any other similar provision.

                         (r) No Person has any possessory interest in, or right to occupy, the
          Property or any part thereof except under and pursuant to a Lease.

                       (s) Except as previously disclosed to Lender in writing, no brokerage
          commissions or finder’s fees are due and payable regarding any Lease.

                         (t) Attached to this Agreement as Exhibit E is a true and correct copy of the
          Rent Roll. All Tenants listed thereon are in place and occupying the corresponding units
          at the Property, or have subleases disclosed to Lender in writing prior to the Execution
          Date.

                        Assignment of Leases. In order to further secure payment of the Debt and
         the performance of Borrower’s obligations under the Loan Documents, Borrower
         absolutely, presently and unconditionally grants, assigns and transfers to Lender all of

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         Borrower’s right, title, interest and estate in, to and under (i) all of the Leases affecting the
         Property and (ii) the Rents. Unless and until an Event of Default occurs, Borrower shall
         have a revocable license to collect the Rents (except as otherwise provided in the Loan
         Documents) as and when they become due and payable. Upon the occurrence and during
         the continuance of an Event of Default, the license granted hereinabove shall be
         automatically revoked, and Lender or a receiver appointed in accordance with the Loan
         Documents may enter upon the Property, and collect, retain and apply the Rents toward
         payment of the Debt in such priority and proportions as Lender in its discretion shall deem
         proper. Lender shall be liable to account only for the Rents actually received by Lender
         pursuant to any provision of any Loan Document.

                            Performance of Obligations.

                          (a) Borrower shall perform all of its obligations as landlord under any and
          all Leases. If any of the acts described in this Article which require the prior written
          consent of Lender are done without the written consent of Lender, at the option of Lender,
          they shall be of no force or effect and shall constitute an Event of Default.

                          (b) Borrower agrees to furnish Lender executed copies of all Leases and
          Subleases upon Lender’s request. Except as set forth in Section 7.06 below, Borrower shall
          not, without the express written consent of Lender, (i) enter into or extend any Lease, (ii)
          cancel or terminate any Leases (except in the case of a default) unless Borrower has entered
          into new Leases covering all of the premises of the Leases being terminated or surrendered,
          (iii) modify or amend any Leases in any material way or reduce the rent, (iv) unless the
          Tenants remain liable under the Leases or unless the Lease so permits, consent to an
          assignment of the Tenant’s interest or to a subletting of the demised premises under any
          Lease, (v) accept payment of advance rents in an amount in excess of one (1) month’s rent,
          (vi) enter into any options to sell the Property, (vii) accept any Tenant security deposit in
          an amount greater than required by the applicable Lease, (viii) execute any assignment of
          the landlord interest in the Leases and Rents, or (ix) cancel, release, except upon
          termination of the applicable Lease, or change the terms of any Tenant security, except in
          accordance with the terms of the applicable Lease. Borrower shall (A) perform all its
          obligations as landlord under each Lease, (B) use reasonable efforts to keep the Property
          leased at all times to Tenants whom Borrower, reasonably and in good faith, believes are
          creditworthy and at rents not less than comparable existing market rates for similar
          properties, (C) if requested by Lender, promptly send copies to Lender of all notices of
          default which Borrower sends or receives with respect to any Lease, and (D) enforce in a
          commercially reasonable manner all of the terms, covenants and conditions contained in
          the Leases upon the part of each Tenant to be observed or performed, provided however,
          with respect to a multi-family residential property, a residential Lease may be terminated
          in the event of a default by the Tenant under such Lease.

                        Subordinated Leases. Each of the Leases affecting the Property shall be
         absolutely subordinate to the Lien of the Mortgage and shall also contain provisions,
         satisfactory to Lender, to the effect that in the event of the judicial or non-judicial
         foreclosure of the Property, at the election of the acquiring foreclosure purchaser, the
         particular Lease shall not be terminated and the Tenant shall attorn to the purchaser. Each

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         Lease shall provide that, if requested to do so, the Tenant shall agree to enter into a new
         Lease for the balance of the term upon the same terms and conditions as its existing Lease.
         If Lender requests, Borrower shall use its commercially reasonable best efforts to cause the
         Tenant under each or any of such Leases to enter into subordination and attornment
         agreements with Lender which are reasonably satisfactory in form, scope and substance to
         Lender.

                         Leasing Commissions. Except as previously disclosed to Lender in writing,
         there are no brokerage fees or commissions payable by Borrower with respect to the leasing
         of space at the Property (“Leasing Commissions”) and there are no unpaid past-due
         management fees payable by Borrower with respect to the management of the Property.
         Borrower covenants and agrees that all contracts and agreements relating to the Property
         entered into by Borrower after the Execution Date requiring the payment of Leasing
         Commissions, management fees or other similar compensation shall (i) provide that the
         obligation will not be enforceable against Lender and (ii) be subordinate to the Lien of the
         Mortgage and shall not be payable after the occurrence of an Event of Default. Upon
         Lender’s request, Borrower shall provide evidence to Lender of Borrower’s compliance
         with this Section.

                           Future Leases. Borrower shall be permitted to enter into any Lease, and shall
         be permitted to allow any Tenant to enter into any Sublease (if permitted under a Lease),
         and any assignment, amendment, extension or renewal of any Lease or Sublease after the
         Execution Date (each such Lease, Sublease or amendment, modification or renewal, a
         “Future Lease”) without Lender’s prior consent or approval so long as each Future Lease
         shall (a) be on the standard form of lease that has been previously approved in writing by
         Lender, (b) provide for base and additional rental rates comparable to then-existing local
         market rates and terms and conditions that constitute good and prudent business practice,
         comply with Rent Regulations and be consistent with prevailing market terms and
         conditions, (c) be for a term of not more than five (5) years or less than one (1) year, (d) not
         require the landlord thereunder to perform any Tenant Improvements, (e) be entered into
         pursuant to an arms-length transaction, (f) not contain an option to purchase, right of first
         refusal or first offer to purchase, or any similar provision, and (g) comply with the provisions
         of Section 7.05 herein. Borrower shall not enter into any Future Lease, or permit a Tenant
         to enter into a Future Lease, that: (x) does not comply with the foregoing, (y) whether
         pursuant to a single Future Lease or multiple Future Leases, (i) demises more than five
         percent (5%) of total rentable square feet of the Property in the aggregate to any single
         Person and/or any Affiliate(s) of such Person, or (ii) constitutes more than five percent (5%)
         of the total annual Rent in the aggregate paid by any single Person and/or any Affiliate(s)
         of such Person, or (z) demises any commercial space or any space for commercial use or
         non-residential use, without the prior written consent of Lender. Notwithstanding anything
         in this Section to the contrary, Borrower shall not enter into, and shall not permit any Tenant
         to enter into, any Future Lease without the review and written approval of Lender if at the
         time of such execution there exists an Event of Default.

                         Security Deposits. Borrower covenants and agrees that Borrower will (1) not
         commingle any security deposits of Tenants with any other assets of Borrower, and
         (2) deposit all cash security deposits of Tenants in a separately designated account under

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         Borrower’s or Lender's or its servicer's control and held in accordance with the terms of the
         applicable Lease and all applicable Laws.

                                            ARTICLE 8
                                     ENVIRONMENTAL HAZARDS

                        Representations and Warranties. Except as set forth in the Environmental
         Report obtained by Lender in connection with the origination of the Loan, each Borrower,
         with respect to its Property, hereby (x) represents and warrants to Lender, after due inquiry
         and reasonable investigation, as of the date hereof and (y) covenants and agrees with Lender,
         as follows:

                             (a) The Property is in full compliance with all Environmental Laws;

                          (b) No Hazardous Materials are located on or have been handled,
          generated, stored, processed or disposed of on or released or discharged from the Property
          (including the soil and groundwater beneath the Property) except for those substances used
          by Borrower in the ordinary course of its business and in compliance with all
          Environmental Laws;

                         (c) The Property is not subject to any private or governmental Lien or
          judicial or administrative notice or action relating to Hazardous Materials;

                        (d) There are no existing or closed underground storage tanks or other
          underground storage receptacles for Hazardous Materials on the Property;

                           (e) Borrower has received no notice of, and to the best of Borrower's
          knowledge and belief, there exists no investigation, action, proceeding or claim by any
          agency, authority or unit of government or by any third party which could result in any
          liability, penalty, sanction or judgment under any Environmental Laws with respect to any
          condition, use or operation of the Property nor does Borrower know of any basis for such
          a claim;

                         (f) Borrower has received no notice that, and to the best of Borrower's
          knowledge and belief, there has been no claim by any party that, any use, operation or
          condition of the Property has caused any nuisance or any other liability or adverse
          condition on any other property nor does Borrower know of any basis for such a claim;

                       (g) Borrower has not and is not required by any Environmental Laws to
          obtain any Permits or licenses to use any portion of the Improvements, Fixtures, or
          Equipment on the Property; and

                          (h) There are no environmental investigations, studies, audits, reviews or
          other analysis conducted by, or in the possession of, Borrower or any of its Affiliates which
          have not been made available to Lender.




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                        Covenants. Each Borrower covenants and agrees with respect to its
         Property, that as long as the obligations under or pursuant to the Loan or any part thereof
         are outstanding:

                          (a) Borrower shall keep or cause the Property to be kept free from
          Hazardous Materials (except Permitted Materials) and in compliance with all
          Environmental Laws, shall not install or use any underground storage tanks, shall expressly
          prohibit the use, generation, handling, storage, production, processing and disposal of
          Hazardous Materials by all Tenants of space in the Improvements (except for Permitted
          Materials used by Tenants), and, without limiting the generality of the foregoing, during
          the term of this Agreement, shall not install in the Improvements or permit to be installed
          in the Improvements asbestos or any substance containing asbestos. In addition, Borrower
          (i) shall keep the Property free and clear of any Liens imposed pursuant to any
          Environmental Law, and (ii) shall not permit or suffer any Release in violation of any
          applicable Environmental Laws. Finally, if Borrower is aware that Remedial Work is
          required, whether as a result of governmental inquiries, governmental audits or otherwise,
          Borrower shall promptly after obtaining such knowledge or as may be required under any
          applicable Environmental Law, commence and thereafter diligently prosecute to
          completion all such Remedial Work.

                          (b) Borrower shall immediately notify Lender should Borrower become
          aware of (i) any Release or threatened Release of Hazardous Materials at, on, under or from
          the Property, or other potential environmental problem or liability, with respect to the
          Property, (ii) any Lien or filing of Lien, action or notice affecting the Property or Borrower
          resulting from any violation or alleged violation of the Environmental Law, (iii) the
          institution of any investigation, inquiry or proceeding concerning Borrower or the Property
          pursuant to any Environmental Law or otherwise relating to Hazardous Materials, or (iv)
          the discovery of any occurrence, condition or state of facts which would render any
          representation or warranty contained in this Agreement incorrect in any respect if made at
          the time of such discovery.

                          (c) Borrower shall also give prompt written notices to Lender: (i) if the
          Property is in violation of any Environmental Law, (ii) of the presence of Hazardous
          Materials on or under the Property, except for the use and storage of immaterial amounts
          of Hazardous Materials at the Property if such use or storage is in connection with the
          ordinary cleaning and maintenance of the Property and such use and storage is in
          compliance with all applicable Environmental Laws, (iii) any required or proposed
          Remedial Work on the Property, (iv) of all claims made or threatened by any Person against
          Borrower or the Property relating to any loss or injury resulting from any Hazardous
          Material, (v) of Borrower's discovery of any occurrence or condition on any real property
          adjoining or in the vicinity of the Property that could cause the Property to be subject to
          any investigation or cleanup pursuant to any Environmental Law, (vi) of Borrower's receipt
          of any notice from any Governmental Authority or any other Person relating or pertaining
          to any Hazardous Materials located or Released in, on, upon, under, near or emanating
          from the Property, (vii) of any Governmental Authority incurring any cost or expense in
          connection with the assessment, containment, remediation or removal of any Hazardous


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          Materials located or Released in, on, upon, under, near or emanating from the Property,
          and (viii) any actual or potential Lien on the Property pursuant to any Environmental Law.

                           (d) Borrower shall, promptly and when and as required and regardless of
          the source of the contamination, at its own expense, take all actions as shall be necessary
          or advisable for the clean-up of any and all portions of the Property or other affected
          property, including, without limitation, all investigative, monitoring, removal, containment
          and remedial actions in accordance with all applicable Environmental Laws (and in all
          events in a manner reasonably satisfactory to a hydrogeologist or environmental engineer
          or other appropriate consultant selected or approved by Lender), and shall further pay or
          cause to be paid, at no expense to Lender, all clean-up, administrative and enforcement
          costs of applicable Governmental Authorities which may be asserted against the Property.
          In the event Borrower fails to do so, Lender may take or cause to be taken, but shall have
          no obligation to take or cause to be taken, steps to remove, contain or remediate any Release
          or threatened Release of Hazardous Materials at the Property or other affected property or
          otherwise to have the Property brought into conformance with Environmental Laws and
          any cost incurred in connection therewith shall be paid by Borrower upon demand, together
          with interest at the Default Rate from the date incurred by Lender until repaid by Borrower.
          In furtherance of the foregoing, Borrower hereby grants to Lender access to the Property
          and an irrevocable license to remove any items reasonably deemed by Lender to be
          Hazardous Materials and to do all things Lender shall deem necessary to bring the Property
          into conformance with Environmental Laws.

                          (e) Upon the request of Lender, at any time and from time to time after the
          occurrence of a Default under this Agreement or the Loan Documents or at such other time
          as Lender has reasonable grounds to believe that Hazardous Materials are or have been
          Released, stored or disposed of on or around the Property in violation of Environmental
          Laws or that the Property may be in violation of the Environmental Laws, Borrower shall
          provide, at Borrower's sole expense, an environmental site assessment or environmental
          compliance audit of the Property prepared by a hydrogeologist or environmental engineer
          or other appropriate consultant approved by Lender to determine whether there has been a
          Release or threatened Release of Hazardous Materials at, on, or under the Property and/or
          from the Property onto adjoining property and further, whether the Property is in full
          compliance with Environmental Laws (including those governing asbestos containing
          materials or lead based paint). If Borrower fails to provide such assessment or audit within
          thirty (30) days after such request, Lender may order the same, and Borrower hereby grants
          to Lender access to the Property and an irrevocable license to undertake such assessment
          or audit. The cost of such assessment or audit shall be paid by Borrower upon demand
          therefor, together with interest at the Default Rate from the date incurred by Lender until
          repaid by Borrower.

                          (f) Borrower agrees that if prior to the Execution Date, or if at any time
          hereafter, any inspection or audit reveals (or revealed, as applicable) the presence of Mold
          in the indoor air of the Property at concentrations exceeding ambient air levels or visible
          Mold on any building materials or surfaces at the Property for which the EPA Mold
          Guidelines recommends or requires removal thereof by remediation professionals, then, on
          or before thirty (30) days following (i) the Execution Date, if such inspection or audit was

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          made prior to the Execution Date or (ii) such inspection or audit, if such inspection or audit
          is hereafter made, as applicable, Borrower shall, at its sole cost and expense, develop and
          implement, and thereafter diligently and continuously carry out (or cause to be developed
          and implemented and thereafter diligently and continually to be carried out), an operations,
          abatement and maintenance plan (the "Mold O&M Plan") to monitor, maintain and
          remediate any water filtration and Mold issues affecting the Property, which plan shall be
          prepared by an expert, and be in form, scope and substance acceptable to Lender and
          sufficient to cause the Property to comply with all applicable Laws and all EPA Mold
          Guidelines and in accordance with the Mold O&M Plan. If a Mold O&M Plan has been
          prepared prior to the Execution Date, Borrower agrees to diligently and continually carry
          out (or cause to be carried out) the provisions thereof. Compliance with the Mold O&M
          Plan shall require or be deemed to require, without limitation, the proper preparation and
          maintenance of all records, papers and forms required under the Environmental Laws. For
          purposes hereof, “EPA Mold Guidelines” means the guidelines set forth in "Mold
          Remediation in Schools and Commercial Buildings" prepared by the United States
          Environmental Protection Agency (including any amendments or supplements to such
          guidelines) together with any other mold remediation guidelines prepared by the United
          States Environmental Protection Agency and applicable to the Property.

                         (g) In the event that there shall be filed a Lien against Borrower or the
          Property by the United States Environmental Protection Agency or any other
          Governmental Authority relating to the remediation, removal, clean-up or other disposition
          of any Hazardous Material or to Environmental Laws, then Borrower shall, within ten (10)
          Business Days from the date that Borrower is given notice that the Lien has been placed
          against the Property, either (i) pay the claim and remove the Lien from the Property, or (ii)
          furnish (A) a bond reasonably satisfactory to the title insurance company and Lender in the
          amount of the claim out of which the Lien arises, or (B) a cash deposit in the amount of the
          claim out of which the Lien arises, and shall promptly remove or arrange for the removal
          of the Lien.

                           (h) In no event shall any Remedial Work taken at the Property result in any
          institutional or engineering controls, including, without limitation, capping, or a deed
          notice or restriction recorded against the Property or any portion thereof or other use
          restrictions, including, but not limited to, a classification exception area. Any soil at the
          Property required under Environmental Laws to be remediated shall be remediated to the
          most stringent currently applicable standards or lesser standards approved in writing by
          any environmental agency having jurisdiction over the Property.

                         (i) Borrower represents and warrants that Borrower has received from
          Lender a true, correct and complete copy of (x) those certain Asbestos Containing
          Materials Operations and Maintenance Program, each dated November 3, 2021, prepared
          by BBG Assessments, LLC, with respect to each Property (collectively, the "Asbestos
          O&M Plan"), and (y) those certain Lead Based Paint Operations and Maintenance
          Program, each dated November 3, 2021, prepared by BBG Assessments, LLC, with respect
          to each Property (collectively, the “LBP O&M Plan”), to monitor, maintain and remediate
          any asbestos and lead paint on the Property, which plans have been prepared by an expert,
          and are sufficient to cause the Property to comply with all applicable Laws. Borrower

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          agrees to diligently and continually carry out (or cause to be carried out) the provisions
          thereof. Compliance with the Asbestos O&M Plan and the LBP O&M Plan, as applicable,
          shall require or be deemed to require, without limitation, the proper preparation and
          maintenance of all records, papers and forms required under the Environmental Laws.

                         Indemnity. Borrower covenants and agrees, at Borrower’s sole cost and
         expense, to protect, indemnify, defend (at trial and appellate levels, and with attorneys,
         consultants and experts acceptable to Lender), release and hold harmless each Indemnified
         Party from and against any and all Losses which may at any time be imposed upon, incurred
         by or asserted or awarded against such Indemnified Party or the Property, and arising
         directly or indirectly from or out of, attributable to, relating to, which may accrue out of, or
         which may result from: (i) the presence, Release or threat of Release of any Hazardous
         Materials on, in, under, affecting or threatening to affect all or any portion of the Property
         or any surrounding areas, regardless of whether or not caused by or within the Control of
         Borrower; (ii) the past, present or future violation of any Environmental Laws relating to,
         affecting or threatening to affect the Property, whether or not caused by or within the
         Control of Borrower; (iii) the failure by Borrower to comply fully with the terms and
         conditions of this Agreement; (iv) the breach of any representation or warranty contained
         in this Agreement; (v) the failure to timely perform any Remedial Work; and/or (vi) the
         enforcement of this Agreement, including, without limitation, the cost of assessment,
         containment and/or removal of any and all Hazardous Materials on and/or from all or any
         portion of the Property or any surrounding areas, the cost of any actions taken in response
         to the presence, Release or threat of Release of any Hazardous Materials on, in, under or
         affecting any portion of the Property or any surrounding areas to prevent or minimize such
         Release or threat of Release so that it does not migrate or otherwise cause or threaten danger
         to present or future public health, safety, welfare or the environment, and costs incurred to
         comply with the Environmental Laws in connection with all or any portion of the Property
         or any surrounding areas. Lender's rights under this section shall survive payment in full of
         the Debt and shall be in addition to all other rights of Lender under this Agreement, the
         Mortgage, the Note and the other Loan Documents. Borrower’s indemnification shall be
         made in accordance with the terms and provisions of the Indemnity Agreement.

                                          ARTICLE 9
                             INDEMNIFICATION COVERING PROPERTY

                         Indemnification. In addition to, and without limitation of, any other
         provision of this Agreement, Borrower shall, with counsel selected by Borrower and
         reasonably acceptable to Lender, protect, indemnify and save harmless Lender and its
         successors and assigns, and each of their agents, employees, officers and directors, from and
         against all Losses actually imposed upon or incurred by or asserted against Lender and its
         assigns, or any of their agents, employees, officers or directors, by reason of (a) ownership
         of the Mortgage, the Property or any part thereof or any interest therein or receipt of any
         Rents; (b) any accident, injury to or death of any person or loss of or damage to property
         occurring in, on or about the Property or any part thereof or on the adjoining sidewalks,
         curbs, parking areas, streets or ways; (c) any use, nonuse or condition in, on or about, or
         possession, alteration, repair, operation, maintenance or management of, the Property or any
         part thereof or on the adjoining sidewalks, curbs, parking areas, streets or ways; (d) any

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         failure on the part of Borrower to perform or comply with any of the terms of this Agreement
         or the other Loan Documents; (e) performance of any labor or services or the furnishing of
         any materials or other property in respect of the Property or any part thereof; (f) any claim
         by brokers, finders or similar Persons (except for any such Person claiming through Lender)
         claiming to be entitled to a commission in connection with any Lease or other transaction
         involving the Property or any part thereof; (g) any Imposition including, without limitation
         any Imposition attributable to the execution, delivery, filing, or recording of any Loan
         Document, Lease or memorandum thereof; (h) any lien or claim arising on or against the
         Property or any part thereof under any Legal Requirement or any liability asserted against
         Lender with respect thereto; (i) the claims of any Tenant or any Person acting through or
         under any lessee or otherwise arising under or as a consequence of any Lease; or (j) any
         claim for commission, fees, or other compensation or reimbursement for expenses made by
         any broker, finder, consultant, advisor, or professional in the capacity of a broker or finder
         engaged by or claiming to have dealt with or on behalf of Borrower in connection with the
         Loan, the Loan Documents or the transactions contemplated thereby. Notwithstanding the
         foregoing provisions of this Section to the contrary, Borrower shall have no obligation to
         indemnify Lender pursuant to this Section for liabilities, obligations, claims, damages,
         penalties, causes of action, costs and expenses relative to the foregoing that result solely
         from Lender’s willful misconduct or gross negligence. Any amounts payable to Lender by
         reason of the application of this Section shall constitute a part of the Debt secured by the
         Mortgage and other Loan Documents and shall become immediately due and payable and
         shall bear interest at the Default Rate from the date loss or damage is sustained by Lender,
         as applicable, until paid. Without the prior written consent of Lender, no indemnifying
         party shall settle or compromise or consent to the entry of any judgment in any pending or
         threatened claim, action, suit or proceeding in respect of which indemnification may be
         sought hereunder (whether or not any indemnified party is an actual or potential party to
         such claim, action suit or proceeding).

                                                ARTICLE 10
                                                DEFAULTS

                        Events of Default. The Debt shall become immediately due at the option of
         Lender, which can be exercised in Lender’s sole and absolute discretion, upon any one or
         more of the following events (each an “Event of Default”):

                          (a) (i) the failure of Borrower to pay any installment of principal, interest,
          or principal and interest or required deposits into the Reserves (other than the payment due
          on the Maturity Date) within five (5) days after the same becomes due and payable or (ii)
          the failure of Borrower to pay any other sum required to be paid on the Note, or any other
          Loan Document within five (5) days after the date the same is due and payable solely to
          the extent no grace or cure period is otherwise applicable to such sums under the Loan
          Documents;

                             (b) the failure of Borrower to pay all sums due on the Maturity Date;

                         (c) if (i) any Required Insurance policy required hereunder are not kept in
          full force and effect, or (ii) subject to the notice provisions of Article 5 hereof, if the

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          Required Insurance policies are not assigned and delivered to Lender as herein provided
          within two (2) Business Days after receipt of written notice of failure to make such
          assignment and delivery;

                          (d) if Borrower assigns or attempts to assign its rights under this Agreement
          or any other Loan Document or any interest herein or therein, or if any Transfer occurs
          other than in accordance with the provisions hereof;

                         (e) if any representation or warranty of any Credit Party made herein or in
          any other Loan Document or in any certificate, report, financial statement or other
          instrument or agreement furnished to Lender shall be false or misleading in any material
          respect when it was made; provided, however, that if (i) any of the foregoing consisted of
          a good faith, unintentional misrepresentation, and (ii) the underlying facts or situation that
          rendered such representation or warranty inaccurate or untrue can be remedied to Lender’s
          reasonable satisfaction within ten (10) Business Days following the earlier to occur of the
          discovery of such misrepresentation by Borrower or notice from Lender to Borrower of
          such misrepresentation, and Borrower actually remedies said underlying facts or situation
          so as to make the original representation or warranty true and correct on a going forward
          basis prior to the expiration of said ten (10) Business Day period, then such
          misrepresentation shall not be deemed to be an Event of Default;

                          (f) if any Credit Party (a) is not Solvent, (b) is not paying, or is unable to,
          or admits in writing its inability to, pay its debts as such debts become due, or (c) makes
          an assignment for the benefit of creditors, petitions or applies to any tribunal for the
          appointment of a custodian, receiver or trustee for it or a substantial part of its assets, or
          (d) commences any proceeding under the Bankruptcy Code or any other Law relating to
          bankruptcy, reorganization, arrangement, readjustment of debt, dissolution or liquidation
          whether now or hereafter in effect (each a “Bankruptcy Law”), or (e) has any such petition
          or application filed, or any such proceeding commenced, against it under the Bankruptcy
          Code or any other Bankruptcy Law, (1) in which an adjudication or appointment is made
          or order for relief is entered, or (2) which remains undismissed or unstayed for a period of
          ninety (90) days or more, or is the subject of any proceeding under which its assets are
          subject to seizure, forfeiture or divestiture, or (f) by any act or omission indicates its
          consent to, approval of or acquiescence in any petition, application or proceeding or order
          for relief under the Bankruptcy Code or any other Bankruptcy Law or in any appointment
          of a custodian, receiver or trustee for all or any substantial part of its property under the
          Bankruptcy Code or any other Bankruptcy Law, or (g) suffers any such custodianship,
          receivership or trusteeship to continue undischarged for a period of ninety (90) days or
          more;

                         (g) if any Credit Party fails to perform or observe any term, covenant or
          agreement otherwise contained in this Agreement or any other Loan Documents (other than
          obligations specifically referred to elsewhere in this Section 10.01 or elsewhere in this
          Agreement for which no grace period is to apply) on its part to be performed or observed,
          and such failure remains unremedied for thirty (30) consecutive calendar days after the
          occurrence thereof;


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                          (h) if one or more judgments, decrees or orders for the payment of money
          is rendered against any Credit Party in an amount in excess of One Hundred Thousand
          Dollars ($100,000), and such judgments, decrees or orders continue unsatisfied and in
          effect for a period of thirty (30) consecutive days without being vacated, discharged,
          satisfied, stayed or bonded pending appeal;

                          (i) if the Property or any portion thereof becomes subject to (i) any Lien
          other than Permitted Encumbrances, or (ii) any mechanic’s or materialman’s lien or other
          Lien that is or is asserted to be superior to the lien of the Mortgage, and such Lien shall
          remain undischarged (by payment, bonding, or otherwise) for forty-five (45) days unless
          the same is contested if and to the extent permitted pursuant to the terms hereof;

                          (j) except as permitted in this Agreement or the other Loan Documents, if
          there is any material alteration, demolition or removal of any of the Improvements without
          the prior written consent of Lender;

                       (k) if Borrower attempts to place or does place a subordinate Lien
          encumbering all or any part of the Property;

                         (l) if at any time and for any reason any Loan Document ceases to be in full
          force and effect, or is declared null and void, or the validity or enforceability of such Loan
          Document is contested by any party to such Loan Document, or any party to any Loan
          Document denies it has any further liability or obligation under such Loan Document, or
          any party to a Loan Document fails to perform any of its obligations under such Loan
          Document within the specified time period provided therein;

                        (m) if Borrower or Controlling Party shall breach any of the representations
          or covenants contained in Sections 4.02(e), 4.05(t) or 4.22(b)(x) hereof;

                            (n) if for any reason Borrower is unable to use all or any material part of
          the Property for the purposes it is being used as of the Execution Date, including as a result
          of (a) a failure to obtain or comply with any Permit required for the ownership or operation
          of the Property, (b) any change in any zoning Law, (c) the enactment, adoption or
          implementation of any Law, (d) a Casualty or a Condemnation unless Borrower is in
          compliance with the provisions of Article VI herein with respect thereto, or (e) the issuance
          of an order by any Governmental Authority;

                             (o) if a Material Adverse Change occurs;

                          (p) if at any time and for any reason any Major Contract, including the
          Property Management Agreement, (i) ceases to be in full force and effect or is declared
          null and void, (ii) the validity or enforceability thereof is contested by any party thereto,
          (iii) any party thereto denies it has any further liabilities or obligations under such Major
          Contract or the Property Management Agreement or (iv) any party to such Major Contract
          fails to perform any of its obligations under such Major Contract;

                         (q) if there is the sequestration or attachment of, or levy or execution upon
          the Property or any part thereof, or any other property pledged to Lender by a Credit Party

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          under any of the Loan Documents, or any material portion of the other assets of Borrower,
          which sequestration, attachment, levy or execution is not relieved or dismissed within
          forty-five (45) days after its occurrence;

                       (r) if there are any changes to the terms or provisions of any of the
          Authority Documents after the Execution Date except as expressly permitted hereunder or
          any Credit Party to any Authority Document fails to comply with the terms of such
          Authority Document;

                         (s) if there is the occurrence of a default of any of the obligations as set
          forth or an Event of Default under and as defined in any other Loan Document by any party
          to such Loan Document beyond any applicable notice and/or cure period;

                          (t) in the case of a Credit Party that is not an individual, any dissolution,
          termination, partial or complete liquidation, merger or consolidation of any such Credit
          Party, or in the case of a Credit Party that is an individual, the death or legal incapacity of
          any such Credit Party;

                          (u) if Guarantor breaches any of the financial covenants set forth in any
          Guaranty beyond any applicable notice and/or cure period set forth therein and (a) with
          respect to a breach of the Net Worth covenant only, no Additional Acceptable Guarantor
          has satisfied the Additional Acceptable Guarantor Requirements within thirty (30) days
          following receipt by Borrower of notice from Lender of such breach, and (b) with respect
          to a breach of the Liquidity covenant only, such failure remains unremedied for thirty (30)
          consecutive days after Guarantor’s receipt of notice from Lender thereof;

                         (v) a default, event of default or breach (however such terms may be
          defined in the Regulatory Agreement) occurs after the expiration of any applicable notice
          and/or cure periods under the Regulatory Agreement;

                         (w) Borrower fails to (i) establish the Collection Account with the Bank
          and commence depositing funds therein and (ii) enter into the Account Agreement with
          Lender and the Bank, in each case pursuant to and in accordance with and as and when
          required by, Section 12.01 hereof; and/or

                        (x) if any of the facts or assumptions contained in any Non-Consolidation
          Opinion delivered in connection with or pursuant to any of the Loan Documents is or
          becomes untrue.

                            Remedies.

                          (a) At any time that an Event of Default exists, Lender may, in addition to
          any other rights or remedies available to it hereunder, at law or in equity, take such action,
          without notice or demand, as it reasonably deems advisable to protect and enforce its rights
          against Borrower and in and to the Property or any one or more of them, including, but not
          limited to, the following actions, each of which may be pursued singly, concurrently or
          otherwise, at such time and in such order as Lender may determine, in its sole discretion,


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          without impairing or otherwise affecting any other rights and remedies of Lender
          hereunder, at law or in equity:

                               (i)      perform, or cause the performance of, any agreement that
          Borrower fails to perform under this Agreement or any other Loan Document, including a
          failure to pay Real Property Taxes or Insurance Premiums; or

                              (ii)       declare all or any portion of the unpaid Debt to be
          immediately due and payable, and Borrower hereby waives any right to prepay any such
          unpaid Debt in whole or in part without payment of the Prepayment Fee and agrees to pay
          the Prepayment Fee; provided, however, that upon the occurrence of any of the events
          specified in Section 10.01(f),without any presentment, demand, protest, notice or action of
          any kind (each of which hereby is expressly waived by Borrower), the entire Debt will be
          immediately due and payable without notice or demand or any other declaration of the
          amounts due and payable; or

                             (iii)      revoke the license to collect Rents. Upon such revocation
          Lender may collect and apply the Rents pursuant to the terms of any of the Loan Documents
          without notice and without taking possession of the Property. All Rents collected by
          Borrower after the revocation of such license to collect Rent shall be held by Borrower as
          trustee under a constructive trust for the benefit of Lender, shall be segregated from the
          other property or funds of Borrower and shall be delivered as soon as possible to Lender;
          or

                               (iv)       bring an action to foreclose the Mortgage and without
          applying for a receiver for the Rents, but subject to the rights of the Tenants under the
          Leases, enter into or upon the Property or any part thereof, either personally or by its agents,
          nominees or attorneys, and dispossess Borrower and its agents and servants therefrom, and
          thereupon Lender may (A) use, operate, manage, control, insure, maintain, repair, restore
          and otherwise deal with all and every part of the Property and conduct the business thereat,
          (B) make necessary or required alterations, additions, renewals, replacements and
          improvements to or on the Property or any part thereof, (C) exercise all rights and powers
          of Borrower with respect to the Property or any part thereof, whether in the name of
          Borrower or otherwise, including, without limitation, the right to make, cancel, enforce or
          modify Leases, obtain and evict Tenants, and demand, sue for, collect and receive all
          earnings, revenues, rents, issues, profits and other income of the Property and every part
          thereof, and (D) apply the receipts from the Property or any part thereof to the payment of
          the Debt, after deducting therefrom all expenses (including, without limitation, reasonable
          attorneys’ fees and disbursements) reasonably incurred in connection with the aforesaid
          operations and all amounts necessary to pay the Impositions, insurance and other charges
          in connection with the Property or any part thereof, as well as just and reasonable
          compensation for the services of Lender’s third-party agents; and Lender, or any Person
          designated by Lender, may operate the Property without any liability to Borrower in
          connection with such operations, except to use ordinary care. All costs, expenses and
          liabilities incurred by Lender in managing, operating, maintaining, protecting or preserving
          the Property, shall constitute a demand obligation owing by Borrower to Lender and shall
          bear interest from date of expenditure until paid at the Default Rate; or

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                               (v)        have an Appraisal or other valuation of the Property or any
          part thereof performed by an appraiser (and Borrower covenants and agrees it shall
          cooperate in causing any such valuation or appraisal to be performed) and any cost or
          expense incurred by Lender in connection therewith shall constitute a portion of the Debt
          and be secured by the Mortgage and shall be immediately due and payable to Lender with
          interest, at the Default Rate, until the date of receipt by Lender; or

                             (vi)       sell the Property or institute proceedings for the complete
          foreclosure of the Mortgage, or take such other action as may be allowed pursuant to Legal
          Requirements at law or in equity, for the enforcement of the Mortgage in which case the
          Property or any part thereof may be sold for cash or credit in one or more parcels; or

                            (vii)        with or without entry, and to the extent permitted and
          pursuant to the procedures provided by applicable Legal Requirements, institute
          proceedings for the partial foreclosure of the Mortgage, or take such other action as may
          be allowed pursuant to Legal Requirements, at law or in equity, for the enforcement of the
          Mortgage for the portion of the Debt then due and payable, subject to the Lien of the
          Mortgage continuing unimpaired and without loss of priority so as to secure the balance of
          the Debt not then due; or

                            (viii)       sell the Property or any part thereof and any or all estate,
          claim, demand, right, title and interest of Borrower therein and rights of redemption
          thereof, pursuant to power of sale or otherwise, at one or more sales, in whole or in parcels,
          in any order or manner, at such time and place, upon such terms and after such notice
          thereof as may be required or permitted by Law, at the discretion of Lender, and in the
          event of a sale, by foreclosure or otherwise, of less than all of the Property, the Mortgage
          shall continue as a Lien on the remaining portion of the Property; or

                            (ix)      institute an action, suit or proceeding in equity for the
          specific performance of any covenant, condition or agreement contained in the Loan
          Documents, or any of them; or

                              (x)          recover judgment on the Note or any guaranties either
          before, during or after (or in lieu of) any proceedings for the enforcement of the Mortgage;
          or

                              (xi)       require, at Lender’s option, Borrower to pay monthly in
          advance to Lender, or any receiver appointed, upon notice to Borrower, the fair and
          reasonable rental value for the use and occupation of any portion of the Property occupied
          by Borrower and may require Borrower to vacate and surrender possession to Lender of
          the Property or to such receiver and Borrower may be evicted by summary proceedings or
          otherwise; or

                             (xii)       apply for, without notice, the appointment of a receiver of
          the Rents, and Lender shall be entitled to the appointment of such receiver as a matter of
          right, without regard to the value of the Property as security for the Debt, or the solvency
          or insolvency of any person then liable for the payment of the Debt; or


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                             (xiii)       exercise all of the rights and remedies with respect to the
          Account Collateral available to a secured party at law or in equity, including, without
          limitation, the rights of a secured party under the UCC; or

                            (xiv)       pursue any or all such other rights or remedies as Lender may
          have under applicable Law or in equity; provided, however, that the provisions of this
          Section shall not be construed to extend or modify any of the notice requirements or grace
          periods provided for hereunder or under any of the other Loan Documents. Borrower
          hereby waives, to the fullest extent permitted by Legal Requirements, any defense
          Borrower might otherwise raise or have by the failure to make any Tenants parties
          defendant to a foreclosure proceeding and to foreclose their rights in any proceeding
          instituted by Lender; or

                           (xv)       require that Borrower replace the Property Manager, in
          which case Borrower shall be required to replace the Property Manager with a new third
          party property manager acceptable to Lender in its reasonable discretion within ten (10)
          Business Days following Lender’s demand therefor; or

                             (xvi)        with respect to each item of Property in which a security
          interest is granted pursuant to, and such security interest is perfected under, the applicable
          Uniform Commercial Code (the “UCC Collateral”), Lender may exercise in respect of
          any or all of the UCC Collateral all rights, remedies and powers provided for in this
          Agreement, by Law, in equity or otherwise available to it, including all the rights and
          remedies of a secured party under the applicable UCC.

                           (b) Any time after an Event of Default, Lender shall have the power to sell
          the Property or any part thereof at public auction, in such manner, at such time and place,
          upon such terms and conditions, and upon such public notice as Lender may deem best for
          the interest of Lender, and as may be required or permitted by applicable Law, consisting
          of advertisement in a newspaper of general circulation in the jurisdiction and for such
          period as applicable Law may require and at such other times and by such other methods,
          if any, as may be required by Law to convey the Property in fee simple by Lender’s deed
          with special warranty of title or assignment to and at the cost of the purchaser, who shall
          not be liable to see to the application of the purchase money. The proceeds or avails of any
          sale made under or by virtue of this Section, together with any other sums that then may
          be held by Lender under this Agreement, whether under the provisions of this Section or
          otherwise, shall be applied as follows:

                                 (i)       First, to the payment of the third-party costs and expenses
          after Event of Default incurred in connection with any such sale and to advances, fees and
          expenses, including, without limitation, reasonable fees and expenses of Lender’s legal
          counsel as applicable, and of any judicial proceedings wherein the same may be made, and
          of all expenses, liabilities and advances reasonably made or incurred by Lender under this
          Agreement and/or the other Loan Documents, together with interest as provided herein on
          all such advances made by Lender, and all Impositions, except any Impositions or other
          charges subject to which the Property shall have been sold;



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                               (ii)       Second, to the payment of the whole amount then due, owing
          and unpaid under the Note for principal and interest thereon, with interest on such unpaid
          principal at the Default Rate from the date of the occurrence of the earliest Event of Default
          that formed a basis for such sale until the same is paid;

                            (iii)      Third, to the payment of any other portion of the Debt
          required to be paid by Borrower pursuant to any provision of this Agreement, the
          Mortgage, the Note, or any of the other Loan Documents; and

                             (iv)     Lastly, the surplus, if any, to Borrower unless otherwise
          required by Legal Requirements.

                           (c) Lender and any receiver or custodian of the Property or any part thereof
          shall be liable to account for only those rents, issues, proceeds and profits actually received
          by it.

                          (d) Lender may adjourn from time to time any sale by it to be made under
          or by virtue of the Mortgage by announcement at the time and place appointed for such
          sale or for such adjourned sale or sales and, except as otherwise provided by any applicable
          provision of Legal Requirements, Lender, without further notice or publication, may make
          such sale at the time and place to which the same shall be so adjourned.

                          (e) Upon the completion of any sale or sales made by Lender under or by
          virtue of this Section, Lender, a trustee or substitute trustee, or any officer of any court
          empowered to do so, shall execute and deliver to the accepted purchaser or purchasers a
          good and sufficient instrument, or good and sufficient instruments, granting, conveying,
          assigning and transferring all estate, right, title and interest in and to the property and rights
          sold. Lender is hereby irrevocably appointed the true and lawful attorney-in-fact of
          Borrower (coupled with an interest), in its name and stead, to make all necessary
          conveyances, assignments, transfers and deliveries of the property and rights so sold and
          for that purpose Lender may execute all necessary instruments of conveyance, assignment,
          transfer and delivery, and may substitute one or more persons with like power, Borrower
          hereby ratifying and continuing all that its said attorney-in-fact or such substitute or
          substitutes shall lawfully do by virtue hereof. Nevertheless, Borrower, if so requested by
          Lender, shall ratify and confirm any such sale or sales by executing and delivering to
          Lender, or to such purchaser or purchasers all such instruments as may be advisable, in the
          sole judgment of Lender, for such purpose, and as may be designated in such request. Any
          such sale or sales made under or by virtue of this Section, whether made under the power
          of sale herein granted or under or by virtue of judicial proceedings or a judgment or decree
          of foreclosure and sale, shall operate to divest all the estate, right, title, interest, claim and
          demand whatsoever, whether at law or in equity, of Borrower in and to the property and
          rights so sold, and shall, to the fullest extent permitted under Legal Requirements, be a
          perpetual bar, both at law and in equity against Borrower and against any and all Persons
          claiming or who may claim the same, or any part thereof, from, through or under Borrower.
          Borrower hereby consents to Lender seeking and obtaining a mandatory injunction
          compelling performance with this provision without the need to post a bond on account of
          such injunction and such application may be made and granted ex parte.

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                         (f) In the event of any sale made under or by virtue of this Section (whether
          made under the power of sale herein granted or under or by virtue of judicial proceedings
          or a judgment or decree of foreclosure and sale), the entire Debt immediately thereupon
          shall, anything in the Loan Documents to the contrary notwithstanding, become due and
          payable.

                          (g) Upon any sale made under or by virtue of this Section (whether made
          under the power of sale herein granted or under or by virtue of judicial proceedings or a
          judgment or decree of foreclosure and sale), Lender may bid for and acquire the Property
          or any part thereof and in lieu of paying cash therefor may make settlement for the purchase
          price by crediting upon the Debt the net sales price after deducting therefrom the expenses
          of the sale and the costs of the action.

                         (h) No recovery of any judgment by Lender and no levy of an execution
          under any judgment upon the Property or any part thereof or upon any other property of
          Borrower shall release the Lien of the Mortgage upon the Property or any part thereof, or
          any Liens, rights, powers or remedies of Lender hereunder, but such Liens, rights, powers
          and remedies of Lender shall continue unimpaired until all amounts due under this
          Agreement, the Note, the Mortgage and the other Loan Documents are paid in full.

                         Possession of the Property. Upon the occurrence of an Event of Default and
         the acceleration of the Debt or any portion thereof, Borrower, if an occupant of the Property
         or any part thereof, upon demand of Lender, shall immediately surrender possession of the
         Property (or the portion thereof so occupied) to Lender, and if Borrower is permitted to
         remain in possession, the possession shall be as a month-to-month Tenant of Lender and,
         on demand, Borrower shall pay to Lender monthly, in advance, a reasonable rental for the
         space so occupied and in default thereof Borrower may be dispossessed. Lender shall have
         the right to exercise self-help to change the locks at the Property and take such other actions
         as Lender deems necessary or appropriate in connection with the foregoing. The covenants
         herein contained may be enforced by a receiver of the Property or any part thereof. Nothing
         in this Section shall be deemed to be a waiver of the provisions of this Agreement making
         the Transfer of the Property or any part thereof without Lender’s prior written consent an
         Event of Default.

                         No Cure or Waiver. Neither Lender's nor any receiver's entry upon and
         taking possession of all or any part of the Property nor any collection of Rents, Casualty
         Insurance Proceeds, Condemnation Proceeds or damages, other security or proceeds of
         other security, or other sums, nor the application of any collected sum to any Obligations,
         nor the exercise of any other right or remedy by Lender or any receiver shall impair the
         status of the security, or cure or waive any Default or notice of Default under the Mortgage
         or any of the other Loan Documents, or nullify the effect of any notice of default or sale
         (unless all Obligations and obligations which are then due have been paid and performed
         and Borrower has cured all other defaults), or prejudice Lender in the exercise of any right
         or remedy, or be construed as an affirmation by Lender of any tenancy, lease or option or a
         subordination of the Lien of the Mortgage.




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                         Borrower’s Actions After Default. Upon the occurrence of any Event of
         Default and immediately upon the commencement of any action, suit or other legal
         proceedings by Lender to obtain judgment for the Debt, or of any other nature in the aid of
         the enforcement of the Loan Documents, Borrower will (a) after receipt of notice of the
         institution of any such action, waive the issuance and service of process and enter its
         voluntary appearance in such action, suit or proceeding, (b) if required by Lender, consent
         to the appointment of a receiver or receivers of the Property or any part thereof and of all
         the earnings, revenues, rents, issues, profits and income thereof, and (c) consent to entry of
         a judgment of foreclosure in the form requested by Lender.

                         Control by Lender After Default. Notwithstanding the appointment of any
         custodian, receiver, liquidator or trustee of Borrower, or of any of its property, or of the
         Property or any part thereof, to the extent permitted by Legal Requirements, Lender shall
         be entitled to obtain possession and control of all property now and hereafter covered by the
         Mortgage in accordance with the terms hereof, and Borrower shall not contest any judicial
         order enforcing the same.

                            Right to Cure Defaults.

                           (a) At any time that an Event of Default exists, Lender or its agents may,
          but without any obligation to do so and without notice to or demand on Borrower and
          without releasing Borrower from any obligation hereunder, take any action or perform any
          obligations of Borrower in such manner and to such extent as Lender may deem necessary
          to protect the security hereof. Lender and its agents are authorized to enter upon the
          Property or any part thereof for such purposes, or appear in, defend, or bring any action or
          proceedings to protect Lender’s interest in the Property or any part thereof or to foreclose
          the Mortgage or collect the Debt, and the cost and expense thereof (including reasonable
          attorneys’ fees to the extent permitted by Law), with interest as provided in this Section.
          All such costs and expenses incurred by Lender or its agents in remedying such Event of
          Default or in appearing in, defending, or bringing any such action or proceeding shall bear
          interest at the Default Rate, for the period from the date so demanded to the date of payment
          to Lender. All such costs and expenses actually incurred by Lender or its agents together
          with interest thereon calculated at the Default Rate shall be deemed to constitute a portion
          of the Debt and be secured by the Mortgage, and shall be immediately due and payable to
          Lender within five (5) Business Days after demand. Unless Borrower is expressly entitled
          to a specific time period to cure any Default hereunder, this Agreement shall not be
          construed to provide Borrower with any such cure period.

                         (b) Borrower agrees that, if Borrower fails to perform any act or to pay any
          money which Borrower is required to perform or pay under the Loan Documents, Lender
          may (but shall have no obligation to) make the payment or perform the act at the cost and
          expense of Borrower and in Borrower’s name or in its own name. Borrower hereby
          designates Lender (or any officer or agent of Lender) as Borrower’s true and lawful
          attorney-in-fact to make any such payments or otherwise perform Borrower’s obligations
          hereunder and Borrower hereby ratifies all that said attorney shall lawfully do or cause to
          be done by virtue hereof. The power of attorney is coupled with an interest and is
          irrevocable.

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                           (c) If Lender makes any payment or advance that Lender is authorized by
          this Agreement to make in the place and stead of Borrower (i) relating to the Impositions
          or tax Liens asserted against the Property, Lender may do so according to any bill,
          statement or estimate procured from the appropriate public office without inquiry into the
          accuracy of the bill, statement or estimate or into the validity of any of the Impositions or
          the tax Liens or claims thereof; (ii) relating to any apparent or threatened adverse title,
          Lien, claim of lien, encumbrance, claim or charge, Lender will be the sole judge of the
          legality or validity of same, which shall be binding on Borrower; or (iii) relating to any
          other purpose authorized by this Agreement but not enumerated in this Section, Lender
          may do so whenever, in its reasonable judgment and discretion, the payment or advance
          seems necessary or desirable to protect the Property and the full security interest intended
          to be created by the Mortgage. In connection with any payment or advance made pursuant
          to this Section, Lender has the option and is authorized, but in no event shall be obligated,
          to obtain a continuation report of title prepared by a title insurance company. The payments
          and the advances made by Lender pursuant to this Section and the cost and expenses of
          said title report shall be (x) part of the Debt, (y) due and payable by Borrower on demand,
          together with interest at the Default Rate, and (z) secured by the Mortgage.

                         Recovery of Sums Required to Be Paid. Lender shall have the right from
         time to time to take action to recover any sum or sums that constitute a part of the Debt as
         the same becomes due and payable hereunder (after the expiration of any grace period or
         the giving of any notice herein provided, if any), without regard to whether or not the
         balance of the Debt shall be due, and without prejudice to the right of Lender thereafter to
         bring an action of foreclosure, or any other action, for a default or defaults by Borrower
         existing at the time such earlier action was commenced.

                        Marshalling and Other Matters. Borrower hereby waives, to the fullest
         extent permitted by Law, the benefit of all appraisement, valuation, stay, extension,
         reinstatement, redemption (both equitable and statutory) and homestead Laws now or
         hereafter in force and all rights of marshalling in the event of any sale hereunder of the
         Property or any part thereof or any interest therein. Further, Borrower hereby expressly
         waives any and all rights of redemption from sale under any order or decree of foreclosure
         of the Mortgage on behalf of Borrower, whether equitable or statutory and on behalf of each
         and every Person acquiring any interest in or title to the Property or any part thereof
         subsequent to the Execution Date and on behalf of all Persons to the fullest extent permitted
         by applicable Law.

                        Waivers. To the extent permitted by Law, Borrower waives: (1) the right to
         assert a counterclaim, other than a mandatory or compulsory counterclaim, in any action or
         proceeding brought against it by Lender arising out of or in any way connected with any of
         the Loan Documents or the Obligations, (2) the benefit of all Laws now or hereafter in force
         regarding appraisement, valuation, stay, extension, reinstatement and redemption, (3) all
         rights of marshalling in the event of any sale hereunder of the Property or any part thereof
         or any interest therein, (4) any and all rights of redemption from sale under any order or
         decree of foreclosure of the Mortgage on behalf of Lender, and on behalf of each and every
         Person acquiring any interest in or title to the Property subsequent to the Execution Date
         and on behalf of all Persons, (5) any notices of any nature whatsoever from Lender except

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         with respect to matters for which the Loan Documents specifically and expressly provides
         for the giving of notice by Lender to Borrower and except with respect to matters for which
         Lender is required by applicable Law to give notice, (6) the pleading of any statute of
         limitations as a defense to payment of the Obligations or performance of its other
         obligations, and (7) any defense Borrower might assert or have by reason of Lender’s failure
         to make any Tenant of the Property a party defendant in any foreclosure proceeding or action
         instituted by Lender.

                         Tax Reduction Proceedings. During the continuance of an Event of Default,
         Borrower shall be deemed to have appointed Lender as its attorney-in-fact to seek a
         reduction or reductions in the assessed valuation of the Property for real property tax
         purposes or for any other purpose and to prosecute any action or proceeding in connection
         therewith. This power, being coupled with an interest, shall be irrevocable for so long as
         any part of the Debt remains unpaid and any Event of Default shall be continuing.

                          Costs of Collection. Borrower agrees to pay all reasonable costs and
         expenses of collection actually incurred by Lender, in addition to principal, interest and late
         or delinquency charges (including, without limitation, reasonable attorneys’ fees and
         disbursements) and including all reasonable costs and expenses incurred in connection with
         the pursuit by Lender of any of its rights or remedies referred to in this Article or its rights
         or remedies referred to in any of the Loan Documents or the protection of or realization of
         collateral or in connection with any of Lender’s collection efforts, whether or not suit on the
         Note, on any of the other Loan Documents or any foreclosure proceeding is filed, and all
         such reasonable costs and expenses shall be payable on demand, together with interest at
         the Default Rate thereon, and also shall be secured by the Mortgage and all other collateral
         at any time held by Lender as security for any or all of the Obligations.

                         Cumulative Rights. The rights of Lender under this Agreement, the
         Mortgage and the other Loan Documents shall be separate, distinct and cumulative and none
         shall be given effect to the exclusion of the others. No act of Lender shall be construed as
         an election to proceed under any one provision herein to the exclusion of any other
         provision. Lender shall not be limited exclusively to the rights and remedies herein stated
         but shall be entitled, subject to the terms of this Agreement, to every right and remedy now
         or hereafter afforded by Law.

                            General Provisions Regarding Remedies.

                         (a) Right to Terminate Proceedings. Lender may terminate or rescind any
          proceeding or other action brought in connection with its exercise of the remedies provided
          in this Agreement at any time before the conclusion thereof, as determined in Lender’s sole
          discretion and without prejudice to Lender.

                         (b) No Waiver or Release. The failure of Lender to exercise any right,
          remedy or option provided in the Loan Documents shall not be deemed a waiver of such
          right, remedy or option or of any covenant or obligation secured by the Loan Documents.
          No acceptance by Lender of any payment after the occurrence of an Event of Default and
          no payment by Lender of any payment or obligation for which Borrower is liable hereunder


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          shall be deemed to waive or cure any Event of Default. No sale of all or any portion of the
          Property, no forbearance on the part of Lender, and no extension of time for the payment
          of the whole or any portion of the Debt or any other indulgence given by Lender to
          Borrower or any other Person, shall operate to release or in any manner affect the interest
          of Lender in the Property or the liability of Borrower to pay the Debt. No waiver by Lender
          shall be effective unless it is in writing subscribed by Lender and bearing the legend “this
          represents a knowing and intentional waiver of Lender’s rights” or any similar language
          and then only to the extent specifically stated.

                        (c) No Impairment; No Releases. The interests and rights of Lender under
          the Loan Documents shall not be impaired by any indulgence, including (i) any renewal,
          extension or modification that Lender may grant with respect to any of the Debt; (ii) any
          surrender, compromise, release, renewal, extension, exchange or substitution which Lender
          may grant with respect to the Property or any portion thereof; or (iii) any release or
          indulgence granted to any maker, endorser, guarantor or surety of any of the Debt.


                                             ARTICLE 11
                                             RESERVES

                        Tax and Insurance Reserve. In order to assure the payment of Impositions
         and Insurance Premiums as and when the same shall become due and payable, the following
         provisions shall apply:

                            (a) Borrower shall establish and maintain at all times while the Debt
          remains outstanding a reserve (the “Tax and Insurance Reserve”) with Lender for
          payment of Impositions and Insurance Premiums and as additional security for the Debt.
          On the Execution Date, Borrower shall deposit into the Tax and Insurance Reserve the
          amount, as reasonably determined by Lender, which, when added to the monthly payments
          subsequently required to be deposited with Lender hereunder on account of Impositions
          and Insurance Premiums, will result in there being on deposit with Lender an amount
          sufficient to pay the next due installment of Impositions on the Real Property at least thirty
          (30) days prior to the due date thereof and the next due annual Insurance Premiums with
          respect to the Real Property at least thirty (30) days prior to the due date thereof.
          Thereafter, commencing on the First Payment Date and on each Payment Date thereafter,
          Borrower shall pay to Lender, in immediately available funds for deposit into the Tax and
          Insurance Reserve an amount equal to one-twelfth (1/12) of the Impositions and Insurance
          Premiums to become due during the period commencing on the first (1st) day of the first
          (1st) month following such Payment Date and ending twelve (12) months following such
          first (1st) day. In all cases there must be paid hereunder to be deposited and held in the Tax
          and Insurance Reserve an amount sufficient to pay such Impositions and Insurance
          Premiums, at least thirty (30) days prior to the date when they are due and payable. The
          amounts of such deposits with respect to Impositions and Insurance Premiums
          (collectively, “Tax and Insurance Deposits”) shall be based upon Lender’s estimate as to
          the amount of Impositions and Insurance Premiums. Borrower shall promptly, upon the
          demand of Lender, make additional Tax and Insurance Deposits as Lender may from time
          to time require due to (i) the failure of Borrower to make Tax and Insurance Deposits in

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         previous months, (ii) Lender’s underestimation of the amounts of Impositions and/or
         Insurance Premiums, (iii) the particular due dates and amounts of Impositions and/or
         Insurance Premiums, (iv) the increase in such Impositions and/or Insurance Premiums or
         (v) application of funds in the Tax and Insurance Reserve pursuant to this Agreement.

                         (b) Provided no Event of Default has then occurred and is continuing,
         Lender will, out of the funds available in the Tax and Insurance Reserve (provided such
         funds are sufficient for such purpose), upon Lender’s receipt of the bills therefor, pay the
         Impositions and Insurance Premiums or will, upon receipt of official receipted bills
         therefor, reimburse Borrower for such payments made by Borrower. If the total funds in
         the Tax and Insurance Reserve shall not be sufficient to pay all of the Impositions and
         Insurance Premiums when the same shall become due, then Borrower shall pay to Lender
         on demand, for deposit into the Tax and Insurance Reserve, the amount necessary to make
         up the deficiency. Lender shall be entitled to apply any funds in the Tax and Insurance
         Reserve to the payment of any Impositions (other than any Impositions which Borrower
         has notified Lender that it is contesting in accordance with the terms hereof, provided that
         such contest is permitted hereunder) and Insurance Premiums which have become due and
         have not yet been paid.

                       (c) Upon the occurrence and during the continuance of an Event of Default,
         Lender may, at its option, without being required to do so, apply any Tax and Insurance
         Deposits on hand to pay Impositions and Insurance Premiums or to pay principal, interest
         and other amounts payable to Lender hereunder or under the other Loan Documents, all in
         such order and manner as Lender, in its sole discretion, may elect.

                         (d) Borrower shall be responsible for ensuring the receipt by Lender, at
         least thirty (30) days prior to the respective due date for payment thereof, of all bills,
         invoices and statements for all Impositions and Insurance Premiums to be paid from the
         Tax and Insurance Reserve. Lender shall be absolutely entitled to rely on any statements
         of any Governmental Authority with respect to Impositions and any statement of
         Borrower’s insurance carrier or its agent with respect to Insurance Premiums.

                         (e) No provision of this Agreement or any other Loan Document shall be
         construed as creating in any party other than Borrower and Lender any rights in and to the
         Tax and Insurance Deposits or any rights to have the Tax and Insurance Deposits applied
         to payment of Impositions and Insurance Premiums. Lender shall have no obligation or
         duty to any third party to collect Tax and Insurance Deposits.

                           Deferred Maintenance Reserve.

                       (a) As additional security for the Debt, Borrower shall establish a deferred
         maintenance reserve (the “Deferred Maintenance Reserve”) with Lender. On the
         Execution Date, Borrower shall deposit into the Deferred Maintenance Reserve the amount
         of $80,625. The Deferred Maintenance Reserve shall be used to reimburse for the costs of
         certain maintenance, repairs and/or remedial or corrective work described on Exhibit C
         hereto (the “DM Budget”) and such additional maintenance, repairs and/or remedial or
         corrective work as may be proposed by Borrower and reasonably approved by Lender (the


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         “Deferred Maintenance”). Borrower shall cause each item of Deferred Maintenance to
         be completed, performed, remediated and corrected to the reasonable satisfaction of Lender
         and as necessary to bring the Property into compliance with all Laws on or before the
         expiration of twelve (12) months following the Execution Date, as such time period may
         be extended by Lender in its sole discretion and subject to Force Majeure. Borrower shall
         be permitted to reallocate funds to and from individual line items as set forth in the DM
         Budget of up to ten percent (10%) (individually or in the aggregate when taking into
         account any prior reallocations) of the original amount of such line item that funds were
         reallocated to or reallocated from without Lender’s approval, provided that Borrower
         provides prior written notice to Lender, except that Borrower shall not be permitted to
         reallocate funds from and to any line items identified as “immediate repairs” and/or life
         safety items. Reallocations of funds in an amount greater than ten percent (10%)
         (individually or in the aggregate when taking into account any prior allocations) of the
         original amount of any line item to or from any other line item in the DM Budget shall be
         subject to Lender’s prior written approval, which approval shall not be unreasonably
         withheld, conditioned or delayed. Notwithstanding the foregoing, Borrower shall not be
         permitted to reallocate funds from the contingency line item, the general conditions line
         item and/or the line item for profit and fees to the general contractor, construction manager,
         property manager, or other party entitled to a fee in the DM Budget, to any other line item
         that would cause the aggregate amount disbursed from such line item (taking into account
         all prior reallocations from such line item), expressed as a percentage of the initial amount
         of such line item, to be greater than the percentage of completion of the Deferred
         Maintenance item set forth in such line item, each and all as determined by Lender in its
         sole discretion. So long as no Event of Default has occurred and is continuing, Lender
         shall, to the extent funds are available for such purpose in the Deferred Maintenance
         Reserve, disburse to Borrower the amount paid by Borrower in completing, performing,
         remediating and/or correcting the Deferred Maintenance after: (a) the receipt by Lender, in
         the form attached hereto as Exhibit D, of: (1) a written request from Borrower for
         disbursement of funds from the Deferred Maintenance Reserve and (2) certification by
         Borrower that the applicable item of Deferred Maintenance has been completed in
         accordance with the terms of this Agreement, (b) delivery to Lender of invoices, receipts
         or other evidence satisfactory to Lender verifying the costs of the Deferred Maintenance to
         be reimbursed, (c) if required in Lender’s sole but reasonable discretion, delivery to Lender
         of a certification from an inspecting architect, engineer or other consultant reasonably
         acceptable to Lender describing the completed Deferred Maintenance work, verifying the
         completion of the Deferred Maintenance work and the value of the completed work and, if
         applicable, certifying that the Property is, as a result of such work, in compliance with all
         applicable Laws, ordinances, rules and regulations relating to the Deferred Maintenance so
         performed, (d) delivery to Lender of title insurance continuation statements, affidavits, lien
         waivers or other evidence reasonably satisfactory to Lender showing that all materialmen,
         laborers, subcontractors and any other parties who might or could claim statutory or
         common law Liens and are furnishing or have furnished materials or labor to the Property
         have been paid all amounts due for such labor and materials furnished to the Property, and
         (e) for disbursement requests in excess of $10,000.00, delivery to Lender of a new
         certificate of occupancy for the portion of the Improvements covered by such Deferred
         Maintenance, if said new certificate of occupancy is required by applicable Law, or a


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         certification by Borrower that no new certificate of occupancy is required. Lender shall
         not be required to disburse funds from the Deferred Maintenance Reserve more frequently
         than once in any thirty (30) day period or in less than $10,000 increments. In making any
         payment from the Deferred Maintenance Reserve, Lender shall be entitled to rely on such
         request from Borrower without any inquiry into the accuracy, validity or contestability of
         any such amount. Lender may require an inspection of the Property, at Borrower’s
         expense, by a third party engineer selected by Lender, prior to making a disbursement from
         the Deferred Maintenance Reserve in order to verify compliance with the requirements of
         this Section. The costs of the work performed by such engineer shall be paid from the
         Deferred Maintenance Reserve. In the event that the funds on deposit in the Deferred
         Maintenance Reserve are inadequate to pay the costs of the Deferred Maintenance, then
         Borrower shall pay to Lender on demand, for deposit into the Deferred Maintenance
         Reserve, the amount necessary to make up such deficiency. Upon the occurrence and
         during the continuance of (i) an Event of Default or (ii) a Material Adverse Change, Lender
         may, but shall not be obligated to, apply at any time the balance then remaining in the
         Deferred Maintenance Reserve against the Debt in whatever order Lender shall
         subjectively determine, provided that no such application of the Deferred Maintenance
         Reserve shall be deemed to cure any Event of Default. Upon full completion of the
         Deferred Maintenance in accordance with the DM Budget, the balance then remaining in
         the Deferred Maintenance Reserve shall at, Lender’s election, either be (i) applied by
         Lender to reduce the principal balance of the Loan or (ii) transferred to the Additional
         Collateral Account and held by Lender as additional collateral for the Loan.
         Notwithstanding anything to the contrary set forth herein, Lender shall in no event be
         obligated to fund payment of or reimbursement for the cost of deposits under any contracts
         engaging any construction contractors or any general contractor (if any).

                          (b) The Loan shall be deemed to be “DM Out of Balance” if at any time on
         or prior to the Maturity Date, Lender determines, in its sole discretion, that the funds
         remaining in the Deferred Maintenance Reserve are not or will not be sufficient to (i)
         complete the Deferred Maintenance in accordance with this Section and the DM Budget,
         (ii) pay interest on the Loan through completion of the Deferred Maintenance, (iii) pay all
         costs and expenses set forth in the DM Budget, and such additional amounts as Lender, in
         its sole but reasonable discretion, deems necessary to complete the Deferred Maintenance
         as set forth in the DM Budget, (iv) pay all liabilities associated with the Deferred
         Maintenance and (v) perform all obligations of Borrower under the Loan Documents
         associated with such Deferred Maintenance. In determining whether the Loan is DM Out
         of Balance, only funds being held in the Deferred Maintenance Reserve will be
         considered. In the event that Lender determines that the Loan is DM Out of Balance, then
         within ten (10) days after being notified in writing by Lender that the Loan is DM Out of
         Balance and that a certain amount is required to be deposited in order to remediate the fact
         that the Loan is DM Out of Balance (the “DM Out of Balance Amount”), Borrower shall
         pay to Lender, for deposit into the Deferred Maintenance Reserve, funds equal to the DM
         Out of Balance Amount. Failure to pay the DM Out of Balance Amount to Lender within
         such timeframe and as otherwise set forth herein shall constitute an Event of Default. So
         long as the Loan is DM Out of Balance, Lender shall have no obligation to make any
         disbursements from the Deferred Maintenance Reserve.


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                           Renovation Reserve.

                         (a) As additional security for the Debt, Borrower shall establish a
         renovation reserve (the “Renovation Reserve”) with Lender. On the Execution Date,
         Borrower shall deposit into the Renovation Reserve the amount of $2,533,333. The
         Renovation Reserve shall be used to reimburse Borrower for the costs of certain capital
         renovations of the Property (the “Renovations”) in accordance with customary
         construction lending practice and a renovation budget which has been approved by Lender
         and attached hereto as Exhibit F (the “Renovations Budget”). Prior to any disbursement
         to be made to Borrower as set forth below, Borrower shall provide to Lender any and all
         general contracts, subcontracts, construction contracts, labor or material contracts or other
         instruments or agreements entered into with respect to the completion of the Renovations
         (the “Renovation Contracts”) for Lender’s review. Any such Renovation Contracts shall
         be arm's length, commercially reasonable and otherwise on customary and fair terms.
         Borrower shall cause each Renovation included in the Renovations Budget to be
         completed, performed, remediated and corrected in accordance with the Renovations
         Budget to the satisfaction of Lender and as necessary to bring the Property into compliance
         with all applicable Laws on or before the applicable dates set forth on the Renovations
         Budget, as such time periods may be extended by Lender in its sole discretion. Borrower
         shall be permitted to reallocate funds to and from individual line items as set forth in the
         Renovations Budget of up to ten percent (10%) (individually or in the aggregate when
         taking into account any prior reallocations) of the original amount of such line item that
         funds were reallocated to or reallocated from without Lender’s approval, provided that
         Borrower provides prior written notice to Lender, except that Borrower shall not be
         permitted to reallocate funds (i) from and to any line items identified as “immediate
         repairs” and/or life safety items or (ii) from any line items to the general conditions line
         item and/or the line item for profit and fees to the general contractor, construction manager,
         property manager, or other party entitled to a fee. Reallocations of funds in an amount
         greater than ten percent (10%) (individually or in the aggregate when taking into account
         any prior reallocations) of the original amount of any line item to or from any other line
         item in the Renovations Budget shall be subject to Lender’s prior written approval, which
         approval shall not be unreasonably withheld. Notwithstanding the foregoing, Borrower
         shall not be permitted to reallocate funds from the contingency line item, the general
         conditions line item and/or the line item for profit and fees to the general contractor,
         construction manager, property manager, or other party entitled to a fee in the Renovations
         Budget, to any other line item that would cause the aggregate amount disbursed from such
         line item (taking into account all prior reallocations from such line item), expressed as a
         percentage of the initial amount of such line item, to be greater than the percentage of
         completion of the Renovation set forth in such line item, each and all as determined by
         Lender in its sole discretion. So long as no Event of Default has occurred and is continuing,
         Lender shall, to the extent funds are available for such purpose in the Renovation Reserve,
         disburse to Borrower the amount paid by Borrower in completing, performing, remediating
         and/or correcting the Renovations after: (a) the receipt by Lender, in the form attached
         hereto as Exhibit G, of: (1) a written request from Borrower for disbursement of funds from
         the Renovation Reserve and (2) a certification by Borrower that the applicable Renovation
         has been completed in accordance with the terms of this Agreement, (b) delivery to Lender
         of invoices, receipts, cancelled checks, or other evidence satisfactory to Lender verifying

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         the costs of the Renovation to be reimbursed, (c) if required in Lender’s sole but reasonable
         discretion, the delivery to Lender of a certification from an inspecting architect, engineer
         or other consultant reasonably acceptable to Lender describing the completed Renovation
         work, verifying the completion of such Renovation work and the value of the completed
         work and, if applicable, certifying that the Property is, as a result of such Renovation work,
         in compliance with all applicable Laws relating to the Renovation so performed, (d)
         delivery to Lender of title insurance continuation statements, affidavits, lien waivers or
         other evidence reasonably satisfactory to Lender showing that all materialmen, laborers,
         subcontractors and any other parties who might or could claim statutory or common law
         Liens and are furnishing or have furnished materials or labor to the Property have been
         paid all amounts due for such labor and materials furnished to the Property and (e) for
         disbursement requests in excess of $10,000.00, delivery to Lender of a new certificate of
         occupancy for the portion of the Improvements covered by such Renovations, if said new
         certificate of occupancy is required by applicable Law, or a certification by Borrower that
         no new certificate of occupancy is required. Lender shall not be required to disburse funds
         from the Renovation Reserve more frequently than once in any thirty (30) day period or in
         less than $10,000 increments. In making any payment from the Renovation Reserve,
         Lender shall be entitled to rely on such request from Borrower without any inquiry into the
         accuracy, validity or contestability of any such amount. Lender may require an inspection
         of the Property, at Borrower’s expense, by a third party engineer selected by Lender, prior
         to making a disbursement from the Renovation Reserve in order to verify compliance with
         the requirements of this Section. The costs of the work performed by such engineer shall
         be paid from the Renovation Reserve. In the event that the amount of funds on deposit in
         the Renovation Reserve are inadequate to pay the costs of the Renovations, then Borrower
         shall pay to Lender on demand, for deposit into the Renovation Reserve, the amount
         necessary to make up such deficiency. Upon the occurrence and during the continuance of
         (i) an Event of Default or (ii) a Material Adverse Change, Lender may, but shall not be
         obligated to, apply at any time the balance then remaining in the Renovation Reserve
         against the Debt in whatever order Lender shall subjectively determine, provided that no
         such application of the Renovation Reserve shall be deemed to cure any Event of Default.
         Upon full completion of the Renovations in accordance with the Renovations Budget, the
         balance of the funds remaining in the Renovation Reserve shall, at Lender’s election, either
         be (i) applied by Lender to reduce the principal balance of the Loan or (ii) transferred to
         the Additional Collateral Account and held by Lender as additional collateral for the Loan.
         Notwithstanding anything to the contrary set forth herein, Lender shall in no event be
         obligated to fund payment of or reimbursement for the cost of deposits under any contracts
         engaging any construction contractors or any general contractor (if any).

                          (b) The Loan shall be deemed to be “Renovation Out of Balance” if at
         any time on or prior to the Maturity Date, Lender determines, in its sole discretion, that the
         funds remaining in the Renovation Reserve are not or will not be sufficient to (i) complete
         the Renovations in accordance with this Section and the Renovations Budget, (ii) pay
         interest on the Loan through completion of the Renovations, (iii) pay all costs and expenses
         set forth in the Renovations Budget, and such additional amounts as Lender, in its sole but
         reasonable discretion, deems necessary to complete the Renovations as set forth in the
         Renovations Budget, (iv) pay all liabilities associated with the Renovations and (v) perform
         all obligations of Borrower under the Loan Documents associated with the Renovations. In

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         determining whether the Loan is Renovation Out of Balance, only funds being held in the
         Renovation Reserve will be considered. In the event that Lender determines that the Loan
         is Renovation Out of Balance, then within ten (10) days after being notified in writing by
         Lender that the Loan is Renovation Out of Balance and that a certain amount is required to
         be deposited in order to remediate the fact that the Loan is Renovation Out of Balance (the
         “Renovation Out of Balance Amount”), Borrower shall pay to Lender, for deposit into
         the Renovation Reserve, funds equal to the Renovation Out of Balance Amount. Failure
         to pay the Renovation Out of Balance Amount to Lender within such timeframe and as
         otherwise set forth herein shall constitute an Event of Default. So long as the Loan is
         Renovation Out of Balance, Lender shall have no obligation to make any disbursements
         from the Renovation Reserve.

                         Replacement Reserve. As additional security for the Debt, Borrower shall
        establish a repair and/or replacement reserve (the “Replacement Reserve”) with Lender.
        The Replacement Reserve shall be used to reimburse Borrower for the costs and expenses
        incurred by Borrower in connection with the performance of ongoing capital repair work at
        the Property (collectively, the “Work”). Commencing on the First Payment Date and
        continuing on each Payment Date thereafter, Borrower shall pay to Lender, concurrently
        with and in addition to the monthly interest payment due under the Note and until the Debt
        is fully paid and performed, in immediately available funds for deposit into the Replacement
        Reserve an amount equal to $11,645.83 per month (the “Replacement Deposit”). So long
        as no Event of Default has occurred and is continuing, all sums in the Replacement Reserve
        shall be held by Lender in the Replacement Reserve to reimburse Borrower for the costs
        and expenses of the Work. So long as no Event of Default has occurred and is continuing,
        Lender shall, to the extent funds are available for such purpose in the Replacement Reserve,
        disburse to Borrower the amount paid by Borrower in performing such Work after (a) the
        receipt by Lender, in the form attached hereto as Exhibit H, of: (1) a written request from
        Borrower for disbursement of funds from the Replacement Reserve and (2) a certification
        by Borrower that the applicable item of Work has been completed in accordance with the
        terms of this Agreement; (b) the delivery to Lender of invoices, receipts or other evidence
        satisfactory to Lender, verifying the cost of the Work to be reimbursed; (c) the delivery to
        Lender of title continuation statements, affidavits, lien waivers or other evidence reasonably
        satisfactory to Lender showing that all materialmen, laborers, subcontractors and any other
        parties who might or could claim statutory or common law Liens and are furnishing or have
        furnished materials or labor to the Property have been paid all amounts due for labor and
        materials furnished to the Property; (d) if required in Lender’s sole but reasonable
        discretion, the delivery to Lender of a certification from an inspecting architect or other
        third party acceptable to Lender describing the completed Work and verifying the
        completion of the Work and the value of the completed Work; and (e) for disbursement
        requests in excess of $10,000.00, the delivery to Lender of a new certificate of occupancy
        for the portion of the Improvements covered by such Work, if said new certificate of
        occupancy is required by applicable Law, or a certification by Borrower that no new
        certificate of occupancy is required. Lender shall not be required to disburse funds from the
        Replacement Reserve more frequently than once in any thirty (30) day period or in less than
        $10,000 increments. In making any payment from the Replacement Reserve, Lender shall
        be entitled to rely on such request from Borrower without any inquiry into the accuracy,
        validity or contestability of any such amount. Lender may require an inspection of the

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        Property, at Borrower’s expense, by a third party engineer selected by Lender, prior to
        making a disbursement from the Replacement Reserve in order to verify compliance with
        the requirements of this Section. Lender may, at Borrower’s expense, make or cause to be
        made during the term of the Loan an annual inspection of the Property to determine the
        need, as determined by Lender, in its reasonable judgment, for further Work at the Property.
        In addition to the foregoing, Lender may reassess its estimate of the amount required to be
        maintained in the Replacement Reserve from time to time, and, following such
        reassessment, may increase the amount of the monthly Replacement Deposit upon thirty
        (30) days’ notice to Borrower if Lender determines in its reasonable discretion that an
        increase is necessary to maintain the proper maintenance and operation of the Property. In
        the event that such inspection reveals that further Work at the Property is required, Lender
        shall provide Borrower with a written description of the required Work and Borrower shall
        complete such Work to the reasonable satisfaction of Lender within ninety (90) days after
        the receipt of such description from Lender, or such later date as may be approved by Lender
        in its sole but reasonable discretion. In the event that the amount on deposit in the
        Replacement Reserve is inadequate to pay the cost of the Work, then Borrower shall pay to
        Lender on demand, for deposit into the Replacement Reserve, the amount necessary to make
        up the deficiency. Upon the occurrence and during the continuance of (i) an Event of
        Default or (ii) a Material Adverse Change, Lender may, but shall not be obligated to, apply
        at any time the balance then remaining in the Replacement Reserve against the Debt in
        whatever order Lender shall subjectively determine, provided that no such application of
        the Replacement Reserve shall be deemed to cure any Event of Default. Notwithstanding
        anything to the contrary set forth herein, Lender shall in no event be obligated to fund
        payment of or reimbursement for the cost of deposits under any contracts engaging any
        construction contractors or any general contractor (if any).

                        Interest Reserve. Notwithstanding the foregoing or anything to the contrary
        set forth herein, if at any time during the term of the Loan the Debt Service Coverage Ratio,
        as determined by Lender in its sole discretion, shall be less than 1.10 to 1.00, based upon a
        trailing three (3) month basis for Gross Income from Operations (annualized) and based
        upon a trailing twelve (12) month basis for normalized Operating Expenses, Borrower shall
        establish and maintain at all times while the Debt remains outstanding an interest reserve
        (the “Interest Reserve”) with Lender, and within ten (10) days after demand therefor,
        Borrower shall deposit into the Interest Reserve an amount equal to three (3) months’ worth
        of interest on the Loan at the then Applicable Interest Rate as calculated by Lender in its
        sole but reasonable discretion. In the event that Borrower shall fail to make (i) any monthly
        payment of interest on the Loan required to be paid hereunder (the “Monthly Payment”)
        when due, or (ii) any portion of the Monthly Payment when due, and provided that no Event
        of Default has occurred and is continuing, then Lender may, in its discretion, advance funds
        from the Interest Reserve to itself in the amount of the difference (the “Shortfall”) between
        the Monthly Payment and the amount remitted by Borrower to Lender for the payment of
        such Monthly Payment (the “Actual Borrower Payment”). The purpose of the Interest
        Reserve is to supplement shortfalls in Gross Income from Operations to make payment of
        all Monthly Payments in full when due. If a Shortfall exists, then concurrently with its
        remittance of the Actual Borrower Payment, Borrower shall provide to Lender in writing a
        request for disbursement of the Shortfall along with a certification that Gross Income from
        Operations, during the month immediately preceding the applicable Payment Date, was not

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        sufficient to make the full Monthly Payment. Further, (i) Lender may, in its sole and
        absolute discretion, also disburse funds from the Interest Reserve into the Tax and Insurance
        Reserve in the amounts required to pay any Impositions and Insurance Premiums required
        hereunder, and (ii) upon written request from Borrower therefor, Lender may, in its sole and
        absolute discretion, disburse funds from the Interest Reserve into any other Reserve (other
        than the Tax and Insurance Reserve) in an amount necessary to pay for certain costs to be
        paid out of such Reserve. After each disbursement by Lender from the Interest Reserve
        which causes the balance of the Interest Reserve to be less than one (1) full Monthly
        Payment, as determined by Lender, Borrower shall, within ten (10) days after demand
        therefor, pay to Lender for deposit into the Interest Reserve the amount required to bring
        the total amount of funds on deposit in the Interest Reserve to three (3) full Monthly
        Payments, as determined by Lender. Borrower further agrees that if Borrower fails to make
        any such payment for deposit into the Interest Reserve within such ten (10) day period, the
        Interest Reserve may be replenished by Guarantor and/or Lender at any time thereafter.
        Upon the occurrence and during the continuance of (i) an Event of Default or (ii) a Material
        Adverse Change, Lender may, but shall not be obligated to, apply at any time the balance
        then remaining in the Interest Reserve against the Debt in whatever order Lender shall
        subjectively determine, provided that no such application of the Interest Reserve shall be
        deemed to cure any Event of Default. Nothing contained herein, including, without
        limitation, the existence of the Interest Reserve, shall release Borrower of any obligation to
        make payments under this Agreement, the Note or the other Loan Documents strictly in
        accordance with the terms hereof or thereof.

                           General Provisions Regarding Reserves.

                         (a) As additional security for the payment and performance by Borrower of
         all duties, responsibilities and obligations under the Note and the other Loan Documents,
         Borrower hereby unconditionally and irrevocably assigns, conveys, pledges, mortgages,
         transfers, delivers, deposits, sets over and confirms unto Lender, and hereby grants to
         Lender a security interest in the (i) Additional Collateral Account (if any), Tax and
         Insurance Reserve, the Deferred Maintenance Reserve, the Renovation Reserve, the
         Replacement Reserve and the Interest Reserve (collectively, the “Reserves”), (ii) the
         accounts into which the Reserves have been deposited, (iii) all insurance of said accounts,
         (iv) all accounts, contract rights and general intangibles or other rights and interests
         pertaining thereto, (v) all sums now or hereafter therein or represented thereby, (vi) all
         replacements, substitutions or proceeds thereof, (vii) all instruments and documents now
         or hereafter evidencing the Reserves or such accounts, (viii) all powers, options, rights,
         privileges and immunities pertaining to the Reserves (including the right to make
         withdrawals therefrom), and (ix) all proceeds of the foregoing. Borrower hereby authorizes
         and consents to the account or accounts into which the Reserves have been deposited being
         held in Lender’s name or the name of any entity servicing the Loan for Lender and hereby
         acknowledges and agrees that Lender, or at Lender’s election, such servicing agent, shall
         have exclusive control over said accounts. Notice of the assignment and security interest
         granted to Lender herein may be delivered by Lender at any time to the financial institution
         wherein the Reserves have been established, and Lender, or such servicing entity, shall
         have possession of all passbooks or other evidences of such accounts. Borrower hereby
         assumes all risk of loss with respect to amounts on deposit in the Reserves. Borrower

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         hereby knowingly, voluntarily and intentionally stipulates, acknowledges and agrees that
         the advancement of the funds from the Reserves as set forth herein is at Borrower’s
         direction and is not the exercise by Lender of any right of set-off or other remedy upon a
         Default. Borrower hereby waives all right to withdraw funds from the Reserves. If (i) an
         Event of Default or (ii) a Material Adverse Change shall occur, then Lender may, without
         notice or demand on Borrower, at its option: (A) withdraw any or all of the funds
         (including, without limitation, interest) then remaining in any or all of the Reserves and
         apply the same, after deducting all costs and expenses of safekeeping, collection and
         delivery (including, but not limited to, attorneys’ fees, costs and expenses) to the Debt in
         such manner or as Lender shall deem appropriate in its sole discretion, and the excess, if
         any, shall be paid to Borrower, (B) exercise any and all rights and remedies of a secured
         party under any applicable UCC, and/or (C) exercise any other remedies available at law
         or in equity. No such use or application of the funds contained in the Reserves shall be
         deemed to cure any Default hereunder or under the other Loan Documents. All amounts
         deposited with Lender pursuant to this Article may be commingled with general funds of
         Lender and no interest with respect thereto shall be paid to or otherwise credited to
         Borrower.

                        (b) Borrower understands and agrees that, notwithstanding the
         establishment of the Reserves as herein required, all of the proceeds of the Note have been,
         and shall be considered, fully disbursed and shall bear interest and be payable on the terms
         provided in the Loan Documents.

                        (c) Upon full payment of the Debt, the balance of the Reserves then in
         Lender’s possession shall be paid over to Borrower and no other party shall have any right
         or claim thereto.

                         (d) The Reserves are solely for the protection of Lender and entail no
         responsibility on Lender’s part except as specifically set forth herein.

                                         ARTICLE 12
                                 CASH MANAGEMENT PROVISIONS

                           Collection Account.

                         (a) Upon the occurrence of an Event of Default, each Borrower shall within
         ten (10) days following Lender’s request therefor, enter into an Account Agreement with
         Lender and the Bank in a form reasonably approved by Lender. Pursuant to the Account
         Agreement, each Borrower shall establish with Bank an interest-bearing collection account
         with respect to each Property (each such account, a “Collection Account”). The Collection
         Account and the funds deposited therein and securities and other assets credited thereto
         shall serve as additional security for the Loan, and each Borrower hereby grants to Lender
         a security interest in the Collection Account and a security interest in the funds deposited
         therein and securities and other assets credited thereto. Borrower agrees that, prior to the
         payment in full of the Debt, the terms and conditions of the Account Agreement shall not
         be amended or modified without the prior written consent of Lender (which consent Lender
         may grant or withhold in its sole discretion). In recognition of Lender's security interest in


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         the funds deposited into the Collection Account, Borrower shall identify the Collection
         Account with the name of Lender, as secured party. The Collection Account shall be
         named as follows: "Copper Ridge Apts LLC f/b/o Arbor Realty SR, Inc., as secured party
         Collection Account” and “Magnolia Trace Apts LLC f/b/o Arbor Realty SR, Inc., as
         secured party Collection Account". Following Borrower’s execution of the Account
         Agreement, Borrower shall deliver the same to Property Manager.

                         (b) Borrower agrees that the Collection Account shall be maintained (i) as
         a "deposit account" (as such term is defined in Section 9-102(a)(29) of the UCC), (ii) in
         such a manner that Lender shall have “control” (within the meaning of Section 9-104(a)(2)
         of the UCC) over the Collection Account and (iii) such that, neither Borrower nor Property
         Manager shall have any right of withdrawal from the Collection Account and, except as
         provided herein or in the Account Agreement, no Account Collateral shall be released to
         Borrower or Property Manager from the Collection Account. Without limiting Borrower's
         obligations under the immediately preceding sentence, Borrower shall only establish and
         maintain the Collection Account with a financial institution that has executed an agreement
         substantially in the form of the Account Agreement or in such other form acceptable to
         Lender in its sole but reasonable discretion.

                        (c) The Collection Account shall be subject to such applicable Laws, and
         such applicable regulations of the Board of Governors of the Federal Reserve System and
         of any other banking or governmental authority, as may now or hereafter be in effect.
         Income and interest (after deducting therefrom losses, if any, incurred in the investment of
         any funds in such accounts for any prior period) accruing on the Collection Account or any
         investments held in such accounts shall be distributed as if such amounts were deposits
         into the Collection Account.

                         (d) Borrower agrees that Borrower shall be the beneficial owner of the
         Collection Account for federal income tax purposes and all items of income, gain, expense
         and loss recognized in the Collection Account shall be reported to the United States Internal
         Revenue Service and all state and local taxing authorities under its name and taxpayer
         identification number.

                            (e) Intentionally omitted.

                        (f) Lender shall have the right to replace Bank with any other Approved
         Bank, which will promptly execute and deliver to Lender an Account Agreement (and
         Borrower shall reasonably cooperate with Lender in connection with such transfer) in the
         event that (a) the Bank fails, in any material respect, to comply with the terms of the
         Account Agreement, (b) the Bank named herein is no longer the Bank, (c) any successor
         Bank is no longer an Approved Bank or (d) Lender believes, in good faith, the relationship
         with Bank is causing undue administrative burdens (as compared with other banks
         providing similar services under loans originated by Lender).

                        Security Deposit Account. Borrower shall cause Property Manager to collect
        all security deposits from Tenants under Leases, which shall be held by Property Manager,
        as agent for Borrower, in accordance with applicable Law and in a segregated demand


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        deposit bank account at such commercial or savings bank or banks as may be reasonably
        satisfactory to Lender (the “Security Deposit Account”). Borrower shall notify Lender of
        any security deposits held as letters of credit and, upon Lender’s request, such letters of
        credit shall be promptly delivered and collaterally assigned to Lender. Borrower shall have
        no right to withdraw funds from the Security Deposit Account; provided that, so long as no
        Event of Default is continuing, Borrower may withdraw funds from the Security Deposit
        Account to refund or apply security deposits as required by or in accordance with the Leases
        or by applicable Legal Requirements and, provided further, that if an Event of Default is
        continuing, Borrower may request, and Lender shall approve, the withdrawal of funds from
        the Security Deposit Account for the sole purpose of returning security deposits to Tenants
        (other than Affiliates of Borrower) who are entitled to return of such security deposits under
        their respective Leases (provided such Leases comply with the provisions of this
        Agreement).

                           Payments into Collection Account.

                         (a) Following the occurrence of an Event of Default, all cash, checks,
         drafts, credit card receivables and other instruments for the payment of Rents shall be
         deposited into the Collection Account.

                         (b) Following the occurrence of an Event of Default, Borrower shall, and
         shall cause Property Manager to, deposit all revenue derived from the Property and
         received by Borrower or Property Manager, as the case may be, into the Collection Account
         on a daily basis. Following the occurrence of an Event of Default, Borrower shall instruct
         Property Manager to immediately deposit on a daily basis (A) all revenue derived from the
         Property collected by Property Manager pursuant to the Property Management Agreement
         (or otherwise) into the Collection Account and (B) all funds otherwise payable to Borrower
         by Property Manager pursuant to the Property Management Agreement (or otherwise in
         connection with the Property) into the Collection Account.

                         (c) Upon the occurrence of an Event of Default, at Lender’s request,
         Borrower shall cause a notice substantially in the form of Exhibit I attached hereto (a
         “Tenant Notice Letter”), to be delivered to each Tenant under an existing Lease, notifying
         such Tenant to send directly to the Bank promptly when due all payments, whether in the
         form of checks, cash, drafts, money orders or any other type of payment whatsoever of rent
         or any other item payable to Borrower as landlord or otherwise or payable to Property
         Manager on behalf of Borrower. Copies of such Tenant Notice Letters, together with
         evidence of mailing, shall be delivered by Borrower to Lender or its designee
         simultaneously therewith. If Borrower shall enter into any Future Lease after the
         occurrence of an Event of Default, Borrower shall immediately cause a Tenant Notice
         Letter to be delivered to the Tenant thereunder and shall deliver a copy of such Tenant
         Notice Letter, together with evidence of mailing, to Lender or its designee within ten (10)
         days after the effective date of such Future Lease.

                         (d) Borrower hereby agrees that if any amounts which are required to be
         deposited in the Collection Account are received by Borrower, Property Manager or any
         of their respective Affiliates, such amounts shall be deposited in the Collection Account

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         within two (2) Business Days of receipt thereof, or after the occurrence of an Event of
         Default immediately. Until so deposited, any such amounts held by Borrower or Property
         Manager or any of their respective Affiliates shall be deemed to be Account Collateral and
         shall be held in trust by it for the benefit, and as the property, of Lender and shall not be
         commingled with any other funds or property of Borrower or Property Manager or any of
         their respective Affiliates.

                        Disbursements from Collection Account. Bank shall, without verification
        from Borrower or any other party, transfer, on each Business Day, all collected and available
        funds as determined by Bank's then current funds availability schedule received in the
        Collection Account to an account established by Lender (the “Central Account”) with a
        bank selected by Lender. Lender (or Lender’s servicer) alone shall have the power of
        withdrawal from, and sole dominion and control over, the Central Account. Borrower
        acknowledges that it shall not have any right of withdrawal with respect to the Central
        Account or the amounts at any time appearing to the credit of the Central Account. Funds
        on deposit in the Central Account shall be disbursed by Lender in accordance with Sections
        12.05

                        Disbursements from Central Account. Upon the occurrence of an Event of
        Default, without additional notice from Lender to Borrower, Lender may, in addition to and
        not in limitation of Lender's other rights, apply all funds in the Central Account as Lender
        shall determine in its sole and absolute discretion to pay the Debt and/or operating expenses
        and/or capital expenditures for the Property as Lender may reasonably determine is
        necessary to perfect or protect any security interest granted or purported to be granted
        hereby or to enable Lender to exercise and enforce Lender's rights and remedies hereunder
        with respect to any Account Collateral or to preserve the value of the Account Collateral.

                           Security Interest.

                         (a) To secure the full and punctual payment and performance of the Debt,
         Borrower hereby collaterally assigns, grants a security interest in and pledges to Lender, to
         the extent not prohibited by applicable Law, a first priority continuing security interest in
         and to the Account Collateral, whether now owned or existing or hereafter acquired or
         arising and regardless of where located. In addition to the rights and remedies herein set
         forth, Lender shall have all of the rights and remedies with respect to the Account Collateral
         available to a secured party at law or in equity, including, without limitation, the rights of
         a secured party under the UCC, as if such rights and remedies were fully set forth herein.
         This Agreement shall constitute a security agreement for purposes of the UCC and other
         applicable Law.

                        (b) This Agreement shall create a continuing security interest in the
         Account Collateral and shall remain in full force and effect until payment in full of the
         Debt. Upon payment in full of the Debt, this security interest shall automatically terminate
         without further notice from any party and Borrower shall be entitled to the return, upon its
         request, of such of the Account Collateral as shall not have been sold or otherwise applied
         pursuant to the terms hereof and Lender shall execute such instruments and documents as



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         may be reasonably requested by Borrower to evidence such termination and the release of
         the Account Collateral.

                         (c) Beyond the exercise of reasonable care in the custody thereof, Lender
         shall have no duty as to any Account Collateral in its possession or control as agent therefor
         or bailee thereof or any income thereon or the preservation of rights against any person or
         otherwise with respect thereto. Lender shall be deemed to have exercised reasonable care
         in the custody and preservation of the Account Collateral in its possession if the Account
         Collateral is accorded treatment substantially equal to that which Lender accords its own
         property, it being understood that Lender shall not be liable or responsible for any loss or
         damage to any of the Account Collateral, or for any diminution in value thereof, by reason
         of the act or omission of Lender, its Affiliates, agents, employees or bailees, except to the
         extent that such loss or damage results from Lender's gross negligence or willful
         misconduct. In no event shall Lender be liable either directly or indirectly for losses or
         delays resulting from any event which may be the basis of Force Majeure, computer
         malfunctions, interruption of communication facilities, labor difficulties or other causes
         beyond Lender's reasonable control or for indirect, special or consequential damages.
         Notwithstanding the foregoing, Borrower acknowledges and agrees that (i) Lender does
         not have custody of the Account Collateral, (ii) Bank has custody of the Account Collateral,
         (iii) the Bank was chosen by Borrower and (iv) Lender has no obligation or duty to
         supervise the Bank or to see to the safe custody of the Account Collateral.

                         (d) Lender shall be responsible for the performance only of such duties with
         respect to the Account Collateral as are specifically set forth in this Article and no other
         duty shall be implied from any provision hereof. Lender shall not be under any obligation
         or duty to perform any act with respect to the Account Collateral which would cause it to
         incur any expense or liability or to institute or defend any suit in respect hereof, or to
         advance any of its own monies. Borrower shall indemnify and hold Lender, its employees
         and officers harmless from and against any loss, cost or damage (including, without
         limitation, reasonable attorneys' fees and disbursements) incurred by Lender in connection
         with the transactions contemplated hereby with respect to the Account Collateral except as
         such may be caused by the gross negligence or willful misconduct of Lender, its
         employees, officers or agents.

                        (e) Lender shall be protected in acting upon any written notice, resolution,
         request, consent, order, certificate, report, opinion, bond or other paper, document or
         signature believed by it in good faith to be genuine, and, in so acting, it may be assumed
         that any person purporting to give any of the foregoing in connection with the provisions
         hereof has been duly authorized to do so. Lender may consult with counsel, and the opinion
         of such counsel shall be full and complete authorization and protection in respect of any
         action taken or suffered by it hereunder and in good faith in accordance therewith.

                        (f) Borrower hereby irrevocably constitutes and appoints Lender as
         Borrower's true and lawful attorney-in-fact, with full power of substitution, to execute,
         acknowledge and deliver any instruments and to exercise and enforce every right, power,
         remedy, option and privilege of Borrower with respect to the Account Collateral, and do
         in the name, place and stead of Borrower, all such acts, things and deeds for and on behalf

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         of and in the name of Borrower, which Borrower could or might do or which Lender may
         deem necessary or desirable to more fully vest in Lender the rights and remedies provided
         for herein and to accomplish the purposes of this Agreement. The foregoing powers of
         attorney are irrevocable and coupled with an interest.

                         (g) Borrower hereby expressly waives, to the fullest extent permitted by
         Law, presentment, demand, protest or any notice of any kind in connection with this
         Agreement or the Account Collateral. Borrower acknowledges and agrees that ten (10)
         Business Days' prior written notice of the time and place of any public sale of the Account
         Collateral or any other intended disposition thereof shall be reasonable and sufficient notice
         to Borrower within the meaning of the UCC.

                      (h) Borrower agrees that it will not (i) sell or otherwise dispose of any of
         the Account Collateral or (ii) create or permit to exist any Lien upon or with respect to all
         or any of the Account Collateral, except for the Lien granted to Lender, under this
         Agreement.

                                             ARTICLE 13
                                           MISCELLANEOUS

                        Further Assurances. Borrower shall, without expense to Lender, execute,
        authorize, acknowledge and deliver all further acts, deeds, conveyances, mortgages, deeds
        of trust, assignments, security agreements, and financing statements as Lender shall from
        time to time reasonably require, to (1) assure, convey, assign, transfer and confirm unto
        Lender the Property and rights conveyed or assigned by this Agreement or which Borrower
        may become bound to convey or assign to Lender, or for carrying out the intention or
        facilitating the performance of the terms of this Agreement or any of the other Loan
        Documents, or for filing, refiling, registering, reregistering, recording or rerecording the
        Mortgage or (2) make such technical, administrative or operational changes (including
        changes to the Rate Adjustment Date and Interest Period, timing and frequency of
        determining rates and making payments of interest and other administrative matters) that
        Lender decides may be appropriate to reflect the adoption of a Benchmark Replacement in
        a manner as Lender determines is reasonably necessary to implement such Benchmark
        Replacement. If Borrower fails to comply with the terms of this Section, Lender may, at
        Borrower’s expense, perform Borrower’s obligations for and in the name of Borrower, and
        Borrower hereby irrevocably appoints Lender as its attorney in fact to do so. The
        appointment of Lender as attorney-in-fact is coupled with an interest. Borrower consents
        to the entry of a mandatory injunction without Lender needing to post a bond, as Lender
        deems necessary to enforce Lender’s rights hereunder.

                           Participation and Sale of Loan.

                          (a) Lender may (at no cost to Borrower except as set forth in Sections
         13.02(c) through (e)) sell, transfer or assign its entire interest or one or more participation
         interests in the Debt and the Loan Documents, at any time and from time to time, including,
         without limitation, its rights and obligations as servicer of the Debt, and may issue
         mortgage pass-through certificates or other securities evidencing a beneficial interest in the


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         Debt in a rated or unrated public offering or private placement, including depositing the
         Loan Documents with a trust that may issue securities (the “Securities”). Lender may
         forward to each purchaser, transferee, assignee, servicer, participant, investor in such
         Securities (collectively, the “Investor”), any prospective Investor or any Rating Agency
         rating or assigning value to such Securities, all documents and information which Lender
         now has or may hereafter acquire relating to the Debt, Borrower, Guarantor and the
         Property, whether furnished by Borrower or otherwise, as Lender determines necessary or
         desirable.

                         (b) Borrower acknowledges that Lender may release or disclose to
         potential purchasers or transferees of the Debt, or potential participants in the Debt,
         originals or copies of the Loan Documents, title information, engineering reports, financial
         statements, operating statements, appraisals, leases, rent rolls, and all other materials,
         documents and information in Lender’s possession or which Lender is entitled to receive
         under the Loan Documents, with respect to the Debt, Borrower, Guarantor or the Property;
         provided that with respect to any third party purchaser only, Lender has entered into a
         confidentiality agreement with such third party purchaser and with respect to any other
         potential purchasers or transferees or participants, Lender shall use its best efforts to inform
         such parties of the confidential nature of the financial information being provided to such
         parties in connection with such contemplated transaction.

                         (c) Borrower covenants and agrees that in the event the Loan is to be
         included as an asset of a Securitization, Borrower shall (x) at no material out-of-pocket
         cost or expense to Borrower, gather any information reasonably required by the Rating
         Agencies in connection with such a Securitization, (y) at Lender’s request, meet with
         representatives of the Rating Agencies to discuss the business and operations of the
         Property, and (z) cooperate with the reasonable requests of each Rating Agency and Lender
         in connection with all of the foregoing as well as in connection with all other matters
         relating to the Loan, Borrower, Guarantor and/or the Property and the preparation of any
         offering documents with respect thereto, including, without limitation, entering into any
         amendments or modifications to this Agreement or to any other Loan Document which
         may be requested by Lender to conform to Rating Agency or market standards for a
         Securitization provided that no such modification shall modify (i) the interest rate payable
         under the Note, (ii) the Maturity Date, (iii) the amortization of principal under the Note,
         (iv) any other material economic term of the Loan, (v) any provision, the effect of which
         would materially increase Borrower’s obligations or materially decrease Borrower’s rights
         under the Loan Documents (including, without limitation, Section 13.26 hereof) or (vi)
         impose any additional fees on Borrower. Borrower acknowledges that the information
         provided by Borrower to Lender may be incorporated into the offering documents for a
         Securitization. Lender and each Rating Agency shall be entitled to rely on the information
         supplied by Borrower, Guarantor or any of their respective Affiliates or their respective
         representatives and Borrower indemnifies and holds harmless Lender and each Rating
         Agency, their Affiliates and each Person who controls such Persons within the meaning of
         Section 15 of the Securities Act of 1933, as the same may be amended from time to time,
         or Section 20 of the Securities Exchange Act of 1934, as the same may be amended from
         time to time, for, from and against any claims, demands, penalties, fines, liabilities,
         settlements, damages, costs and expenses of whatever kind or nature, known or unknown,

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         contingent or otherwise (but excluding consequential damages of Lender), whether
         incurred or imposed within or outside the judicial process, including, without limitation,
         reasonable attorneys’ fees and disbursements that arise out of or are based upon any untrue
         statement of any material fact contained in such information or arise out of or are based
         upon the omission to state therein a material fact required to be stated in such information
         or necessary in order to make the statements in such information, or in light of the
         circumstances under which they were made, not misleading.

                       (d) In the event the Loan is included as an asset of a Securitization by
         Lender or any of its Affiliates, Borrower shall, at Lender’s sole cost and expense, within
         fourteen (14) Business Days after Lender’s written request therefor, deliver opinions in
         form and substance reasonably acceptable to Lender and the Rating Agencies and delivered
         by counsel, as may be reasonably required by Lender and/or the Rating Agency in
         connection with such Securitization. Borrower’s failure to deliver the opinions required
         hereby within such fourteen (14) Business Day period shall constitute an “Event of
         Default” hereunder.

                         (e) Borrower covenants and agrees that, upon Lender’s written request
         therefor in connection with a Securitization, Borrower shall, at Lender’s sole cost and
         expense, promptly deliver audited financial statements and related documentation prepared
         by an independent certified public accountant that satisfy securities Laws and requirements
         for use in a public registration statement (which may include up to three (3) years of
         historical audited financial statements).

                         (f) Lender, without in any way limiting Lender’s other rights hereunder, in
         its sole and absolute discretion, shall have the right at any time, at Lender’s sole cost and
         expense, to require Borrower to restructure the Loan into additional multiple notes (which
         may include component notes and/or senior and junior notes), to re-allocate principal
         among component notes and/or senior and junior notes and/or to create participation
         interests in the Loan; provided that (i) the total principal amounts of the Loan (including
         any component notes) shall equal the total principal amount of the Loan immediately prior
         to the restructuring, (ii) except in the case of the occurrence of an Event of Default or a
         default beyond all notice and cure periods, the weighted average interest rate of the
         component notes shall, in the aggregate, equal to the Applicable Interest Rate, (iii) except
         in the case of the occurrence of an Event of Default and/or a default beyond all notice and
         cure periods, the aggregate debt service payments on the component notes shall equal the
         aggregate debt service payments which would have been payable under the Loan had the
         restructuring not occurred, (iv) the stated maturity of the component notes shall be the same
         as the Note, (v) the amortization of principal under the component notes shall be the same
         as the Note, (vi) all other material economic term of the Loan shall remain the same as set
         forth in the Loan Documents, and (vii) no provision, the effect of which would materially
         increase Borrower’s obligations or materially decrease Borrower’s rights under the Loan
         Documents, shall be required.

                       Replacement of Note. Upon notice to Borrower of the loss, theft, destruction
        or mutilation of the Note, Borrower will, at no cost or expense to Borrower (other than de
        mininis costs or expenses) execute and deliver, in lieu of the original Note, a replacement

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        note, identical in form and substance to such Note and dated as of the Execution Date. Upon
        the execution and delivery of the replacement note, all references in any of the Loan
        Documents to the original Note shall refer to the replacement note.

                        Contest of Certain Claims. Notwithstanding the provisions of Section 4.06
        and Section 4.09, Borrower shall not be in default for failure to pay or discharge Impositions
        or mechanic’s or materialman’s lien asserted against the Property or for failure to comply
        with any Legal Requirement if, and so long as, (a) Borrower shall have notified Lender of
        same within ten (10) Business Days of obtaining actual knowledge thereof, (b) Borrower
        shall diligently and in good faith contest the same by appropriate legal proceedings which
        shall operate to prevent the enforcement or collection of the same and the sale of the
        Property or any part thereof, to satisfy the same, (c) unless funds are otherwise reserved,
        Borrower shall, upon five (5) Business Days’ notice, furnish to Lender a cash deposit, or an
        indemnity bond reasonably satisfactory to Lender with a surety reasonably satisfactory to
        Lender, in the amount of the Impositions or mechanic’s or materialman’s lien claim or
        penalties or fines relating to the failure to comply with any Legal Requirement, plus a
        reasonable additional sum to pay all costs, interest and penalties that may be imposed or
        incurred in connection therewith, to assure payment of the matters under contest and to
        prevent any sale or forfeiture of the Property or any part thereof, (d) Borrower shall timely
        upon final determination thereof pay the amount of any such Imposition, claim, fine or
        penalty so determined, together with all costs, interest and penalties which may be payable
        in connection therewith, (e) the failure to pay the Impositions or mechanic’s or
        materialman’s lien claim does not constitute a default under any other deed of trust,
        mortgage or security interest covering or affecting any part of the Property, and (f)
        notwithstanding the foregoing, Borrower shall immediately upon request of Lender pay (and
        if Borrower shall fail so to do, Lender may, but shall not be required to, pay or cause to be
        discharged or bonded against) any such Impositions or claim notwithstanding such contest,
        if in the reasonable opinion of Lender, the Property or any part thereof or interest therein
        may be in danger of being sold, forfeited, foreclosed, terminated, canceled or lost. Lender
        may pay over any such cash deposit or part thereof to the claimant entitled thereto at any
        time when, in the reasonable judgment of Lender, the entitlement of such claimant is
        established.

                           Notices.

                         (a) All notices, demands and requests given or required to be given by,
         pursuant to, or relating to, this Agreement shall be in writing.

                        (b) All notices shall be deemed to have been properly given if hand
         delivered or if mailed by United States registered or certified mail, with return receipt
         requested, postage prepaid, or by United States Express Mail or other comparable
         overnight courier service to the parties at the addresses set forth below (or at such other
         addresses as shall be given in writing by any party to the others):

  If to Lender:
                   Arbor Realty SR, Inc.
                   333 Earle Ovington Boulevard, Suite 900

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                   Uniondale, New York 11553
                   Attention: William Connolly, Esq.

                   with a copy to:

                   McDermott Will & Emery LLP
                   2049 Century Park East, Suite 3200
                   Los Angeles, California 90067
                   Attention: Mal E. Serure, Esq.


                   If to Borrower:

                   Copper Ridge Apts LLC and Magnolia Trace Apts LLC
                   46 Main Street, Suite 339
                   Monsey, New York 10952
                   Attention: Jonathan Weiss


                   with a copy to (which shall not constitute notice):

                   Hinman, Howard & Kattell LLP
                   707 Westchester Avenue, Suite 407
                   White Plains, New York 10604
                   Attention: Nir E. Gozal, Esq.

        A notice shall be deemed to have been given: in the case of hand delivery, at the time of
delivery; in the case of registered or certified mail, when delivered or two (2) Business Days after
mailing; or in the case of overnight courier service, on the Business Day after the same was sent.
A party receiving a notice which does not comply with the technical requirements for notice under
this Section may elect to waive any deficiencies and treat the notice as having been properly given.

                        Estoppel Certificate. Within ten (10) days after a request by Lender,
        (provided that so long as no Event of Default exists, such request by Lender shall not be
        made more frequently than two (2) times in any twelve (12) month period), Borrower shall
        furnish Lender with a statement, duly acknowledged and certified, setting forth (a) the
        amount of the original principal amount of the Note and the then current unpaid principal
        amount of the Note, (b) the rate of interest of the Note, (c) the date payments of interest
        and/or principal were last paid, (d) any offsets or defenses to the payment of the Debt and,
        if any are alleged, the nature thereof, (e) that this Agreement, the Note and the other Loan
        Documents have not been modified or if modified, giving particulars of such modification,
        (f) that there has not occurred and is then continuing any Default, Event of Default or any
        event or circumstance that, with the giving of notice or the passage of time, or both, would
        constitute a Default or Event of Default hereunder, or if such Default, Event of Default,
        event or circumstance exists, the nature thereof, the period of time it has existed, and the
        action being taken to remedy such Default, Event of Default, event or circumstance, and (g)
        any other matters as Lender may reasonably request. If Borrower does not furnish an
        estoppel certificate within such ten (10) day period, Borrower appoints Lender as its

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        attorney-in-fact to execute and deliver the certificate on its behalf, which power of attorney
        shall be coupled with an interest and shall be irrevocable. Borrower hereby consents to
        Lender seeking and obtaining a mandatory injunction compelling performance of this
        Section 13.06 without the need to post a bond on account of such injunction and such
        application may be made and granted ex parte.

                        Sole Discretion of Lender. Whenever Lender exercises any right given to it
        to approve or disapprove, or any arrangement or term is to be satisfactory to Lender, the
        decision of Lender to approve or disapprove or to decide that arrangements or terms are
        satisfactory or not satisfactory, except as otherwise set forth herein, shall be in the sole
        discretion of Lender and shall be final and conclusive, except as may be otherwise
        specifically provided herein.

                       Waiver of Notice. Borrower shall not be entitled to any notices of any nature
        whatsoever from Lender except with respect to matters for which this Agreement
        specifically and expressly provides for the giving of notice by Lender to Borrower and
        except with respect to matters for which Borrower is not, pursuant to applicable Legal
        Requirements, permitted to waive the giving of notice.

                        Remedies of Borrower. In the event that a claim or adjudication is made that
        Lender has acted unreasonably or unreasonably delayed acting in any case where by Law
        or under this Agreement, the Note or the Loan Documents, it has an obligation to act
        reasonably or promptly, Lender shall not be liable for any punitive, consequential or
        incidental damages, and Borrower’s sole remedies shall be limited to commencing an action
        seeking direct damages, injunctive relief or declaratory judgment. Borrower covenants and
        agrees that in no event shall Lender be liable for consequential damages and, to the fullest
        extent permitted by Law, Borrower expressly irrevocably waives all existing and future
        claims that it may have against Lender for consequential damages.

                        Actions and Proceedings. Lender has the right (but not the obligation) to
        appear in and defend any action or proceeding brought with respect to the Property in its
        own name or, if required by Legal Requirements or, if in Lender’s reasonable judgment, it
        is necessary, in the name and on behalf of Borrower, which Lender believes will adversely
        affect the Property or the Mortgage and to bring any action or proceedings, in its name or
        in the name and on behalf of Borrower, which Lender, in its discretion, decides should be
        brought to protect its interest in the Property.

                        Subrogation. Lender shall be subrogated to the Lien of any and all
        encumbrances against the Property paid out of the proceeds of the Loan and to all of the
        rights of the recipient of such payment.

                  Applicable Law. THIS AGREEMENT WAS NEGOTIATED IN THE
        STATE OF NEW YORK, AND MADE BY LENDER AND ACCEPTED BY
        BORROWER IN THE STATE OF NEW YORK, AND THE PROCEEDS OF THE NOTE
        DELIVERED PURSUANT HERETO WERE DISBURSED FROM THE STATE OF NEW
        YORK, WHICH STATE THE PARTIES AGREE HAS A SUBSTANTIAL
        RELATIONSHIP TO THE PARTIES AND TO THE UNDERLYING TRANSACTION


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        EMBODIED HEREBY, AND IN ALL RESPECTS, INCLUDING, WITHOUT LIMITING
        THE GENERALITY OF THE FOREGOING, MATTERS OF CONSTRUCTION,
        VALIDITY AND PERFORMANCE, THIS AGREEMENT AND THE OBLIGATIONS
        ARISING HEREUNDER SHALL BE GOVERNED BY, AND CONSTRUED IN
        ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK APPLICABLE
        TO CONTRACTS MADE AND PERFORMED IN SUCH STATE (WITHOUT REGARD
        TO PRINCIPLES OF CONFLICT OF LAWS) AND ANY APPLICABLE LAW OF THE
        UNITED STATES OF AMERICA. TO THE FULLEST EXTENT PERMITTED BY
        LAW, BORROWER HEREBY UNCONDITIONALLY AND IRREVOCABLY WAIVES
        ANY CLAIM TO ASSERT THAT THE LAW OF ANY OTHER JURISDICTION
        GOVERNS THIS AGREEMENT AND THE NOTE, AND THIS AGREEMENT AND
        THE NOTE SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE
        WITH THE LAWS OF THE STATE OF NEW YORK PURSUANT TO SECTION 5-1401
        OF THE NEW YORK GENERAL OBLIGATIONS LAW.

                   Waiver of Counterclaim and Trial By Jury. BORROWER HEREBY
        KNOWINGLY, VOLUNTARILY AND INTENTIONALLY WAIVES THE RIGHT TO
        ASSERT A COUNTERCLAIM, OTHER THAN A COMPULSORY COUNTERCLAIM,
        IN ANY ACTION OR PROCEEDING BROUGHT AGAINST IT BY LENDER OR ITS
        AGENTS, AND KNOWINGLY, VOLUNTARILY AND INTENTIONALLY WAIVES
        ANY RIGHT TO TRIAL BY JURY IN RESPECT OF ANY ACTION OR PROCEEDING
        BASED ON, OR ARISING OUT OF, UNDER, OR IN CONNECTION WITH, THIS
        AGREEMENT, THE NOTE OR ANY OTHER LOAN DOCUMENT, OR ANY COURSE
        OF CONDUCT, COURSE OF DEALING, STATEMENTS (WHETHER VERBAL OR
        WRITTEN), OR ACTIONS OF BORROWER, GUARANTOR OR LENDER RELATING
        TO THE DEBT AND THE LENDING RELATIONSHIP WHICH IS THE SUBJECT OF
        THIS AGREEMENT. BORROWER’S AGREEMENT TO THE PROVISIONS OF THIS
        SECTION IS A MATERIAL INDUCEMENT FOR LENDER MAKING THE LOAN.
        LENDER IS HEREBY AUTHORIZED TO FILE A COPY OF THIS PARAGRAPH IN
        ANY PROCEEDING AS CONCLUSIVE EVIDENCE OF THESE WAIVERS BY
        BORROWER.

                    Consent to Jurisdiction. ANY LEGAL SUIT, ACTION OR PROCEEDING
        AGAINST LENDER OR BORROWER ARISING OUT OF OR RELATING TO THIS
        AGREEMENT MAY AT LENDER’S OPTION BE INSTITUTED IN ANY FEDERAL
        OR STATE COURT IN NASSAU COUNTY, NEW YORK, PURSUANT TO SECTION
        5-1402 OF THE NEW YORK GENERAL OBLIGATIONS LAW, AND BORROWER
        WAIVES ANY OBJECTIONS WHICH IT MAY NOW OR HEREAFTER HAVE BASED
        ON VENUE AND/OR FORUM NON CONVENIENS OF ANY SUCH SUIT, ACTION
        OR PROCEEDING, AND BORROWER HEREBY IRREVOCABLY SUBMITS TO THE
        EXCLUSIVE JURISDICTION OF ANY SUCH COURT IN ANY SUIT, ACTION OR
        PROCEEDING. BORROWER AGREES THAT SERVICE OF PROCESS UPON
        BORROWER AT THE ADDRESS FOR BORROWER SET FORTH HEREIN AND
        WRITTEN NOTICE OF SAID SERVICE MAILED OR DELIVERED TO BORROWER
        IN THE MANNER PROVIDED HEREIN SHALL BE DEEMED IN EVERY RESPECT
        EFFECTIVE SERVICE OF PROCESS UPON BORROWER IN ANY SUCH SUIT,
        ACTION OR PROCEEDING IN THE STATE OF NEW YORK. BORROWER (I)

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        SHALL GIVE PROMPT NOTICE TO LENDER OF ANY CHANGE IN THE ADDRESS
        FOR BORROWER SET FORTH HEREIN, (II) MAY AT ANY TIME AND FROM TIME
        TO TIME DESIGNATE AN AUTHORIZED AGENT WITH AN OFFICE IN NEW
        YORK, NEW YORK (WHICH AGENT AND OFFICE SHALL BE DESIGNATED AS
        THE PERSON AND ADDRESS FOR SERVICE OF PROCESS), AND (III) SHALL
        PROMPTLY DESIGNATE AN AUTHORIZED AGENT IF BORROWER CEASES TO
        HAVE AN OFFICE IN NEW YORK, NEW YORK. NOTHING CONTAINED HEREIN
        SHALL AFFECT THE RIGHT OF LENDER TO SERVE PROCESS IN ANY OTHER
        MANNER PERMITTED BY LAW OR TO COMMENCE LEGAL PROCEEDINGS OR
        OTHERWISE PROCEED AGAINST BORROWER IN ANY OTHER JURISDICTION.

                        Successors and Assigns. The Loan is made subject to the terms and
        conditions of this Agreement and the other Loan Documents, and Lender’s business policies
        and procedures. This Agreement applies to Lender and Borrower, and their successors and
        assigns. Borrower is not permitted to assign any of its duties or obligations under this
        Agreement or any other Loan Document.

                       Severability. If any provision of this Agreement should be held
        unenforceable or void, then that provision shall be separated from the remaining provisions
        and shall not affect the validity of this Agreement except that if the unenforceable or void
        provision relates to the payment of any monetary sum, then, Lender may, at its option,
        declare the Debt immediately due and payable.

                       Captions. The captions are inserted only as a matter of convenience and for
        reference, and are not intended to define, limit, or describe the scope or intent of any
        provisions of this Agreement.

                  Time of the Essence. TIME SHALL BE OF THE ESSENCE WITH
        RESPECT TO ALL OF BORROWER’S OBLIGATIONS UNDER THIS AGREEMENT
        AND THE OTHER LOAN DOCUMENTS.

                       No Oral Change. This Agreement, and any provisions hereof, may not be
        modified, amended, waived, extended, changed, discharged or terminated orally or by any
        act on the part of Borrower or Lender, but only by an agreement in writing signed by all
        parties.

                       Entire Agreement. This Agreement and the other Loan Documents
        constitute the entire agreement between Borrower, Lender and Guarantor with respect to
        the subject matter hereof and all understandings, oral representations and agreements
        heretofore or simultaneously had among the parties are merged in, and are contained in,
        such documents and instruments. Borrower and Guarantor acknowledge and agree that they
        are not relying on any representations, statements or information received from Lender in
        connection with the execution of this Agreement and the making of the Loan, and that
        Borrower and Guarantor were represented by counsel, they are sophisticated parties that
        engaged in an arms-length negotiation with Lender and entered into this Agreement freely
        and voluntarily without any fraud or duress imposed by any party, including Lender or its
        principals.


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                        Fees and Expenses. If Lender becomes a party (by intervention or otherwise)
        to any action or proceeding affecting, directly or indirectly, Borrower, the Property or the
        title thereto or Lender’s interest under this Agreement or the other Loan Documents, or
        employs an attorney to collect any of the Debt or to enforce performance of the obligations,
        covenants and agreements of the Loan Documents, Borrower shall reimburse Lender for all
        expenses, costs, charges and legal fees actually incurred by Lender (including, without
        limitation, the fees and expenses of experts and consultants), whether or not suit is
        commenced, within ten (10) days after demand therefor, together with interest at the
        Applicable Interest Rate from the date incurred until paid by Borrower. In addition, upon
        the repayment in full of all obligations under the Loan Documents, Borrower agrees to pay
        all fees and expenses, including filing, recording and legal fees actually incurred in
        connection with the termination or satisfaction of any and all filings or recordings.

                         Waiver of Bankruptcy Stay. Borrower agrees that, in the event that Borrower
        shall (i) file with any bankruptcy court of competent jurisdiction or be the subject of any
        petition under Title 11 of the Bankruptcy Code, (ii) file any petition seeking any
        reorganization, arrangement, composition, readjustment, liquidation, dissolution, or similar
        relief under any present or future federal or state act or Law relating to bankruptcy or
        insolvency, or (iii) have sought or consented to or acquiesced in the appointment of any
        trustee, receiver, conservator, or liquidator, Lender shall thereupon be entitled and Borrower
        irrevocably consents to immediate and unconditional relief from any automatic stay
        imposed by Section 362 of the Bankruptcy Code, or otherwise, on or against the exercise of
        the rights and remedies otherwise available to Lender as provided for herein, in the Note,
        other Loan Documents delivered in connection herewith and as otherwise provided by Law,
        and Borrower irrevocably waives any right to object to such relief and will not contest any
        motion by Lender seeking relief from the automatic stay and Borrower will cooperate with
        Lender, in any manner requested by Lender, in its efforts to obtain relief from any such stay
        or other prohibition.

                        No Joint Venture; No Third Party Beneficiaries. Borrower and Lender
        intend that the relationships created hereunder and under each of the other Loan Documents
        are solely those of borrower and lender. Nothing herein or in any of the other Loan
        Documents is intended to create, nor shall it be construed as creating anything but a debtor-
        creditor relationship between Borrower, on the one hand, and Lender, on the other hand,
        nor shall they be deemed to confer on anyone other than Lender, and its successors and
        assigns, any right to insist upon or to enforce the performance or observance of any of the
        obligations contained herein or therein.

                       Joint and Several Obligations. If “Borrower” consists of more than one (1)
        party, each Borrower jointly and severally agrees to pay, and shall be jointly and severally
        liable under this Agreement for, all Obligations, regardless of the manner or amount in
        which proceeds of the Loan are used, allocated, shared or disbursed by or among each
        Borrower.

                        Duplicate Originals; Counterparts. This Agreement and each of the other
        Loan Documents may be executed in any number of duplicate originals, and each duplicate
        original shall be deemed to be an original. This Agreement and each of the other Loan

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        Documents (and each duplicate original) also may be executed in any number of
        counterparts, each of which shall be deemed an original and all of which together constitute
        a fully executed agreement even though all signatures do not appear on the same document.

                           Exculpation.

                         (a) Notwithstanding anything to the contrary contained in this Agreement
         or in any of the other Loan Documents, except as specifically provided in Sections 13.26(c)
         and 13.26(d) below or otherwise in this Section 13.26, or in any of the Guaranties,
         Borrower, Guarantor, any direct or indirect member, shareholder, partner, principal,
         Affiliate, employee, officer, director, agent or representative of Borrower or Guarantor
         (each, a “Related Party”) shall not have any personal liability for (i) the payment of any
         sum of money which is or may be payable under this Agreement, the Note, or any other
         Loan Document, including, but not limited to, the repayment of the Debt, or (ii) the
         performance or discharge of any covenants, obligations or undertakings of Borrower
         hereunder or under any Loan Document and no monetary or deficiency judgment shall be
         sought or enforced against Borrower or any Related Party with respect thereto; provided,
         however, a judgment may be sought against Borrower or any Related Party to enforce the
         rights of Lender in, to, or against the Property, including the Rents, and all other collateral
         granted as security under any Loan Document and Lender shall have full recourse to and
         the right to proceed against the Property and such other collateral.

                          (b) Notwithstanding the foregoing, nothing contained herein shall
         (i) impair the validity of the Debt or in any way affect or impair the Lien of the Mortgage,
         or the right of Lender to enforce any and all rights and remedies under and by virtue of this
         Agreement, the Mortgage or any other Loan Document (limited, however, as expressly
         provided otherwise above), including, without limitation, naming Borrower as a party
         defendant in any foreclosure action, (ii) limit Lender from pursuing or seeking to enforce
         the rights of Lender against any third parties, including Guarantor and any other guarantor,
         indemnitor or surety under any guaranty or indemnity delivered in connection with the
         Note or otherwise in connection with the Loan, or (iii) constitute a waiver, release or
         impairment of any Obligation, (iv) impair the right of Lender to obtain the appointment of
         a receiver, or (v) constitute a prohibition against Lender to seek a deficiency judgment
         against Borrower in order to fully realize the security granted by the Mortgage or to
         commence any other appropriate action or proceeding in order for Lender to exercise its
         remedies against the Property.

                         (c) Additionally, the provisions of this Section 13.26 shall not relieve
         Borrower or Guarantor from any personal liability for, and Borrower (as well as Guarantor,
         to the extent provided in the Guaranties) shall be fully and personally liable for, any and
         all losses (including, without limitation, (i) loss of principal, interest and fees under any
         and all Loan Documents, and (ii) any reduction in value of the Property, or any other
         collateral securing the Loan, or the loss of any such collateral or Lender’s security interest
         therein), costs and expenses incurred by Lender (or any Indemnified Party) in respect of or
         as a result of any or all claims, suits, liabilities (including strict liabilities), actions,
         demands, proceedings, obligations, debts, damages (including punitive and consequential
         damages), trials, fines, penalties, charges, injury to a person, property or natural resource,

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         fees, judgments, accounts, orders, adjudications, awards, Liens, injunctive relief, causes of
         action or amounts paid in settlement of whatever kind or nature, including reasonable
         attorneys’ fees and consultants’ fees and disbursements and other cost of defense or
         otherwise related thereto (collectively, “Losses”) by reason of or in connection with (i) any
         willful misconduct, breach of trust, or failure to disclose a material fact by or on behalf of
         Borrower, Guarantor or any Related Party in connection with the making of the Loan or
         execution and delivery of any of the Loan Documents, including, by reason of any claim
         under the United States Racketeer Influenced and Corrupt Organizations Act (“RICO”),
         (ii) the misapplication, misappropriation or conversion by or on behalf of Borrower,
         Guarantor or any Related Party of (a) any Casualty Insurance Proceeds with respect to the
         Property, (b) any Condemnation Proceeds with respect to the Property, (c) any Rents and
         security deposits, (d) any Rents paid more than one (1) month in advance, or (e) any other
         funds due to Lender under the Loan Documents, (iii) following the occurrence of an Event
         of Default, the failure of Borrower or any Related Party or Guarantor to direct or pay Rents
         received by Borrower or such Related Party or Guarantor to the Collection Account or the
         Security Deposit Account in accordance with this Agreement, (iv) the misapplication,
         misappropriation or conversion by or on behalf of Borrower, Guarantor or any Related
         Party of monies held in or paid out from any account (including any reserve or escrow)
         maintained under the Loan Documents, (v) any and all Tenant security deposits held by
         Borrower not being properly applied, returned to Tenants when due or delivered to Lender,
         any receiver or any Person purchasing the Property at a foreclosure sale upon the taking of
         possession of the Property by Lender, such receiver or other Person as required under the
         Loan Documents, (vi) the wrongful removal, disposal or destruction of any property
         constituting the Property or any damage to the Property caused by the willful misconduct
         or gross negligence of Borrower, Guarantor or any Related Party or any intentional waste
         of the Property by Borrower, Guarantor or any Related Party, (vii) any legal requirement
         (including RICO) mandating the forfeiture by Borrower of the Property, or any portion
         thereof, because of the conduct or purported conduct of criminal activity by Borrower,
         Guarantor or any Related Party in connection therewith, (viii) any material
         misrepresentation, miscertification, omission or breach of warranty by Borrower or
         Guarantor or any Related Party with respect to any representation, warranty or certification
         contained in any Loan Document to which such Borrower, Guarantor or Related Party is a
         party or in any other document, certificate or report provided under, pursuant to or in
         connection therewith, or otherwise to induce Lender to make the Loan, or any advance
         thereof, or to release monies from any account held by Lender (including any reserve or
         escrow) or to take other action with respect to collateral for the Loan, (ix) (a) any damage
         or destruction of the Property or any part thereof due to fire or other casualty to the extent
         (i) the cost to complete the Restoration (as such amount is determined by Lender’s Casualty
         Consultant) exceeds the amount of the available Casualty Insurance Proceeds and/or (ii)
         not covered by insurance but only to the extent the same would have been covered by
         insurance if Borrower had obtained and maintained the Required Insurance coverage
         required hereunder or (b) Borrower’s failure to obtain and maintain the Required Insurance,
         (x) the enforcement of any of Lender’s rights or remedies hereunder or under each and
         every Loan Document or in any bankruptcy or similar proceeding which may be brought
         by or against Borrower, Guarantor or any Controlling Party, (xi) the placement of any
         involuntary Lien on the Property, (xii) the failure to pay any Impositions or any real


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         property transfer taxes, provided that Borrower shall have no liability under this subsection
         if such failure resulted from there being insufficient Gross Income from Operations to pay
         such Impositions, (xiii) gross negligence, willful misconduct or criminal acts by Borrower,
         Guarantor or any Related Party, (xiv) intentionally omitted, (xv) the breach of any
         representation, warranty, covenant or indemnification provision concerning Environmental
         Laws or Hazardous Materials contained in Article 8 hereof, the Indemnity Agreement or
         in any other Loan Documents, (xvi) the exercise of any right or remedy under any federal,
         state or local forfeiture Laws resulting in the loss or impairment of any security interest
         granted under any Loan Document, or the priority thereof, against the assets subject to such
         security interest as a result of the acts or intentional omissions of Borrower or any Related
         Party or Guarantor, (xvii) following a Casualty or Condemnation, the inability to rebuild,
         replace or restore the Improvements in compliance with all Legal Requirements (i) to the
         same size, area, characteristics, use and density (including, without limitation, with the
         same number of units and parking spaces) that existed as of the Execution Date and (ii) in
         a manner that does not materially and adversely affect the value of the Property from the
         state it was in prior to the Casualty or Condemnation; provided, however, Borrower shall
         not be liable under this clause (xvii) if (x) the Debt is repaid in full when due pursuant to
         the terms of the Loan Documents or (y) Lender does not suffer any Losses as a result of
         any such Casualty or Condemnation and/or (xviii) a default, event of default or breach
         (however such terms may be defined in the Regulatory Agreement) occurs after the
         expiration of any applicable notice and/or cure periods under the Regulatory Agreement or
         any action is taken by the Governmental Authority or any other Person with respect to the
         Regulatory Agreement (any and all such amounts due under clauses (i) through (xviii) of
         this Section 13.26(c), collectively, the “Loss Amounts”).

                          (d) Notwithstanding anything to the contrary in this Agreement or any of
         the other Loan Documents, (i) Lender shall not be deemed to have waived any right which
         Lender may have under Sections 506(a), 506(b), 1111(b) or any other provisions of the
         Bankruptcy Code to file a claim for the full amount of the Debt or to require that all
         collateral shall continue to secure all of the Debt in accordance with the Loan Documents,
         and (ii) Borrower and Guarantor shall be liable for the full amount of the Debt in the event
         that (A) the first full monthly payment of interest on the Note is not paid when due, subject
         to applicable grace periods, (B) (i) Borrower fails to obtain Lender’s prior written consent
         to any subordinate financing encumbering the Property or any mezzanine or preferred
         equity financing encumbering the equity interests of direct or indirect owners of Borrower
         and/or Borrower incurs any indebtedness or obligations in violation of the terms of the
         Loan Documents; or (ii) the placement of any voluntary Lien on the Property, (C) a breach
         of any of the terms and covenants contained in Section 4.08 hereof, provided there shall be
         no liability under this clause (C) in the event of any such breach caused solely by
         Borrower’s failure to deliver a notice of Transfer within the time periods set forth in Section
         4.08 hereof, (D) any failure to comply with, or a breach of any of the provisions of, Sections
         4.02(e), 4.05(t), 4.22(b)(x) or 10.02(a)(xv) hereof, and with respect to Section 4.02(e) only,
         such breach or failure to maintain Borrower’s or Controlling Party’s status as a Single
         Purpose Entity is cited as a material factor for the substantive consolidation of Borrower
         or Controlling Party (or their assets) with any other Person, (E) Borrower, Guarantor or
         any Controlling Party commences, or consents to, joins in or otherwise acquiesces in (i) a
         voluntary case or proceeding under the Bankruptcy Code or any Bankruptcy Law, (ii) any

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         other case or proceeding to adjudicate Borrower, Guarantor or any Controlling Party a
         bankrupt Person or an insolvent Person or (iii) the appointment of a custodian, receiver,
         trustee or examiner for Borrower, Guarantor, any Controlling Party or any portion of the
         Property, (F) an involuntary case or proceeding under the Bankruptcy Code or any
         Bankruptcy Law is commenced against Borrower, Guarantor or any Controlling Party, or
         any other case or proceeding seeking to adjudicate Borrower, Guarantor or any Controlling
         Party a bankrupt Person or an insolvent Person is commenced (unless, in each case, such
         case or proceeding is commenced by Lender), unless such case or proceeding is discharged,
         stayed or dismissed within sixty (60) days thereafter, (G) Borrower, Guarantor, or any
         Related Party contests, asserts a defense or interferes with Lender’s enforcement of its
         rights and remedies hereunder or under any of the other Loan Documents, (H) the Mortgage
         is deemed to be a fraudulent conveyance by a court of competent jurisdiction, (I) Borrower
         or any Controlling Party is substantively consolidated with any other Person, unless such
         consolidation was involuntary and not consented to by Borrower, Guarantor or any
         Controlling Party and is discharged, stayed or dismissed within sixty (60) days thereafter,
         (J) (i) an involuntary case or proceeding under the Bankruptcy Code or any Bankruptcy
         Law is commenced against Borrower, Guarantor or Controlling Party, or any other case or
         proceeding seeking to adjudicate Borrower, Guarantor or Controlling Party a bankrupt
         Person or an insolvent Person is commenced by any other Person in which Borrower,
         Guarantor or any Related Party colludes with or otherwise assist such Person or (ii)
         Borrower, Guarantor or any Related Party solicits or causes to be solicited petitioning
         creditors for an involuntary case or proceeding under the Bankruptcy Code or any
         Bankruptcy Law against Borrower, Guarantor or Controlling Party, or any other case or
         proceeding seeking to adjudicate Borrower, Guarantor or Controlling Party a bankrupt or
         an insolvent Person, (K) Borrower, Guarantor or Controlling Party makes an assignment
         for the benefit of creditors or admits that it is Insolvent or that it is unable to pay its debts
         as they become due, (L) Guarantor fails to pay to Lender, within thirty (30) days after
         Guarantor’s receipt of a written demand from Lender detailing the amount of and the basis
         for any payment so demanded by Lender, any such amounts due to Lender pursuant to the
         Guaranties, including, without limitation, (i) any Loss Amounts due to Lender, and (ii) any
         required Renovation Out of Balance Amount, the DM Out of Balance Amount and/or any
         Rebalance Prepayment, (M) any fraud by Borrower, Guarantor, or Related Party with
         respect to any representation, warranty, covenant or certification contained in any Loan
         Document or in any document, certificate, report, application or supporting documentation
         provided under, pursuant to or in connection therewith, or otherwise to induce Lender to
         make the Loan, or any advance thereof, to release monies from any account held by Lender
         (including any reserve or escrow), to grant consent pursuant to any Loan Document, or to
         take other action with respect to collateral for the Loan, or in connection with any ongoing
         financial or other reporting required by any of the Loan Documents, (N) Guarantor fails to
         maintain either the minimum Net Worth or minimum Liquidity as set forth in the
         Guaranties or in any other Loan Document beyond any applicable notice and/or cure period
         set forth therein, or (O) following the occurrence of an Event of Default, Borrower fails,
         within ten (10) days after written demand by Lender, to (i) establish the Collection Account
         with the Bank and commence depositing funds therein pursuant to Article 12 hereof and
         (ii) enter into the Account Agreement with Lender and the Bank, pursuant to and in
         accordance with Section 12.01 hereof.


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                         (e) Nothing contained herein is intended to limit the obligations and
         personal liability of any guarantor or any indemnitor under any indemnity agreement or
         guaranty, including, without limitation, the Guaranties, executed by Borrower, Guarantor
         or any other Person for the benefit of Lender.

                        Conflict; Construction of Documents; Reliance. In the event of any conflict
        between the provisions of this Agreement and any of the other Loan Documents, the
        provisions of this Agreement shall control. The parties hereto acknowledge that they were
        represented by competent counsel in connection with the negotiation, drafting and execution
        of the Loan Documents and that such Loan Documents shall not be subject to the principle
        of construing their meaning against the party which drafted same. Borrower acknowledges
        that, with respect to the Loan, Borrower shall rely solely on its own judgment and advisors
        in entering into the Loan, without relying in any manner on any statements, representations
        or recommendations of Lender or any parent, subsidiary or affiliate of Lender. Lender shall
        not be subject to any limitation whatsoever in the exercise of any rights or remedies
        available to it under any of the Loan Documents or any other agreements or instruments
        which govern the Loan by virtue of the ownership by it or any parent, subsidiary or affiliate
        of Lender of any equity interest any of them may acquire in Borrower, and Borrower hereby
        irrevocably waives the right to raise any defense or take any action on the basis of the
        foregoing with respect to Lender’s exercise of any such rights or remedies. Borrower
        acknowledges that Lender engages in the business of real estate financings and other real
        estate transactions and investments which may be viewed as adverse to or competitive with
        the business of Borrower or its Affiliates.

                       Set-Off. In addition to any rights and remedies of Lender provided by this
Agreement and by law, Lender shall have the right in its sole discretion, without prior notice to
Borrower, any such notice being expressly waived by Borrower to the extent permitted by
applicable law, upon any amount becoming due and payable by Borrower hereunder (whether at
the stated maturity, by acceleration or otherwise), to set-off and appropriate and apply against such
amount any and all deposits (general or special, time or demand, provisional or final), in any
currency, and any other credits, indebtedness or claims, in any currency, in each case whether
direct or indirect, absolute or contingent, matured or unmatured, at any time held or owing by
Lender or any Affiliate thereof to or for the credit or the account of Borrower; provided however,
Lender may only exercise such right during the continuance of an Event of Default. Lender agrees
promptly to notify Borrower after any such set-off and application made by Lender; provided that
the failure to give such notice shall not affect the validity of such set-off and application.

                           Multiple Borrowers.

                         (a) All references to “Borrower” in this Agreement shall be deemed to refer
         to one or more Borrowers (each, an “Individual Borrower”), as the context requires. It is
         the intent of the parties hereto in making any determination under the Loan Documents
         (including, without limitation, in determining whether (a) a breach of a representation,
         warranty or a covenant has occurred, (b) there has occurred an Event of Default, and (c) an
         event has occurred which would create recourse obligations under Section 13.26 hereof)
         that any breach, occurrence or event with respect to any Individual Borrower shall be
         deemed to be a breach, occurrence or event with respect to all Individual Borrowers, and

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         that all Individual Borrowers need not have been involved with or be the subject of such
         breach, occurrence or event in order for the same to be deemed such a breach, occurrence
         or event with respect to every Individual Borrower and the Loan.

                        (b) As a result of the transactions contemplated by this Agreement, each
         Individual Borrower will benefit, directly and indirectly, from each Individual Borrower's
         obligation to pay the Debt and perform its Obligations and in consideration therefor each
         Individual Borrower desires to enter into an allocation and contribution agreement among
         themselves as set forth in this Section 13.29 to allocate such benefits among themselves
         and to provide a fair and equitable agreement to make contributions among each of the
         Borrowers in the event any payment is made by any Individual Borrower hereunder to
         Lender (such payment being referred to herein as a "Contribution", and for purposes of
         this Section 13.29, includes any exercise of recourse by Lender against any portion of the
         Property owned by a Borrower and application of proceeds of such Property in satisfaction
         of such Borrower's obligations, to Lender under the Loan Documents).

                        (c) Each Individual Borrower shall be liable hereunder with respect to the
         Obligations only for such total maximum amount (if any) that would not render its
         Obligations hereunder or under any of the Loan Documents subject to avoidance under
         Section 548 of the Bankruptcy Code or any comparable provisions of any state law.

                        (d) In order to provide for a fair and equitable contribution among
         Borrowers in the event that any Contribution is made by an Individual Borrower (a
         "Funding Borrower"), such Funding Borrower shall be entitled to a reimbursement
         Contribution (each a "Reimbursement Contribution") from all other Borrowers for all
         payments, damages and expenses incurred by that Funding Borrower in discharging any of
         the Obligations, in the manner and to the extent set forth in this Section 13.29.

                        (e) For purposes hereof, the "Benefit Amount" of any Individual Borrower
         as of any date of determination shall be the net value of the benefits to such Individual
         Borrower and its Affiliates from extensions of credit made by Lender to such Individual
         Borrower.

                         (f) Each Individual Borrower shall be liable to a Funding Borrower in an
         amount equal to ninety-five percent (95%) of the excess of the fair saleable value of the
         portion of the Property owned by such Individual Borrower over the total liabilities of such
         Individual Borrower (including the maximum amount reasonably expected to become due
         in respect of contingent liabilities) determined as of the date on which the payment made
         by a Funding Borrower is deemed made for purposes hereof (giving effect to all payments
         made by other Funding Borrowers as of such date in a manner to maximize the amount of
         such Contributions).

                         (g) In the event that at any time there exists more than one Funding
         Borrower with respect to any Contribution (in any such case, the "Applicable
         Contribution"), then Reimbursement Contributions from other Borrowers pursuant hereto
         shall be allocated among such Funding Borrowers in proportion to the total amount of the
         Contribution made for or on account of the other Borrowers by each such Funding


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         Borrower pursuant to the Applicable Contribution. In the event that at any time any
         Individual Borrower pays an amount hereunder in excess of the amount calculated pursuant
         to this Section 13.29, that Individual Borrower shall be deemed to be a Funding Borrower
         to the extent of such excess and shall be entitled to a Reimbursement Contribution from
         the other Borrowers in accordance with the provisions of this Section.

                       (h) Each Individual Borrower acknowledges that the right to receive
         Reimbursement Contributions hereunder shall constitute an asset in favor of such
         Individual Borrower to which such Reimbursement Contribution is owing.

                        (i) No Reimbursement Contribution payments payable by an Individual
         Borrower pursuant to the terms of this Section 13.29 shall be paid until all Obligations then
         due and payable by all of Borrowers to Lender, pursuant to the terms of the Loan
         Documents, are paid in full in cash. Nothing contained in this Section 13.29 shall limit or
         affect in any way the obligations of any Individual Borrower to Lender under this Note or
         any other Loan Documents.

                            (j) Each Individual Borrower waives:

                             A. any right to require Lender to proceed against any other Individual
         Borrower or any other Person or to proceed against or exhaust any security held by Lender
         at any time or to pursue any other remedy in Lender's power before proceeding against any
         other Individual Borrower;

                           B. the defense of the statute of limitations in any action against any
         other Individual Borrower or for the collection of any indebtedness or the performance of
         any obligation under the Loan;

                             C. any defense based upon any legal disability or other defense of any
         other Individual Borrower, Guarantor of any other Person or by reason of the cessation or
         limitation of the liability of any other Individual Borrower or Guarantor from any cause
         other than full payment of all sums payable under the Note, this Agreement and any of the
         other Loan Documents;

                             D. any defense based upon any lack of authority of the officers,
         directors, partners or agents acting or purporting to act on behalf of any other Individual
         Borrower or any principal of any other Individual Borrower or any defect in the formation
         of any other Individual Borrower or any principal of any other Individual Borrower;

                            E. any defense based upon any statute or rule of law which provides
         that the obligation of a surety must be neither larger in amount nor in any other respects
         more burdensome than that of a principal;

                            F. any defense based upon any failure by Lender to obtain collateral
         for the indebtedness or failure by Lender to perfect a lien on any collateral;

                                 G. presentment, demand, protest and notice of any kind;


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                            H. any defense based upon any failure of Lender to give notice of sale
         or other disposition of any collateral to any other Individual Borrower or to any other
         Person or entity or any defect in any notice that may be given in connection with any sale
         or disposition of any collateral;

                             I. any defense based upon any failure of Lender to comply with all
         applicable Laws in connection with the sale or other disposition of any collateral, including,
         without limitation, any failure of Lender to conduct a commercially reasonable sale or other
         disposition of any collateral;

                            J. any defense based upon any election by Lender, in any bankruptcy
         proceeding, of the application or non-application of Section 1111(6)(2) of the Bankruptcy
         Code or any successor statute;

                           K. any defense based upon any use of cash collateral under Section 363
         of the Bankruptcy Code;

                           L. any defense based upon any agreement or stipulation entered into by
         Lender with respect to the provision of adequate protection in any bankruptcy proceeding;

                            M. any defense based upon any borrowing or any grant of a security
         interest under Section 364 of the Bankruptcy Code;

                           N. any defense based upon the avoidance of any security interest in
         favor of Lender for any reason;

                            O. any defense based upon any bankruptcy, insolvency, reorganization,
         arrangement, readjustment of debt, liquidation or dissolution proceeding, including any
         discharge of, or bar or stay against collecting, all or any of the obligations evidenced by
         the Note or owing under any of the Loan Documents; and

                             P. any defense or benefit based upon an Individual Borrower's, or any
         other party's, resignation of the portion of any Obligation secured by the Mortgage to be
         satisfied by any payment from any other Individual Borrower or any such party.

                            (k) Each Individual Borrower further waives:

                            A. all rights and defenses arising out of an election of remedies by
         Lender even though the election of remedies, such as nonjudicial foreclosure with respect
         to security for the Loan or any other amounts owing under the Loan Documents, has
         destroyed such Individual Borrower's rights of subrogation and reimbursement against any
         other Individual Borrower;

                           B. all rights and defenses that such Individual Borrower may have
         because any of Debt is secured by real property. This means, among other things:
         (i) Lender may collect from such Individual Borrower without first foreclosing on any real
         or personal property collateral pledged by any other Individual Borrower, (ii) if Lender
         forecloses on any real property collateral pledged by any other Individual Borrower, (a)

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         the amount of the Debt may be reduced only by the price for which that collateral is sold
         at the foreclosure sale, even if the collateral is worth more than the sale price, (b) Lender
         may collect from any Individual Borrower even if any other Individual Borrower, by
         foreclosing on the real property collateral, has destroyed any right of such Individual
         Borrower may have to collect from any other Individual Borrower. This is an
         unconditional and irrevocable waiver of any rights and defenses each Individual Borrower
         may have because any of the Debt is secured by real property; and

                             C. any claim or other right which any Individual Borrower might now
         have or hereafter acquire against any other Individual Borrower or any other person that
         arises from the existence or performance of any obligations under the Note, this
         Agreement, the Mortgage or any other Loan Document, including, without limitation, any
         of the following: (i) any right of subrogation, reimbursement, exoneration, contribution, or
         indemnification; and (ii) any right to participate in any claim or remedy of Lender against
         any other Individual Borrower or any collateral security therefor, whether or not such
         claim, remedy or right arises in equity or under contract, statute or common law.



                                      [Signature Pages Follow]




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                 IN WITNESS WHEREOF, Lender and Borrower hereby sign, seal and deliver this
 Loan Agreement.


                                            I,ENDER:

                                        ARBOR REALTY SR,INC.,
                                        aM aryland c\ol'poration


                                        By:      Afi \\_
                                                 Narne: Valerie Rubin
                                                 Title: Authorized Signatory




 Copper Ridge & Magnolia - Loan Agreement
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                                            EXHIBIT A

                                         Legal Description




The Land referred to herein is described as follows:

All that certain lot, piece or parcel of land, with the buildings and improvements thereon erected,
situate, lying and being in the City of Baton Rouge, Parish of East Baton Rouge, State of Louisiana.

Tract I:

That parcel of land being Lots B-2-A & B-2-B shown on a "MAP SHOWING THE
RESUBDIVISION OF TRACT "B-2", BEING A PORTION OF TRACT B OF THE C.C. BIRD
PROPERTY, LOCATED IN SECTION 73, T7S, R1E, OF EAST BATON ROUGE PARISH,
LOUISIANA INTO LOTS B-2-A, B-2-B AND B-2-C FOR CARL CLAYTON, ET AL.," by
William L. Bowman, Registered Land Surveyor, dated September 30, 1971, and recorded in
Original 92, Bundle 7740 of the Conveyance Records of East Baton Rouge Parish, Louisiana,
being more particularly described as follows:

Commence at the intersection of the northeasterly right-of-way of Lobdell Avenue and the
northerly right-of-way of Tom Drive; thence proceed N 32° 45’ 10” W 1,679.03 feet (R), 1678.01
feet (M) along the northeasterly right-of-way of Lobdell Avenue to the southwest corner of Lot B-
2-B being the “Point of Beginning”; thence N 32° 45’ 10” W 482.73 feet (R) 482.71 feet (M) along
the northeasterly right-of-way of Lobdell Avenue to a point and corner thence N 88° 11’ 30” E
1,180.68 feet to a point and corner; thence S 01° 48’ 30” E 414.00 feet to a point and corner; thence
S 88° 11’ 30” W 932.47 feet (M), 932.40 feet (R) to a point and corner being the “Point of
Beginning”.

Tract II:

Commencing at the northwest corner of Section 48, Township 7 South, Range 2 East, Greensburg
Land District of Louisiana, which said point is the “Point of Beginning”; thence proceed South
81°17’ East a distance of 450.00 feet and corner; thence South 00°08' East a distance of 576.53
feet and corner; thence South 86°13’ East a distance of 30.00 feet and corner; thence South 00°08’
East a distance of 597.03 feet to a point on the North right of way line of Harrells Ferry Road and
corner; thence North 86°21’ West a distance of 128.43 feet; thence North 82°55’ West a distance
of 349.20 feet and corner; thence North 00°08 West a distance of 1,192.5 feet to the “Point of
Beginning”.

NOTE FOR INFORMATION: Being Parcel No. 668788 (Tract I) and 1088718 (Tract II), of the
City of Baton Rouge, Parish of East Baton Rouge.




                                              [Exhibit A]
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                                            EXHIBIT B

                                           Initial Budget

                                        [SEE ATTACHED]




                                              [Exhibit B]
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                                                         Case 24-10901                        Doc 35-6              Filed 10/28/24 Entered 10/28/24 20:07:40                                                          Page 135 of
                                                                                                                          PROFORMA
                                                                                                                                158 SETUP

                                                                                 ALL PROPERTIES                                        Copper Ridge Apartments                                                        Magnolia Trace




DESCRIPTION & LAYOUT:


  TOTAL APARTMENTS:                                                   559                                    559                                         313                                  313                                          246                               246
  TOTAL BEDROOMS:                                                     997                                    997                                         499                                  499                                          498                               498


                                                           PROFORMA UW - IN-PLACE                PROFORMA UW - PROJECTED                            IN-PLACE UW                    PROFORMA UW - PROJECTED                         IN-PLACE UW                    PROFORMA UW - PROJECTED

GROSS POTENTIAL INCOME:                                                      $ / Unit                                 $ / Unit                                    $ / Unit                           $ / Unit                                    $ / Unit                           $ / Unit
  RESIDENTIAL RENTS:                                           $4,775,568         $8,543              $5,674,925         $10,152                  $2,454,348           $7,841          $2,843,610         $9,085                 $2,321,220           $9,436          $2,831,315       $11,509
     LESS EMPLOYEE FREE/REDUCED RENT:                            ($25,140)          ($45)               ($23,936)           ($43)                    ($9,093)            ($29)            ($8,488)          ($27)                  ($16,047)            ($65)           ($15,448)         ($63)
     LESS MODEL / OFFICE / STORAGE RENT:                         ($71,868)         ($129)               ($81,905)          ($147)                   ($34,200)           ($109)           ($36,096)         ($115)                  ($37,668)           ($153)           ($45,809)        ($186)
  PET RENT:                                                        $5,700               $10               $5,454                 $10                  $3,000                 $10           $2,503                $8                     $2,700              $11           $2,950               $12
 OTHER INCOME:                                                  $288,261           $516                $247,322            $442                    $187,906             $600            $153,113           $489                   $100,355             $408              $94,209         $383
TOTAL PROJECTED INCOME:                                        $4,972,521         $8,895              $5,821,860         $10,415                  $2,601,962           $8,313          $2,954,643         $9,440                 $2,370,559           $9,636          $2,867,217       $11,655


VACANCY:
 Economic Vacancy Loss - Residential :                          $679,800          14.23%                      $0            0.00%                  $237,480             9.68%                  $0          0.00%                   $442,320           19.06%                  $0          0.00%
 Vacancy Adjustment - Residential:         (Min 5.00%)                $0           0.00%               $283,746             5.00%                         $0            0.00%            $142,181          5.00%                         $0            0.00%            $141,566          5.00%
TOTAL VACANCY:                                                 ($679,800)         14.23%              ($283,746)            5.00%                  ($237,480)           9.68%           ($142,181)         5.00%                  ($442,320)          19.06%           ($141,566)         5.00%

EFFECTIVE GROSS INCOME:                                        $4,292,721         $7,679              $5,538,114           $9,907                 $2,364,482           $7,554          $2,812,463         $8,986                 $1,928,239           $7,838          $2,725,651       $11,080


PROJECTED EXPENSES:
  Real Estate Taxes                                             $266,147            $476               $279,008             $499                     $88,699            $283              $96,384           $308                   $177,448             $721            $182,624           $742
  Insurance- Property                                           $365,885            $655               $257,300             $460                   $191,114              $611            $133,404           $426                   $174,772             $710            $123,896           $504
  Management Fee                              (3.00%):          $128,782            $230               $166,143             $297                    $70,934             $227              $84,374          $270                        $57,847          $235             $81,770           $332
  Administrative                                                 $26,291                $47             $21,978                  $39                $14,114                  $45          $11,177               $36                    $12,177              $49          $10,801               $44
  Leasing & Marketing                                            $85,678            $153                $78,822             $141                     $44,350            $142              $43,323           $138                       $41,328          $168             $35,499           $144
  Payroll                                                       $594,860          $1,064               $632,889            $1,132                  $342,256            $1,093            $367,050         $1,173                   $252,604           $1,027            $265,839         $1,081
  Utilities                                                      $19,411                $35             $19,944                  $36                $13,367                  $43          $14,004               $45                     $6,044              $25           $5,940               $24
  Electricity (Common & Vacant)                                  $79,405            $142                $72,499             $130                    $38,035              $122             $36,563           $117                    $41,370             $168             $35,936           $146
  Water & Sewer                                                 $301,554            $539               $299,217             $535                   $138,732              $443            $145,583           $465                   $162,822             $662            $153,634           $625
  Trash Removal                                                  $71,401            $128                $68,440             $122                    $38,648             $123              $39,949           $128                       $32,752          $133             $28,490           $116
  Legal and Professional                                         $43,655                $78             $27,965                  $50                 $11,777                 $38          $17,620               $56                    $31,878          $130             $10,346               $42
  Contract Services                                              $98,220            $176                $85,690             $153                     $36,458            $116              $28,044               $90                    $61,762          $251             $57,647           $234
  Repairs & Maintenance (Residential)                           $370,751            $663               $370,751              $663                  $172,807              $552            $172,807           $552                   $197,944             $805            $197,944           $805
 Replacement Reserves (Residential)                              $139,750          $250                $139,750             $250                     $78,250            $250              $78,250          $250                     $61,500            $250              $61,500          $250
TOTAL PROJECTED EXPENSES:                                      $2,591,789         $4,348              $2,520,396           $4,270                 $1,279,541           $3,891          $1,268,530         $3,862                 $1,312,248           $4,929          $1,251,866         $4,788

PROJECTED NOI:                                                 $1,700,932         $3,043              $3,017,718           $5,398                 $1,084,940           $3,466          $1,543,932         $4,933                   $615,992           $2,504          $1,473,786        $5,991



  LOAN REQUEST                                               $24,740,828       $44,259              $41,150,697         $73,615
  DEBT SERVICE                                                $1,333,168        $2,385               $2,217,420          $3,967
  NET CASH FLOW                                                $367,763          $658                 $800,298             $1,432                 $1,084,940           $3,466          $1,543,932         $4,933                   $615,992           $2,504          $1,473,786         $5,991
  DSCR                                                              1.28                                   1.36
  EXPENSE RATIO (including R/Rsrvs)                               60.38%                                 45.51%                                       54.12%                               45.10%                                      68.05%                             45.93%
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                                                         EXHIBIT C

                                                         DM Budget

                          Copper Ridge and Magnolia Trace - Deferred Maintenance Reserves
                                                   Estimated      Escrow      Escrow                 Time to
Description of Item                                   Cost           %        Amount      Type      Complete
Copper Ridge - Soffit Repairs                       $19,000        125%       $23,750      DM       12 Months
Copper Ridge - Replace Patio Glass Doors (10)             $8,000        125%   $10,000    DM        12 Months
Magnolia Trace - Soffit Repairs                           $5,000        125%   $6,250     DM        12 Months
Magnolia Trace - Replace Broken Windows (35)              $17,500       125%   $21,875    DM        12 Months
Magnolia Trace - Replace Broken Doors (25)                $15,000       125%   $18,750    DM        12 Months
                                                Totals    $64,500              $80,625




                                                          [Exhibit C]
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                            EXHIBIT D
  REQUEST FOR DISBURSEMENT FROM DEFERRED MAINTENANCE RESERVE

Pursuant to Section 11.02 of that certain Loan Agreement (the “Loan Agreement”) dated as of
January 11, 2022 between Magnolia Trace Apts LLC and Copper Ridge Apts LLC (collectively,
“Borrower”) and Arbor Realty SR, Inc. (together with its successors and permitted assigns,
“Lender”), Borrower hereby requests that Lender disburse to Borrower the amount of
$_____________ in connection with certain Deferred Maintenance performed at the Property (as
defined in the Loan Agreement). In connection with such request, attached are the following items
required to be submitted by Borrower to Lender: (i) Borrower’s Certificate of Deferred
Maintenance, (ii) all invoices, receipts or other evidence (that shall be satisfactory to Lender)
verifying the costs of such Deferred Maintenance, (iii) all affidavits, lien waivers or other evidence
(that shall be reasonably satisfactory to Lender) showing that all materialmen, laborers,
subcontractors and any other parties who might or could claim statutory or common law liens and
are furnishing or have furnished material or labor to the Property have been paid all amounts due
for labor and materials furnished to the Property, (iv) for disbursement requests in excess of
$10,000.00, a new certificate of occupancy for the portion of the Improvements covered by such
Deferred Maintenance, if said new certificate of occupancy is required by Law.

Borrower understands that Lender reserves the right, in its sole but reasonable discretion, to require
a certification from an inspecting architect or other third party acceptable to Lender describing the
completed Deferred Maintenance items, verifying the completion of the Deferred Maintenance
items and the value of the completed Deferred Maintenance items.

In addition, Borrower hereby certifies as follows:

    1. Those certain deferred maintenance items (the “Deferred Maintenance”) at the property
       located at __________________________ (known as __________________) (the
       “Property”), as represented in the attached request, have been completed in full.
    2. The amount of $__________ (the “Funds”) has been paid in full for the Deferred
       Maintenance to all vendors, contractors, subcontractors, materialmen, laborers and other
       parties who may claim a lien against the Property (“Vendors”).
    3. All Vendors have accepted such payments in full as settlement of all claims in connection
       with this draw request that would entitle such Vendor to claim a lien against the Property,
       and no Vendor shall have any lien against the Property as a result of such Deferred
       Maintenance.
    4. The work associated with the Deferred Maintenance has been completed in a good and
       workmanlike manner.
    5. All Deferred Maintenance is in compliance with all applicable Laws, ordinances, rules and
       regulations of any governmental authority, agency or instrumentally having jurisdiction over
       the Property.
    6. If no new certificate of occupancy is required ADD – No new certificate of occupancy is
       required as a result of the Deferred Maintenance performed pursuant to the disbursement
       request.

[BORROWER]


                                              [Exhibit D]
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                                            EXHIBIT E

                                           RENT ROLL



                                        [SEE ATTACHED]




                                              [Exhibit E]
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Copper Ridge 12-27-2021
Rent Roll Report




                    Beds/                                                                                                                                                                                                                                                         Days
                                                                                                Lease Start   Lease End     Under                     Gross Rent Prior Leased     Current                   Subsidy       Charged                   Move-Out                               Quoting                   Applicant   Scheduled Move-In
                    Baths                                                                                                                                                                                                                                                        Vacant
 Unit Floor Plan            Sq. Ft.   Status            Resident                 Move-In Date      Date         Date       Eviction    Market Rent      Limit        Rent       Leased Rent Resident Rent    Rent         Unit Fees Balance           Date       Move-In Ready              Rent Applicant            Status           Date
   101 cr-1-ths    1|1            704 Non Productive    ---                                                                                     645                                                     0             0            0            0                                                  ---
   102 cr-1-ths    1|1            704 Non Productive    ---                                                                                     645                                                     0             0            0            0                                                  ---
   103 cr-1-ths    1|1            704 Occ / No NTV      Bernard, Albert            12/7/2020      12/7/2020   12/31/2021                        645                                     625           625             0            0          725                                                  Barrett, Tiera   Denied
   104 cr-1-ths    1|1            704 Down              ---                                                                                     645                                                     0             0            0            0                                                  ---
   105 cr-1-ths    1|1            704 Occ / No NTV      Henderson, Treasure       11/12/2019      12/1/2020   12/31/2021                        645                                     575           575             0            0          675                                                  ---
   201 cr-2-thm    2|1.5        1023 Vac / Not Ready    ---                                                                                     775                       655                           0             0            0            0    9/30/2021      1/31/2022         89       775 ---
   202 cr-2-thm    2|1.5        1023 Occ / No NTV       Jackson, Ja'lexus          10/1/2021     10/1/2021    10/31/2022                        775                       715           775           775             0            0            0                                                  ---
   203 cr-2-thm    2|1.5        1023 Occ / No NTV       Moses, Quintoya           10/28/2021    10/28/2021    10/31/2022                        775                       755           775           775             0            0            0                                                  ---
   204 cr-2-thm    2|1.5        1023 Vac / Not Ready    ---                                                                                     775                       675                           0             0            0            0    7/31/2021    1/31/2022          150       775 ---
   205 cr-2-thm    2|1.5        1023 Vac / Not Ready    ---                                                                                     775                       570                           0             0            0            0   12/22/2021 Immediate               6       775 ---
   206 cr-2-thm    2|1.5        1023 Occ / No NTV       Browder, Keisha            7/15/2016     10/1/2020    10/31/2021                        775                                     685           785             0            0            0                                                  ---
   301 cr-2-thm    2|1.5        1023 Occ / No NTV       Edwards, Makayla           12/3/2020     12/3/2020    12/31/2021                        775                                     755           755             0            0          300                                                  ---
   302 cr-2-thm    2|1.5        1023 Occ / No NTV       Doyle, Gregory              1/9/2015     10/1/2021    10/31/2022                        775                       655           715           715             0            0            0                                                  ---
   303 cr-2-thm    2|1.5        1023 Occ / No NTV       Booker, Keidrick          11/20/2020     12/1/2021    12/31/2022                        775                       755           775           775             0            0            0                                                  ---
   304 cr-2-thm    2|1.5        1023 Occ / No NTV       Murphy, Larry               5/1/2011     10/1/2021    10/31/2022                        775                       655           715           715             0            0            0                                                  ---
   305 cr-2-thm    2|1.5        1023 Occ / No NTV       Dunn, Sheba                9/30/2019     10/1/2020    10/31/2021                        775                                     715           715             0            0         1899                                                  ---
   306 cr-2-thm    2|1.5        1023 Occ / No NTV       Overstreet, Dekly          7/20/2018     10/1/2021    10/31/2022                        775                       715           755           755             0            0            0                                                  ---
   401 cr-2-thm    2|1.5        1023 Occ / No NTV       Pickett, Reginald          4/27/2018     11/1/2021    11/30/2022                        775                                     715           715             0            0           -1                                                  ---
   402 cr-2-thm    2|1.5        1023 Occ / No NTV       Bowie, Ebony               7/14/2021     7/14/2021     7/31/2022                        775                       675           775           775             0            0            0                                                  ---
   403 cr-2-thm    2|1.5        1023 Occ / No NTV       Johnson, Shantel          10/14/2019    10/14/2019    10/31/2020                        775                                     675           675             0            0        -1025                                                  ---
   404 cr-2-thm    2|1.5        1023 Occ / No NTV       Johnson, Amos              10/3/2015      8/1/2021     8/31/2022                        775                       650           710           710             0            0            0                                                  ---
   405 cr-2-thm    2|1.5        1023 Occ / No NTV       Hills, Rebecca             2/24/2020      3/1/2021     2/28/2022                        775                       675           715           715             0            0            0                                                  ---
   501 cr-2-thm    2|1.5        1023 Vac / Not Ready    ---                                                                                     775                       755                           0             0            0            0    10/8/2021      1/31/2022         81       775 ---
   502 cr-2-thm    2|1.5        1023 Occ / No NTV       Parker, Takisha             3/1/2021       3/1/2021    2/28/2022                        775                       675           755           755             0            0         1610                                                  ---
   503 cr-2-thm    2|1.5        1023 Vac / Not Ready    ---                                                                                     775                       655                           0             0            0            0    11/5/2021      1/31/2022         53       775 ---
   504 cr-2-thm    2|1.5        1023 Occ / No NTV       Lovely, La'Malcolm          1/6/2021      1/6/2021      1/6/2022                        775                                     755           755             0            0            0                                                  ---
   505 cr-2-thm    2|1.5        1023 Occ / No NTV       Eidhah, Sadek             12/17/2021    12/17/2021    12/31/2022                        775                       755           775           775             0            0            0                                                  ---
   601 cr-2-thm    2|1.5        1023 Occ / No NTV       Mitchell, Dericka          2/19/2020      3/1/2021     3/31/2022                        775                       675           715           715             0            0            0                                                  ---
   602 cr-2-thm    2|1.5        1023 Occ / No NTV       Washington, Brandi        10/11/2019     12/1/2021    12/31/2022                        775                       715           755           755             0            0            0                                                  ---
   603 cr-2-thm    2|1.5        1023 Occ / No NTV       Dunn, Dalvin                2/7/2020      3/1/2021      3/1/2022                        775                       675           715           715             0            0            0                                                  ---
   604 cr-2-thm    2|1.5        1023 Occ / No NTV       Coleman, Lavender           4/9/2020      5/1/2021     5/31/2022                        775                       675           715           715             0            0        -1330                                                  ---
   605 cr-2-thm    2|1.5        1023 Occ / No NTV       Doine, Charles             4/17/2020      5/1/2021     4/30/2022                        775                       675           715           715             0            0            0                                                  ---
   701 cr-2-thm    2|1.5        1023 Occ / No NTV       Barr, Richard             10/13/2021    10/13/2021    10/31/2022                        775                       715           775           775             0            0            0                                                  ---
   702 cr-2-thm    2|1.5        1023 Occ / No NTV       Reese-Stewart, Jasmine      9/6/2019     11/1/2021    11/30/2022                        775                       715           755           755             0            0            0                                                  ---
   703 cr-2-thm    2|1.5        1023 Occ / No NTV       Dixon, Tyja                7/30/2021     7/30/2021     7/31/2022                        775                       755           775           775             0            0           90                                                  ---
   704 cr-2-thm    2|1.5        1023 Occ / No NTV       Corey, Marie               9/14/2021     9/14/2021     9/30/2022                        775                       715           775           775             0            0            0                                                  ---
   705 cr-2-thm    2|1.5        1023 Vac / Not Ready    ---                                                                                     775                       685                           0             0            0            0    6/22/2021      1/31/2022        189       775 ---
   801 cr-2-thm    2|1.5        1023 Occ / No NTV       Smith, Joshua              1/29/2016      3/1/2021     2/28/2022                        775                       675           715           715             0            0            0                                                  ---
   802 cr-2-thm    2|1.5        1023 Occ / No NTV       Mills, Troy                5/29/1998     10/1/2021    10/31/2022                        775                       710           750           750             0            0            0                                                  ---
   803 cr-2-thm    2|1.5        1023 Occ / No NTV       Clifton, Amiya             12/1/2021     12/1/2021    12/31/2022                        775                       715           775           775             0            0            0                                                  ---
   804 cr-2-thm    2|1.5        1023 Occ / No NTV       Gage, Asia                 6/25/2021     6/25/2021     6/25/2022                        775                       675           775           775             0            0         -770                                                  ---
   805 cr-2-thm    2|1.5        1023 Occ / No NTV       Kaufman, Mary              2/22/1999      6/1/2021     6/30/2022                        775                       650           710           710             0            0          810                                                  ---
   806 cr-2-thm    2|1.5        1023 Occ / No NTV       Holliday, Jamonica          7/8/2020      9/1/2021     8/31/2022                        775                       755           775           775             0            0         1685                                                  ---
   807 cr-2-thm    2|1.5        1023 Occ / No NTV       Parker, Trenda             1/14/2020      2/1/2021     2/28/2022                        775                                     675           715             0            0            0                                                  ---
   901 cr-2-thm    2|1.5        1023 Occ / No NTV       McGowan, T'Keyah          11/30/2020    11/30/2020    11/30/2021                        775                                     755           755             0            0            0                                                  ---
   902 cr-2-thm    2|1.5        1023 Occ / No NTV       Williams, Dawn             2/14/2014      9/1/2020     9/30/2021                        775                                     650           650             0            0          450                                                  ---
   903 cr-2-thm    2|1.5        1023 Occ / No NTV       London, Brittany           10/1/2019     10/1/2019    10/31/2020                        775                                     675           675             0            0           24                                                  ---
   904 cr-2-thm    2|1.5        1023 Occ / No NTV       Felder, Dominic            10/5/2018      5/1/2021     4/30/2022                        775                       675           715           715             0            0            0                                                  ---
   905 cr-2-thm    2|1.5        1023 Occ / No NTV       Hudson, Angel               2/4/2021      2/4/2021     2/28/2022                        775                         0           755           755             0            0            0                                                  ---
   906 cr-2-thm    2|1.5        1023 Occ / No NTV       Courville, Jeshua         11/19/2021    11/19/2021    11/30/2022                        775                       715           775           775             0            0            0                                                  ---
   907 cr-2-thm    2|1.5        1023 Occ / No NTV       Ross, Lachaunda             1/8/2020      4/1/2021     3/31/2022                        775                       715           715           715             0            0            0                                                  ---
  1001 cr-1-ths    1|1            704 Occ / No NTV      Page, Oneatha              9/10/2021     9/10/2021     9/30/2022                        645                       470           645           645             0            0            0                                                  ---
  1002 cr-1-ths    1|1            704 Occ / No NTV      Holden, Latoria            9/17/2019     11/1/2021    11/30/2022                        645                       575           600           600             0            0            0                                                  ---
  1003 cr-1-ths    1|1            704 Occ / No NTV      Simpson, Quiauna          11/14/2019      4/1/2021     3/31/2022                        645                       550           575           575             0            0        -1125                                                  ---
  1004 cr-1-ths    1|1            704 Occ / No NTV      Galmon, LaToya             7/27/2015     10/1/2021    10/31/2022                        645                       575           600           600             0            0        -2300                                                  ---
  1005 cr-1-ths    1|1            704 Occ / No NTV      Dyson, Tyneeka             8/10/2020      9/1/2021     9/30/2022                        645                       575           600           600             0            0         -600                                                  ---
  1101 cr-1-ths    1|1            704 Vac / Not Ready   ---                                                                                     645                       550                           0             0            0            0    4/16/2021      1/31/2022        256       645 ---
  1102 cr-1-ths    1|1            704 Occ / No NTV      Pratt, Nolan              12/18/2018       1/1/2020    1/31/2021                        645                                     550           550             0            0          650                                                  ---
  1103 cr-1-ths    1|1            704 Occ / No NTV      Gordon, Katrina            12/9/2011      12/1/2020   12/31/2021                        645                                     550           550             0            0            0                                                  ---
  1104 cr-1-ths    1|1            704 Occ / NTV         Baham Jr., Ronnie          12/1/2017       1/1/2021    1/31/2022                        645                                     575           575             0            0            0    1/20/2022      1/25/2022                  645 ---
  1105 cr-1-ths    1|1            704 Occ / No NTV      Perrault, Ricardo           1/6/2010      11/1/2021   11/30/2022                        645                       550           575           575             0            0            0                                                  ---
  1201 cr-2-thm    2|1.5        1023 Occ / No NTV       Richardson, Feanthania     4/25/2018      10/1/2021   10/31/2022                        775                       715           755           755             0            0            0                                                  ---
  1202 cr-2-thm    2|1.5        1023 Occ / No NTV       Robertson, Linda           3/16/2012      11/1/2021   11/30/2022                        775                       715           755           755             0            0            0                                                  ---
  1203 cr-2-thm    2|1.5        1023 Occ / No NTV       Washington, George         12/1/2017      10/1/2021   10/31/2022                        775                       715           755           755             0            0          -40                                                  ---
  1204 cr-2-thm    2|1.5        1023 Occ / No NTV       Davis, Latoya               6/1/2017      10/1/2021   10/31/2022                        775                       710           750           750             0            0            0                                                  ---
  1205 cr-2-thm    2|1.5        1023 Occ / No NTV       Baker, Joseph              7/30/2021      7/30/2021    7/31/2022                        775                       715           775           775             0            0            0                                                  ---
  1301 cr-2-thm    2|1.5        1023 Vac / Not Ready    ---                                                                                     775                       715                           0             0            0            0   11/19/2021      1/31/2022         39       775 ---
  1302 cr-2-thm    2|1.5        1023 Occ / No NTV       Baker, Ralphalecia          6/1/2021       6/1/2021    6/30/2022                        775                       675           775           775             0            0            0                                                  ---
  1303 cr-2-thm    2|1.5        1023 Occ / No NTV       Collins, Tiffany           7/16/2021      7/16/2021    7/31/2022                        775                       775           775           775             0            0          595                                                  ---
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1304 cr-2-thm   2|1.5   1023 Occ / No NTV      Moore, Jahdah                 9/4/2020    10/1/2021   10/31/2022       775       755   775   775     0   0        -30                                         ---
1305 cr-2-thm   2|1.5   1023 Occ / No NTV      Preston, Reed                 2/1/2009     4/1/2021    3/31/2022       775       675   715   715     0   0          0                                         ---
1401 cr-2-thm   2|1.5   1023 Occ / No NTV      Bradford, Kaieshia          11/11/2016     4/1/2021    3/31/2022       775       675   715   715     0   0          0                                         ---
1402 cr-2-thm   2|1.5   1023 Occ / No NTV      Graham, Breon                1/20/2021    1/20/2021    1/20/2022       775             755   755     0   0          0                                         ---
1403 cr-2-thm   2|1.5   1023 Occ / No NTV      Porter, Kayla                 4/1/2021     4/1/2021    3/31/2022       775             755   755     0   0          0                                         ---
1404 cr-2-thm   2|1.5   1023 Occ / No NTV      Ovete, Janae                 12/1/2020    12/1/2020   12/31/2021       775             755   755     0   0          0                                         ---
1405 cr-2-thm   2|1.5   1023 Occ / No NTV      Guy, Isaiah                  9/30/2021    9/30/2021    9/30/2022       775       755   775   775     0   0          0                                         ---
1406 cr-2-thm   2|1.5   1023 Occ / No NTV      Fleming, Breahana            2/12/2016    2/12/2016     3/1/2019       775             725   725     0   0          0                                         ---
1501 cr-2-thm   2|1.5   1023 Vac / Not Ready   ---                                                                    775       755           0     0   0          0   11/15/2021      2/28/2022    43   775 ---
1502 cr-2-thm   2|1.5   1023 Vac / Not Ready   ---                                                                    775       675           0     0   0          0    3/26/2021      1/31/2022   277   775 ---
1503 cr-2-thm   2|1.5   1023 Occ / No NTV      Primas, Claudette             9/1/2015     9/1/2020    9/30/2021       775             715   715     0   0      1630                                          ---
1504 cr-2-thm   2|1.5   1023 Occ / No NTV      Barnes, Ashton              12/11/2020   12/11/2020   12/31/2021       775             755   755     0   0        835                                         ---
1505 cr-2-thm   2|1.5   1023 Occ / No NTV      Prestly, Fabulis             7/22/2021    7/22/2021    7/31/2022       775       755   775   775     0   0        345                                         ---
1506 cr-2-thm   2|1.5   1023 Occ / No NTV      Keaton, Curtis              11/22/2019   11/22/2019   11/30/2020       775             675   675     0   0          0                                         ---
1601 cr-2-thm   2|1.5   1023 Vac / Not Ready   ---                                                                    775       650           0     0   0          0   11/30/2021      1/31/2022    28   775 ---
1602 cr-2-thm   2|1.5   1023 Vac / Not Ready   ---                                                                    775       675           0     0   0          0    2/17/2021      1/31/2022   314   775 ---
1603 cr-2-thm   2|1.5   1023 Occ / No NTV      Olurunsobogon, Oluwatosin    4/30/2018    8/31/2019    8/31/2020       775             650   650     0   0          0                                         ---
1604 cr-2-thm   2|1.5   1023 Occ / No NTV      Sereal, Allison               7/5/2011    11/1/2021   11/30/2022       775       650   710   710     0   0      -0.65                                         ---
1605 cr-2-thm   2|1.5   1023 Vac / Not Ready   ---                                                                    775         0           0     0   0          0    11/6/2020      1/31/2022   417   775 ---
1701 cr-2-thm   2|1.5   1023 Down              ---                                                                    775                     0     0   0          0                                         ---
1702 cr-2-thm   2|1.5   1023 Occ / No NTV      Brandon, Kiara               5/30/2019     7/1/2021    7/31/2022       775       675   715   715     0   0          0                                         ---
1703 cr-2-thm   2|1.5   1023 Occ / No NTV      Dunn, Kenyetta                6/4/2020     7/1/2021    7/31/2022       775       675   715   715     0   0       -415                                         ---
1704 cr-2-thm   2|1.5   1023 Occ / No NTV      Anderson, Erica              6/23/2021    6/23/2021    6/23/2022       775       675   775   775     0   0          0                                         ---
1705 cr-2-thm   2|1.5   1023 Occ / No NTV      Davis, Rosalina              2/18/2016     8/1/2021    8/31/2022       775       570   630   158   412   0         -6                                         ---
1801 cr-2-thm   2|1.5   1023 Occ / No NTV      Thomas, Lawanda              4/30/2019     7/1/2020    7/31/2021       775             675   675     0   0     -1150                                          ---
1802 cr-2-thm   2|1.5   1023 Occ / No NTV      Willis, Joel                  3/3/2019     5/1/2021     5/1/2022       775       675   715   715     0   0          0                                         ---
1803 cr-2-thm   2|1.5   1023 Occ / No NTV      George, Tyrell                7/9/2021     7/9/2021    7/31/2022       775       675   775   775     0   0          0                                         ---
1804 cr-2-thm   2|1.5   1023 Occ / No NTV      Neal, Tanyell                12/4/2005     4/1/2021    4/30/2022       775       650   690   690     0   0          0                                         ---
1805 cr-2-thm   2|1.5   1023 Occ / No NTV      Williams, Kelvin            12/14/2019     1/1/2021    1/31/2022       775             715   715     0   0          0                                         ---
1901 cr-2-thm   2|1.5   1023 Occ / No NTV      Warner, Alvin                6/25/2021    6/25/2021    6/30/2022       775       675   775   775     0   0          0                                         ---
1902 cr-2-thm   2|1.5   1023 Occ / No NTV      Hawkins, Dianca              5/18/2021    5/18/2021    5/31/2022       775       675   775   775     0   0        100                                         ---
1903 cr-2-thm   2|1.5   1023 Occ / No NTV      Thomas, Antonio              2/10/2021    2/10/2021    2/28/2022       775       675   755   755     0   0          0                                         ---
1904 cr-2-thm   2|1.5   1023 Occ / No NTV      Alexander, Gerald            7/16/2020     8/1/2021    8/31/2022       775       755   775   775     0   0          0                                         ---
1905 cr-2-thm   2|1.5   1023 Occ / No NTV      Arbuthnot, Joses             9/18/2017     9/4/2019    9/30/2020       775             595   595     0   0     -1285                                          ---
2001 cr-2-thm   2|1.5   1023 Occ / No NTV      Johnson, Dejaneria           9/27/2019    11/1/2021   11/30/2022       775       715   755   755     0   0      1710                                          ---
2002 cr-2-thm   2|1.5   1023 Occ / No NTV      Barlow, Donald               4/12/2010     4/1/2021    3/31/2022       775       675   715   715     0   0          0                                         ---
2003 cr-2-thm   2|1.5   1023 Occ / No NTV      Hamilton, Jontrell            4/6/2020     5/1/2021    4/30/2022       775       675   715   715     0   0     -1330                                          ---
2004 cr-2-thm   2|1.5   1023 Vac / Not Ready   ---                                                                    775       715           0     0   0          0   11/25/2021      1/31/2022    33   775 ---
2005 cr-2-thm   2|1.5   1023 Occ / No NTV      Webster, Chelsi              7/31/2020     8/1/2021    8/31/2022       775       755   775   775     0   0          0                                         ---
2006 cr-2-thm   2|1.5   1023 Occ / No NTV      Barnes, Kyosha              11/20/2020    12/1/2021   12/31/2022       775       755   775   775     0   0          0                                         ---
2101 cr-2-thm   2|1.5   1023 Occ / No NTV      Mccalister, Lyneld           5/29/2021    5/29/2021    5/31/2022       775       755   775   775     0   0          0                                         ---
2102 cr-2-thm   2|1.5   1023 Vac / Not Ready   ---                                                                    775       755           0     0   0          0   11/15/2021      1/31/2022    43   775 ---
2103 cr-2-thm   2|1.5   1023 Occ / No NTV      Merrells, Alexis              7/2/2021     7/2/2021    7/31/2022       775       755   775   775     0   0          0                                         ---
2104 cr-2-thm   2|1.5   1023 Occ / No NTV      Ely, Quian                   7/29/2021    7/29/2021    7/31/2022       775       675   775   775     0   0          0                                         ---
2105 cr-2-thm   2|1.5   1023 Occ / No NTV      Kiper, Kendrea               1/19/2021    1/19/2021    1/31/2022       775         0   755   755     0   0      4370                                          ---
2106 cr-2-thm   2|1.5   1023 Occ / No NTV      Collins, Pepsi              10/21/2021   10/21/2021   10/31/2022       775       755   775   775     0   0          0                                         ---
2201 cr-1-ths   1|1      704 Occ / No NTV      Carter, Ladasha             12/30/2020   12/30/2020   12/30/2021       645         0   625   625     0   0          0                                         ---
2202 cr-1-ths   1|1      704 Occ / No NTV      Thomas, Terrance             5/31/2019    10/1/2021   10/31/2022       645       575   600   600     0   0        100                                         ---
2203 cr-1-ths   1|1      704 Occ / No NTV      Jackson, Pamela              6/24/2020     7/1/2021    7/31/2022       645       550   575   575     0   0          0                                         ---
2204 cr-1-ths   1|1      704 Occ / No NTV      Rogers, Lamesha              2/12/2021    2/12/2021    2/28/2022       645       550   625   625     0   0          0                                         ---
2205 cr-1-ths   1|1      704 Occ / No NTV      Piper, Dion                   9/1/2009     1/1/2012   12/31/2013       645             460   460     0   0          0                                         ---
2301 cr-1-ths   1|1      704 Occ / No NTV      Washington, Emyjah           5/29/2021    5/29/2021    5/30/2022       645       575   645   645     0   0        590                                         ---
2302 cr-1-ths   1|1      704 Vac / Not Ready   ---                                                                    645                     0     0   0          0                   1/31/2022   375   645 ---
2303 cr-1-ths   1|1      704 Vac / Not Ready   ---                                                                    645                     0     0   0          0                Unknown        333   645 ---
2304 cr-1-ths   1|1      704 Occ / No NTV      Thompson, Jonathan           1/19/2021     8/1/2021    8/31/2022       645       725   645   645     0   0          0                                         ---
2305 cr-1-ths   1|1      704 Vac / Not Ready   ---                                                                    645                     0     0   0          0                Unknown        375   645 ---
3101 cr-3-f     3|2     1003 Occ / No NTV      Hill, Dorlisa                8/14/2015     8/1/2021    8/31/2022       835       690   725   725     0   0        825                                         ---
3102 cr-3-f     3|2     1003 Vac / Not Ready   ---                                                                    835       785           0     0   0          0    11/4/2021      1/31/2022    54   835 ---
3103 cr-1-fs    1|1      483 Occ / No NTV      Howard, Shanna               8/28/2019    10/1/2021   10/31/2022       585       525   550   550     0   0          0                                         ---
3104 cr-1-fm    1|1      661 Occ / No NTV      Thomas, Colonique             4/9/2020     5/1/2021    4/30/2022       615       525   555   555     0   0      1552                                          ---
3105 cr-1-fm    1|1      661 Occ / No NTV      Jones, Letise                10/7/2021    10/7/2021   10/31/2022       615       550   615   615     0   0         -2                                         ---
3106 cr-1-fm    1|1      661 Occ / No NTV      Varnado, Raymond              9/6/2019    11/1/2021   11/30/2022       615       550   575   575     0   0         50                                         ---
3107 cr-1-fm    1|1      661 Occ / No NTV      Robertson, Brenda           10/12/2012     4/1/2021    4/30/2022       615       525   550   550     0   0       -550                                         ---
3108 cr-1-fs    1|1      483 Occ / No NTV      Freeze, Sandra               11/1/2012     1/1/2020    1/31/2021       585             500   500     0   0          0                                         ---
3109 cr-3-f     3|2     1003 Occ / No NTV      Mingo, Quan                  11/5/2019     5/1/2021    5/30/2022       835       800   835   835     0   0         50                                         ---
3110 cr-3-f     3|2     1003 Occ / No NTV      Burgess, Eddie                3/1/2005    12/1/2020   12/31/2021       835             785   785     0   0          0                                         ---
3111 cr-3-f     3|2     1003 Occ / No NTV      Williams, Dynisha            10/4/2021    10/4/2021   10/31/2022       835       770   835   835     0   0   1910.16                                          ---
3112 cr-3-f     3|2     1003 Occ / No NTV      Mills, Jocelyn              11/21/2019    12/1/2020   12/31/2021       835             835   835     0   0   -298.88                                          ---
3113 cr-1-fs    1|1      483 Occ / No NTV      Joseph, Jalicia             11/15/2021   11/15/2021   11/30/2022       585       585   585   585     0   0         -1                                         ---
3114 cr-1-fm    1|1      661 Occ / No NTV      Porter, Brena                1/12/2021    1/12/2021    1/12/2022       615         0   595   595     0   0          0                                         ---
3115 cr-1-fm    1|1      661 Occ / No NTV      Riley, Tiffany               3/19/2021    3/19/2021    3/31/2022       615       525   595   595     0   0    889.52                                          ---
3116 cr-1-fm    1|1      661 Occ / No NTV      Parker, Aleta                 9/6/2019    10/1/2021   10/31/2022       615       550   575   575     0   0        675                                         ---
3117 cr-1-fm    1|1      661 Occ / No NTV      Guillory, Claudine           5/24/2021    5/24/2021    5/31/2022       615       525   615   615     0   0   -299.29                                          ---
3118 cr-1-fs    1|1      483 Occ / No NTV      Rheams, Sherieka            11/24/2020    12/1/2021   12/31/2022       585       565   585   585     0   0     -1390                                          ---
3119 cr-3-f     3|2     1003 Occ / No NTV      Armstrong, Kayla             5/17/2019     7/1/2021    7/31/2022       835       800   835   835     0   0       -100                                         ---
3120 cr-3-f     3|2     1003 Occ / No NTV      Johnson, Kathy               8/25/2015     4/1/2021    3/31/2022       835       750   785   785     0   0          0                                         ---
3201 cr-3-f     3|2     1003 Occ / No NTV      Jack, Dominic                 9/3/2019    10/1/2021   10/31/2022       835       835   835   835     0   0        835                                         ---
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3202 cr-3-f     3|2   1003 Occ / No NTV      Amacker, Darlene          8/30/2019    10/1/2021   10/31/2022       835       835   835   835     0   0      935                                          ---
3203 cr-1-fs    1|1    483 Vac / Not Ready   ---                                                                 585       500           0     0   0         0   10/29/2021      1/31/2022    60   585 ---
3204 cr-1-fm    1|1    661 Occ / No NTV      Morgan, Shaquita         12/17/2021   12/17/2021   12/31/2022       615       550   615   615     0   0         0                                         ---
3205 cr-1-fm    1|1    661 Occ / No NTV      Nolan, Brodie              4/1/2011    10/1/2021   10/31/2022       615       520   545   545     0   0       -15                                         ---
3206 cr-1-fm    1|1    661 Occ / No NTV      Hulbert, Hattie          10/30/2015    12/1/2021   12/31/2022       615       550   575   575     0   0         0                                         ---
3207 cr-1-fm    1|1    661 Occ / No NTV      Ferguson, Anthony         5/20/2020     6/1/2021    5/31/2022       615       525   550   550     0   0         0                                         ---
3208 cr-1-fs    1|1    483 Down              ---                                                                 585                     0     0   0         0                                         ---
3209 cr-3-f     3|2   1003 Non Productive    ---                                                                 835                     0     0   0         0                                         ---
3210 cr-3-f     3|2   1003 Occ / No NTV      Sterling, Dominica        6/25/2021    6/25/2021    6/25/2022       835       775   835   835     0   0      970                                          ---
3211 cr-3-f     3|2   1003 Occ / No NTV      Rodney, Erica             10/4/2021    10/4/2021   10/31/2022       835       835   835   835     0   0      835                                          ---
3212 cr-3-f     3|2   1003 Occ / No NTV      Griffin, Dinell           9/30/2011    12/1/2021   12/31/2022       835       700   760   760     0   0      860                                          ---
3213 cr-1-fs    1|1    483 Occ / No NTV      Mosley, Shedrick          10/1/2018    12/1/2021    12/1/2022       585       525   550   550     0   0         0                                         ---
3214 cr-1-fm    1|1    661 Occ / No NTV      Jones, Tyquincia           7/1/2021    6/30/2021    7/31/2022       615       550   615   615     0   0     2045                                          ---
3215 cr-1-fm    1|1    661 Occ / No NTV      Brown, Demetrice         12/20/2019     1/1/2021    1/31/2022       615             550   550     0   0         0                                         ---
3216 cr-1-fm    1|1    661 Occ / No NTV      Crump, Ta'Laja           11/27/2019     6/1/2021    6/30/2022       615       525   550   550     0   0     -350                                          ---
3217 cr-1-fm    1|1    661 Occ / No NTV      Irby, Jessica              8/6/2010    10/1/2021    9/30/2022       615       550   575   575     0   0     -152                                          ---
3218 cr-1-fs    1|1    483 Occ / No NTV      Bradford, Braden         10/16/2020    11/1/2021   11/30/2022       585       565   590   590     0   0    -1080                                          ---
3219 cr-3-f     3|2   1003 Occ / No NTV      Lodge, Kenyetta           2/18/2020    2/18/2020    2/28/2021       835             800   800     0   0      900                                          ---
3220 cr-3-f     3|2   1003 Occ / No NTV      Thomas, Tenae              6/1/2021     6/1/2021    6/30/2022       835             835   835     0   0         0                                         ---
3301 cr-2-ths   2|1    935 Vac / Not Ready   ---                                                                 725                     0     0   0         0                Unknown        375   725 ---
3302 cr-1-fs    1|1    483 Vac / Not Ready   ---                                                                 585                     0     0   0         0                Unknown        375   585 ---
3303 cr-1-fs    1|1    483 Vac / Not Ready   ---                                                                 585       500           0     0   0         0    11/8/2021      1/31/2022    50   585 ---
3304 cr-1-fs    1|1    483 Occ / No NTV      Braud, Mikia              12/7/2020    12/7/2020   12/31/2021       585         0   565   565     0   0         0                                         ---
3305 cr-2-ths   2|1    935 Occ / No NTV      Bryant, Jamie             11/4/2016    12/1/2021   12/31/2022       725       649   679   679     0   0    -1268                                          ---
3306 cr-2-ths   2|1    935 Vac / Not Ready   ---                                                                 725       705           0     0   0         0    12/2/2021      1/31/2022    26   725 ---
3307 cr-2-ths   2|1    935 Occ / No NTV      James, Dianne             1/19/2010     6/1/2021    5/31/2022       725       485   545     0   545   0         0                                         ---
3308 cr-2-ths   2|1    935 Occ / No NTV      Montgomery, Ty'Brii       5/26/2021    5/26/2021    5/31/2022       725       650   725   725     0   0         0                                         ---
3309 cr-2-ths   2|1    935 Occ / No NTV      Madison, Tanya             7/1/2021     7/1/2021    7/31/2022       725       705   725   725     0   0      -4.5                                         ---
3310 cr-2-ths   2|1    935 Occ / No NTV      Watts, Ire'onna           12/4/2020    12/4/2020   12/31/2021       725         0   705   705     0   0         0                                         ---
3311 cr-1-fs    1|1    483 Occ / No NTV      Askins, Ja'net            2/17/2021    2/17/2021    2/28/2022       585       525   565   565     0   0         0                                         ---
3312 cr-1-fs    1|1    483 Occ / No NTV      Beckwood, Jerry          11/23/2020    12/1/2021   12/31/2022       585       565   585   585     0   0         0                                         ---
3313 cr-1-fs    1|1    483 Occ / No NTV      Lowery, Bobbie             3/1/2017     4/1/2021     4/1/2022       585       500   525   525     0   0         0                                         ---
3401 cr-2-ths   2|1    935 Occ / No NTV      Walker, Maijaray         11/16/2021   11/16/2021   11/30/2022       725       705   725   725     0   0         0                                         ---
3402 cr-sl      1|1    518 Occ / No NTV      Keys, Joyce               8/10/1988    12/1/2020   12/31/2021       575             480   480     0   0       -10                                         ---
3403 cr-sl      1|1    518 Occ / No NTV      Johnson, Gregory          9/22/2017    12/1/2021   12/31/2022       575       480   505   505     0   0       -25                                         ---
3404 cr-sl      1|1    518 Occ / No NTV      Keller, Loretha            9/7/2016     4/1/2021    3/31/2022       575       450   480   480     0   0         0                                         ---
3405 cr-2-ths   2|1    935 Occ / No NTV      Stevenson, Markia         10/2/2020    10/2/2020   10/31/2021       725             705   705     0   0    -2115                                          ---
3406 cr-2-ths   2|1    935 Occ / No NTV      Durgon, Tina              8/18/2021    8/18/2021    8/31/2022       725       680   725   725     0   0      825                                          ---
3407 cr-sl      1|1    518 Occ / No NTV      Brown, Geraldine          12/3/2019     4/1/2021    3/31/2022       575       450   480   480     0   0         0                                         ---
3408 cr-sl      1|1    518 Occ / No NTV      Jones, Wanda              11/6/2012     6/1/2021    6/30/2022       575       450   480   480     0   0         0                                         ---
3409 cr-sl      1|1    518 Occ / NTV         Tate Payne, Tia           12/3/2018     7/1/2021    7/31/2022       575       450   480   480     0   0      300    12/29/2021       1/3/2022         575 ---
3410 cr-ss      1|1    371 Occ / No NTV      Johnson, Kerisha          4/22/2021    4/22/2021    4/30/2022       555       430   535   535     0   0         0                                         ---
3411 cr-sl      1|1    518 Occ / No NTV      Jones, Alvin               9/9/2021     9/9/2021    9/30/2022       575       555   575   575     0   0         0                                         ---
3412 cr-sl      1|1    518 Occ / No NTV      Connor, Carrei            3/29/2021    3/29/2021    3/31/2022       575       450   555   555     0   0         0                                         ---
3413 cr-sl      1|1    518 Occ / No NTV      Thibodeaux, Zachary       4/26/2021    4/26/2021    4/26/2022       575       450   575   575     0   0         0                                         ---
3414 cr-sl      1|1    518 Occ / No NTV      Parker, Shadrick          8/13/2021    8/13/2021    8/31/2022       575       450   575   575     0   0         0                                         ---
3415 cr-sl      1|1    518 Occ / No NTV      Akinrinwoye, Caronline     6/6/2018     9/1/2021    9/30/2022       575       480   510   510     0   0         0                                         ---
3416 cr-sl      1|1    518 Occ / No NTV      Gardner, Jerica           4/16/2021    4/16/2021    4/30/2022       575       450   555   555     0   0         0                                         ---
3417 cr-ss      1|1    371 Occ / No NTV      Hamlin, Adrino             6/7/2017    10/1/2021   10/31/2022       555       455   480   480     0   0         0                                         ---
3501 cr-2-ths   2|1    935 Occ / No NTV      Baker, Briaunna           12/1/2021    12/1/2021   12/31/2022       725       705   725   725     0   0         0                                         ---
3502 cr-2-ths   2|1    935 Property Model    ---                                                                 725                     0     0   0         0                                         ---
3503 cr-2-ths   2|1    935 Occ / No NTV      Watkins, Shanequea       12/15/2020   12/15/2020   12/15/2021       725         0   705   705     0   0   -90.58                                          ---
3504 cr-2-ths   2|1    935 Occ / No NTV      Williams, Keysher         6/15/2018    10/1/2021   10/31/2022       725       680   710   710     0   0         0                                         ---
3505 cr-2-ths   2|1    935 Occ / No NTV      James, Elizabeth          6/23/2006    11/1/2021   11/30/2022       725       629   666   666     0   0        24                                         ---
3506 cr-2-ths   2|1    935 Occ / No NTV      Richard, Kevin            4/17/2020     5/1/2021    4/30/2022       725       650   680   680     0   0         0                                         ---
3507 cr-1-fs    1|1    483 Occ / No NTV      Louis, Rhondrika           8/2/2021     8/2/2021    8/31/2022       585       500   585   585     0   0         0                                         ---
3508 cr-1-fs    1|1    483 Occ / No NTV      Cobbs, Trekina             4/1/2021     4/1/2021    3/31/2022       585       565   565   565     0   0         0                                         ---
3509 cr-1-fs    1|1    483 Occ / No NTV      Coleman, Maurice           8/7/2018    10/1/2020   10/31/2021       585             525   525     0   0     -370                                          ---
3510 cr-2-ths   2|1    935 Occ / No NTV      Roberts, Beiante          1/27/2021    1/27/2021    1/31/2022       725       650   705   705     0   0   339.71                                          ---
3511 cr-1-fs    1|1    483 Vac / Not Ready   ---                                                                 585       525           0     0   0         0   11/22/2021      1/31/2022    36   585 ---
3512 cr-1-fs    1|1    483 Occ / No NTV      Jones, K'mya             11/25/2020    12/1/2021   12/31/2022       585       565   585   585     0   0         0                                         ---
3513 cr-1-fs    1|1    483 Occ / No NTV      Muse, Stephan              2/4/2013     4/1/2021    3/31/2022       585       500   525   525     0   0         0                                         ---
3601 cr-2-ths   2|1    935 Occ / No NTV      Ibrahim, Zuri             12/1/2020    12/1/2020   12/31/2021       725         0   705   705     0   0         0                                         ---
3602 cr-sl      1|1    518 Occ / No NTV      Fisher, Brittany           7/6/2021     7/6/2021    7/31/2022       575       450   575   575     0   0         0                                         ---
3603 cr-sl      1|1    518 Occ / No NTV      Smith, Giltz              5/10/2017    10/1/2021   10/31/2022       575       480   510   510     0   0         0                                         ---
3604 cr-sl      1|1    518 Occ / No NTV      Burris, Issac            10/30/2016    11/1/2021   11/30/2022       575       480   510   510     0   0       -45                                         ---
3605 cr-2-ths   2|1    935 Occ / No NTV      Walker, Deshanta         11/25/2019    12/1/2020   12/31/2021       725             675   675     0   0    -1350                                          ---
3606 cr-ss      1|1    371 Occ / No NTV      Hewit, John                1/8/2018     1/1/2021    1/31/2022       555             455   455     0   0         0                                         ---
3607 cr-sl      1|1    518 Occ / No NTV      Brown, Ernest              3/1/2021     3/1/2021    3/31/2022       575       450   555   555     0   0         0                                         ---
3608 cr-sl      1|1    518 Occ / No NTV      Parquet, Tyrie            4/17/2021    4/17/2021    4/30/2022       575       450   555   555     0   0         0                                         ---
3609 cr-sl      1|1    518 Occ / No NTV      Antonelli, Kristen        10/1/2019    11/1/2020   11/30/2021       575             480   675     0   0         0                                         ---
3610 cr-2-ths   2|1    935 Occ / No NTV      Sheppard, Brian           12/7/2020    12/7/2020   12/31/2021       725             705   705     0   0    -5605                                          ---
3611 cr-sl      1|1    518 Occ / No NTV      Hughes, Jasmine           2/17/2021    2/17/2021    2/28/2022       575       450   555   555     0   0     1620                                          ---
3612 cr-sl      1|1    518 Occ / No NTV      Walker, Randy            10/21/2019    12/1/2021   12/31/2022       575       475   505   505     0   0     1150                                          ---
3613 cr-sl      1|1    518 Occ / No NTV      Mitchell, Lyndell         1/10/2020    1/10/2020    1/31/2021       575             450   450     0   0      650                                          ---
3614 cr-ss      1|1    371 Occ / No NTV      Hart, Destiny              5/8/2020     5/8/2020    5/31/2021       555             430   430     0   0     1251                                          ---
3615 cr-sl      1|1    518 Occ / No NTV      Givens, Joanie            4/27/2018     5/1/2021    5/31/2022       575       450   480   480     0   0         0                                         ---
                                                        Case 24-10901                   Doc 35-6            Filed 10/28/24 Entered 10/28/24 20:07:40              Page 142 of
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3616 cr-sl      1|1      518 Occ / No NTV      Thompson, Mitchell     6/25/2018     9/1/2020    9/30/2021       575             480   480     0   0        480                                       ---
3617 cr-sl      1|1      518 Occ / No NTV      Washington, Oliver     5/11/2018    10/1/2021   10/31/2022       575       480   510   510     0   0         80                                       ---
3701 cr-3-f     3|2     1003 Occ / No NTV      Dixon, Adrieyanna      1/29/2021    1/29/2021    1/31/2022       835             835   835     0   0        935                                       ---
3702 cr-3-f     3|2     1003 Occ / No NTV      Ellis, Jermaine       10/20/2016    10/1/2021   10/31/2022       835       785   820   820     0   0          0                                       ---
3703 cr-1-fs    1|1      483 Occ / No NTV      Kang, Kun               8/1/2015    10/1/2021   10/31/2022       585       525   550   550     0   0          0                                       ---
3704 cr-1-fm    1|1      661 Occ / No NTV      Doucette, Arielle     10/12/2020    11/1/2021   11/30/2022       615       550   575   575     0   0          0                                       ---
3705 cr-1-fm    1|1      661 Occ / No NTV      Brown, Donald          8/10/2018    10/1/2020   10/31/2021       615             550   550     0   0        160                                       ---
3706 cr-1-fm    1|1      661 Vac / Not Ready   ---                                                              615       595           0     0   0          0    12/1/2021    1/31/2022   27    615 ---
3707 cr-1-fm    1|1      661 Occ / No NTV      Akaolisa, Nathaniel     6/1/2001    10/1/2021   10/31/2022       615       550   575   575     0   0          0                                       ---
3708 cr-1-fs    1|1      483 Occ / No NTV      Chaney, Samantha       11/5/2018     7/1/2021    7/31/2022       585       500   525   525     0   0       -450                                       ---
3709 cr-3-f     3|2     1003 Occ / No NTV      Davis, Tyrone          8/25/2021    8/25/2021    8/31/2022       835       800   835   835     0   0      1870                                        ---
3710 cr-3-f     3|2     1003 Occ / No NTV      Wilson, Chewanda        6/2/2021     6/2/2021    6/30/2022       835       800   835   835     0   0    942.78                                        ---
3711 cr-3-f     3|2     1003 Occ / No NTV      Curtis, Dernisha       2/19/2021    2/19/2021    2/28/2022       835             835   835     0   0      1270                                        ---
3712 cr-3-f     3|2     1003 Occ / No NTV      Johnson, Travis         9/9/2020    10/1/2021    3/31/2022       835       835   935   885     0   0          0                                       ---
3713 cr-1-fs    1|1      483 Occ / No NTV      Champagne, Channing    9/22/2021    9/22/2021    9/30/2022       585       525   585   585     0   0          0                                       ---
3714 cr-1-fm    1|1      661 Occ / No NTV      Butler, Loletha        12/1/2017    11/1/2021   11/30/2022       615       550   575   575     0   0          0                                       ---
3715 cr-1-fm    1|1      661 Occ / No NTV      Moore, La'Keba          2/7/2020     3/1/2021    2/28/2022       615       525   550   550     0   0    262.79                                        ---
3716 cr-1-fm    1|1      661 Occ / No NTV      Davis, DeAndrea       11/23/2015    10/1/2020   10/31/2021       615             520   520     0   0          0                                       ---
3717 cr-1-fm    1|1      661 Occ / No NTV      Dominic, Patrick      11/26/2019    12/1/2020   12/31/2021       615             550   550     0   0      1850                                        ---
3718 cr-1-fs    1|1      483 Occ / No NTV      Batiste, Ian           12/1/2017     4/1/2021    3/31/2022       585       500   525   525     0   0          0                                       ---
3719 cr-3-f     3|2     1003 Occ / No NTV      Mills, Chantel        12/10/2019     1/1/2021    1/31/2022       835             835   835     0   0          0                                       ---
3720 cr-3-f     3|2     1003 Occ / No NTV      Carr, Rashita          10/8/2021    10/8/2021   10/31/2022       835       800   835   835     0   0       6.45                                       ---
3801 cr-3-f     3|2     1003 Occ / No NTV      Brumfield, Tasheika     4/9/2020     5/1/2021    4/30/2022       835       800   835   835     0   0          0                                       ---
3802 cr-3-f     3|2     1003 Occ / No NTV      Scott, Alexis           4/9/2020     5/1/2021    5/31/2022       835       800   835   835     0   0        100                                       ---
3803 cr-1-fs    1|1      483 Occ / No NTV      Braud, Micheal         7/22/2021    7/22/2021    7/31/2022       585       500   585   152   433   0     23.68                                        ---
3804 cr-1-fm    1|1      661 Occ / No NTV      Moore, Erick          10/10/2015    11/1/2021   11/30/2022       615       550   575   575     0   0          0                                       ---
3805 cr-1-fm    1|1      661 Occ / No NTV      Paul, Dalys            6/25/2021    6/25/2021    6/30/2022       615       525   615   615     0   0          0                                       ---
3806 cr-1-fm    1|1      661 Occ / No NTV      James, Felton           5/3/2019     7/1/2021    7/31/2022       615       525   550   550     0   0          0                                       ---
3807 cr-1-fm    1|1      661 Occ / No NTV      Green, Carolyn          4/5/2013    12/1/2021   12/31/2022       615       524   549   549     0   0          0                                       ---
3808 cr-1-fs    1|1      483 Occ / No NTV      Harris, James           3/4/2011    10/1/2021   10/31/2022       585       510   535   535     0   0        -30                                       ---
3809 cr-3-f     3|2     1003 Occ / No NTV      Dunn, Dawn             3/25/2021    3/25/2021    3/31/2022       835             835   835     0   0          0                                       ---
3810 cr-3-f     3|2     1003 Occ / No NTV      Dantley, Da'quan       5/15/2020     6/1/2021    5/31/2022       835       800   835   835     0   0        455                                       ---
3811 cr-3-f     3|2     1003 Occ / No NTV      Moore, Debbit         11/27/2013    11/1/2020   11/30/2021       835             785   785     0   0        885                                       ---
3812 cr-3-f     3|2     1003 Occ / No NTV      Martin, Tiyanna        3/12/2021    3/12/2021    3/31/2022       835       800   835   835     0   0        835                                       ---
3813 cr-1-fs    1|1      483 Vac / Not Ready   ---                                                              585       565           0     0   0          0   11/30/2021    1/31/2022    28   585 ---
3814 cr-1-fm    1|1      661 Occ / No NTV      Milton, Joseph         3/29/2021    3/29/2021    3/31/2022       615       525   595   595     0   0      1290                                        ---
3815 cr-1-fm    1|1      661 Occ / No NTV      Robinson, Deanna       10/1/2020    11/1/2021   11/30/2022       615       595   620   620     0   0          0                                       ---
3816 cr-1-fm    1|1      661 Occ / No NTV      Mahogany, Karyn        10/7/2005    10/1/2021   10/31/2022       615       495   520   520     0   0        -10                                       ---
3817 cr-1-fm    1|1      661 Occ / No NTV      Payne, Avis            6/18/2012    11/1/2021    11/1/2022       615       550   575   575     0   0          0                                       ---
3818 cr-1-fs    1|1      483 Occ / No NTV      Elzy, Lee              1/14/2019     3/1/2021    3/31/2022       585       500   525   525     0   0          0                                       ---
3819 cr-3-f     3|2     1003 Occ / No NTV      Robertson, Jennifer    6/12/2020     7/1/2021    7/31/2022       835       800   835   835     0   0        905                                       ---
3820 cr-3-f     3|2     1003 Occ / No NTV      Carr, Keion            10/1/2021    10/1/2021   10/31/2022       835       800   835   835     0   0      -0.33                                       ---
4101 cr-1thxl   1|1      947 Occ / No NTV      Smith, Zaccheda       12/12/2019     1/5/2021    1/31/2022       725             655   655     0   0        100                                       ---
4102 cr-1thxl   1|1      947 Occ / No NTV      Moses, Michaelia      11/23/2020   11/23/2020   11/30/2021       725             705   705     0   0        805                                       ---
4103 cr-1thxl   1|1      947 Vac / Not Ready   ---                                                              725       705           0     0   0          0   11/30/2021 Immediate      28    725 ---
4104 cr-1thxl   1|1      947 Occ / No NTV      Johnson, Barbara       7/18/2013    10/1/2021   10/31/2022       725       630   660   660     0   0          0                                       ---
4105 cr-1thxl   1|1      947 Vac / Not Ready   ---                                                              725       655           0     0   0          0     5/7/2021    1/31/2022   235   725 ---
4106 cr-1thxl   1|1      947 Occ / No NTV      Alex, Kirkland         5/23/2017    12/1/2021   12/31/2022       725       570   600   600     0   0          0                                       ---
4107 cr-1thxl   1|1      947 Occ / No NTV      Zeno, Wilbert           5/8/2018    10/1/2021   10/31/2022       725       655   685   685     0   0        685                                       ---
4108 cr-1thxl   1|1      947 Occ / No NTV      Stewart, Naanisha       3/6/2020    12/1/2021   12/31/2022       725       575   595   595     0   0          0                                       ---
4109 cr-1thxl   1|1      947 Occ / No NTV      Savoy, Constance        4/1/2021     4/1/2021    3/31/2022       725       625   705   705     0   0          0                                       ---
4110 cr-1thxl   1|1      947 Occ / No NTV      Williams, Joshua        7/5/2013    12/1/2021   12/31/2022       725       650   680   680     0   0          0                                       ---
4111 cr-1thxl   1|1      947 Occ / NTV         Daniels, Nicholas      6/22/2021    6/22/2021    6/30/2022       725       625   725   725     0   0          0   12/31/2021     1/5/2022         725 ---
4112 cr-1thxl   1|1      947 Occ / No NTV      Jones, Troylynn         4/1/2014    10/1/2021   10/31/2022       725       630   660   660     0   0          0                                       ---
5101 cr-1-fl    1|1      758 Occ / No NTV      Herbert, Joanie        8/26/2019    10/1/2021   10/31/2022       635       575   600   600     0   0          0                                       ---
5102 cr-1-fl    1|1      758 Occ / No NTV      Norman, Jacari         1/12/2018     1/1/2021    1/31/2022       635             595   595     0   0          0                                       ---
5103 cr-1-fl    1|1      758 Occ / No NTV      Sledge, Paulette       9/12/2018    11/1/2020   11/30/2021       635             595   595     0   0     -1585                                        ---
5104 cr-1-fl    1|1      758 Occ / No NTV      Green, Miracle         9/24/2020    10/1/2021   10/31/2022       635       615   550   550     0   0        150                                       ---
5105 cr-1-fl    1|1      758 Occ / No NTV      Truhel, Michael        9/14/2021    9/14/2021    9/30/2022       635       615   635   635     0   0          0                                       ---
5106 cr-1-fl    1|1      758 Occ / No NTV      Rankins, Laila          5/1/2020     6/1/2021    6/30/2022       635       570   595   595     0   0        790                                       ---
5107 cr-1-fl    1|1      758 Occ / No NTV      Williams, Gwendolyn    2/18/2021    2/18/2021    2/28/2022       635       570   615   615     0   0        215                                       ---
5108 cr-1-fl    1|1      758 Occ / No NTV      Walker, Destiny       11/22/2021   11/22/2021   11/30/2022       635       595   635   635     0   0       35.5                                       ---
5109 cr-1-fl    1|1      758 Occ / No NTV      Bradley, Demarcus     11/10/2018    12/1/2020   12/31/2021       635             615   615     0   0          0                                       ---
5110 cr-1-fl    1|1      758 Occ / No NTV      Banks, Karmien          3/3/2021     3/3/2021    3/31/2022       635       570   615   615     0   0       -365                                       ---
5111 cr-1-fl    1|1      758 Occ / No NTV      Byrd, Janice          11/17/2021   11/17/2021   11/30/2022       635       475   635   635     0   0   -102.67                                        ---
5112 cr-1-fl    1|1      758 Occ / No NTV      Castle, Akieem        10/20/2021   10/20/2021   10/31/2022       635       590   635   635     0   0          0                                       ---
5201 cr-1thl    1|1      933 Occ / No NTV      Brown, Kiara          12/23/2020   12/23/2020   12/31/2021       705         0   685   685     0   0          0                                       ---
5202 cr-1-thm   1|1      846 Occ / No NTV      Henry, Kimmiko         8/14/2020    8/14/2020    8/31/2022       675             575   575     0   0          0                                       ---
5203 cr-1-thm   1|1      846 Occ / No NTV      Seaton, Gerald        10/20/2021   10/20/2021   10/31/2022       675       615   675   675     0   0       0.29                                       ---
5204 cr-1-thm   1|1      846 Occ / No NTV      Lewis, Keosha           9/3/2019    10/1/2021   10/31/2022       675       515   540   540     0   0        640                                       ---
5205 cr-1-thm   1|1      846 Occ / No NTV      Lam, Ariel            11/17/2021   11/17/2021   11/30/2022       675       560   675   675     0   0          0                                       ---
5206 cr-1-thm   1|1      846 Occ / No NTV      Lemon, Gnique         11/17/2020    12/1/2021   12/31/2022       675       655   675   675     0   0          0                                       ---
5207 cr-2-thl   2|1.5   1306 Occ / No NTV      Stockton, Matissie      1/3/2020     2/1/2021    2/28/2022       805             760   760     0   0          0                                       ---
5208 cr-1-thm   1|1      846 Occ / NTV         Sansom, Leshon         12/7/2019     1/1/2021     1/1/2022       675       590   615   615     0   0      1330     1/31/2022     2/5/2022         675 ---
5209 cr-1-thm   1|1      846 Occ / No NTV      Modeliste, Kayla       4/16/2021    4/16/2021    4/30/2022       675       615   655   655     0   0          0                                       ---
5210 cr-1-thm   1|1      846 Occ / No NTV      Sims, Issasheka         7/1/2021     7/1/2021    7/31/2022       675       590   675   675     0   0          0                                       ---
5211 cr-1-thm   1|1      846 Occ / No NTV      Lee, Natoria            2/4/2021     2/4/2021    2/28/2022       675       590   655   655     0   0      2200                                        ---
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   5212 cr-1thl    1|1          933 Occ / No NTV      West, Jomika                  3/13/2020      4/1/2021    3/31/2022                         705                610          640           640          0        0          -640                                     ---
   5213 cr-1thl    1|1          933 Vac / Not Ready   ---                                                                                        705                635                           0         0        0             0   11/22/2021   1/31/2022   36   705 ---
   5214 cr-1-thm   1|1          846 Occ / No NTV      Porter, Christina            11/18/2019     12/1/2020   12/31/2021                         675                             615           615          0        0             0                                     ---
   5215 cr-1-thm   1|1          846 Occ / No NTV      Causey, Jamie                  5/1/2013      6/1/2021    5/31/2022                         675                590          615           615          0        0           615                                     ---
   5216 cr-1-thm   1|1          846 Occ / No NTV      Njoku, Uniya                 11/15/2021    11/15/2021   11/30/2022                         675                590          675           675          0        0            75                                     ---
   5217 cr-1-thm   1|1          846 Occ / No NTV      Calloway, Tedra               10/2/2020     11/1/2021   11/30/2022                         675                655          680           680          0        0             0                                     ---
   5218 cr-1-thm   1|1          846 Occ / No NTV      Hardeman, Ashley              7/30/2021     7/30/2021    7/31/2022                         675                655          675           675          0        0             0                                     ---
   5219 cr-2-thl   2|1.5      1306 Occ / No NTV       Smith, Debra                  3/10/2006      6/1/2021    5/31/2022                         805                600          660           167       493         0             0                                     ---
   5220 cr-1-thm   1|1          846 Occ / No NTV      Harris, Moses                 5/14/2020      6/1/2021    6/30/2022                         675                590          615           615          0        0         55.44                                     ---
   5221 cr-1-thm   1|1          846 Occ / No NTV      Fluker Jr, Johnnie            9/16/2020     9/16/2020    9/30/2021                         675                             655           655          0        0           300                                     ---
   5222 cr-1-thm   1|1          846 Occ / No NTV      Pittman, Shardae              9/28/2020     10/1/2021    10/1/2022                         675                 655         675           675          0        0             0                                     ---
   5223 cr-1-thm   1|1          846 Occ / No NTV      Alexis, Ramal                 8/13/2013      4/1/2021    3/31/2022                         675                 590         615           615          0        0             0                                     ---
   5224 cr-1thl    1|1          933 Occ / No NTV      Harris, Wakeva                11/3/2021     11/3/2021   11/30/2022                         705                 705         705           705          0        0             0                                     ---
Grand Totals                261,320                                                                                                      $219,825.00   $0.00 $144,477.00 $183,204.00   $181,546.00 $1,883.00    $0.00    $29,319.42

Floor Plan Summary
Floor PlanUnits     Sq. Ft. Market Rent
                                     Quoting Rent     Leased Rent Average         Market Rent/SqFt           Occupied UnitsOccupancy %
                                                                                               Leased Rent/SqFt
cr-1-ths         25      704    645               645                       591           0.92          0.84           18      72.00%
cr-2-thm        100    1023     775               775                       738           0.76          0.72           85      85.00%
cr-3-f           32    1003     835               835                       826           0.83          0.82           30      93.80%
cr-1-fs          28      483    585               585                       555           1.21          1.15           22      78.60%
cr-1-fm          32      661    615               615                       572           0.93          0.87           31      96.90%
cr-2-ths         20      935    725               725                       695           0.78          0.74           18      90.00%
cr-sl            24      518    575               575                       517           1.11             1           24    100.00%
cr-ss             4      371    555               555                       475            1.5          1.28            4    100.00%
cr-1thxl         12      947    725               725                       667           0.77           0.7           10      83.30%
cr-1-fl          12      758    635               635                       610           0.84           0.8           12    100.00%
cr-1thl           4      933    705               705                       677           0.76          0.73            3      75.00%
cr-1-thm         18      846    675               675                       642            0.8          0.76           18    100.00%
cr-2-thl          2    1306     805               805                       710           0.62          0.54            2    100.00%
Grand Total     313      835    702               702                       664           0.84           0.8         277       88.50%
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Magnolia Trace 12-27-2021
Rent Roll Report




                     Beds/                                                                                                        Under                    Gross Rent   Prior Leased    Current Leased                                Charged Unit                     Move-Out       Move-In      Days     Quoting
 Unit Floor Plan     Baths   Sq. Ft. Status             Resident                 Move-In Date Lease Start Date Lease End Date    Eviction   Market Rent      Limit          Rent             Rent       Resident Rent Subsidy Rent        Fees           Balance        Date           Ready      Vacant     Rent    Applicant   Applicant Status   Scheduled Move-In Date
  101 mt-c1        3|2.5        1100 Occ / No NTV       Pierce, Janice             10/24/2014      11/1/2020        11/30/2021                       879                                            799            799            0                  0             0                                                 ---
  102 mt-b2        2|1.5        1049 Vac / Not Ready    ---                                                                                          825                          825                                0            0                  0             0    10/6/2021 Immediate            83        825 ---
  103 mt-b2        2|1.5        1049 Down               ---                                                                                          825                                                             0            0                  0             0                                                 ---
  104 mt-b2        2|1.5        1049 Occ / No NTV       McCray, James                9/22/2021      9/22/2021       9/22/2022                        825                          825               825            825            0                  0             0                                                 ---
  105 mt-b2        2|1.5        1049 Occ / No NTV       Thomas, Shenita              6/24/2011       6/1/2021       5/31/2022                        825                          749               825            825            0                  0          2575                                                 ---
  106 mt-c1        3|2.5        1100 Occ / No NTV       Myles, Savannah              1/15/2021      1/15/2021       1/15/2022                        879                                            879            879            0                  0      -2960.97                                                 ---
  201 mt-c1        3|2.5        1100 Occ / NTV          Howard, Tillman              6/18/2021      6/18/2021       5/31/2022                        879                          879               879            879            0                  0             0   12/31/2021      1/5/2022                  879 ---
  202 mt-b2        2|1.5        1049 Occ / No NTV       Granades, Reyna               5/1/2019       7/1/2021        7/1/2022                        825                          825               825            825            0                  0             0                                                 ---
  203 mt-b2        2|1.5        1049 Occ / No NTV       Martinez-Grajeda, Nacy        6/3/2021       6/3/2021       5/31/2022                        825                          825               825            825            0                  0          -520                                                 ---
  204 mt-b2        2|1.5        1049 Occ / No NTV       Brown, Branica               6/15/2019       9/1/2020       9/30/2021                        825                                            799            799            0                  0          2086                                                 ---
  205 mt-b2        2|1.5        1049 Occ / No NTV       Mellion, Drexel              5/28/2021      5/28/2021       4/30/2022                        825                          825               825            825            0                  0         35.36                                                 ---
  206 mt-c1        3|2.5        1100 Occ / No NTV       Brown, Takara                6/29/2020       7/1/2021       6/30/2022                        879                          879               879            879            0                  0             0                                                 ---
  301 mt-c1        3|2.5        1100 Occ / No NTV       Jackson, Michael              7/9/2012       4/1/2020       4/30/2021                        879                                            700            700            0                  0             0                                                 ---
  302 mt-b2        2|1.5        1049 Occ / No NTV       Williams, LaQuincya          3/19/2015      10/1/2020      10/31/2021                        825                                            749            749            0                  0             0                                                 ---
  303 mt-b2        2|1.5        1049 Vac / Not Ready    ---                                                                                          825                                                             0            0                  0             0              Unknown            375         825 ---
  304 mt-b2        2|1.5        1049 Vac / Not Ready    ---                                                                                          825                          724                                0            0                  0             0    9/14/2021 Immediate          105         825 ---
  305 mt-b2        2|1.5        1049 Occ / No NTV       Guerrero-Rosales, Jose        4/2/2021       4/2/2021        4/2/2022                        825                                            825            825            0                  0        -202.5                                                 ---
  306 mt-c1        3|2.5        1100 Occ / No NTV       Black, Gary                  4/15/2021      4/15/2021       4/15/2022                        879                                            879            879            0                  0           879                                                 ---
  401 mt-b2        2|1.5        1049 Occ / No NTV       Holmes, Lanelus             11/12/2014      12/1/2020      12/31/2021                        825                                            749            749            0                  0             0                                                 ---
  402 mt-b2        2|1.5        1049 Occ / No NTV       Arvie, Germaine              9/30/2009      10/1/2021       10/1/2022                        825                          799               825            825            0                  0             0                                                 ---
  403 mt-b2        2|1.5        1049 Occ / No NTV       Scott, Lacy                  9/13/2019      10/1/2020      10/31/2021                        825                                            825            825            0                  0          -555                                                 ---
  404 mt-b2        2|1.5        1049 Occ / No NTV       Anderson, Jhacori            4/14/2021      4/14/2021       4/14/2022                        825                          825               825            825            0                  0             0                                                 ---
  405 mt-b2        2|1.5        1049 Occ / No NTV       Moore, Andia                 8/20/2021      8/20/2021       8/20/2022                        825                          825               825            825            0                  0       3334.52                                                 ---
  406 mt-b2        2|1.5        1049 Vac / Not Ready    ---                                                                                          825                          825                                0            0                  0             0   11/18/2021 Immediate            40        825 ---
  501 mt-b2        2|1.5        1049 Occ / No NTV       Sheppard, Katherine          6/11/2021      6/11/2021       6/11/2022                        825                          825               825            825            0                  0       1781.71                                                 ---
  502 mt-b2        2|1.5        1049 Occ / No NTV       Matthews, Coretta            6/23/2020       7/1/2021        8/1/2022                        825                          825               825            825            0                  0           825                                                 ---
  503 mt-b2        2|1.5        1049 Occ / No NTV       Lopez, Melina                9/28/2021      9/28/2021       9/28/2022                        825                          799               825            825            0                  0         192.5                                                 ---
  504 mt-b2        2|1.5        1049 Occ / No NTV       Paul, Tasia                  9/23/2021      9/23/2021       9/23/2022                        825                          825               825            825            0                  0          1650                                                 ---
  505 mt-b2        2|1.5        1049 Vac / Not Ready    ---                                                                                          825                                                             0            0                  0             0                Unknown          375         825 ---
  506 mt-b2        2|1.5        1049 Occ / No NTV       Duarte, Orbin                 6/4/2021       6/4/2021       5/31/2022                        825                          825               825            825            0                  0          -725                                                 ---
  601 mt-c1        3|2.5        1100 Vac / Not Ready    ---                                                                                          879                                                             0            0                  0             0                Unknown          375         879 ---
  602 mt-b2        2|1.5        1049 Occ / No NTV       Scott, Alaceya               5/15/2020       6/1/2021       5/31/2022                        825                          825               825            825            0                  0          1650                                                 ---
  603 mt-b2        2|1.5        1049 Vac / Not Ready    ---                                                                                          825                          825                                0            0                  0             0   10/27/2021 Immediate            62        825 ---
  604 mt-b2        2|1.5        1049 Occ / No NTV       Garner, Kellye              10/10/2014      12/1/2020      12/31/2021                        825                                            749            749            0                  0             0                                                 ---
  605 mt-b2        2|1.5        1049 Occ / No NTV       Schaffer, Kennice             4/6/2020       5/1/2021        6/1/2022                        825                          825               825            825            0                  0             0                                                 ---
  606 mt-c1        3|2.5        1100 Occ / No NTV       Randolph, Kendra            10/23/2020     10/23/2020      10/31/2021                        879                                            879            879            0                  0             0                                                 ---
  701 mt-c1        3|2.5        1100 Occ / No NTV       Momon, Keri                  10/1/2021      10/1/2021       10/1/2022                        879                          799               879            879            0                  0            -1                                                 ---
  702 mt-b2        2|1.5        1049 Down               ---                                                                                          825                                                             0            0                  0             0                                                 ---
  703 mt-b2        2|1.5        1049 Occ / No NTV       Benjamin, Sheilah            12/1/2018       5/1/2020       5/31/2021                        825                                            799            159         640                   0           565                                                 ---
  704 mt-b2        2|1.5        1049 Occ / No NTV       Kolloe, Javelee              5/12/2018      12/1/2020      12/31/2021                        825                                            749            749            0                  0             0                                                 ---
  705 mt-b2        2|1.5        1049 Occ / No NTV       Ward, Anjernae               9/24/2021      9/24/2021       9/24/2022                        825                          825               825            825            0                  0         -27.5                                                 ---
  706 mt-c1        3|2.5        1100 Occ / No NTV       McKay, Samantha              9/27/2021      9/27/2021       9/27/2022                        879                          879               879            879            0                  0             0                                                 ---
  801 mt-b2        2|1.5        1049 Occ / NTV          Williams, Tammie            12/26/2016      1/13/2021       1/31/2022                        825                          749               749            749            0                  0             0    1/13/2022     1/18/2022                  825 ---
  802 mt-b2        2|1.5        1049 Down               ---                                                                                          825                                                             0            0                  0             0                                                 ---
  803 mt-b2        2|1.5        1049 Down               ---                                                                                          825                                                             0            0                  0             0                                                 ---
  804 mt-b2        2|1.5        1049 Down               ---                                                                                          825                                                             0            0                  0             0                                                 ---
  805 mt-b2        2|1.5        1049 Occ / No NTV       Sylve, Gail                   1/4/2019      10/1/2021       10/1/2022                        825                          799               825            825            0                  0             0                                                 ---
  806 mt-b2        2|1.5        1049 Occ / No NTV       Jackson, Mortega             8/13/2021      8/13/2021       8/13/2022                        825                          825               825            825            0                  0        924.65                                                 ---
  901 mt-c1        3|2.5        1100 Down               ---                                                                                          879                                                             0            0                  0             0                                                 ---
  902 mt-b2n       2|1.5        1049 Down               ---                                                                                          799                                                             0            0                  0             0                                                 ---
  903 mt-b2n       2|1.5        1049 Down               ---                                                                                          799                                                             0            0                  0             0                                                 ---
  904 mt-b2n       2|1.5        1049 Down               ---                                                                                          799                                                             0            0                  0             0                                                 ---
  905 mt-b2n       2|1.5        1049 Down               ---                                                                                          799                                                             0            0                  0             0                                                 ---
  906 mt-c1n       3|2.5        1100 Down               ---                                                                                          849                                                             0            0                  0             0                                                 ---
 1001 mt-b2        2|1.5        1049 Occ / No NTV       Fm, Edge                     4/23/2021      4/23/2021       4/23/2022                        825                          825               825            825            0                  0             0                                                 ---
 1002 mt-b2        2|1.5        1049 Occ / No NTV       Williams, Felicia             8/4/2020       9/1/2021       8/31/2022                        825                          825               825            825            0                  0             0                                                 ---
 1003 mt-b2        2|1.5        1049 Occ / No NTV       Green, Taylor                5/13/2020      7/23/2021       6/30/2022                        825                          825               825            825            0                  0             0                                                 ---
 1004 mt-b2        2|1.5        1049 Occ / No NTV       Rood, Bailey                 7/23/2021      7/23/2021       7/23/2022                        825                          825               825            825            0                  0         41.52                                                 ---
 1005 mt-b2        2|1.5        1049 Occ / No NTV       Cosby, Tonya                 3/14/2016       5/1/2020       5/31/2021                        825                                            749            749            0                  0             0                                                 ---
 1006 mt-b2        2|1.5        1049 Occ / No NTV       Majors, Chassity              6/5/2020       7/1/2021       6/30/2022                        825                          825               825            825            0                  0             0                                                 ---
 1101 mt-a1        1|1            650 Vac / Not Ready   ---                                                                                          650                          650                                0            0                  0             0   10/26/2021 Immediate            63        650 ---
 1102 mt-a1        1|1            650 Occ / No NTV      Walker, Megan                 5/8/2020       5/8/2020       5/31/2021                        650                                            650            650            0                  0      -1107.63                                                 ---
 1103 mt-a1        1|1            650 Occ / No NTV      Williams, Dontrell           8/20/2021      8/20/2021       8/20/2022                        650                          650               650            650            0                  0             0                                                 ---
 1104 mt-a1        1|1            650 Occ / No NTV      Joseph, Crystal              8/18/2021      8/18/2021       8/18/2022                        650                          650               650            650            0                  0           650                                                 ---
 1105 mt-a1        1|1            650 Vac / Not Ready   ---                                                                                          650                          650                                0            0                  0             0   10/27/2021 Immediate            62        650 ---
 1106 mt-a1        1|1            650 Occ / No NTV      Lewis, Adeline                7/6/2018      11/1/2021       11/1/2022                        650                          625               650            650            0                  0             0                                                 ---
 1107 mt-a1        1|1            650 Occ / No NTV      Keller, Keondra               9/2/2021       9/2/2021        9/2/2022                        650                          599               650            650            0                  0         14.33                                                 ---
 1108 mt-a1        1|1            650 Occ / No NTV      Wilkinson, Sierra             4/2/2021       4/2/2021        4/2/2022                        650                          599               650            650            0                  0       2049.33                                                 ---
 1109 mt-a1        1|1            650 Occ / No NTV      Moore, Kenyomee               5/1/2019       8/1/2021       7/31/2022                        650                          625               650            650            0                  0          1400                                                 ---
 1110 mt-a1        1|1            650 Occ / No NTV      Williams, Jeffrey            6/15/2004      12/1/2020      12/31/2021                        650                                            650            385         265                   0          3265                                                 ---
 1111 mt-a1        1|1            650 Occ / No NTV      Gooden, Andrew               5/24/2018       7/1/2021        7/1/2022                        650                          599               650            650            0                  0             0                                                 ---
 1112 mt-a1        1|1            650 Vac / Not Ready   ---                                                                                          650                          650                                0            0                  0             0   10/31/2021 Immediate            58        650 ---
 1201 mt-a1        1|1            650 Occ / No NTV      Morrison, Ronald             4/19/2019       6/1/2021        6/1/2022                        650                          625               650            650            0                  0          -249                                                 ---
 1202 mt-a1        1|1            650 Occ / No NTV      King, Norma                 11/28/1985       6/1/2021        6/1/2022                        650                          525               650            650            0                  0          -125                                                 ---
 1203 mt-a1        1|1            650 Occ / No NTV      Trahan, Sana                12/21/2015       3/1/2021       2/28/2022                        650                          610               650            650            0                  0         -3.95                                                 ---
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1204 mt-a1    1|1     650 Vac / Not Ready   ---                                                             650       650            0   0    0         0   10/26/2021 Immediate      63    650 ---
1205 mt-a1    1|1     650 Occ / No NTV      McLeod, Jammie           10/1/2016    12/1/2020   12/31/2021    650              599   599   0    0         0                                       ---
1206 mt-a1    1|1     650 Occ / No NTV      Ransom, Gregory           6/4/2021     6/4/2021     6/4/2022    650       650    650   650   0    0       300                                       ---
1207 mt-a1    1|1     650 Occ / No NTV      Akins, Carmen             8/2/2021     8/2/2021    7/31/2022    650       650    650   650   0    0         0                                       ---
1208 mt-a1    1|1     650 Occ / No NTV      Fields, Ketedra          2/22/2021    2/22/2021    2/22/2022    650         0    650   650   0    0    -200.5                                       ---
1209 mt-a1    1|1     650 Vac / Not Ready   ---                                                             650       650            0   0    0         0   10/31/2021 Immediate      58    650 ---
1210 mt-a1    1|1     650 Occ / No NTV      Cossett, Regine          2/26/2021    2/26/2021    2/26/2022    650         0    650   650   0    0         0                                       ---
1211 mt-a1n   1|1     650 Occ / No NTV      Davis, Charnisha         6/25/2021    6/25/2021    6/25/2022    625              650   650   0    0    806.67                                       ---
1212 mt-a1    1|1     650 Occ / No NTV      Leverson, Tinisha        9/25/2020    10/1/2021    10/1/2022    650       650    650   650   0    0         0                                       ---
1213 mt-a1    1|1     650 Occ / No NTV      Dixon, Kevin             3/18/2020    3/31/2021    3/31/2022    650       650    650   650   0    0         0                                       ---
1214 mt-a1    1|1     650 Occ / No NTV      Swanson, Brionna         1/28/2021    1/28/2021    1/28/2022    650              650   650   0    0         0                                       ---
1215 mt-a1    1|1     650 Occ / No NTV      Landon, Robert           10/1/2021    10/1/2021    10/1/2022    650       650    650   650   0    0      -500                                       ---
1216 mt-a1    1|1     650 Down              ---                                                             650       650            0   0    0         0   12/31/2020                          ---
1301 mt-a1    1|1     650 Occ / No NTV      Palmer, Carolyn           2/1/2019     3/1/2021     3/1/2022    650       625    625   625   0    0       625                                       ---
1302 mt-a1    1|1     650 Occ / No NTV      Brown, Aaliyah           7/27/2021    7/27/2021    6/30/2022    650       650    650   650   0    0       150                                       ---
1303 mt-a1    1|1     650 Occ / No NTV      Crow, Destiny            8/18/2021    8/18/2021    8/18/2022    650       599    650   650   0    0    769.52                                       ---
1304 mt-a1    1|1     650 Occ / No NTV      Ruffin, Bre'Anna         4/30/2021    4/30/2021    4/30/2022    650       650    650   650   0    0      -300                                       ---
1305 mt-a1    1|1     650 Occ / No NTV      Lewis, Bryonne           8/20/2021    8/20/2021    8/20/2022    650       600    650   650   0    0       650                                       ---
1306 mt-a1    1|1     650 Occ / No NTV      Ransom, Gayla           10/27/2020    11/1/2021    11/1/2022    650       650    650   650   0    0      -300                                       ---
1307 mt-a1    1|1     650 Occ / No NTV      Young, Dianna            3/31/2021    3/31/2021    3/31/2022    650       625    650   650   0    0     -1950                                       ---
1308 mt-a1    1|1     650 Occ / NTV         Johnson, Lakayla         9/16/2021    9/16/2021    9/16/2022    650       650    650   650   0    0       650   12/25/2021   12/30/2021         650 ---
1309 mt-a1    1|1     650 Occ / No NTV      Kirschenhunter, Paige   10/25/2021   10/25/2021   10/25/2022    650       650    650   650   0    0   -677.23                                       ---
1310 mt-a1    1|1     650 Occ / No NTV      Collins, Donyea           6/7/2021     6/7/2021     6/7/2022    650       650    650   650   0    0       492                                       ---
1311 mt-a1    1|1     650 Occ / No NTV      Williams, Brandon        10/4/2019    11/1/2020   11/30/2021    650              650   650   0    0         0                                       ---
1312 mt-a1    1|1     650 Occ / No NTV      Mitchell, Troy            2/9/2021     2/9/2021     2/9/2022    650              650   650   0    0         0                                       ---
1401 mt-a1    1|1     650 Occ / No NTV      Davis, Lyrus             5/27/2019     7/1/2021    7/31/2022    650       625    650   650   0    0         0                                       ---
1402 mt-a1    1|1     650 Occ / No NTV      Weathers, James          6/16/2021    6/16/2021    6/16/2022    650       650    650   650   0    0         0                                       ---
1403 mt-a1    1|1     650 Occ / No NTV      Thompson, Joshua          9/1/2021     9/1/2021     9/1/2022    650       650    650   650   0    0       650                                       ---
1404 mt-a1    1|1     650 Occ / No NTV      Gross, Blythe             3/4/2021     3/4/2021    3/31/2022    650              650   650   0    0      -588                                       ---
1501 mt-a1    1|1     650 Vac / Not Ready   ---                                                             650       650            0   0    0         0    9/22/2021 Immediate      97    650 ---
1502 mt-a1    1|1     650 Occ / No NTV      Moore, Tiara             12/2/2019     1/1/2021   12/31/2021    650       650    650   650   0    0      2050                                       ---
1503 mt-a1    1|1     650 Vac / Not Ready   ---                                                             650       650            0   0    0         0    11/4/2021 Immediate       54   650 ---
1504 mt-a1    1|1     650 Vac / Not Ready   ---                                                             650       574            0   0    0         0    8/24/2021 Immediate      126   650 ---
1505 mt-a1    1|1     650 Occ / No NTV      Lee, Dakhari             1/29/2021    1/29/2021    1/29/2022    650              650   650   0    0      1300                                       ---
1506 mt-a1    1|1     650 Occ / No NTV      Martin, Jasmine          12/4/2020    12/4/2020   12/31/2021    650              650   650   0    0       650                                       ---
1507 mt-a1    1|1     650 Vac / Not Ready   ---                                                             650       650            0   0    0         0    11/4/2021 Immediate      54    650 ---
1508 mt-a1    1|1     650 Occ / No NTV      Harper, Diette            5/1/2020     6/1/2021     6/1/2022    650       650    650   650   0    0     -1750                                       ---
1601 mt-a1    1|1     650 Occ / No NTV      Martin, Ernest          10/22/2010    12/1/2020   12/31/2021    650              599   599   0    0       599                                       ---
1602 mt-a1    1|1     650 Vac / Not Ready   ---                                                             650       650            0   0    0         0    10/1/2021 Immediate      88    650 ---
1603 mt-a1    1|1     650 Occ / No NTV      Wallis, Kevin            5/10/2021    5/10/2021    5/31/2022    650       650    650   650   0    0         0                                       ---
1604 mt-a1    1|1     650 Occ / No NTV      Lebeouf, Larry           4/19/2019     6/1/2021    5/31/2022    650       625    650   650   0    0         0                                       ---
1605 mt-a1    1|1     650 Occ / No NTV      Pugh, Trayven            8/24/2021    8/24/2021    8/24/2022    650       650    650   650   0    0         0                                       ---
1606 mt-a1    1|1     650 Occ / No NTV      Thompson, Patricia        4/1/2020     5/1/2021    4/30/2022    650       650    650   650   0    0         0                                       ---
1607 mt-a1    1|1     650 Down              ---                                                             650                      0   0    0         0                                       ---
1608 mt-a1    1|1     650 Occ / No NTV      Brooks, India             2/5/2021     2/5/2021     2/5/2022    650              650   650   0    0         0                                       ---
1609 mt-a1    1|1     650 Occ / No NTV      Harris, Jionel            3/2/2021     3/2/2021     3/2/2022    650       650    650   650   0    0         0                                       ---
1610 mt-a1    1|1     650 Occ / No NTV      Milligan, Diamonque       7/1/2021     7/1/2021    6/30/2022    650       650    650   650   0    0    157.97                                       ---
1611 mt-a1    1|1     650 Occ / No NTV      Lewis, Oriaana            5/3/2018     7/1/2021     7/1/2022    650       599    650   650   0    0         0                                       ---
1612 mt-a1    1|1     650 Occ / No NTV      Landry, Katyra            5/9/2020     6/1/2021    5/31/2022    650       650    650   650   0    0         0                                       ---
1701 mt-b1    2|1.5   864 Property Office   ---                                                             780                      0   0    0         0                                       ---
1702 mt-b1    2|1.5   864 Vac / Not Ready   ---                                                             780       780            0   0    0         0   10/31/2021 Immediate       58   780 ---
1703 mt-b1    2|1.5   864 Property Model    ---                                                             780                      0   0    0         0                                       ---
1704 mt-b1    2|1.5   864 Occ / No NTV      Murphy, Brea             7/19/2021    7/19/2021    7/19/2022    780       699    780   780   0    0       400                                       ---
1705 mt-b1    2|1.5   864 Occ / No NTV      McDormic, Thaddius        7/1/2014    11/1/2020   11/30/2021    780              699   699   0    0         0                                       ---
1706 mt-b1    2|1.5   864 Occ / No NTV      Cobbs, Ariell             6/1/2015     7/1/2021    6/30/2022    780       699    780   780   0    0      -174                                       ---
1707 mt-b1    2|1.5   864 Occ / No NTV      Dixon, Deasia            4/30/2021    4/30/2021    4/30/2022    780       780    780   780   0    0      1552                                       ---
1708 mt-b1    2|1.5   864 Occ / No NTV      Harrell, Ashuntai        2/20/2018     5/1/2021    5/31/2022    780       710    780   780   0    0         0                                       ---
1801 mt-b1    2|1.5   864 Occ / No NTV      Reaves, Mariah           12/1/2021    12/1/2021    12/1/2022    780       780    780   780   0    0      -600                                       ---
1802 mt-b1    2|1.5   864 Occ / No NTV      Harrison, Samuel         9/15/2021    9/15/2021    9/15/2022    780       780    780   780   0    0    119.01                                       ---
1803 mt-b1    2|1.5   864 Occ / No NTV      Sanabria, Letitia        11/1/2019    12/1/2020   12/31/2021    780              780   780   0    0      2440                                       ---
1804 mt-b1    2|1.5   864 Occ / No NTV      Spears, Taranecia         6/8/2021     6/8/2021    5/31/2022    780       780    780   780   0    0       190                                       ---
1805 mt-b1    2|1.5   864 Occ / No NTV      Edwards, Deondra         1/28/2019     4/1/2020    4/30/2021    780              749   749   0    0      1645                                       ---
1806 mt-b1    2|1.5   864 Occ / No NTV      Lewis, Jasmine           2/12/2021    2/12/2021    2/12/2022    780              780   780   0    0      -950                                       ---
1807 mt-b1    2|1.5   864 Non Productive    ---                                                             780                      0   0    0         0                                       ---
1808 mt-b1    2|1.5   864 Occ / No NTV      Fisher, Drenicka         1/15/2021    1/15/2021    1/15/2022    780         0    780   780   0    0       880                                       ---
1901 mt-b1    2|1.5   864 Vac / Not Ready   ---                                                             780       749            0   0    0         0    9/10/2021 Immediate      109   780 ---
1902 mt-b1    2|1.5   864 Occ / No NTV      Andrews, Jhuane         10/29/2021   10/29/2021   10/29/2022    780       780    780   780   0    0       480                                       ---
1903 mt-b1    2|1.5   864 Occ / No NTV      Chapman, Trenneisha     10/14/2020   10/14/2020   10/31/2021    780              780     0   0    0     -5360                                       ---
1904 mt-b1    2|1.5   864 Occ / No NTV      Cooper, Shirley          8/10/2011     9/1/2020    9/30/2021    780              699   699   0    0         0                                       ---
1905 mt-b1    2|1.5   864 Down              ---                                                             780                      0   0    0         0                                       ---
1906 mt-b1    2|1.5   864 Occ / No NTV      Marsaw, Krystal           4/6/2021     4/6/2021     4/6/2022    780              780   780   0    0         0                                       ---
1907 mt-b1    2|1.5   864 Occ / No NTV      Green, Destiny           11/4/2019    12/1/2020   12/31/2021    780              780   780   0    0         0                                       ---
1908 mt-b1    2|1.5   864 Vac / Not Ready   ---                                                             780       780            0   0    0         0   10/31/2021 Immediate       58   780 ---
2001 mt-b1    2|1.5   864 Occ / No NTV      Martin, Antony          11/15/2018    12/1/2020   12/31/2021    780              749   749   0    0         0                                       ---
2002 mt-b1    2|1.5   864 Occ / No NTV      Montgomery, Jermal       4/20/2018     6/1/2021     6/1/2022    780       699    780   780   0    0         0                                       ---
2003 mt-b1    2|1.5   864 Occ / No NTV      Emery, James             7/23/2021    7/23/2021    7/23/2022    780       780    780   780   0    0         0                                       ---
2004 mt-b1    2|1.5   864 Vac / Not Ready   ---                                                             780       780            0   0    0         0   10/14/2021 Immediate       75   780 ---
2005 mt-b1    2|1.5   864 Down              ---                                                             780       780            0   0    0         0     3/2/2021                          ---
2006 mt-b1    2|1.5   864 Occ / No NTV      Brown, Pamela           11/22/2019    12/1/2020   12/31/2021    780              780   780   0    0         0                                       ---
2007 mt-b1    2|1.5   864 Occ / No NTV      Hunter, Tabrian          9/21/2015    12/1/2021    12/1/2022    780       699    780   780   0    0         0                                       ---
2008 mt-b1    2|1.5   864 Occ / No NTV      Gordon, Dexton            6/5/2020     7/1/2021     7/1/2022    780       780    780   780   0    0         0                                       ---
2101 mt-b1    2|1.5   864 Occ / No NTV      Vinson, Chrystal         6/21/2021    6/21/2021    5/31/2022    780       780    780   780   0    0        90                                       ---
                                                         Case 24-10901                      Doc 35-6     Filed 10/28/24 Entered 10/28/24 20:07:40               Page 146 of
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2102 mt-b1   2|1.5    864 Occ / No NTV      Alfaro, Francis         6/1/2021     6/1/2021    5/31/2022    780       780    780   780     0   0    -309.22                                     ---
2103 mt-b1   2|1.5    864 Vac / Not Ready   ---                                                           780       780            0     0   0           0   10/31/2021 Immediate   58    780 ---
2104 mt-b1   2|1.5    864 Occ / No NTV      Walker, Patricia       8/31/2018    11/1/2021    11/1/2022    780       749    780   780     0   0           0                                    ---
2105 mt-b1   2|1.5    864 Occ / No NTV      Perilloux, Robert      4/18/2009     8/1/2021    7/31/2022    780       699    780   780     0   0           0                                    ---
2106 mt-b1   2|1.5    864 Vac / Not Ready   ---                                                           780       780            0     0   0           0    12/5/2021 Immediate   23    780 ---
2107 mt-b1   2|1.5    864 Down              ---                                                           780                      0     0   0           0                                    ---
2108 mt-b1   2|1.5    864 Occ / No NTV      Holman, Giovonni       5/14/2021    5/14/2021    4/30/2022    780              780   780     0   0      -1560                                     ---
2201 mt-b1   2|1.5    864 Occ / No NTV      Thigpen, Imani         6/18/2021    6/18/2021    5/31/2022    780       699    780   780     0   0        -780                                    ---
2202 mt-b1   2|1.5    864 Occ / No NTV      Formm, Edge            4/23/2021    4/23/2021    4/23/2022    780       780    780   780     0   0           0                                    ---
2203 mt-b1   2|1.5    864 Occ / No NTV      Davis, Lakeisha        11/6/2017     9/1/2020    9/30/2021    780              699   699     0   0       2291                                     ---
2204 mt-b1   2|1.5    864 Occ / No NTV      Neyland, Loren          8/2/2021     8/2/2021    7/31/2022    780       780    780   780     0   0           0                                    ---
2205 mt-b1   2|1.5    864 Down              ---                                                           780                      0     0   0           0                                    ---
2206 mt-b1   2|1.5    864 Occ / No NTV      Sanders, Jermaine      7/23/2021    7/23/2021    7/23/2022    780       780    780   780     0   0           0                                    ---
2207 mt-b1   2|1.5    864 Vac / Not Ready   ---                                                           780                      0     0   0           0             Unknown      375   780 ---
2208 mt-b1   2|1.5    864 Occ / No NTV      Howard, Theodore       2/24/2021    2/24/2021    2/28/2022    780              780   780     0   0        -300                                    ---
2301 mt-b1   2|1.5    864 Vac / Not Ready   ---                                                           780       780            0     0   0           0   10/26/2021 Immediate   63    780 ---
2302 mt-b1   2|1.5    864 Occ / No NTV      Spears, Willie         5/10/2013     9/1/2020    9/30/2021    780              699   699     0   0           0                                    ---
2303 mt-b1   2|1.5    864 Occ / No NTV      Burkley, Tamela        6/16/2017    12/1/2020   12/31/2021    780              674   674     0   0         674                                    ---
2304 mt-b1   2|1.5    864 Occ / No NTV      Alvarez, Alexi         5/28/2021    5/28/2021    4/30/2022    780       780    780   780     0   0      -1199                                     ---
2305 mt-b1   2|1.5    864 Down              ---                                                           780                      0     0   0           0                                    ---
2306 mt-b1   2|1.5    864 Occ / No NTV      Johnson, Calvin         8/2/2021     8/2/2021    7/31/2022    780       780    780   780     0   0       -0.11                                    ---
2401 mt-b1   2|1.5    864 Occ / No NTV      Harrell, Caruntai       6/1/2021     6/1/2021     6/1/2022    780       780    780   780     0   0           0                                    ---
2402 mt-b1   2|1.5    864 Occ / No NTV      Nixon, June            7/16/2021    7/16/2021    6/30/2022    780       749    780   780     0   0      -2340                                     ---
2403 mt-b1   2|1.5    864 Occ / No NTV      Callais, Mark         10/15/2021   10/15/2021   10/15/2022    780       780    780   780     0   0        -300                                    ---
2404 mt-b1   2|1.5    864 Vac / Not Ready   ---                                                           780       780            0     0   0           0    12/5/2021 Immediate   23    780 ---
2405 mt-b1   2|1.5    864 Vac - Ready       ---                                                           780       780            0     0   0           0    9/30/2021 Ready       89    780 ---
2406 mt-b1   2|1.5    864 Occ / No NTV      Chakrabarty, Shamar   12/31/2019     1/1/2021    1/31/2022    780              780   780     0   0           0                                    ---
2501 mt-c2   3|2.5   1408 Occ / No NTV      Cobbs, Jessica          4/1/2019     6/1/2021    5/31/2022    955       899    955   955     0   0         101                                    ---
2502 mt-c2   3|2.5   1408 Vac / Not Ready   ---                                                           955       955            0     0   0           0   11/22/2021 Immediate   36    955 ---
2503 mt-c2   3|2.5   1408 Occ / No NTV      Form, Edge             5/28/2021    5/28/2021    4/30/2022    955              955   955     0   0     506.67                                     ---
2504 mt-c2   3|2.5   1408 Occ / No NTV      Welch, Rhonda          5/15/2020     6/1/2021     6/1/2022    955       955    955   955     0   0         955                                    ---
2601 mt-c2   3|2.5   1408 Occ / No NTV      Hartford, Marvin       6/27/2011    12/1/2020   12/31/2021    955              899   129   770   0       3918                                     ---
2602 mt-c2   3|2.5   1408 Occ / No NTV      Henderson, Robin        1/2/2019     3/1/2021    2/28/2022    955       899    955   955     0   0           0                                    ---
2603 mt-c2   3|2.5   1408 Occ / No NTV      Robinson, Russell      1/15/2021    1/15/2021    1/15/2022    955              955   955     0   0           0                                    ---
2604 mt-c2   3|2.5   1408 Occ / No NTV      Carlin, Kimberly       11/1/2019    11/1/2019   11/30/2020    955              955   955     0   0           0                                    ---
2701 mt-c2   3|2.5   1408 Occ / No NTV      Marchand, Madison      9/24/2021    9/24/2021    9/24/2022    955              955   955     0   0           0                                    ---
2702 mt-c2   3|2.5   1408 Occ / No NTV      Flournoy, Erica         2/6/2020     3/1/2021    3/31/2022    955       955    955   955     0   0           0                                    ---
2703 mt-c2   3|2.5   1408 Occ / No NTV      Moss, Charill          1/21/2014    12/1/2020   12/31/2021    955              774   774     0   0           0                                    ---
2704 mt-c2   3|2.5   1408 Occ / No NTV      Ellis, Andrae          5/28/2021    5/28/2021    4/30/2022    955       955    955   955     0   0           0                                    ---
2801 mt-c2   3|2.5   1408 Down              ---                                                           955                      0     0   0           0                                    ---
2802 mt-c2   3|2.5   1408 Down              ---                                                           955                      0     0   0           0                                    ---
2803 mt-c2   3|2.5   1408 Down              ---                                                           955                      0     0   0           0                                    ---
2804 mt-c2   3|2.5   1408 Down              ---                                                           955                      0     0   0           0                                    ---
2901 mt-c2   3|2.5   1408 Vac / Not Ready   ---                                                           955       955            0     0   0           0     3/1/2021 Immediate   302   955 ---
2902 mt-c2   3|2.5   1408 Occ / No NTV      Martin, Monique        6/29/2021    6/29/2021    6/29/2022    955              955    52   903   0     511.67                                     ---
2903 mt-c2   3|2.5   1408 Occ / No NTV      Pierson, Deeonka       7/13/2021    7/13/2021    6/30/2022    955       899    955   125   830   0      10.32                                     ---
2904 mt-c2   3|2.5   1408 Occ / No NTV      Evans, Karribbean      5/15/2020     6/1/2021     6/1/2022    955       955    955   955     0   0         955                                    ---
3001 mt-c2   3|2.5   1408 Occ / No NTV      Jackson, Janet        10/11/2021   10/11/2021   10/11/2022    955       955    755   755     0   0   -2318.22                                     ---
3002 mt-c2   3|2.5   1408 Occ / No NTV      Young, Kenya           2/26/2021    2/26/2021    1/31/2022    955              955   955     0   0      -2865                                     ---
3003 mt-c2   3|2.5   1408 Occ / No NTV      Hills, Justine         10/9/2020   10/31/2021   10/31/2022    955       955    955   955     0   0           0                                    ---
3004 mt-c2   3|2.5   1408 Occ / No NTV      Harris, Orrion          6/1/2021     6/1/2021     6/1/2022    955       955    955   955     0   0        -305                                    ---
3101 mt-c2   3|2.5   1408 Vac / Not Ready   ---                                                           955       824            0     0   0           0     7/2/2021 Immediate   179   955 ---
3102 mt-c2   3|2.5   1408 Vac / Not Ready   ---                                                           955       955            0     0   0           0    9/28/2021 Immediate    91   955 ---
3103 mt-c2   3|2.5   1408 Occ / No NTV      Joseph, Thelma         1/26/2018     3/1/2021     3/1/2022    955       824    824   214   610   0     587.16                                     ---
3104 mt-c2   3|2.5   1408 Occ / No NTV      Bacilio, Maria          7/1/2021     7/1/2021     7/1/2022    955              955   955     0   0        -390                                    ---
3201 mt-c2   3|2.5   1408 Occ / No NTV      Carey, Daisha          4/13/2021    4/13/2021    4/30/2022    955              955   955     0   0        -100                                    ---
3202 mt-c2   3|2.5   1408 Occ / No NTV      Brock, Kenyetta        11/1/2012    10/1/2019   10/31/2020    955              699   340   359   0       1530                                     ---
3203 mt-c2   3|2.5   1408 Vac / Not Ready   ---                                                           955                      0     0   0           0             Unknown      375   955 ---
3204 mt-c2   3|2.5   1408 Occ / No NTV      Flores, Maricela        6/4/2021     6/4/2021    5/31/2022    955              955   955     0   0    -251.37                                     ---
3301 mt-c2   3|2.5   1408 Occ / No NTV      Martin, Jared          4/15/2016    10/1/2021    10/1/2022    955       824    955   955     0   0           0                                    ---
3302 mt-c2   3|2.5   1408 Vac / Not Ready   ---                                                           955       824            0     0   0           0   10/31/2021 Immediate   58    955 ---
3303 mt-c2   3|2.5   1408 Occ / No NTV      Bowers, Cornisha       12/7/2019     1/1/2021    1/31/2022    955              955   135   820   0       4775                                     ---
3304 mt-c2   3|2.5   1408 Occ / No NTV      Gilbert, Marilyn       7/16/2021    7/16/2021    7/16/2022    955       824    955   955     0   0           0                                    ---
3401 mt-c2   3|2.5   1408 Occ / No NTV      Young, Vactoria        8/23/2021    8/23/2021    8/23/2022    955       955    955   955     0   0        -770                                    ---
3402 mt-c2   3|2.5   1408 Vac / Not Ready   ---                                                           955                      0     0   0           0             Unknown      375   955 ---
3403 mt-c2   3|2.5   1408 Occ / No NTV      Hearing, Jacqueline     7/1/2019     5/1/2020    5/31/2021    955              774   774     0   0           0                                    ---
3404 mt-c2   3|2.5   1408 Occ / No NTV      Weathers, Velma         6/4/2021     6/4/2021     6/4/2022    955       955    955   955     0   0      750.5                                     ---
3501 mt-c2   3|2.5   1408 Occ / No NTV      Smith, Ronell          8/24/2020     9/1/2021     9/1/2022    955       955    955   955     0   0           0                                    ---
3502 mt-c2   3|2.5   1408 Occ / No NTV      Lewis, Tyreese          6/2/2021     6/2/2021     6/2/2022    955              955   955     0   0           0                                    ---
3503 mt-c2   3|2.5   1408 Occ / No NTV      Mitchell, Michael      7/21/2020    7/21/2020    7/31/2021    955              955   955     0   0         100                                    ---
3504 mt-c2   3|2.5   1408 Occ / No NTV      Johnson, Stephanie     12/1/2020    12/1/2020   12/31/2021    955              955   955     0   0           0                                    ---
3601 mt-c2   3|2.5   1408 Occ / No NTV      Stewart, Latrice      10/16/2019    11/1/2020   11/30/2021    955              955   955     0   0       2010                                     ---
3602 mt-c2   3|2.5   1408 Occ / No NTV      Graham, Shantell       10/8/2020    10/8/2020   10/31/2021    955              955   955     0   0      -1910                                     ---
3603 mt-c2   3|2.5   1408 Vac / Not Ready   ---                                                           955       955            0     0   0           0   11/29/2021 Immediate   29    955 ---
3604 mt-c2   3|2.5   1408 Occ / No NTV      Allen, Laquantay       5/28/2021    5/28/2021    4/30/2022    955       955    955   955     0   0    -121.06                                     ---
3701 mt-c2   3|2.5   1408 Occ / No NTV      Singleton, Jamie      10/23/2020   10/23/2020   10/31/2021    955              955   955     0   0           0                                    ---
3702 mt-c2   3|2.5   1408 Vac / Not Ready   ---                                                           955                      0     0   0           0             Unknown      375   955 ---
3703 mt-c2   3|2.5   1408 Occ / No NTV      Williams, Stephanie    12/7/2020    12/7/2020   12/31/2021    955              955   955     0   0         955                                    ---
3704 mt-c2   3|2.5   1408 Occ / No NTV      Chambers, Eureka       3/26/2021    3/26/2021    3/31/2022    955              955   955     0   0         955                                    ---
3801 mt-c2   3|2.5   1408 Occ / No NTV      Franklin, Jennifer      3/7/2019     5/1/2020    5/31/2021    955              899   899     0   0         878                                    ---
3802 mt-c2   3|2.5   1408 Occ / No NTV      Montgomery, Trudy       5/1/2019     6/1/2021     6/1/2022    955       899    955   955     0   0         -56                                    ---
3803 mt-c2   3|2.5   1408 Occ / No NTV      Thomas, Tina           1/28/2020     3/1/2021     3/1/2022    955       955    955     0   955   0         840                                    ---
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  3804 mt-c2       3|2.5         1408 Occ / No NTV       Bennett, Heather                11/14/2019      12/1/2020      12/31/2021                        955                                 955           955             0        0       205                                    ---
  3901 mt-c1       3|2.5         1100 Occ / No NTV       Brown, Chavonne                 12/17/2019      8/17/2021       8/17/2022                        879                   879           879           879             0        0          0                                   ---
  3902 mt-b2n      2|1.5         1049 Occ / No NTV       Snowden, Keisha                  5/14/2021      5/14/2021       5/14/2022                        799                                 825           825             0        0          0                                   ---
  3903 mt-b2n      2|1.5         1049 Non Productive     ---                                                                                              799                                                  0            0        0          0                                   ---
  3904 mt-b2n      2|1.5         1049 Vac / Not Ready    ---                                                                                              799                   825                            0            0        0          0   10/1/2021 Immediate   88    799 ---
  3905 mt-b2n      2|1.5         1049 Occ / No NTV       Flagout, Darren                 10/15/2021     10/15/2021      10/15/2022                        799                   825           825           825             0        0   1614.42                                    ---
  3906 mt-c1       3|2.5         1100 Vac / Not Ready    ---                                                                                              879                                                  0            0        0          0            Unknown      375   879 ---
Grand Totals                   242,236                                                                                                            $196,823.00   $0.00   $109,510.00   $142,843.00   $135,911.00    $6,152.00    $0.00 $30,985.57

Floor Plan Summary
         Units
Floor Plan         Sq. Ft.    Market RentQuoting Rent     Leased Rent Average                       Leased Rent/SqFt Occupied Units Occupancy %
                                                                                      Market Rent/SqFt
mt-c1           13      1100       879                879                       853             0.8            0.78                10   76.90%
mt-b2           44      1049       825                825                       810            0.79            0.77                33   75.00%
mt-b2n           8      1049       799                799                       825            0.76            0.79                 2   25.00%
mt-c1n           1      1100       849                849                         0            0.77               0                 0       0%
mt-a1           63        650      650                650                       648               1               1                51   81.00%
mt-a1n           1        650      625                625                       650            0.96               1                 1  100.00%
mt-b1           60       864       780                780                       768             0.9            0.89                44   73.30%
mt-c2           56      1408       955                955                       930            0.68            0.66                43   76.80%
Grand Total    246        985      800                800                       785            0.81             0.8              184    74.80%
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                                            EXHIBIT F

                                     RENOVATIONS BUDGET


                                        [SEE ATTACHED]




                                              [Exhibit F]
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Copper Ridge Apartment
2080 North Lobdell Avenue
      36                              220
                                                     Renovations Budget
                                                        (multifamily)
Interior                                    Quantity      Category      Cost Per          Description of Work to be Completed                               Budget Amount     Completion Date




Units                                             36        Units             $1,575      Flooring                                                                 $56,700    Will be completed by 30 months
                                                  36                           $192       paint                                                                     $6,900    Will be completed by 30 months
                                                  36                           $611       Kitchen Cabinets                                                         $22,000    Will be completed by 30 months
                                                  36                             $35      Vanities                                                                  $1,250    Will be completed by 30 months
                                                  36                           $271       tub resurface/repair                                                      $9,750    Will be completed by 30 months
                                                  36        Units              $619       appliances,                                                              $22,300    Will be completed by 30 months
                                                  36        Units             $5,342      Iron Work,Mis materials,Labor                                           $192,300    Will be completed by 30 months
                                                   1        Units             $1,350      Trash out units                                                           $1,350    Will be completed by 30 months

Total Unit Renovation Costs                                                                                                                                       $312,550



Common Areas/Additional Unit Work
Electrical                                         1      Buildings           $9,000               HW tank                                                          $9,000    Will be completed by 30 months
HVAC                                               1      Buildings          $22,100                                                                               $22,100    Will be completed by 30 months
Total Common Area Costs                                                                                                                                            $31,100




Exterior
Roof Replacements - (# of Bldgs.)                  1      Buildings         $500,000                                                                              $500,000    Will be completed by 30 months
Concrete Repairs/Replacement                       1                        $100,000                                                                              $100,000    Will be completed by 30 months
Fences/Gates                                       1                         $50,000                                                                               $50,000    Will be completed by 30 months
Total Exterior Costs                                                                                                                                              $650,000
Sub-total of Renovation Costs                                                                                                                                     $993,650
Contingency ( 7%                                                                                                                                                   $69,556

Total Project Costs                                                                                                                                             $1,063,206          $1,470,127             Magnolia Trace

TOTAL AGGREGATE WITH MAGNOLIA TRACE                                                                                                                              $2,533,333
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Magnolia Trace
11585 North Harrell's Ferry Road Baton Rouge, Louisiana 70816
Units-246                                         220
                                                               Renovations Budget
                                                                  (multifamily)
Interior                                              Quantity      Category      Cost Per        Description of Work to be Completed                                                               Budget Amount                   Completion Date




Unit                                                        55        Units            $1,960     Flooring                                                                                                $107,800                 Will be completed by 30 months
                                                            55        Units             $235      Paint                                                                                                    $12,900                 Will be completed by 30 months
                                                            55        Units             $636      Kitchen cabinets                                                                                         $35,000                 Will be completed by 30 months
                                                            55        Units             $227      Vanities                                                                                                 $12,500                 Will be completed by 30 months
                                                            55        Units             $327      Tub Resurface/repair                                                                                     $18,000                 Will be completed by 30 months
                                                            55        Units            $1,111     Appliances                                                                                               $61,100                 Will be completed by 30 months
                                                            55        Units            $3,063     Labor,Materials                                                                                         $168,450                 Will be completed by 30 months
Total Unit Renovation Costs                                                                                                                                                                               $415,750



Common Areas/Additional Unit Work
Electrical                                                      1   Buildings          $5,500     HW Tank                                                                                                   $5,500                 Will be completed by 30 months
HVAC                                                            1   Buildings         $52,700                                                                                                              $52,700                 Will be completed by 30 months
Total Common Area Costs                                                                                                                                                                                    $58,200




Exterior
Roof Replacements - (# of Bldgs.)                               1   Buildings       $500,000      Replace all asphalt shingles and decking as needed.                                                     $500,000                 Will be completed by 30 months
Stairs/Railings/Balcony/Patio Repairs                           1   Buildings       $150,000      Metal Staircase                                                                                          $150,000                Will be completed by 30 months
Concrete Repairs/Replacement                                    1   Buildings       $100,000      Numerous sidewalk sections throughout the property need replacement.                                     $100,000                Will be completed by 30 months
Landscaping/Irrigation/Tree Trim - Removal                      1   Buildings        $50,000      Cut back/cut down trees away from the buildings, remove overgrown shrubs/bushes & replant as needed,      $50,000                Will be completed by 30 months
Fences/Gates                                                    1   Buildings       $100,000      Repair/replace entry gates to the property.                                                              $100,000                Will be completed by 30 months
Total Exterior Costs                                                                                                                                                                                       $900,000
Sub-total of Renovation Costs                                                                                                                                                                            $1,373,950
Contingency ( 7 %)                                                                                                                                                                                          $96,177

Total Project Costs                                                                                                                                                                                      $1,470,127                      $1,063,206 Copper Ridge

Aggregate total with Copper Ridge                                                                                                                                                                                     $2,533,333
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                                 EXHIBIT G
            REQUEST FOR DISBURSEMENT FROM RENOVATIONS RESERVE

Pursuant to Section 11.03 of that certain Loan Agreement (the “Loan Agreement”) dated as of
January 11, 2022 between Magnolia Trace Apts LLC and Copper Ridge Apts LLC (collectively,
“Borrower”) and Arbor Realty SR, Inc. (together with its successors and permitted assigns,
“Lender”), Borrower hereby requests that Lender disburse to Borrower the amount of
$_____________ (the “Requested Funds”) in connection with certain Renovations performed at
the property located at _______________(the “Property”) (as further identified and defined in the
Loan Agreement). In connection with such request, attached are the following items required to
be submitted by Borrower to Lender: (i) Borrower’s Certificate of Renovations, as set forth below,
(ii) all invoices, receipts or other evidence (that shall be satisfactory to Lender) verifying the costs
of such Renovations, (iii) all affidavits, lien waivers or other evidence (that shall be reasonably
satisfactory to Lender) showing that all materialmen, laborers, subcontractors and any other parties
who might or could claim statutory or common law liens and are furnishing or have furnished
material or labor to the Property have been paid all amounts due for labor and materials furnished
to the Property, (iv) for disbursement requests in excess of $10,000.00, a new certificate of
occupancy for the portion of the Improvements covered by such Renovations, if said new
certificate of occupancy is required by Law.

Borrower understands that Lender reserves the right, in its sole but reasonable discretion, to require
a certification from an inspecting architect or other third party acceptable to Lender describing the
completed Renovations items, verifying the completion of the Renovations items and the value of
the completed Renovations items.

In addition, Borrower further represents and certifies to Lender as follows:

    1. Those certain Renovations at the Property, as represented in the attached request have been
       completed in full.
    2. The amount of the Requested Funds has been paid in full for the Renovations to all vendors,
       contractors, subcontractors, materialmen, laborers and other parties who may claim a lien
       against the Property (each a “Vendor” or, collectively, “Vendors”).
    3. All Vendors have accepted such payments in full as settlement of all claims in connection
       with this draw request that would entitle such Vendor to claim a lien against the Property,
       and no Vendor shall have any lien against the Property as a result of such Renovations.
    4. The work associated with the Renovations, or the portion thereof for which such Requested
       Funds are being requested, has been completed in a good and workmanlike manner.
    5. All Renovations are in compliance with all applicable Laws, ordinances, rules and
       regulations of any governmental authority, agency or instrumentally having jurisdiction over
       the Property.
    6. If no new certificate of occupancy is required ADD – No new certificate of occupancy is
       required as a result of the Renovations performed pursuant to the disbursement request.

BORROWER:
[Name]
By:   ________________________
      Name:
          Title:
                                               [Exhibit G]
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                                EXHIBIT H
           REQUEST FOR DISBURSEMENT FROM REPLACEMENT RESERVE

Pursuant to Section 11.04 of that certain Loan Agreement (the “Loan Agreement”) dated as of
January 11, 2022 between Magnolia Trace Apts LLC and Copper Ridge Apts LLC (collectively,
“Borrower”) and Arbor Realty SR, Inc. (together with its successors and permitted assigns,
“Lender”), Borrower hereby requests that Lender disburse to Borrower the amount of
$_____________ in connection with certain Work (as defined in the Loan Agreement) performed
at ________________(the “Property”). In connection with such request, attached are the
following items required to be submitted by Borrower to Lender: (i) Borrower’s Certificate of
Replacements, (ii) all invoices, receipts or other evidence (that shall be satisfactory to Lender)
verifying the costs of such Work, (iii) all affidavits, lien waivers or other evidence (that shall be
reasonably satisfactory to Lender) showing that all materialmen, laborers, subcontractors and any
other parties who might or could claim statutory or common law liens and are furnishing or have
furnished material or labor to the Property have been paid all amounts due for labor and materials
furnished to the Property, and (iv) for disbursement requests in excess of $10,000.00, a new
certificate of occupancy for the portion of the Improvements covered by such Work, if said new
certificate of occupancy is required by Law.

Borrower understands that Lender reserves the right, in its sole but reasonable discretion, to require
a certification from an inspecting architect or other third party acceptable to Lender describing the
completed Work, verifying the completion of the Work and the value of the completed Work.

In addition, Borrower further represents and certifies to Lender as follows:

    1. Those certain replacements (the “Work”) at the Property, as represented in the attached
       request, have been completed in full.
    2. The amount of $__________ (the “Funds”) has been paid in full for the Work to all vendors,
       contractors, subcontractors, materialmen, laborers and other parties who may claim a lien
       against the Property (“Vendors”).
    3. All Vendors have accepted such payments in full as settlement of all claims in connection
       with this draw request that would entitle such Vendor to claim a lien against the Property,
       and no Vendor shall have any lien against the Property as a result of such Work.
    4. The work associated with the Work has been completed in a good and workmanlike manner.
    5. All Work is in compliance with all applicable Laws, ordinances, rules and regulations of any
       governmental authority, agency or instrumentally having jurisdiction over the Property.
    6. If no new certificate of occupancy is required ADD – No new certificate of occupancy is
       required as a result of the Work performed pursuant to the disbursement request.


BORROWER:

[Name]
By:   ________________________
      Name:
      Title:



                                              [Exhibit H]
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                                            EXHIBIT I

                                 FORM OF TENANT NOTICE LETTER

                                              _______________, 20
[Addressee]
      Re:   Payment Direction Letter for the property known as [________________] and
            located at [______________________] (the “Property”)

Dear ______:
        [________________], a [________________] (“Borrower”), the owner of the Property,
has mortgaged the Property to Arbor ________________________, a _______________ (together
with its successors and assigns, “Lender”) and has agreed that all rents due for the Property will
be paid directly to a bank selected by Borrower and approved by Lender. Therefore, from and
after the date hereof, all rent to be paid by you under the Lease between Borrower and you (the
“Lease”) should be sent directly by wire transfer to the following address:

                            Bank:            [____________]
                            ABA No.:         [____________]
                            Account No.:     [____________]
                            Account Name:    [___________] fbo Arbor ________ Clearing
                                             Account
        All checks should be made out to “[_____________]”.
        These payment instructions cannot be withdrawn or modified without the prior written
consent of Lender or its agent (“Servicer”), or pursuant to a joint written instruction from
Borrower and Lender or Servicer. Until you receive written instructions from Lender or Servicer,
continue to send all rent payments due under the Lease as directed above. All rent payments must
be delivered no later than the day on which such amounts are due under the Lease.
        If you have any questions concerning this letter, please contact __________________ of
Borrower at ________________ . We appreciate your cooperation in this matter.
                                             [_____________________]
                                             By:____________________________
                                             Name:
                                             Title:




                                              [Exhibit I]
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                                          SCHEDULE A
                                        Organizational Chart

                                        [SEE ATTACHED]




                                             [Schedule A]
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                                                                                               Magnolia Trace Apts LLC
                                                                                                     Organization Flow Chart

                                              100%

                                           Mark Silber



                                              100%

                                       CBRM Realty Inc (NY)



                                              100%

                                  Crown Capital Holdings LLC (DE)



            100%                              100%

          Mark Silber             Crown Capital Partners LLC (DE)



             10%                             17.00%                                      18.00%                                             17.00%                   19.00%                  19.00%

Magnolia Trace Apts MM LLC (DE)   Bergenfield Investors LLC (DE)               Stonebridge Partner LLC (DE)                           RAYLBNT LLC (DE)          RSBRM Apts LLC (DE)   RNBF Holdings LLC (DE)



                                                                                                              100%

                                                                                                   Magnolia Trace Apts LLC (DE)


                                                                                                             100%
                                                                                                  Magnolia Trace Apartments
                                                                                      11585 North Harrells Ferry Rd Baton Rouge, LA 70816
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                                                                                              Copper Ridge Apts LLC
                                                                                                   Organization Flow Chart

                                            100%

                                         Mark Silber



                                            100%

                                     CBRM Realty Inc (NY)



                                            100%

                                Crown Capital Holdings LLC (DE)



           100%                             100%

         Mark Silber            Crown Capital Partners LLC (DE)



            10%                            17.00%                                      18.00%                                           17.00%                     19.00%                  19.00%

Copper Ridge Apts MM LLC (DE)   Bergenfield Investors LLC (DE)               Stonebridge Partner LLC (DE)                           RAYLBNT LLC (DE)          RSBRM Apts LLC (DE)   RNBF Holdings LLC (DE)



                                                                                                             100%

                                                                                                   Copper Ridge Apts LLC (DE)


                                                                                                            100%
                                                                                                  Copper Ridge Apartments
                                                                                        2080 North Lodbell Blvd Baton Rouge, LA 70806
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                                          SCHEDULE B
                                    ALLOCATED LOAN AMOUNTS

                                 Copper Ridge Property- $12,009,143.00
                                 Magnolia Trace Property- $11,078,857.00




                                                [Schedule B]
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                                          SCHEDULE C
                                       PLEDGED INTERESTS

                       Pledgor:                                 Equity Interest:

                       Guarantor               All shares owned by Guarantor in CBRM Realty Inc
                  CBRM Realty Inc               All membership interests owned by CBRM Realty
                                                      Inc in Crown Capital Holdings LLC
          Crown Capital Holdings LLC            All membership interests owned by Crown Capital
                                                  Holdings LLC in Crown Capital Partners LLC
           Crown Capital Partners LLC           All membership interests owned by Crown Capital
                                                    Partners LLC in Bergenfield Investors LLC
                                                All membership interests owned by Crown Capital
                                                       Partners LLC in RAYLBNT LLC
                                                All membership interests owned by Crown Capital
                                                      Partners LLC in RSBRM Apts LLC
                                                All membership interests owned by Crown Capital
                                                     Partners LLC in RNBF Holdings LLC
                                                All membership interests owned by Crown Capital
                                                    Partners LLC in Stonebridge Partner LLC
             Stonebridge Partner LLC            All membership interests owned by Stonebridge
                                              Partner LLC in each of (i) Magnolia Trace Apts LLC
                                                        and (ii) Copper Ridge Apts LLC


            Bergenfield Investors LLC             All membership interests owned by Bergenfield
                                                 Investors LLC in each of (i) Magnolia Trace Apts
                                                       LLC and (ii) Copper Ridge Apts LLC


                  RAYLBNT LLC                 All membership interests owned by RAYLBNT LLC
                                                in each of (i) Magnolia Trace Apts LLC and (ii)
                                                             Copper Ridge Apts LLC
                 RSBRM Apts LLC                All membership interests owned by RSBRM Apts
                                              LLC in each of (i) Magnolia Trace Apts LLC and (ii)
                                                           Copper Ridge Apts LLC
               RNBF Holdings LLC              All membership interests owned by RNBF Holdings
                                              LLC in each of (i) Magnolia Trace Apts LLC and (ii)
                                                           Copper Ridge Apts LLC




                                             [Schedule C]
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